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                               No. 22-10312



     IN THE UNITED STATES COURT OF APPEALS
             FOR THE NINTH CIRCUIT


                   UNITED STATES OF AMERICA,

                                   Plaintiff-Appellee,

                                         v.

                       ELIZABETH A. HOLMES

                                   Defendant-Appellant.

            On Appeal from the United States District Court
                for the Northern District of California
                          No. 5:18-CR-00258
                        Hon. Edward J. Davila


                     EXCERPTS OF RECORD
                VOL. XV of LVII | ER-3946 to ER-4176


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 1

 2                         UNITED STATES DISTRICT COURT

 3                        NORTHERN DISTRICT OF CALIFORNIA

 4                               SAN JOSE DIVISION

 5
        UNITED STATES OF AMERICA,            )    CR-18-00258-EJD
 6                                           )
                           PLAINTIFF,        )    SAN JOSE, CALIFORNIA
 7                                           )
                    VS.                      )    VOLUME 2
 8                                           )
        ELIZABETH A. HOLMES,                 )    SEPTEMBER 1, 2021
 9                                           )
                           DEFENDANT.        )    PAGES 265 - 465
10                                           )

11
                        TRANSCRIPT OF TRIAL PROCEEDINGS
12                   BEFORE THE HONORABLE EDWARD J. DAVILA
                          UNITED STATES DISTRICT JUDGE
13
        A P P E A R A N C E S:
14
        FOR THE PLAINTIFF:       UNITED STATES ATTORNEY'S OFFICE
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                                      JEFFREY B. SCHENK
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17
                                 BY:  ROBERT S. LEACH
18                                    KELLY VOLKAR
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19                               OAKLAND, CALIFORNIA 94612

20           (APPEARANCES CONTINUED ON THE NEXT PAGE.)

21
        OFFICIAL COURT REPORTERS:
22                              IRENE L. RODRIGUEZ, CSR, RMR, CRR
                                CERTIFICATE NUMBER 8074
23                              LEE-ANNE SHORTRIDGE, CSR, CRR
                                CERTIFICATE NUMBER 9595
24
             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
25                 TRANSCRIPT PRODUCED WITH COMPUTER



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 1
        A P P E A R A N C E S: (CONT'D)
 2

 3      FOR DEFENDANT HOLMES:    WILLIAMS & CONNOLLY LLP
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        ALSO PRESENT:            FEDERAL BUREAU OF INVESTIGATION
10                               BY: ADELAIDA HERNANDEZ

11
                                 OFFICE OF THE U.S. ATTORNEY
12                               BY: LAKISHA HOLLIMAN, PARALEGAL
                                      MADDI WACHS, PARALEGAL
13

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           1       SAN JOSE, CALIFORNIA                            SEPTEMBER 1, 2021

           2                               P R O C E E D I N G S

           3

           4             (COURT CONVENED AT 9:05 A.M.)

09:05AM    5             (PROSPECTIVE JURY PANEL OUT AT 9:05 A.M.)

09:05AM    6                  THE COURT:    LET'S GO ON THE RECORD IN THIS MATTER

09:05AM    7       THIS MORNING.   THIS IS 18-258, UNITED STATES VERSUS

09:05AM    8       ELIZABETH HOLMES.

09:05AM    9             LET ME GET APPEARANCES OF THE PARTIES, PLEASE.

09:05AM   10             MR. SCHENK.

09:05AM   11                  MR. SCHENK:    GOOD MORNING, YOUR HONOR.

09:05AM   12             JEFF SCHENK ON BEHALF UNITED STATES.      I'M APPEARING THIS

09:05AM   13       MORNING ALONG WITH MY COLLEAGUES ROBERT LEACH AND JOHN BOSTIC,

09:05AM   14       AND ALSO SPECIAL AGENT ADDY HERNANDEZ FROM THE FBI, KELLY

09:05AM   15       VOLKAR FROM THE U.S. ATTORNEY'S OFFICE AND MADDI WACHS FROM THE

09:05AM   16       U.S. ATTORNEY'S OFFICE.

09:05AM   17                  THE COURT:    THANK YOU.   GOOD MORNING.

09:05AM   18             MR. DOWNEY.

09:05AM   19                  MR. DOWNEY:    GOOD MORNING, YOUR HONOR.

09:05AM   20             KEVIN DOWNEY FOR MS. HOLMES.    I'M HERE WITH MY COLLEAGUES

09:05AM   21       LANCE WADE AND KATIE TREFZ AND OUR COCOUNSEL JOHN CLINE IS WITH

09:06AM   22       US.   MS. HOLMES IS PRESENT IN COURT.

09:06AM   23                  THE COURT:    THANK YOU.   GOOD MORNING EVERYONE.

09:06AM   24             THIS IS OUR SECOND DAY OF JURY SELECTION, AND WE HAVE NOT

09:06AM   25       BROUGHT OUR JURY UP, OUR PROSPECTIVE PANEL UP YET.



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09:06AM    1            AS WE EXPERIENCED YESTERDAY, THERE'S -- WITH THE SIZE OF

09:06AM    2       THE PANELS BEING SUCH AND BROKEN INTO THREE SEPARATE TRANCHES,

09:06AM    3       WE'VE HAD SOME DIFFICULTY WITH FOLKS OR FOLKS HAVE HAD

09:06AM    4       DIFFICULTY ARRIVING ON TIME AND ON THEIR CURRENT DAYS.

09:06AM    5            AS I UNDERSTAND IT, SOME JURORS WHO WERE SUPPOSED TO BE

09:06AM    6       HERE YESTERDAY SHOWED UP TODAY, I BELIEVE, AND SOME JURORS WHO

09:06AM    7       WERE SUPPOSED TO BE HERE TOMORROW SHOWED UP TODAY.

09:06AM    8            SO I THOUGHT WE WOULD TALK ABOUT THOSE INDIVIDUALS.

09:07AM    9            ALSO, I DID WANT TO TALK ABOUT A JUROR WE TALKED ABOUT

09:07AM   10       YESTERDAY, MR. SINGH.

09:07AM   11            I THINK IF YOU RECALL MR. SINGH, HE TALKED WITH US ABOUT

09:07AM   12       HIS FINANCIAL HARDSHIP WITH HIS BUSINESS.

09:07AM   13            I THINK BOTH COUNSEL AGREED TO THAT.      I TOLD MR. SINGH

09:07AM   14       THAT WE WOULD LET HIM KNOW, AND MY SENSE IS THAT I SHOULD HAVE

09:07AM   15       YESTERDAY DONE THIS, BUT LET ME EXCUSE HIM FOR FINANCIAL

09:07AM   16       REASONS TODAY.

09:07AM   17            ANY OBJECTION TO THAT, MR. SCHENK?

09:07AM   18                  MR. SCHENK:    NO, YOUR HONOR.

09:07AM   19                  THE COURT:    MR. DOWNEY?

09:07AM   20                  MR. DOWNEY:    NO, YOUR HONOR.

09:07AM   21                  THE COURT:    AND WHAT NUMBER WAS MR. SINGH?

09:07AM   22                  MR. DOWNEY:    I BELIEVE HE WAS 48, YOUR HONOR.

09:07AM   23                  THE COURT:    LET ME EXCUSE HIM NOW.

09:07AM   24            LET ME ASK, COUNSEL, DID YOU RECEIVE A JURY SELECTION LIST

09:07AM   25       THAT MS. KRATZMANN PREPARED THAT ARE THE ORDER OF JURORS, DID



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09:07AM    1       YOU RECEIVE THAT?

09:07AM    2                  THE CLERK:    NOT YET, YOUR HONOR.

09:07AM    3                  THE COURT:    OH.

09:08AM    4                  THE CLERK:    (HANDING.)

09:08AM    5                  THE COURT:    THANK YOU, MS. KRATZMANN.

09:08AM    6            THIS IS THE FORM YOU'LL USE WHEN YOU ENGAGE YOUR

09:08AM    7       SELECTIONS, AND MS. KRATZMANN HAS PUT DOWN, AT LEAST AS FAR AS

09:08AM    8       WE CAN TELL, THE ORDER OF REMAINING JURORS, PROSPECTIVE JURORS

09:08AM    9       JUST FOR YOUR ASSISTANCE IN COLLATING THOSE INDIVIDUALS.

09:08AM   10            I WANTED TO TALK ABOUT SOME OTHER JURORS.       AND THERE WERE

09:08AM   11       TWO JURORS THAT I BELIEVE MS. KRATZMANN SENT AN EMAIL TO YOU

09:08AM   12       ABOUT THIS MORNING, AND THEY WERE INDIVIDUALS WHO MAY HAVE READ

09:08AM   13       SOME LITERATURE, AND I WANTED TO ASK WHETHER OR NOT YOU HAD

09:08AM   14       DISCUSSIONS ABOUT THOSE TWO PROSPECTIVE JURORS REMAINING.

09:08AM   15                  MR. DOWNEY:    YOUR HONOR, THE DEFENSE CONSENTS TO THE

09:08AM   16       EXCUSAL OF THOSE TWO JURORS.

09:08AM   17                  THE COURT:    LET'S SEE.   THOSE NUMBERS AGAIN WERE --

09:09AM   18            MS. KRATZMANN, DO YOU HAVE THOSE NUMBERS?

09:09AM   19                  THE CLERK:    I'M SORRY, JUST ONE MOMENT.

09:09AM   20                  MR. SCHENK:    THE FIRST ONE WAS 135, AND THE

09:09AM   21       GOVERNMENT CONSENTS TO EXCUSE JUROR 135.

09:09AM   22            I BELIEVE THE SECOND ONE WAS 171.

09:09AM   23                  THE COURT:    I THINK THAT'S RIGHT.

09:09AM   24                  MR. SCHENK:    AND FROM THE QUESTIONNAIRE THERE WAS A

09:09AM   25       LACK OF CLARITY AT LEAST FROM THE GOVERNMENT'S PERSPECTIVE, AND



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09:09AM    1       WE WOULD APPRECIATE NOT EXCUSING THAT JUROR YET, THOUGH WE

09:09AM    2       MIGHT VERY WELL BE HEADED IN THE DIRECTION OF EXCUSING THAT

09:09AM    3       JUROR.

09:09AM    4                    THE COURT:    MR. DOWNEY?

09:09AM    5                    MR. DOWNEY:    YOUR HONOR, WE WOULD CONSENT TO EXCUSAL

09:09AM    6       TO BOTH AT THIS TIME, BUT WE UNDERSTAND THE GOVERNMENT WANTS TO

09:09AM    7       VOIR DIRE THAT JUROR.

09:09AM    8                    THE COURT:    AND THIS IS CONSISTENT WITH THE

09:09AM    9       CONVERSATIONS THAT WE HAD YESTERDAY AT SIDE-BAR REGARDING THE

09:09AM   10       GOVERNMENT'S POSITION ABOUT CERTAIN INDIVIDUALS WHO MAY HAVE

09:09AM   11       READ CERTAIN LITERATURE.

09:09AM   12            I THINK THE GOVERNMENT MAY HAVE AGREED THAT THOSE

09:09AM   13       INDIVIDUALS WHO HAD DONE SO WOULD BE STRICKEN.      SO WE'LL STRIKE

09:09AM   14       AT THIS TIME JUROR NUMBER 135, AND THAT WOULD BE A CAUSE STRIKE

09:10AM   15       BECAUSE OF EXPOSURE TO INFORMATION.

09:10AM   16            WE'LL BRING UP 171 WITH THE REST OF THE PANEL, AND WE'LL

09:10AM   17       EXAMINE JUROR 171 FOR FURTHER CLARITY.

09:10AM   18            I ALSO NOTE THAT JUROR NUMBER 28 WAS SUPPOSED TO BE HERE

09:10AM   19       YESTERDAY.    SHE IS HERE TODAY.    I WANT TO CALL YOUR ATTENTION

09:10AM   20       TO THAT.   IF YOU HAVE THE QUESTIONNAIRE IN HAND, I WOULD LIKE

09:10AM   21       YOU TO LOOK AT THAT MATERIAL.       IT APPEARS THAT, AND MY NOTES

09:10AM   22       REFLECT, THAT IN HER QUESTIONNAIRE SHE INDICATED THAT SHE HAD

09:10AM   23       CHILDCARE ISSUES, AND SHE RESIDES IN SALINAS, I BELIEVE.

09:11AM   24            I WANTED TO ASK YOU WHETHER YOU HAD ANY THOUGHTS ON THIS

09:11AM   25       PROSPECTIVE JUROR?    OF COURSE TAKE TIME TO DISCUSS WITH YOUR



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09:11AM    1       TEAMS AND REVIEW HER QUESTIONNAIRE.

09:11AM    2            WHILE YOU'RE DOING THAT I'LL TELL YOUR TEAMS BEHIND YOU

09:11AM    3       JUROR NUMBER 62 WAS TO COME YESTERDAY, AND JUROR NUMBER 62 IS

09:11AM    4       HERE TODAY AND WOULD OTHERWISE BE ADDED TO OUR COMPLEMENT FOR

09:11AM    5       TODAY.

09:11AM    6            (PAUSE IN PROCEEDINGS.)

09:11AM    7                  MR. SCHENK:    YOUR HONOR, AS TO JUROR NUMBER 28, NO

09:11AM    8       OBJECTION FROM THE GOVERNMENT FOR HARDSHIP EXCUSAL.

09:12AM    9                  MR. DOWNEY:    NO OBJECTION FROM THE DEFENSE.

09:12AM   10                  THE COURT:    ALL RIGHT.   THANK YOU VERY MUCH.

09:12AM   11            JUROR NUMBER 28 WILL BE EXCUSED FOR HARDSHIP.       AS I SAID,

09:12AM   12       SHE LIVES IN SALINAS, AND SHE HAS YOUNG CHILDREN.       SALINAS IS

09:12AM   13       PROBABLY A 90 MINUTE DRIVE ON A GOOD DAY FROM THIS COURTHOUSE.

09:12AM   14            SO I WILL EXCUSE JUROR NUMBER 28.      THANK YOU, COUNSEL.

09:12AM   15            MS. KRATZMANN, IF YOU COULD NOTIFY OUR JURY COMMISSIONER

09:12AM   16       THAT JUROR NUMBER 28 HAS BEEN EXCUSED AND NEED NOT COME UP TO

09:12AM   17       THE COURTROOM, AS WELL AS JUROR NUMBER 135.

09:12AM   18            I'M ALSO INFORMED THAT --

09:12AM   19                  THE CLERK:    YES, YOUR HONOR.

09:12AM   20                  THE COURT:    -- THAT JUROR NUMBER 62 IS HERE TODAY

09:12AM   21       AND WOULD BE ADDED TO OUR PANEL THIS MORNING.      THAT WOULD BE MY

09:12AM   22       INTENT.

09:12AM   23            AND JUROR NUMBER 205, I THINK, IS ALSO HERE, AND 211?

09:12AM   24            MS. KRATZMANN, IS THAT CORRECT?

09:12AM   25                  THE CLERK:    YES, YOUR HONOR, WE HAVE 205, 211, AND



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09:13AM    1       220.

09:13AM    2                   THE COURT:    IF WE CAN ADD THEM TO OUR PANEL, THAT

09:13AM    3       GIVES US --

09:13AM    4              HAVE YOU DONE THE MATH, MS. KRATZMANN?

09:13AM    5                   THE CLERK:    IF YOU CAN GIVE ME JUST ONE MOMENT,

09:13AM    6       YOUR HONOR.

09:13AM    7                   THE COURT:    I'M SORRY TO GIVE YOU THAT TEST ON THE

09:13AM    8       FLY.

09:13AM    9                   THE CLERK:    SO, YOUR HONOR, WE HAVE A TOTAL OF 47

09:13AM   10       TODAY.    THE THREE THAT YOU JUST EXCUSED, JURORS 48, 135 AND 28,

09:13AM   11       THAT TAKES US TO 44.

09:13AM   12              SO IF WE HAVE 205, 211, AND 220, AND THERE'S AN ADDITIONAL

09:13AM   13       3, SO THAT WOULD LEAVE YOU WITH 41 TODAY, YOUR HONOR.

09:13AM   14                   THE COURT:    OKAY.    THANK YOU.

09:13AM   15              YOU KNOW, I SET TODAY STARTING AT 9:00 O'CLOCK, AND WHAT

09:14AM   16       WE'RE REALIZING IS LOGISTICS BEING WHAT THEY ARE JURORS SHOWING

09:14AM   17       UP LATE AND THOSE TYPES OF THINGS, AND THEN OUR JUROR

09:14AM   18       COORDINATOR TRYING TO COORDINATE ALL OF THE NUMBERS, IT'S

09:14AM   19       REALISTICALLY -- I THINK YOU RECEIVED SOME INFORMATION FROM

09:14AM   20       MS. KRATZMANN THAT REALISTICALLY WE'LL START ABOUT 9:30.

09:14AM   21       HOPEFULLY WE CAN ARRANGE ALL OF THOSE JURORS DOWNSTAIRS, BRING

09:14AM   22       THEM UP.    OF COURSE IT TAKES SOME TIME TO GET 41 PEOPLE SEATED

09:14AM   23       IN OUR JURY BOX HERE, SO IT'S GOING TO TAKE SOME ADDITIONAL

09:14AM   24       TIME.

09:14AM   25              I KNOW OUR WONDERFUL STAFF IS WORKING AS HARD AS THEY CAN



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09:14AM    1       TO MAKE THIS HAPPEN SO.

09:14AM    2                   THE CLERK:    YOUR HONOR, COULD I JUST GET

09:14AM    3       CLARIFICATION?

09:14AM    4             SO ARE YOU EXCUSING JUROR 62, 211, 205, AND 220?

09:14AM    5             THEN THAT WOULD DROP YOU TO 40 JURORS.

09:14AM    6                   THE COURT:    MS. KRATZMANN, I THOUGHT THEY WERE HERE

09:14AM    7       TODAY TO JOIN THE PANEL.

09:14AM    8                   THE CLERK:    THEY ARE HERE TODAY.      SO YOU WANT TO ADD

09:15AM    9       THEM TO THE POOL?

09:15AM   10                   THE COURT:    YES.     YES.

09:15AM   11                   THE CLERK:    OKAY.    I'M SORRY.

09:15AM   12                   THE COURT:    ANY OBJECTION TO ADDING THESE JURORS TO

09:15AM   13       OUR POOL TODAY?

09:15AM   14                   MR. SCHENK:    NO, YOUR HONOR.

09:15AM   15                   MR. DOWNEY:    WITH RESPECT TO JUROR 62, I NOTE THAT

09:15AM   16       THERE'S A MATTER THAT HE WANTS TO DISCUSS --

09:15AM   17                   THE COURT:    YES.

09:15AM   18                   MR. DOWNEY:    -- AT SOME POINT AT SIDE-BAR --

09:15AM   19                   THE COURT:    YES.

09:15AM   20                   MR. DOWNEY:    -- WHICH WAS A MATTER THAT WE WOULD

09:15AM   21       LIKE ADDRESSED.    SO I JUST NOTE THAT SO THE COURT CAN CONSIDER

09:15AM   22       WHEN DURING THE DAY WE WOULD DO THAT.

09:15AM   23                   THE COURT:    YES.     I NOTED THAT, AND I THINK THE

09:15AM   24       QUESTIONNAIRE SUGGESTS THAT IF IT COMES UP, THAT THAT IS

09:15AM   25       SOMETHING THAT HE WOULD LIKE TO TALK ABOUT PRIVATELY.



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09:15AM    1                   MR. DOWNEY:     RIGHT.

09:15AM    2                   THE COURT:    RIGHT.     AND WE'LL CERTAINLY DO THAT FOR

09:15AM    3       HIM.

09:15AM    4                   THE CLERK:    SO LET ME MAKE A CORRECTION, YOUR HONOR.

09:15AM    5              THE 47 INCLUDED ALL OF THESE JURORS.      SO YOU EXCUSED

09:15AM    6       THREE.    SO WE HAVE 44 JURORS TO WORK WITH TODAY.

09:15AM    7                   THE COURT:    OKAY.    ALL RIGHT.

09:15AM    8              THANK YOU.   I'LL STEP DOWN NOW, AND WE'LL LET THE

09:15AM    9       COMMISSIONER DO HER GOOD WORK AND BRING FOLKS UP.

09:16AM   10              SO IT'S NOW 20 PAST THE HOUR, AND MY SENSE IS THAT THIS IS

09:16AM   11       GOING TO TAKE ANOTHER 20 MINUTES OR SO.         SO I JUST TELL YOU

09:16AM   12       THAT FOR YOUR INFORMATION.

09:16AM   13                   MR. DOWNEY:     THANK YOU.

09:16AM   14                   MR. SCHENK:     THANK YOU.

09:16AM   15                   THE COURT:    THANK YOU VERY MUCH.      THANK YOU.

09:16AM   16                   THE CLERK:    COURT IS IN RECESS.

09:16AM   17              (RECESS FROM 9:16 A.M. UNTIL 9:53 A.M.)

09:53AM   18              (PROSPECTIVE JUROR BROWN PRESENT.)

09:53AM   19                   THE COURT:    THANK YOU.     WE'RE BACK ON THE RECORD IN

09:53AM   20       THE HOLMES MATTER.     ALL PARTIES PREVIOUSLY PRESENT ARE PRESENT

09:53AM   21       ONCE AGAIN.

09:53AM   22              I BELIEVE WE ALSO HAVE JUROR NUMBER 171.

09:53AM   23              IS THAT MR. BROWN?

09:53AM   24                   PROSPECTIVE JUROR:       YES.

09:53AM   25                   THE COURT:    YES.     THANK YOU.



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09:53AM    1             GOOD MORNING, SIR.

09:53AM    2             WE BROUGHT YOU UP BECAUSE YOU WERE SUMMONED HERE FOR JURY

09:53AM    3       SERVICE IN A CASE ENTITLED UNITED STATES OF AMERICA VERSUS

09:54AM    4       ELIZABETH HOLMES.    THERE WAS AN ANSWER ON YOUR QUESTIONNAIRE

09:54AM    5       THAT I WANTED TO ASK YOU ABOUT.

09:54AM    6             BUT, YOU KNOW, FIRST WHAT WE'RE GOING TO DO IN A MOMENT IS

09:54AM    7       BRING ALL OF THE PROSPECTIVE JURORS UP, AND WE'LL SWEAR THEM IN

09:54AM    8       TO BEGIN ANSWERING QUESTIONS.

09:54AM    9             YOU'RE HERE, SO PERHAPS WE SHOULD SWEAR YOU RIGHT NOW.       SO

09:54AM   10       IF YOU WOULD RAISE YOUR RIGHT HAND, OUR COURTROOM DEPUTY HAS A

09:54AM   11       QUESTION FOR YOU.

09:54AM   12             (PROSPECTIVE JUROR WAS GIVEN THE OATH.)

09:54AM   13                    PROSPECTIVE JUROR:     YES.

09:54AM   14                    THE COURT:    THANK YOU.   THANK YOU, MR. BROWN.

09:54AM   15             I JUST WANT TO ASK YOU A QUESTION THAT WE SAW ON YOUR

09:54AM   16       QUESTIONNAIRE, AND AS YOU KNOW FROM FILLING OUT THAT

09:54AM   17       QUESTIONNAIRE LAST WEEK, WE ASKED JURORS TO FILL THAT

09:55AM   18       QUESTIONNAIRE OUT SO WE COULD SEE AND THESE LAWYERS COULD SEE

09:55AM   19       AND THE COURT COULD HAVE SOME ANSWERS TO QUESTIONS THAT WOULD

09:55AM   20       HELP IN THIS SELECTION PROCESS.

09:55AM   21             I WANTED TO DRAW YOUR ATTENTION TO ONE QUESTION IN YOUR

09:55AM   22       QUESTIONNAIRE, AND THAT WAS ABOUT WHETHER OR NOT YOU HAD READ,

09:55AM   23       HEARD ABOUT, SEEN, LISTENED TO, OR DISCUSSED ANYTHING ABOUT

09:55AM   24       THIS CASE.    I THINK THEY'RE QUESTIONS 40, 41 IN THAT AREA.

09:55AM   25             I THINK YOU RESPONDED IN YOUR QUESTIONNAIRE THAT YOU HAD



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09:55AM    1       READ A BOOK CALLED "BAD BLOOD."      I THINK THAT'S WHAT YOU HAD

09:55AM    2       SAID.

09:55AM    3                   PROSPECTIVE JUROR:     NO.    I HAD SEEN -- I HAD SEEN, I

09:55AM    4       GUESS, A DOCUMENTARY.

09:55AM    5                   THE COURT:    CAN YOU SPEAK INTO THE MIKE?

09:55AM    6                   PROSPECTIVE JUROR:     I'M SORRY ABOUT THAT.

09:55AM    7                   THE COURT:    THAT'S QUITE ALL RIGHT.

09:55AM    8                   PROSPECTIVE JUROR:     I HAD SEEN A DOCUMENTARY.

09:56AM    9                   THE COURT:    IT'S QUESTION 37, HAVE YOU WATCHED,

09:56AM   10       READ, LISTENED TO OR BEEN TOLD OF ANY OF THE FOLLOWING, PLEASE

09:56AM   11       CIRCLE.   AND "BAD BLOOD" WAS CIRCLED BY YOU ON YOUR

09:56AM   12       QUESTIONNAIRE, AND THAT CAUSED ME TO WONDER WHETHER OR NOT YOU

09:56AM   13       HAD READ THE BOOK OR SOMEHOW BECOME FAMILIAR WITH THAT

09:56AM   14       MATERIAL.

09:56AM   15                   PROSPECTIVE JUROR:     YEAH, I HADN'T READ THE BOOK.    I

09:56AM   16       SAW A DOCUMENTARY REGARDING IT.

09:56AM   17                   THE COURT:    I SEE.   AND WAS THAT THE -- I THINK YOU

09:56AM   18       CIRCLED -- YOU DID CIRCLE, PARDON ME, "20/20" AND "60 MINUTES"?

09:56AM   19                   PROSPECTIVE JUROR:     YES.

09:56AM   20                   THE COURT:    CAN YOU SHARE WITH ME HOW LONG AGO YOU

09:56AM   21       SAW THOSE SHOWS AND WHETHER THERE'S ANYTHING ELSE THAT YOU --

09:56AM   22       ANY OTHER INFORMATION THAT YOU RECEIVED ABOUT THIS CASE.

09:56AM   23                   PROSPECTIVE JUROR:     MY BEST RECOLLECTION OF SEEING

09:56AM   24       ANY OF THOSE WAS WELL OVER A YEAR, MAYBE A YEAR AND A HALF AGO.

09:57AM   25                   THE COURT:    I SEE.   AND IS THERE ANY OTHER MATERIAL



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09:57AM    1       THAT YOU CAN RECALL --

09:57AM    2                   PROSPECTIVE JUROR:     I MEAN --

09:57AM    3                   THE COURT:    -- ABOUT THIS CASE?

09:57AM    4                   PROSPECTIVE JUROR:     BASIC INTERNET INFORMATION.

09:57AM    5                   THE COURT:    AND WHAT DO YOU MEAN BY THAT, SIR?

09:57AM    6                   PROSPECTIVE JUROR:     SORT OF NEWS FEEDS THAT POP UP

09:57AM    7       ON THE BROWSER.

09:57AM    8                   THE COURT:    LET ME ASK YOU, WHAT IS THE MOST RECENT

09:57AM    9       INFORMATION THAT YOU RECEIVED, READ, HEARD, LISTENED TO OR SAW

09:57AM   10       REGARDING THIS CASE?

09:57AM   11             (PAUSE IN PROCEEDINGS.)

09:57AM   12                   PROSPECTIVE JUROR:     HOW LONG AGO, OR INFORMATION?

09:57AM   13                   THE COURT:    YES.

09:57AM   14                   PROSPECTIVE JUROR:     PROBABLY, PROBABLY -- POSSIBLY A

09:57AM   15       YEAR.

09:57AM   16                   THE COURT:    OKAY.    AND BY THAT HAVE YOU SEEN ANY --

09:57AM   17       LET ME JUST ASK YOU, OVER THE WEEKEND DID YOU READ ANY

09:57AM   18       NEWSPAPER ARTICLES ABOUT THIS CASE?

09:57AM   19                   PROSPECTIVE JUROR:     NO.   NO.

09:58AM   20                   THE COURT:    DID YOU, OVER THE WEEKEND, DID YOU SEE

09:58AM   21       ANYTHING ON THE INTERNET OR RECEIVE ANY INFORMATION ON A

09:58AM   22       DEVICE, NEWS INFORMATION ABOUT THIS CASE?

09:58AM   23                   PROSPECTIVE JUROR:     NO.

09:58AM   24                   THE COURT:    SO THE LAST TIME THAT YOU RECALL SEEING

09:58AM   25       SOMETHING, INFORMATION ABOUT THIS CASE WAS ABOUT A YEAR AGO?



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09:58AM    1                   PROSPECTIVE JUROR:     YEAH, IN TERMS OF -- I MEAN,

09:58AM    2       OBVIOUSLY THE TELEVISION IS ON, BUT AS SOON AS ANYTHING CAME

09:58AM    3       UP, THE TELEVISION WAS TURNED OFF.

09:58AM    4                   THE COURT:    AND WHEN WAS THAT?

09:58AM    5                   PROSPECTIVE JUROR:     THAT WAS PROBABLY WITHIN A

09:58AM    6       COUPLE WEEKS.

09:58AM    7                   THE COURT:    OKAY.    WOULD THAT HAVE BEEN -- AND I'M

09:58AM    8       SORRY TO DRILL DOWN ON THIS.

09:58AM    9                   PROSPECTIVE JUROR:     THAT'S OKAY.

09:58AM   10                   THE COURT:    I'M JUST TRYING TO MEASURE YOUR EXPOSURE

09:58AM   11       AND WHEN THAT WAS.

09:58AM   12             SO DID YOU SEE OR HEAR ANY INFORMATION AFTER YOU HAD COME

09:58AM   13       TO COURT AND FILLED OUT YOUR QUESTIONNAIRE?

09:58AM   14                   PROSPECTIVE JUROR:     NO.     NO.

09:58AM   15                   THE COURT:    OKAY.    WHAT YOU'RE TELLING US THAT YOU

09:59AM   16       SAW, THE TELEVISION AND THOSE THINGS, WAS BEFORE YOU FILLED OUT

09:59AM   17       THE QUESTIONNAIRE?

09:59AM   18                   PROSPECTIVE JUROR:     YES.

09:59AM   19                   THE COURT:    AND YOU SAID YOU TURNED IT OFF.    WHY DID

09:59AM   20       YOU TURN IT OFF?

09:59AM   21                   PROSPECTIVE JUROR:     JUST NOT REALLY INTERESTED.

09:59AM   22                   THE COURT:    OKAY.    OKAY.   ALL RIGHT.

09:59AM   23             IS THERE ANYTHING -- MR. BROWN, IS THERE ANYTHING ABOUT

09:59AM   24       WHAT YOU HAVE SEEN IN RELATION TO THIS CASE OR INFORMATION THAT

09:59AM   25       YOU HAVE RECEIVED ABOUT THIS CASE THAT YOU THINK WOULD AFFECT



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09:59AM    1       YOUR ABILITY TO BE FAIR AND IMPARTIAL TO THE GOVERNMENT AND TO

09:59AM    2       MS. HOLMES?

09:59AM    3                   PROSPECTIVE JUROR:     NO.   NO.

09:59AM    4                   THE COURT:    OKAY.    I'M GOING TO ASK THESE LAWYERS IF

09:59AM    5       THEY HAVE SOME QUESTIONS FOR YOU NOW.

10:00AM    6                   PROSPECTIVE JUROR:     SURE.

10:00AM    7                   THE COURT:    AND I MAY HAVE ADDITIONAL QUESTIONS FOR

10:00AM    8       YOU.

10:00AM    9              MR. SCHENK?

10:00AM   10                   MR. SCHENK:    NOTHING FROM THE GOVERNMENT.    THANK

10:00AM   11       YOU.

10:00AM   12                   MR. DOWNEY:    GOOD MORNING, MR. BROWN.   MY NAME IS

10:00AM   13       KEVIN DOWNEY.    I REPRESENT MS. HOLMES.

10:00AM   14                   PROSPECTIVE JUROR:     GOOD MORNING.

10:00AM   15                   MR. DOWNEY:    I JUST HAVE A COUPLE OF QUESTIONS.

10:00AM   16              YOU SAID YOU WATCHED A DOCUMENTARY.     HOW LONG

10:00AM   17       APPROXIMATELY DO YOU THINK THAT DOCUMENTARY WAS?

10:00AM   18                   PROSPECTIVE JUROR:     I'M GOING TO SAY AN HOUR OR

10:00AM   19       60 MINUTES.

10:00AM   20                   MR. DOWNEY:    SO YOU WATCHED "60 MINUTES" ALSO?

10:00AM   21                   PROSPECTIVE JUROR:     A VARIETY, "60 MINUTES,"

10:00AM   22       "20/20."

10:00AM   23              BUT SPECIFIC TO THE "BAD BLOOD," THAT WAS ABOUT A 60

10:00AM   24       MINUTE PROGRAM, I BELIEVE.

10:00AM   25                   MR. DOWNEY:    AND WHAT DO YOU REMEMBER LEARNING FROM



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10:00AM    1       THAT PROGRAM ABOUT MS. HOLMES?

10:00AM    2                   PROSPECTIVE JUROR:    SHE'S PRETTY SMART.

10:01AM    3             IN TERMS OF THE CASE?    JUST HOW THE COMPANY STARTED, WHAT

10:01AM    4       THEIR COMPETITIVE ADVANTAGE WAS, AND THE TECHNOLOGY THAT THEY

10:01AM    5       WERE USING TO SORT OF ADVANCE THAT WHOLE PROCESS OF BLOOD

10:01AM    6       TESTING.

10:01AM    7                   MR. DOWNEY:   WHAT DO YOU REMEMBER ABOUT THE

10:01AM    8       TECHNOLOGY, IF ANYTHING?

10:01AM    9                   PROSPECTIVE JUROR:    THAT IT USED MUCH LESS BLOOD

10:01AM   10       THAN CONVENTIONAL TESTING AND IN A SHORTER TIMEFRAME.

10:01AM   11                   MR. DOWNEY:   DO YOU REMEMBER SEEING DISCUSSIONS

10:01AM   12       DURING THE DOCUMENTARY BY ANY INDIVIDUALS WHO KNEW MS. HOLMES?

10:01AM   13                   PROSPECTIVE JUROR:    OH, UM, THE SHULTZ, SHULTZ.

10:02AM   14                   MR. DOWNEY:   IS THAT GEORGE SHULTZ?

10:02AM   15                   PROSPECTIVE JUROR:    THE -- WAS IT THE GRANDSON?

10:02AM   16                   MR. DOWNEY:   IS IT TYLER SHULTZ?       IS THAT WHO YOU

10:02AM   17       REMEMBER SEEING?

10:02AM   18                   PROSPECTIVE JUROR:    I THINK THAT'S HIS NAME.     IT WAS

10:02AM   19       THE GRANDSON.

10:02AM   20                   MR. DOWNEY:   OKAY.   SO YOU REMEMBER HEARING FROM

10:02AM   21       GEORGE SHULTZ'S GRANDSON DURING THAT PROGRAM?

10:02AM   22                   PROSPECTIVE JUROR:    I BELIEVE SO.

10:02AM   23                   MR. DOWNEY:   WHAT DO YOU REMEMBER HIM SAYING DURING

10:02AM   24       THAT PROGRAM?

10:02AM   25                   PROSPECTIVE JUROR:    THAT HE HAD QUESTIONS REGARDING



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10:02AM    1       THE VALIDITY OF THE TESTING.

10:02AM    2                    MR. DOWNEY:    ANYTHING ELSE ABOUT MS. HOLMES THAT YOU

10:02AM    3       REMEMBER LEARNING FROM THAT DOCUMENTARY?

10:02AM    4                    PROSPECTIVE JUROR:     SHE WORE BLACK SUITS.

10:03AM    5                    MR. DOWNEY:    ANYTHING ELSE?

10:03AM    6                    PROSPECTIVE JUROR:     NOTHING I COULD PUT MY FINGER ON

10:03AM    7       OTHER THAN THE CREATION OF THE COMPANY AND JUST OVERALL RUNNING

10:03AM    8       THE COMPANY.

10:03AM    9                    MR. DOWNEY:    FAIR ENOUGH.

10:03AM   10             I DON'T HAVE ANY FURTHER QUESTIONS OF YOU, MR. BROWN.

10:03AM   11       THANK YOU.

10:03AM   12                    THE COURT:    MR. SCHENK?

10:03AM   13                    MR. SCHENK:    NO, THANK YOU.

10:03AM   14                    THE COURT:    SO, MR. BROWN, THANK YOU FOR SHARING

10:03AM   15       THIS INFORMATION WITH US.

10:03AM   16             I GET BACK TO MY QUESTION ABOUT WHETHER OR NOT THIS

10:03AM   17       INFORMATION WILL CAUSE YOU TO BE LESS THAN FAIR TO BOTH SIDES.

10:03AM   18       THAT'S REALLY WHAT WE'RE GOING TO ASK FOLKS ABOUT.

10:03AM   19             AND I, I RECOGNIZE WE'RE HUMANS AND WHEN WE'RE ASKED A

10:03AM   20       QUESTION, WE STOP AND WE REFLECT BECAUSE WE WANT TO ANSWER THE

10:03AM   21       QUESTION, WE WANT TO THINK ABOUT THE QUESTION AND TRY TO

10:03AM   22       RECALL.

10:03AM   23             YOU DID THAT.   I'M NOT BEING CRITICAL OF YOU.        I'M JUST

10:03AM   24       SAYING AND MAKING THE OBSERVATION.         YOU WERE VERY THOUGHTFUL

10:03AM   25       ABOUT YOUR ANSWERS HERE.



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10:04AM    1                    PROSPECTIVE JUROR:     UH-HUH.

10:04AM    2                    THE COURT:    AND IT SEEMED LIKE YOU WERE PROCESSING,

10:04AM    3       TRYING TO USE YOUR MEMORY TO RECALL WHAT YOU SAW IN RESPONSE TO

10:04AM    4       THE QUESTIONS POSED TO YOU.

10:04AM    5             I'M JUST CURIOUS ABOUT -- THIS CASE WILL BE ABOUT

10:04AM    6       THERANOS.    IT WILL BE ABOUT THOSE SHOWS THAT YOU SAW -- OR

10:04AM    7       THOSE SHOWS ARE ACTUALLY ABOUT THIS CASE.        A JUROR -- IF A

10:04AM    8       JUROR IS SEATED TO HEAR THE CASE, THEY MUST MAKE THEIR DECISION

10:04AM    9       ONLY ON THE EVIDENCE THAT IS IN THE COURTROOM.

10:04AM   10                    PROSPECTIVE JUROR:     OKAY.

10:04AM   11                    THE COURT:    THAT'S IT.   THEY CAN'T USE ANYTHING THAT

10:04AM   12       THEY'VE RECEIVED OUTSIDE, ANYTHING THEY'VE READ, LISTENED TO,

10:04AM   13       WATCHED, OR HEARD FROM A FRIEND OR A RELATIVE ABOUT THE CASE.

10:04AM   14             DO YOU UNDERSTAND THAT?

10:04AM   15                    PROSPECTIVE JUROR:     YES, SIR.

10:04AM   16                    THE COURT:    HAVE YOU EVER SAT ON A JURY PREVIOUSLY?

10:04AM   17                    PROSPECTIVE JUROR:     NO, SIR.

10:04AM   18                    THE COURT:    OKAY.    SO THAT'S WHY WE'RE ASKING THESE

10:04AM   19       QUESTIONS.

10:04AM   20             THERE'S BEEN PUBLICITY ABOUT THIS CASE.       THERE'S BEEN

10:05AM   21       PUBLICITY ABOUT INDIVIDUALS WHO MIGHT BE INVOLVED WITH THIS

10:05AM   22       CASE.

10:05AM   23             THE REASON I'M ASKING THESE QUESTIONS AND THE LAWYERS ASK

10:05AM   24       THESE QUESTIONS IS THAT WE WANT TO ASCERTAIN WHETHER OR NOT A

10:05AM   25       JUROR WHO MAY HAVE BEEN EXPOSED TO INFORMATION, AND MANY HAVE



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10:05AM    1       LIKE YOU, WHETHER OR NOT THEY THINK THAT THEY WOULD BE ABLE TO,

10:05AM    2       IF THEY'RE SEATED AS A JUROR, TO NOT ALLOW THAT OUTSIDE

10:05AM    3       INFORMATION THAT THEY HAVE BEEN PRIVY TO, TO NOT ALLOW THAT TO

10:05AM    4       INFECT THEIR THOUGHT PROCESS AND THEIR DECISION ON THE EVIDENCE

10:05AM    5       IN THE CASE.

10:05AM    6             DO YOU UNDERSTAND THAT CONCEPT?

10:05AM    7                   PROSPECTIVE JUROR:     YES, I DO.

10:05AM    8                   THE COURT:    RIGHT.   SO TELL ME WHAT YOUR THOUGHTS

10:05AM    9       ARE ABOUT THAT, HAVING SEEN THESE SHOWS AND TALKED ABOUT THEM

10:05AM   10       THIS MORNING.

10:05AM   11                   PROSPECTIVE JUROR:     I MEAN, OBVIOUSLY IT WAS NEWS.

10:05AM   12             BUT IN TERMS OF INFORMATION BASED ON A CASE AND WHAT IS

10:06AM   13       HEARD OR TALKED ABOUT OR PRESENTED AS EVIDENCE, I FEEL LIKE I

10:06AM   14       CAN BE IMPARTIAL SEPARATING, YOU KNOW, WHAT HAS HAPPENED IN THE

10:06AM   15       PAST TO FACTUAL INFORMATION TODAY.

10:06AM   16                   THE COURT:    OKAY.    THANK YOU.

10:06AM   17             IT'S A DIFFICULT THING WE DO.      I RECOGNIZE THAT.

10:06AM   18             YESTERDAY I WAS TALKING TO SOME OTHER JURORS AND I SAID,

10:06AM   19       HOW DO YOU UNREAD SOMETHING?       HOW DO YOU UNLISTEN TO SOMETHING?

10:06AM   20       HOW DO YOU UNRING THAT BELL?

10:06AM   21                   PROSPECTIVE JUROR:     RIGHT, RIGHT.

10:06AM   22                   THE COURT:    AND WE ALL KNOW THAT'S NOT POSSIBLE.

10:06AM   23             SO WHAT WE TRY TO DO IS WE ASK JURORS, WHAT METHODS WILL

10:06AM   24       YOU USE?   HOW WILL YOU SEPARATE THAT?      HOW WILL YOU

10:06AM   25       COMPARTMENTALIZE WHAT YOU'VE SEEN, HEARD, OR BEEN EXPOSED TO IN



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10:06AM    1       THE PAST AND SEPARATE THAT JUST SO YOU'RE FOCUSSED ON THE

10:06AM    2       EVIDENCE IN THIS COURTROOM AND NOT ANYTHING ELSE AS YOU MAKE A

10:06AM    3       DECISION?

10:06AM    4             THAT'S A CHALLENGE.    I RECOGNIZE THAT.      THAT'S DIFFICULT.

10:07AM    5                   PROSPECTIVE JUROR:     YES.

10:07AM    6                   THE COURT:    IS THAT SOMETHING THAT YOU THINK YOU CAN

10:07AM    7       DO?

10:07AM    8                   PROSPECTIVE JUROR:     I BELIEVE I CAN.

10:07AM    9                   THE COURT:    OKAY.    ANY IDEA ABOUT HOW YOU WOULD --

10:07AM   10       WHAT YOUR PROCESS WOULD BE?

10:07AM   11             FOR EXAMPLE, LET ME SAY, IF YOU'RE SEATED AS A JUROR IN

10:07AM   12       THIS CASE, YOU MIGHT HEAR EVIDENCE, OR YOU WILL HEAR EVIDENCE

10:07AM   13       ABOUT THIS COMPANY AND THE ACTIVITY IN THIS COMPANY.

10:07AM   14             THE GOVERNMENT GOES FIRST AND THEY PUT THE EVIDENCE ON AND

10:07AM   15       THEN THE DEFENSE, IF THEY WISH, THEY CAN PUT EVIDENCE ON AS

10:07AM   16       WELL.

10:07AM   17             AND YOU MIGHT HEAR SOMETHING DURING THAT PRESENTATION THAT

10:07AM   18       CAUSED YOU TO PERHAPS REMEMBER SOMETHING THAT YOU SAW IN ONE OF

10:07AM   19       THESE PROGRAMS.

10:07AM   20             AND THEN IT BECOMES, WELL, WHAT I'M HEARING IN THE

10:07AM   21       COURTROOM IS DIFFERENT THAN WHAT I SAW IN THE PROGRAM, OR MAYBE

10:07AM   22       IT'S THE SAME.    AND THAT MIGHT CAUSE SOMEONE TO THINK, WELL,

10:07AM   23       THAT SUPPORTS WHAT I'M HEARING IN THE COURTROOM, OR IT'S

10:07AM   24       DIFFERENT, SO THAT MIGHT CAUSE SOMEONE TO QUESTION WHAT YOU

10:07AM   25       HEAR IN THE COURTROOM.



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10:07AM    1             DO YOU UNDERSTAND THAT?

10:08AM    2                   PROSPECTIVE JUROR:      YES.

10:08AM    3                   THE COURT:    YES.     SO HOW DO YOU THINK YOU WOULD

10:08AM    4       SEPARATE THOSE?

10:08AM    5                   PROSPECTIVE JUROR:      I MEAN, I RECOGNIZE THAT, YOU

10:08AM    6       KNOW, THAT YOU DO HEAR THINGS AND YOU ONLY HAVE TO GO BY WHAT

10:08AM    7       IS PRESENTED, WHAT IS HERE, WHAT IS NOW, TODAY, NOT BASED ON

10:08AM    8       ANYTHING ELSE THAT HAS TRANSPIRED IN THE PAST.

10:08AM    9             I MEAN, IT'S GOING TO BE TOUGH, DIFFICULT, BUT I THINK --

10:08AM   10       I FEEL LIKE I'M UP FOR THE TASK.

10:08AM   11                   THE COURT:    OKAY.    ALL RIGHT.

10:08AM   12             YOU'LL BE INSTRUCTED -- IF YOU'RE SEATED AS A JUROR, I'LL

10:08AM   13       GIVE YOU AN INSTRUCTION THAT YOU'RE OBLIGATED TO FOLLOW.

10:08AM   14                   PROSPECTIVE JUROR:      YES.

10:08AM   15                   THE COURT:    IT SAYS JUST THAT.    IT SAYS YOU'RE GOING

10:08AM   16       TO FOCUS YOUR DECISION AS A JUROR SOLELY ON THE EVIDENCE THAT

10:08AM   17       IS RECEIVED HERE IN THIS COURTROOM.

10:08AM   18             CAN YOU FOLLOW THAT INSTRUCTION?

10:08AM   19                   PROSPECTIVE JUROR:      YES, SIR.

10:08AM   20                   THE COURT:    OKAY.    THANK YOU.

10:08AM   21             I WANTED TO --

10:08AM   22             ANY QUESTIONS?

10:08AM   23                   MR. DOWNEY:    NO, YOUR HONOR.

10:08AM   24                   MR. SCHENK:    NO.     THANK YOU.

10:08AM   25                   THE COURT:    I WANTED TO TOUCH ON SOMETHING ELSE THAT



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10:09AM    1       I THINK YOU MENTIONED.

10:09AM    2              DID YOU TALK ABOUT SOME OTHER TOPIC THAT YOU WANTED TO

10:09AM    3       DISCUSS IN PRIVATE?      DID I GET THAT INCORRECT?   LET ME SEE.

10:09AM    4              WELL, LET ME ASK YOU, IS THERE ANYTHING ELSE YOU WOULD

10:09AM    5       LIKE TO DISCUSS WITH US NOW?

10:09AM    6                   PROSPECTIVE JUROR:     NO, SIR.

10:09AM    7                   THE COURT:    OKAY.    ANYTHING THAT COMES TO MIND ABOUT

10:09AM    8       ANYTHING ELSE?

10:09AM    9                   PROSPECTIVE JUROR:     NO, SIR.

10:09AM   10                   THE COURT:    OKAY.

10:09AM   11              COUNSEL, DO YOU HAVE ANY MORE QUESTIONS FOR MR. BROWN?

10:09AM   12                   MR. DOWNEY:    NOTHING FROM THE DEFENSE, YOUR HONOR.

10:09AM   13                   MR. SCHENK:    NO, THANK YOU.

10:09AM   14                   THE COURT:    MR. BROWN, THANK YOU SO MUCH FOR COMING

10:09AM   15       UP IN ADVANCE.

10:09AM   16              NOW WE'RE GOING TO -- CAN MR. BROWN JUST STAY SEATED HERE?

10:09AM   17                   THE CLERK:    I'LL PUT HIM IN HIS ASSIGNED SEAT,

10:09AM   18       YOUR HONOR, SURE.

10:09AM   19                   THE COURT:    WE'RE GOING TO ASK YOU TO STAY AND THEN

10:09AM   20       WE'LL CALL YOUR COLLEAGUES UP FROM DOWNSTAIRS AND THEN WE'LL

10:09AM   21       START THE PROCESS AGAIN.

10:09AM   22                   PROSPECTIVE JUROR:     SHALL I TAKE THIS WITH ME?

10:09AM   23                   THE COURT:    IF THAT'S -- YES.

10:09AM   24                   THE CLERK:    YOU'LL HAVE ONE ON THE SEAT.    THANK YOU,

10:09AM   25       SIR.



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10:10AM    1                   THE COURT:    LET ME ASK, COUNSEL, DO YOU WANT TO

10:10AM    2       DISCUSS ANYTHING?    SHOULD WE HAVE MR. BROWN WAIT OUTSIDE FOR A

10:10AM    3       MOMENT?

10:10AM    4                   MR. DOWNEY:    I JUST WANTED TO MENTION ONE THING

10:10AM    5       QUICKLY, YOUR HONOR.

10:10AM    6                   THE COURT:    WITH MR. BROWN HERE?

10:10AM    7                   MR. DOWNEY:    ACTUALLY, IT'S JUST A PROCEDURAL ISSUE,

10:10AM    8       YOUR HONOR.    I THINK IT'S FINE TO DISCUSS IT WITH MR. BROWN

10:10AM    9       HERE.

10:10AM   10                   THE COURT:    OKAY.

10:10AM   11                   MR. DOWNEY:    JUST --

10:10AM   12                   THE COURT:    MS. KRATZMANN IS GOING TO SHOW YOU WHERE

10:10AM   13       TO SIT, MR. BROWN.

10:10AM   14                   MR. DOWNEY:    JUST TWO ISSUES, YOUR HONOR.     ONE IS

10:10AM   15       THAT I THINK WE'RE GOING TO DEFER ON JUROR 62 WHO HAD THE

10:10AM   16       PRIVATE MATTER.    I DON'T KNOW IF HE'S FIRST IN THE ORDER OR

10:10AM   17       WHETHER HE'S MOVED TO THE BACK.

10:10AM   18                   THE COURT:    HE'LL BE FIRST, YES.

10:10AM   19                   MR. DOWNEY:    YES.    SO I DON'T KNOW IF YOUR HONOR

10:10AM   20       WANTS TO DO THAT NOW.      I ONLY HAVE A QUESTION OF HIM ON THAT

10:10AM   21       ONE TOPIC, SO I'LL LEAVE IT TO YOU.

10:10AM   22             SECONDLY, I JUST WANTED TO NOTE THAT I KNOW THE DAY IS A

10:10AM   23       BIT BROKEN UP AND SO FORTH, BUT WE DISCUSSED WITH MS. KRATZMANN

10:10AM   24       THAT WE NEEDED TO TAKE A BREAK AROUND THE 11:00 O'CLOCK HOUR.

10:11AM   25                   THE COURT:    YES.     THANK YOU.   THAT'S WHAT MY PLAN



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10:11AM    1       IS, TO TAKE A BREAK ABOUT 11:00 O'CLOCK, AND IT WILL BE ABOUT

10:11AM    2       20 MINUTES, DO YOU THINK?

10:11AM    3                    MR. DOWNEY:    I THINK THAT'S ABOUT RIGHT, YOUR HONOR.

10:11AM    4       THANK YOU.

10:11AM    5                    THE COURT:    YOU JUST LET ME KNOW.

10:11AM    6             SO WE'RE GETTING A LATE START, JUST THE LOGISTICS OF THIS.

10:11AM    7       I APOLOGIZE FOR THAT.       I'M HOPEFUL THAT WE CAN ACCOMPLISH WHAT

10:11AM    8       WE NEED TO TODAY BEFORE WE GO DEEP INTO THE AFTERNOON.        LET ME

10:11AM    9       PUT IT THAT WAY.

10:11AM   10             AS TO JUROR NUMBER 62, I THINK WE'LL -- I DON'T WANT TO

10:11AM   11       BRING HIM UP NOW.    I THINK, SHOULD THAT TOPIC COME UP, WE'LL --

10:11AM   12       WE CERTAINLY HAVE A MECHANISM TO DISCUSS THAT.

10:11AM   13                    MR. DOWNEY:    UNDERSTOOD, YOUR HONOR.

10:11AM   14                    THE COURT:    ALL RIGHT.    ANYTHING FURTHER?

10:11AM   15                    MR. SCHENK:    NO.     THANK YOU.

10:11AM   16                    THE COURT:    THANK YOU.

10:11AM   17             MR. BROWN, WE'RE GOING TO BRING YOUR COLLEAGUES UP NOW, SO

10:11AM   18       WE'LL BE IN RECESS FOR A MOMENT.         THANK YOU.

10:11AM   19                    THE CLERK:    COURT IS IN RECESS.

10:11AM   20             (RECESS FROM 10:11 A.M. UNTIL 10:24 A.M.)

10:24AM   21             (PROSPECTIVE JURY PANEL IN AT 10:24 A.M.)

10:25AM   22                    THE COURT:    THANK YOU.    GOOD MORNING, LADIES AND

10:25AM   23       GENTLEMEN.    LET ME THANK YOU FOR YOUR PATIENCE THIS MORNING.

10:25AM   24             THE FIRST THING I'D LIKE TO DO IS ASK MS. KRATZMANN TO

10:25AM   25       ADMINISTER THE OATH TO ALL OF OUR PROSPECTIVE JURORS HERE.          LET



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10:25AM    1       ME DO THAT.

10:25AM    2             IF ALL OF THE PROSPECTIVE JURORS WOULD PLEASE STAND AND

10:25AM    3       RAISE YOUR RIGHT HAND.

10:25AM    4             MR. BROWN, YOU'RE EXCLUDED FROM THAT.     YOU'VE TAKEN AN

10:25AM    5       OATH.

10:25AM    6             (PROSPECTIVE JURORS WERE GIVEN THE OATH.)

10:25AM    7                    PROSPECTIVE JURORS:    YES.

10:25AM    8                    THE COURT:    THANK YOU VERY MUCH, LADIES AND

10:25AM    9       GENTLEMEN.    PLEASE BE SEATED.

10:25AM   10             AGAIN, LET ME THANK YOU AGAIN FOR YOUR PATIENCE.

10:25AM   11             LADIES AND GENTLEMEN, YOU HAVE BEEN SUMMONED TODAY IN A

10:25AM   12       CRIMINAL CASE ENTITLED UNITED STATES OF AMERICA VERSUS

10:25AM   13       ELIZABETH HOLMES.

10:26AM   14             IN THIS CASE THE DEFENDANT, ELIZABETH HOLMES, IS CHARGED

10:26AM   15       WITH WIRE FRAUD AND CONSPIRACY TO COMMIT WIRE FRAUD.

10:26AM   16             THE INDICTMENT ALLEGES THAT MS. HOLMES WAS THE CHIEF

10:26AM   17       EXECUTIVE OFFICER OF THERANOS INCORPORATED, WHICH WAS IN THE

10:26AM   18       BLOOD TESTING BUSINESS.       THE INDICTMENT ALLEGES THAT MS. HOLMES

10:26AM   19       AND RAMESH "SUNNY" BALWANI, THERANOS'S CHIEF OPERATING OFFICER

10:26AM   20       AND PRESIDENT, KNOWINGLY AND INTENTIONALLY DEVISED A SCHEME OR

10:26AM   21       PLAN TO DEFRAUD INVESTORS AND PAYING CUSTOMERS.

10:26AM   22             THE CHARGES ARE ONLY ALLEGATIONS AND ARE NOT EVIDENCE.

10:26AM   23             THE DEFENDANT HAS ENTERED A PLEA OF NOT GUILTY TO ALL OF

10:26AM   24       THE CHARGES IN THIS CASE AND IS PRESUMED TO BE INNOCENT.

10:26AM   25             IT WILL BE THE RESPONSIBILITY OF THE GOVERNMENT, THROUGH



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10:27AM    1       THE TRIAL, TO PROVE THOSE CHARGES BEYOND A REASONABLE DOUBT.

10:27AM    2             THE INDICTMENT ALLEGES IN COUNTS ONE AND TWO THAT

10:27AM    3       MS. HOLMES VIOLATED 18 UNITED STATES CODE SECTION 1349,

10:27AM    4       CONSPIRACY TO COMMIT WIRE FRAUD, AND IN COUNTS THREE, FOUR,

10:27AM    5       FIVE, SIX, SEVEN, EIGHT, NINE, TEN, ELEVEN, AND TWELVE WITH

10:27AM    6       WIRE FRAUD IN VIOLATION OF UNITED STATES CODE SECTION 1343.

10:27AM    7             THE INDICTMENT IS NOT EVIDENCE OF ANY KIND.      IT IS THE

10:27AM    8       CHARGING DOCUMENT THAT IS FILED IN THIS CASE.

10:27AM    9             TO THESE CHARGES MS. HOLMES HAS PLEADED NOT GUILTY, AND

10:27AM   10       THIS IS AN ABSOLUTE DENIAL OF THE CHARGES.

10:27AM   11             IT WILL BE THE PURPOSE OF THIS TRIAL FOR YOU TO DETERMINE

10:27AM   12       IF THE GOVERNMENT HAS MET THEIR BURDEN IN PRESENTING THEIR CASE

10:27AM   13       TO YOU.

10:27AM   14             NOW, JURY SERVICE IS VERY IMPORTANT, AND, AGAIN, I WANT TO

10:27AM   15       WELCOME YOU AND THANK YOU FOR YOUR SERVICE.

10:28AM   16             BUT BEFORE WE BEGIN, I WANT TO DESCRIBE FOR YOU HOW THE

10:28AM   17       TRIAL WILL BE CONDUCTED AND EXPLAIN TO YOU WHAT YOU AND THE

10:28AM   18       LAWYERS AND I WILL BE DOING.

10:28AM   19             NOW, FIRST OF ALL, WHEN I REFER TO THE GOVERNMENT, I MEAN

10:28AM   20       MR. ROBERT LEACH, MS. KELLY VOLKAR, MR. JOHN BOSTIC, AND

10:28AM   21       MR. JEFF SCHENK, WHO ARE THE ASSISTANT UNITED STATES ATTORNEYS

10:28AM   22       WHO ARE PROSECUTING THIS CASE.

10:28AM   23             MR. LEACH, WOULD YOU INTRODUCE YOUR TEAM, PLEASE, TO THE

10:28AM   24       JURY PANEL.

10:28AM   25                   MR. LEACH:    YES, YOUR HONOR.   THANK YOU.



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10:28AM    1             GOOD MORNING EVERYBODY.      MY NAME IS ROBERT LEACH.   TO MY

10:28AM    2       LEFT IS JOHN BOSTIC, TO HIS LEFT IS JEFF SCHENK, SEATED RIGHT

10:28AM    3       HERE IS KELLY VOLKAR WITH MY OFFICE, AND TO MY RIGHT IS

10:28AM    4       ADDY HERNANDEZ, WHO IS A SPECIAL AGENT WITH THE FBI.

10:28AM    5             THANK YOU.   GOOD MORNING.

10:28AM    6                   THE COURT:    THANK YOU.

10:28AM    7             WHEN I REFER TO DEFENSE COUNSEL, I MEAN MR. KEVIN DOWNEY,

10:28AM    8       MR. LANCE WADE, MS. KATHERINE TREFZ, AND I SEE MR. CLINE HERE

10:29AM    9       AS WELL.   THANK YOU.

10:29AM   10             WOULD YOU INTRODUCE YOUR TEAM, PLEASE.

10:29AM   11                   MR. DOWNEY:    THANK YOU, YOUR HONOR.

10:29AM   12             GOOD MORNING.   MY NAME IS KEVIN DOWNEY, AND I REPRESENT

10:29AM   13       MS. HOLMES IN THIS MATTER.

10:29AM   14             THIS IS ELIZABETH HOLMES, WHO IS THE DEFENDANT IN THIS

10:29AM   15       CASE.

10:29AM   16             WITH ME ON BEHALF OF MS. HOLMES ARE MY COLLEAGUE

10:29AM   17       LANCE WADE, MY COLLEAGUE KATHERINE TREFZ, AND OUR COCOUNSEL,

10:29AM   18       JOHN CLINE.

10:29AM   19                   THE COURT:    THANK YOU.

10:29AM   20             LADIES AND GENTLEMEN, THIS CASE IS EXPECTED TO TAKE

10:29AM   21       APPROXIMATELY 13 WEEKS HERE IN COURT, AND IT COULD BE A LITTLE

10:29AM   22       LONGER.

10:29AM   23             THIS MORNING WE WILL BEGIN SELECTING JURORS WHO WILL SIT

10:29AM   24       TO HEAR THIS CASE.    THIS PROCESS INVOLVES INTERVIEWING SEPARATE

10:29AM   25       PANELS OF POTENTIAL JURORS.        AND I SHOULD TELL YOU WE ENGAGED



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10:29AM    1       THIS PROCESS YESTERDAY WITH A SIMILAR PANEL AS YOURS.

10:29AM    2             AFTER OUR SESSION TODAY, YOU WILL BE PERMITTED TO LEAVE

10:29AM    3       THE COURTHOUSE AND YOU WILL BE NOTIFIED BY THE COURT WHETHER

10:30AM    4       AND WHEN YOU SHOULD RETURN FOR FURTHER PROCEEDINGS.       WE'LL

10:30AM    5       RETURN AND THEN WE'LL BEGIN THE TRIAL.

10:30AM    6             NOW, YOU SEE THE SCHEDULE.    I THINK YOU HAVE A SCHEDULE IN

10:30AM    7       YOUR SEATS.    THAT HAS THE POTENTIAL SCHEDULE FOR OUR TRIAL NOW.

10:30AM    8       THAT COULD CHANGE, OF COURSE.

10:30AM    9             AS YOU SEE, THE JURY DELIBERATIONS SHOULD BEGIN THE FIRST

10:30AM   10       OR SECOND WEEK OF DECEMBER.      IT COULD BE SOONER THAN THAT

10:30AM   11       DEPENDING ON THE EVIDENCE.     I WILL KEEP YOU INFORMED AS TO OUR

10:30AM   12       SCHEDULE AS WE GO FORWARD.

10:30AM   13             AS YOU ALSO SAW IN THE QUESTIONNAIRE, OUR PROPOSED DAYS IN

10:30AM   14       COURT WILL BE TUESDAYS, WEDNESDAYS, AND FRIDAYS, POTENTIALLY

10:30AM   15       FROM 9:00 A.M. TO APPROXIMATELY 2:00 P.M.

10:30AM   16             IT MAY BE THAT THIS SCHEDULE WILL CHANGE TO ADD SOME TIME

10:30AM   17       OR CHANGE DAYS, AND I WILL, OF COURSE, KEEP YOU APPRISED IN

10:30AM   18       ADVANCE OF ANY CHANGE IN THE SCHEDULE.

10:31AM   19             I ANTICIPATE, ACCORDING TO THIS SCHEDULE, I ANTICIPATE

10:31AM   20       THAT WE WOULD THEN TAKE ONE BREAK DURING THE COURT DAY OF

10:31AM   21       PERHAPS 30, 45 MINUTES, SOMETHING LIKE THAT.

10:31AM   22             BECAUSE OF THE LENGTH OF THE TRIAL, MY HOPE WAS THAT THIS

10:31AM   23       SCHEDULE WOULD ACCOMPLISH THE TAKING OF EVIDENCE IN THE TRIAL

10:31AM   24       AND AVOID THE STRESS AND FATIGUE THAT MIGHT ALSO ARISE FROM AN

10:31AM   25       ALL-DAY EVERY DAY SCHEDULE THAT IS THE NORM FOR SHORTER TRIALS.



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10:31AM    1             NOW, I ALSO REALIZE THERE ARE OCCASIONS WHEN SOMEONE MAY

10:31AM    2       NEED TO TAKE AN UNSCHEDULED BREAK FOR ANY REASON, AND IF

10:31AM    3       ANYBODY NEEDS TO TAKE A BREAK FOR ANY REASON, YOU JUST NEED TO

10:31AM    4       ALERT ME AND WE WILL CERTAINLY BE ABLE TO DO THAT.

10:31AM    5             NOW, THE FIRST STEP IN THE TRIAL FOLLOWING THE SELECTION

10:31AM    6       OF THE JURY IS THE GOVERNMENT'S OPENING STATEMENT.       THE DEFENSE

10:31AM    7       MAY CHOOSE TO GIVE AN OPENING STATEMENT FOLLOWING THE

10:31AM    8       GOVERNMENT'S STATEMENT, OR THEY CAN WAIT UNTIL THE BEGINNING OF

10:31AM    9       THE DEFENSE CASE.

10:31AM   10             THE PURPOSE OF AN OPENING STATEMENT IS TO PROVIDE YOU, THE

10:32AM   11       JURORS, AN OVERVIEW OF WHAT THE ATTORNEYS BELIEVE THE EVIDENCE

10:32AM   12       IN THE CASE WILL SHOW.

10:32AM   13             NEXT THE GOVERNMENT WILL OFFER THEIR EVIDENCE.      EVIDENCE

10:32AM   14       USUALLY CONSISTS OF TESTIMONY AND EXHIBITS.

10:32AM   15             AFTER THE GOVERNMENT PRESENTS THEIR EVIDENCE, THE DEFENSE

10:32AM   16       MAY ALSO PRESENT EVIDENCE, BUT IS NOT REQUIRED TO DO SO.

10:32AM   17             BECAUSE MS. HOLMES IS PRESUMED INNOCENT, SHE DOES NOT HAVE

10:32AM   18       TO PROVE THAT SHE IS NOT GUILTY.

10:32AM   19             NOW, YOU HAVE ALSO ATTACHED TO YOUR INFORMATION AT YOUR

10:32AM   20       SEATS, AND YOU'VE ALSO SEEN WHEN YOU CAME IN LAST WEEK TO FILL

10:32AM   21       OUT YOUR QUESTIONNAIRES, A WITNESS LIST, AND I'M GOING TO ASK

10:32AM   22       YOU -- YOU REVIEWED THAT WHEN YOU FILLED YOUR QUESTIONNAIRES

10:32AM   23       OUT, I KNOW, AND I'LL ASK YOU TO LOOK AT THAT AGAIN THIS

10:32AM   24       MORNING.

10:32AM   25             COUNSEL, CAN I GET A STIPULATION THAT THE COURT NEED NOT



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10:32AM    1       READ THE ENTIRETY OF THE WITNESS LIST ON THE RECORD?

10:33AM    2                    MR. DOWNEY:    YOUR HONOR, MS. HOLMES AGREES.

10:33AM    3                    MR. SCHENK:    SO STIPULATED.

10:33AM    4                    THE COURT:    THANK YOU.   THANK YOU.

10:33AM    5             LADIES AND GENTLEMEN, IT'S NOT UNUSUAL FOR JUDGES TO READ

10:33AM    6       ON THE RECORD THE ENTIRETY OF THE WITNESSES KNOWN AT LEAST AT

10:33AM    7       THIS TIME, BUT YOU SEE THE LENGTH OF THAT POTENTIAL WITNESS

10:33AM    8       LIST, AND I'M NOT GOING TO READ IT TO YOU.       BUT I DO CALL YOUR

10:33AM    9       ATTENTION TO IT AGAIN THIS MORNING, AS WELL AS LAST WEEK WHEN

10:33AM   10       YOU FILLED OUT -- YOU REVIEWED THAT WHEN YOU FILLED OUT YOUR

10:33AM   11       QUESTIONNAIRE.

10:33AM   12             YOU SHOULD NOTE THAT THE PARTIES MAY NOT WISH TO CALL ALL

10:33AM   13       WITNESSES AND THEY MAY LATER FIND IT NECESSARY TO CALL OTHER

10:33AM   14       WITNESSES.

10:33AM   15             IT MAY OCCUR THAT THE PARTIES STIPULATE TO A WITNESS'S

10:33AM   16       TESTIMONY OR AN EXHIBIT.      THIS MEANS THAT THE PARTIES HAVE

10:33AM   17       AGREED THAT THE STATEMENT, THE TESTIMONY, OR THE EXHIBIT CAN BE

10:33AM   18       RECEIVED INTO EVIDENCE.

10:33AM   19             AFTER YOU HAVE HEARD ALL OF THE EVIDENCE, AND AFTER THE

10:33AM   20       ATTORNEYS HAVE GIVEN THEIR FINAL ARGUMENTS, I WILL THEN

10:34AM   21       INSTRUCT YOU ON THE LAW THAT APPLIES TO THE CASE.

10:34AM   22             AFTER YOU HAVE HEARD THE ARGUMENTS AND THE LAW AS GIVEN BY

10:34AM   23       THE COURT, YOU WILL THEN RETIRE TO THE JURY ROOM TO DELIBERATE

10:34AM   24       THE MERITS OF THE CASE AND THEN TO RETURN WITH YOUR FINDINGS.

10:34AM   25             NOW, LET ME TALK A LITTLE BIT ABOUT YOUR SERVICE.       IT IS



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10:34AM    1       AN OBLIGATION.    JURY SERVICE IS AN OBLIGATION, AND WE RECOGNIZE

10:34AM    2       IT'S INCONVENIENT TO YOU.

10:34AM    3             BUT I HOPE, AND MY COLLEAGUES HOPE, THAT YOU ALSO VIEW

10:34AM    4       JURY SERVICE AS A PRIVILEGE, A PRIVILEGE TO SERVE YOUR

10:34AM    5       COMMUNITY AND TO PARTICIPATE IN YOUR SYSTEM OF JUSTICE.

10:34AM    6             AND WE ALL RECOGNIZE AND WE'RE SENSITIVE TO THE FACT THAT

10:34AM    7       IT'S HIGHLY LIKELY THAT NONE OF YOU ARE HERE BECAUSE YOU HAVE

10:34AM    8       NOTHING ELSE TO DO, OR THAT YOU VOLUNTEERED OUT OF THE GOODNESS

10:34AM    9       OF YOUR HEARTS TO JOIN US HERE.

10:34AM   10             WE RECOGNIZE THAT JURY SERVICE IS AN IMPOSITION ON YOU.

10:34AM   11       IT IMPOSES ON YOU.    IT TAKES YOU FROM THOSE WHO NEED AND RELY

10:35AM   12       ON YOU AT YOUR WORKPLACES AND AT YOUR HOMES.

10:35AM   13             FOR THOSE OF US WORKING IN THE JUSTICE SYSTEM AND TRYING

10:35AM   14       TO IMPROVE ON THE QUALITY OF JUSTICE, IT IS A CHALLENGE TO

10:35AM   15       PROVIDE A FAIR AND IMPARTIAL JURY FOR ALL OF OUR TRIALS.           IT'S

10:35AM   16       A CHALLENGE TO DELIVER ON THE PROMISE OF A JURY OF ONE'S PEERS,

10:35AM   17       A TRUE CROSS-SECTION OF OUR COMMUNITY TO EVERYONE ENTERING OUR

10:35AM   18       COURTS.

10:35AM   19             IT'S A PROMISE THAT WE ENDEAVOR TO FULFILL AS WE RECOGNIZE

10:35AM   20       WE WOULD RELY ON THAT PROMISE SHOULD ANY OF US COME INTO THE

10:35AM   21       JUSTICE SYSTEM AS A PARTY.

10:35AM   22             OUR CONSTITUTION GUARANTEES THE RIGHT TO A JURY TRIAL, AND

10:35AM   23       THAT IS THE BASIS FOR ALL OF OUR OBLIGATIONS, YOURS AND MINE.

10:35AM   24             I SHOULD TELL YOU THAT I GET SUMMONED FOR JURY SERVICE.

10:35AM   25       IT'S HAPPENED TO ME ONCE -- THREE TIMES IN THE LAST THREE



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10:36AM    1       YEARS.   I SHOULD TELL YOU, WITH GREAT REGRET, I HAVE NOT BEEN

10:36AM    2       SELECTED.   I DON'T KNOW WHAT THAT IS ABOUT.

10:36AM    3             (LAUGHTER.)

10:36AM    4                   THE COURT:    BUT HOPE SPRINGS ETERNAL.   WE'LL SEE.

10:36AM    5             I SUPPOSE I SHOULD MENTION TO YOU THAT I THINK IT'S

10:36AM    6       SIGNIFICANT NOW TO PARTICIPATE IN YOUR JURY SERVICE, PERHAPS

10:36AM    7       NOW MORE THAN EVER.

10:36AM    8             WE KNOW WE'RE IN A PANDEMIC SITUATION NOW, AND OUR LIVES

10:36AM    9       HAVE CHANGED DRAMATICALLY, BOTH IN OUR PROFESSIONAL LIVES AND

10:36AM   10       OUR PERSONAL LIVES AS TO ACTIVITIES THAT WERE PREVIOUSLY THE

10:36AM   11       NORM AND PREVIOUSLY WE HAD THE LUXURY OF ENGAGING IN.

10:36AM   12             AND WE SEE REGRETTABLY IN OUR COMMUNITIES THE LOSS OF LIFE

10:36AM   13       AND INDIVIDUALS AFFECTED WITH THIS PANDEMIC.

10:36AM   14             I SUGGEST TO YOU THAT SERVING AS A JUROR NOW IS AS

10:36AM   15       IMPORTANT AS EVER.    YOU SEE THAT, THAT THEN REFLECTS TO OUR

10:36AM   16       COMMUNITIES, TO OUR COUNTRY, AND TO THE WORLD THAT DURING THE

10:37AM   17       CHALLENGE OF A PANDEMIC, OUR COURTS ARE OPEN AND OUR JUSTICE

10:37AM   18       SYSTEM ENDURES.     AND YOUR PARTICIPATION IN THAT SHOULD, I HOPE,

10:37AM   19       GIVE YOU SOME PRIDE IN YOUR COUNTRY AND PRIDE IN YOUR JUSTICE

10:37AM   20       SYSTEM AS WELL.

10:37AM   21             NOW, I'D LIKE TO TAKE A MOMENT TO TALK ABOUT COVID AND THE

10:37AM   22       COVID PROTOCOLS THAT WE HAVE ENGAGED.      THIS IS OF GREAT CONCERN

10:37AM   23       TO EVERYONE.

10:37AM   24             FIRST OF ALL, LET ME TELL YOU THAT I HAVE THE PERMISSION

10:37AM   25       OF THESE LAWYERS AND OUR STAFF TO TELL YOU THAT EVERYONE ON MY



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10:37AM    1       STAFF AND THE LAWYERS AND THEIR STAFF HAVE BEEN VACCINATED.

10:37AM    2             I SHOULD ALSO TELL YOU THAT THE INFORMATION I HAVE IS THAT

10:37AM    3       ALL OF OUR PROSPECTIVE PANEL MEMBERS, ALL OF YOU, THE

10:37AM    4       INFORMATION WE HAVE IS THAT ALL OF YOU ARE ALSO VACCINATED.

10:37AM    5             WE WILL CONTINUE TO STRIVE TO CONTINUE FOR YOUR

10:38AM    6       PROTECTION, SAFETY, AND GOOD HEALTH.      AS YOU SEE, WE'LL ENGAGE

10:38AM    7       IN SOCIAL DISTANCING.    WE'LL HAVE MASKS AVAILABLE.     PARTIES IN

10:38AM    8       COURT WILL WEAR MASKS.     WITNESSES, DEPENDING ON THEIR HEALTH

10:38AM    9       AND VACCINATION STATUS, MAY BE ABLE TO REMOVE THEIR MASK OR

10:38AM   10       WEAR A CLEAR FACE SHIELD WHILE TESTIFYING.

10:38AM   11             I SHOULD TELL YOU THAT I HAVE ALSO TOLD THE LAWYERS THAT

10:38AM   12       IF THEY WISH TO CALL A WITNESS IN THE CASE, TO INQUIRE AS TO

10:38AM   13       THAT WITNESS'S VACCINATION STATUS IN ADVANCE SO WE CAN TAKE

10:38AM   14       PRECAUTIONS IF WE NEED TO, AND THEY'VE AGREED TO DO THAT.

10:38AM   15             WE'LL HAVE AIR PURIFIERS AT THE WITNESS STAND.      THERE IS

10:38AM   16       ONE HERE UNDERNEATH THE WITNESS STAND THAT IS ACTIVE, AND I

10:38AM   17       BELIEVE WE'LL HAVE ONE OTHER PURIFIER AT EACH COUNSEL TABLE AND

10:38AM   18       WE CAN, SHOULD A SITTING JUROR HAVE A REQUEST FOR ANOTHER OR

10:38AM   19       FEEL IT'S APPROPRIATE, I CAN SECURE ANOTHER AIR FILTER FOR

10:38AM   20       THESE AREAS AS NEEDED.

10:38AM   21             NOW, LET ME TELL YOU A LITTLE BIT ABOUT OUR BUILDING.        OUR

10:38AM   22       COURTHOUSE, IT'S QUITE OLD.      IT'S OVER 25, 30 YEARS OLD.

10:39AM   23             BUT I SHOULD TELL YOU THAT WE RECENTLY HAD AN UPGRADE IN

10:39AM   24       OUR HVAC SYSTEM.    I THINK THAT OCCURRED ABOUT FOUR YEARS AGO.

10:39AM   25       WE'VE UPGRADED OUR SYSTEM TO SOMETHING CALLED MERV 14.        THIS IS



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10:39AM    1       THE MERV FILTRATION SYSTEM, AND THE CURRENT GUIDANCE, AS I

10:39AM    2       UNDERSTAND IT, IS TO INSTALL A MERV 13.      SO WE'RE ABOVE THE

10:39AM    3       MINIMUM STANDARD IN THAT REGARD.

10:39AM    4             THIS HELPS US, AND UNFORTUNATELY, THE AIR QUALITY OUTSIDE

10:39AM    5       IS POOR BECAUSE OF THE FIRES THAT ARE IN CALIFORNIA RIGHT NOW,

10:39AM    6       BUT OUR SYSTEM IS EXCELLENT AT FILTERING THAT AIR AS WELL.

10:39AM    7             I ASKED OUR BUILDING MANAGEMENT ABOUT THE AIR CIRCULATION

10:39AM    8       IN THIS COURTROOM, AND I'M INFORMED THAT THE AIR IN THIS

10:39AM    9       COURTROOM CIRCULATES, IT ENTIRELY CIRCULATES AT -- IT'S CALLED

10:39AM   10       A RATE OF AIR CHANGE PER HOUR RATE, ACH IS WHAT THE ENGINEERS

10:40AM   11       CALL IT, OF 6.3.    AND WHAT THAT MEANS TO ME AND TO YOU IS THAT

10:40AM   12       THE AIR IN THIS COURTROOM CIRCULATES COMPLETELY ABOUT EVERY TEN

10:40AM   13       MINUTES.

10:40AM   14             SO OUR FILTRATION SYSTEM, OUR HVAC SYSTEM, IS WORKING

10:40AM   15       ADMIRABLY.   IT'S DOING ITS JOB.    I HOPE THAT BRINGS YOU SOME

10:40AM   16       COMFORT.

10:40AM   17             WE RUN THIS SYSTEM TWO HOURS IN ADVANCE OF OPENING.          THAT

10:40AM   18       MEANS IT STARTS ABOUT 5:00 A.M. SO IT COULD GENERATE AS MUCH

10:40AM   19       CIRCULATION AS POSSIBLE.     IT RUNS ABOUT TWO HOURS AFTER THE

10:40AM   20       CLOSE OF BUSINESS.

10:40AM   21             AS TO OUR BUILDING ITSELF, THE GSA, THE GENERAL SERVICE

10:40AM   22       ADMINISTRATION WHICH SUPERVISES THE BUILDINGS HERE, HAS

10:40AM   23       IMPLEMENTED GUIDELINES FROM THE CDC REGARDING ROUTINE CLEANING,

10:40AM   24       DISINFECTION OF HIGH TOUCH SURFACE AREAS AND HIGH TRAFFIC

10:41AM   25       AREAS.



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10:41AM    1             WE HAVE FACE MASKS AND SANITIZER TO PROVIDE YOU SHOULD YOU

10:41AM    2       NEED THOSE THINGS, AND IF YOU HAVE A REQUEST FOR THAT, WE CAN

10:41AM    3       CERTAINLY PROVIDE THAT FOR YOU.

10:41AM    4             NOW, THE SCHEDULE I TALKED ABOUT SEEKS TO KEEP TIME IN OUR

10:41AM    5       COURTROOM, NOTWITHSTANDING THE EXCELLENT SYSTEM WE HAVE HERE, I

10:41AM    6       DO WANT TO KEEP TIME IN THE COURTROOM SPACED, SO AS OUR JURORS

10:41AM    7       AND PARTICIPANTS AREN'T SEATED FOR IN EXCESS OF TWO HOURS AT A

10:41AM    8       TIME.   THAT'S WHAT I'M TRYING TO ACCOMPLISH.       WE'LL SPACE

10:41AM    9       BREAKS ALSO AS NECESSARY AND AS I FEEL APPROPRIATE.

10:41AM   10             THIS HOPEFULLY WILL ALLOW FOR BREAKS, BUT ALSO WILL ALLOW

10:41AM   11       FOR THE EFFICIENT AND ORDERLY TRIAL PROCESS TO CONTINUE.

10:41AM   12             NOW, WE HAVE A COURTROOM JUST NEXT DOOR, AND I WANT TO

10:41AM   13       TELL YOU IF YOU'RE SEATED AS A JUROR, THAT'S GOING TO BE YOUR

10:41AM   14       DELIBERATION ROOM.    YOU WILL HAVE THE WHOLE COURTROOM TO USE

10:42AM   15       FOR DELIBERATION AND DISCUSSIONS.

10:42AM   16             AND BY THAT, YOU CAN THEN SOCIALLY DISTANCE YOURSELVES IN

10:42AM   17       THAT COURTROOM.

10:42AM   18             I SHOULD TELL YOU THAT I'VE HAD TWO TRIALS THIS YEAR IN

10:42AM   19       OUR COURTHOUSE, AND THAT'S WHAT OUR JURORS DID.       WE DEDICATED A

10:42AM   20       COURTROOM SO THE JURORS CAN SPACE THEMSELVES OUT.       SOME WILL

10:42AM   21       SIT IN THE JURY BOX.    SOME WITNESS SIT AT THE TABLES AROUND,

10:42AM   22       AND THAT AFFORDS SEPARATION FOR YOU AND HOPEFULLY PROVIDES SOME

10:42AM   23       SAFETY AND COMFORT TO YOU.

10:42AM   24             SO YOU'LL HAVE THE ENTIRE COURTROOM NEXT DOOR TO SERVE AS

10:42AM   25       YOUR DELIBERATION ROOM.



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10:42AM    1             WE ALSO WILL BE PROVIDING DURING THESE THREE DAYS A WEEK,

10:42AM    2       AT LEAST TO START, WE WILL BE PROVIDING, I'M TOLD, SOME

10:42AM    3       BREAKFAST ITEMS.    AND WE'LL HAVE THAT FOR YOU HERE.     WE'LL

10:42AM    4       PROBABLY SPACE THAT OUT BECAUSE I'M TOLD THAT THE SERVICE THAT

10:42AM    5       WE USE IS EXCELLENT, THEY HAVE EXCELLENT BAGELS AND FRESH FRUIT

10:42AM    6       AND THEY BRING A LOT OF IT, SO IT SOUNDS LIKE IT CAN BE SPACED

10:43AM    7       OUT OVER THE COURSE OF THESE THREE DAYS.      SO YOU WILL HAVE

10:43AM    8       BENEFIT OF THAT.

10:43AM    9             NOW, IF YOU HAVE ANY QUESTIONS OR ISSUE REGARDING YOUR

10:43AM   10       SAFETY OR THE COURT CONDITIONS DURING YOUR TIME HERE, YOU

10:43AM   11       SHOULD REACH OUT TO OUR COURT STAFF WITH ANY OF THOSE, AND

10:43AM   12       WE'LL BE HAPPY TO PROVIDE YOU INFORMATION AS NEEDED.

10:43AM   13             NOW, LET ME ASK THIS:    IS THERE ANY MEMBER OF THE PANEL

10:43AM   14       WHO HAS ANY SPECIAL DISABILITY PROBLEM OR ISSUE THAT WOULD MAKE

10:43AM   15       SERVING AS A JUROR DIFFICULT?     I'M CALLING OUT THIS

10:43AM   16       SPECIFICALLY FOR, FIRST OF ALL, ANY HEARING ISSUES?       DOES

10:43AM   17       ANYONE ON THE PANEL HERE HAVE ANY HEARING ISSUE, OR WOULD YOU

10:43AM   18       LIKE TO HAVE AN ASSISTED LISTENING DEVICE PROVIDED FOR YOU

10:43AM   19       TODAY TO ASSIST IN THAT REGARD?     WE HAVE SOME HEADPHONES THAT

10:43AM   20       WE CAN USE IF ANYONE WOULD BENEFIT FROM THAT.

10:43AM   21             IF YOU WOULD RAISE YOUR HAND, WE'LL GET THAT TO YOU.

10:43AM   22             I SEE NO HANDS.

10:43AM   23             ANY OTHER ISSUE, MEDICAL ISSUE OR ANYTHING ELSE THAT

10:43AM   24       SOMEONE WANTS TO RAISE?

10:44AM   25             I SEE A COUPLE OF HANDS.    LET ME TRY TO FIND THOSE JURORS.



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10:44AM    1             WE'RE GOING TO ALSO PROVIDE A MICROPHONE FOR YOU, AND

10:44AM    2       WE'LL SEND THE MICROPHONE WITH WIPES, SO IF YOU WOULD WIPE THE

10:44AM    3       MICROPHONE SURFACE AND PERHAPS THE MICROPHONE SCREEN AS WELL,

10:44AM    4       THAT WOULD BE HELPFUL.

10:44AM    5             SO LET ME SEE THE HANDS AGAIN, PLEASE.

10:44AM    6             OKAY.    THAT LOOKS -- IS THAT MR. PACK?       YOU'RE JUROR

10:44AM    7       NUMBER 137, SIR?

10:44AM    8                     PROSPECTIVE JUROR:     YES.

10:44AM    9                     THE COURT:    WHAT WOULD YOU LIKE ME TO KNOW?

10:44AM   10                     PROSPECTIVE JUROR:     I HAVE A SURGERY SCHEDULED FOR

10:44AM   11       THE 8TH.   IT'S POSSIBLE TO RESCHEDULE IT, BUT IT PROBABLY IS

10:44AM   12       GOING TO BE DIFFICULT GIVEN IT PROBABLY TAKES ONE OR MAYBE TWO

10:44AM   13       DAYS RECUPERATION.

10:44AM   14                     THE COURT:    I SEE.   AND THAT IS SCHEDULED NEXT WEEK

10:44AM   15       IT SOUNDS LIKE.

10:44AM   16                     PROSPECTIVE JUROR:     YES, I APOLOGIZE.   I DIDN'T

10:45AM   17       EXPECT THE TRIAL TO START SO SOON.

10:45AM   18                     THE COURT:    WELL, WE'RE VERY EFFICIENT, MR. PACK.

10:45AM   19             (LAUGHTER.)

10:45AM   20                     THE COURT:    I APPRECIATE THAT.   RESCHEDULING -- I

10:45AM   21       WANT TO BE DELICATE HERE AND I DON'T WANT YOU TO REVEAL ANY

10:45AM   22       PERSONAL INFORMATION -- BUT RESCHEDULING, YOU HEARD ME TALK

10:45AM   23       ABOUT THE LENGTH OF THE TRIAL.

10:45AM   24             WHAT ARE YOUR THOUGHTS ABOUT RESCHEDULING THE SURGERY?

10:45AM   25       DON'T TELL ME WHAT IT IS, BUT --



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10:45AM    1                   PROSPECTIVE JUROR:     YEAH.   SO THERE'S AN OUTSIDE

10:45AM    2       POSSIBILITY THAT I COULD PUSH IT INTO THIS FRIDAY, BUT THAT IS

10:45AM    3       PROBABLY DIFFICULT.

10:45AM    4             IT'S NOT A LIFE THREATENING THING.        IT'S SOMETHING THAT IS

10:45AM    5       A SEVERE INCONVENIENCE, SO I WOULD LIKE TO HAVE IT DONE.

10:45AM    6                   THE COURT:    SURE.    OF COURSE.   THE RECOVERY TIME

10:46AM    7       WOULD BE HOW LONG?    OR WHAT IS THE INFORMATION THAT YOU HAVE?

10:46AM    8                   PROSPECTIVE JUROR:     IT'S BASICALLY A SINUS SURGERY,

10:46AM    9       YOU KNOW, SO IT'S PROBABLY -- SO I PROBABLY DON'T HAVE A

10:46AM   10       PROBLEM THE NEXT DAY.      BUT THERE'S A POSSIBILITY, AND LOOKING

10:46AM   11       REALLY WEIRD.

10:46AM   12                   THE COURT:    THAT'S WHAT THE MASKS ARE FOR.

10:46AM   13                   PROSPECTIVE JUROR:     YES, THAT'S RIGHT.    I'LL USE A

10:46AM   14       BIG MASK.

10:46AM   15             (LAUGHTER.)

10:46AM   16                   THE COURT:    WELL, MY CONCERN IS YOUR HEALTH AND YOUR

10:46AM   17       CONDITION, AND IN OUR CURRENT CLIMATE WITH THE PANDEMIC AND

10:46AM   18       THIS VARIANT THAT IS ABOUT, LET ME JUST EXPRESS A CONCERN, MY

10:46AM   19       SENSE IS THAT YOU PROBABLY WOULD BE TAKING SOME ANTIBIOTICS OR

10:46AM   20       SOME OTHER TYPE OF FOLLOW-UP MEDICATION FOLLOWING THE SURGERY.

10:46AM   21             MY CONCERN IS THAT YOU MIGHT OTHERWISE BE AT A HIGHER RISK

10:46AM   22       OF INFECTION, SHALL WE SAY, THAT CREATES SOME CONCERNS.

10:46AM   23             HAVE YOU TALKED TO YOUR DOCTOR ABOUT THAT, AND WHAT HAS

10:46AM   24       SHE TOLD YOU?    IF YOU WANT TO SHARE.     YOU DON'T HAVE TO.

10:47AM   25                   PROSPECTIVE JUROR:     ACTUALLY, THE INFECTION THING IS



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10:47AM    1       NOT A CONCERN --

10:47AM    2                   THE COURT:    OKAY.

10:47AM    3                   PROSPECTIVE JUROR:     -- TO ME.    I JUST DO NOT WANT TO

10:47AM    4       HAVE YOU DEPEND UPON ME AND HAVE ME NOT SHOW UP AS A GOOD --

10:47AM    5       OPERATING IN GOOD CAPACITY.

10:47AM    6                   THE COURT:    THANK YOU VERY MUCH, SIR.

10:47AM    7             MR. SCHENK, ANY QUESTIONS?

10:47AM    8                   MR. SCHENK:    NO OBJECTION TO HARDSHIP, YOUR HONOR.

10:47AM    9                   MR. DOWNEY:    NO OBJECTION, YOUR HONOR.

10:47AM   10                   THE COURT:    ALL RIGHT.    THANK YOU.

10:47AM   11             MR. PACK, THE LAWYERS HAVE INDICATED THAT THEY WOULD AGREE

10:47AM   12       AND STIPULATE TO THE EXCUSAL FOR THE MEDICAL REASONS AND

10:47AM   13       STIPULATION.    I EXCUSE YOU NOW.      BEST WISHES ON YOUR SURGERY.

10:47AM   14       THANK YOU FOR JOINING US THIS MORNING.         IT WAS A PLEASURE

10:47AM   15       MEETING YOU.

10:47AM   16                   PROSPECTIVE JUROR:     THANK YOU, YOUR HONOR.

10:47AM   17                   THE COURT:    CAN MR. PACK JUST LEAVE, OR DOES HE HAVE

10:47AM   18       TO GO DOWNSTAIRS?

10:47AM   19                   THE CLERK:    NO, YOUR HONOR.    HE CAN JUST LEAVE THE

10:48AM   20       COURTHOUSE.

10:48AM   21                   THE COURT:    WE'LL COLLECT THE MICROPHONE.     IF YOU

10:48AM   22       COULD LEAVE THE PAPERWORK, THOUGH, ON YOUR SEAT THERE.

10:48AM   23                   THE CLERK:    I BELIEVE THE JUROR NEXT DOOR CAN TAKE

10:48AM   24       IT.

10:48AM   25                   THE COURT:    OKAY.    THANK YOU, MR. PACK.



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10:48AM    1             I SAW ANOTHER HAND.     IS THAT MR. TAUSWORTHE?    IS THAT

10:48AM    2       RIGHT?   JUROR NUMBER 141?

10:48AM    3                    PROSPECTIVE JUROR:     YES.

10:48AM    4                    THE COURT:    YOU CAN WIPE THE MICROPHONE THERE AND

10:48AM    5       USE THAT IF YOU WISH, PLEASE.

10:48AM    6                    PROSPECTIVE JUROR:     I HAVE RELAPSING REMEDIAL

10:48AM    7       SCLEROSIS WHICH CAN AFFECT MY ABILITY TO WALK AND MY LINE OF

10:48AM    8       SIGHT.   I HAVEN'T HAD ANY FLARE UPS IN A FEW YEARS SINCE I

10:48AM    9       CHANGED MEDICATION.       I JUST WANTED TO ESTABLISH THAT SO IF

10:48AM   10       SOMETHING WERE TO HAPPEN, ALTHOUGH IT'S UNLIKELY, IT WOULDN'T

10:49AM   11       BE A SURPRISE TO THE COURT.

10:49AM   12                    THE COURT:    THANK YOU, SIR.    I READ THAT IN YOUR

10:49AM   13       QUESTIONNAIRE.    YOU INFORMED US OF THAT.      I THINK YOU INDICATED

10:49AM   14       AS MUCH IN YOUR QUESTIONNAIRE.       IT WAS INFORMATION THAT YOU

10:49AM   15       WANTED US TO KNOW.    BUT YOU HAD A THOUGHT, AS YOU JUST

10:49AM   16       EXPRESSED, THAT IT WOULD NOT CAUSE YOU ANY ISSUE TO SIT AS A

10:49AM   17       JUROR HERE.    IS THAT ACCURATE?

10:49AM   18                    PROSPECTIVE JUROR:     YEAH, I DO NOT EXPECT ANY ISSUE.

10:49AM   19                    THE COURT:    WOULD IT -- LET ME JUST TALK ABOUT

10:49AM   20       SEATING.   YOU SEE THE JURY BOX HERE.        THAT'S NORMALLY WHERE

10:49AM   21       JURORS WOULD SIT.    THAT'S WHERE SOME OF THE JURORS WHO ARE

10:49AM   22       SELECTED IN THIS CASE WILL SIT.

10:49AM   23             WE MAY HAVE TO USE ANOTHER ROW TO KEEP SOCIAL DISTANCING

10:49AM   24       PROTOCOLS.    WOULD SEATING YOU IN A CERTAIN WAY BE OF

10:49AM   25       ASSISTANCE?



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10:49AM    1                   PROSPECTIVE JUROR:     IT COULD BE.     AGAIN, AT THE

10:49AM    2       MOMENT I DON'T THINK THAT'S NECESSARY, BUT IF SOMETHING WERE TO

10:49AM    3       HAPPEN, THAT WOULD PROBABLY WORK OUT GREAT.

10:50AM    4                   THE COURT:    OKAY.    ALL RIGHT.

10:50AM    5              DO YOU -- AND I'M SORRY TO INQUIRE, AND IF YOU WOULD LIKE

10:50AM    6       TO SPEAK PRIVATELY ABOUT THIS, I'M HAPPY TO ARRANGE THAT.

10:50AM    7              ARE THERE MEDICATIONS THAT YOU TAKE THAT CAUSE YOU TO

10:50AM    8       BE -- TO INTERRUPT YOUR -- LET ME JUST CALL IT YOUR COGNITIVE

10:50AM    9       ABILITIES, YOUR ABILITY TO FOCUS, TO LISTEN, TO HEAR?

10:50AM   10                   PROSPECTIVE JUROR:     NO, WE HAVE NOT OBSERVED

10:50AM   11       ANYTHING LIKE THAT WITH MY MEDICATIONS.

10:50AM   12                   THE COURT:    OKAY.    GREAT.   THANK YOU.

10:50AM   13              ANY QUESTIONS, MR. SCHENK?

10:50AM   14                   MR. SCHENK:    NO, YOUR HONOR.

10:50AM   15                   MR. DOWNEY:    NOTHING, YOUR HONOR.

10:50AM   16                   THE COURT:    OKAY.    THANK YOU FOR TELLING US THAT,

10:50AM   17       SIR.    I APPRECIATE THAT.

10:50AM   18                   PROSPECTIVE JUROR:     THANK YOU, YOUR HONOR.

10:50AM   19                   THE COURT:    YOU'RE WELCOME.

10:50AM   20              I THINK THERE WAS ANOTHER HAND BEHIND YOU.        IS THAT

10:50AM   21       MR. TONG?    YOU'RE JUROR NUMBER 147, I BELIEVE.         WE'LL HAND YOU

10:50AM   22       THE MICROPHONE AND YOU CAN WIPE IT IF YOU WOULD LIKE.

10:50AM   23                   PROSPECTIVE JUROR:     IS THIS MEDICAL OR WITH REGARD

10:50AM   24       TO ANY HARDSHIP THAT WE HAVE?

10:50AM   25                   THE COURT:    THIS IS MEDICAL.



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10:50AM    1                   PROSPECTIVE JUROR:      I'LL WAIT FOR LATER.

10:50AM    2                   THE COURT:    OKAY.    DO YOU FEEL YOU HAVE A HARDSHIP

10:51AM    3       THAT YOU WANT TO TALK ABOUT?

10:51AM    4                   PROSPECTIVE JUROR:      IT'S NOT MEDICAL RELATED.

10:51AM    5                   THE COURT:    OKAY.    THANK YOU.

10:51AM    6             WAS THERE ANOTHER HAND FOR MEDICAL OR ANY OTHER ISSUE?

10:51AM    7             ANY BACK THERE?     NO.   I DON'T SEE ANY IN THE AUDIENCE.

10:51AM    8             SO WE'LL REACH OUT.       IS IT MS. ZHAO?   MS. ZHAO, JUST A

10:51AM    9       SECOND AND WE ARE GOING TO GET A MICROPHONE FOR YOU.

10:51AM   10                   PROSPECTIVE JUROR:      HI, YOUR HONOR.   I AM

10:51AM   11       XIAOYAN ZHAO.

10:51AM   12             I HAVE TWO PROCEDURES SCHEDULED, KIND OF RADIOLOGY, AN

10:51AM   13       X-RAY, AND IT'S A FOLLOW-UP EXAM, BUT BASICALLY PREVIOUSLY IT

10:51AM   14       WAS DEFERRED KIND OF THEY HAVE SUSPICION OF THEY WANT TO GET A

10:52AM   15       BIOPSY.    SO THE RESULT, IT WAS DEFERRED BECAUSE AT THE TIME I

10:52AM   16       DON'T HAVE ANYONE TO TAKE CARE OF THE KIDS SO WE DEFER IT TO

10:52AM   17       OCTOBER.

10:52AM   18             AND BASED ON THE RESULT, SO MY MENTAL AND EVERYTHING ELSE

10:52AM   19       MAY CHANGE.    SO THAT'S A POTENTIAL EFFECT TO THE CASE TO MY

10:52AM   20       AVAILABILITY, AND ALSO EVERYTHING FOLLOWS.

10:52AM   21                   THE COURT:    THAT'S IN OCTOBER?

10:52AM   22                   PROSPECTIVE JUROR:      YEAH.

10:52AM   23                   THE COURT:    OCTOBER?    IS IT MID-OCTOBER?     LATE

10:52AM   24       OCTOBER?

10:52AM   25                   PROSPECTIVE JUROR:      IT'S EARLY OCTOBER.



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10:52AM    1                   THE COURT:    EARLY OCTOBER.   OKAY.

10:52AM    2             AND THEN -- THERE'S A RADIOLOGY APPOINTMENT.      AND THEN DID

10:52AM    3       YOU SAY THERE WOULD BE A SUBSEQUENT BIOPSY AFTER THAT?

10:52AM    4                   PROSPECTIVE JUROR:     THE PREVIOUS RADIOLOGY HAVE A

10:52AM    5       BIOPSY FOLLOWED, AND I POSTPONED THE BIOPSY TO OCTOBER.        BUT IN

10:52AM    6       SEPTEMBER I WILL HAVE ANOTHER RADIOLOGY TO FOLLOW UP.

10:53AM    7                   THE COURT:    RIGHT.   AND THEN YOU'LL CONSULT WITH

10:53AM    8       YOUR PHYSICIANS ABOUT THE RESULTS OF THAT?

10:53AM    9                   PROSPECTIVE JUROR:     YEAH.

10:53AM   10                   THE COURT:    I SEE.   DO YOU THINK THAT THAT -- IS

10:53AM   11       THAT GOING TO AFFECT YOUR ABILITY TO CONCENTRATE ON THIS CASE

10:53AM   12       DO YOU THINK?

10:53AM   13                   PROSPECTIVE JUROR:     YEAH, I THINK --

10:53AM   14                   THE COURT:    SURE.

10:53AM   15                   PROSPECTIVE JUROR:     -- BASED ON THE RESULTS IT WILL

10:53AM   16       GIVE ME CONCERN.

10:53AM   17                   THE COURT:    SURE.

10:53AM   18             ANY QUESTIONS, MR. SCHENK?

10:53AM   19                   MR. SCHENK:    NO, YOUR HONOR.

10:53AM   20                   MR. DOWNEY:    NOTHING, YOUR HONOR.

10:53AM   21                   THE COURT:    ALL RIGHT.   THANK YOU FOR TELLING US

10:53AM   22       ABOUT THAT, MS. ZHAO.      I APPRECIATE IT.

10:53AM   23             I WILL EXCUSE YOU AT THIS TIME.      SO JUROR NUMBER 120,

10:53AM   24       MRS. ZHAO, IS EXCUSED FOR HARDSHIP, AND BEST WISHES TO YOU.

10:53AM   25                   PROSPECTIVE JUROR:     THANK YOU.



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10:53AM    1                   THE COURT:    ALL RIGHT.    THANK YOU.

10:53AM    2              I DON'T SEE ANY OTHER HANDS FOR THAT QUESTION.

10:53AM    3              ONE JUST POPPED UP.   MR. NGO, WE'LL GET THE MICROPHONE TO

10:54AM    4       YOU.

10:54AM    5                   PROSPECTIVE JUROR:      MY NAME IS ANTONION NGO.

10:54AM    6              CAN I BE EXCUSED BECAUSE I HAVE A PROBLEM WITH MY HEARING

10:54AM    7       AND I HAVE TO TAKE CARE OF MY KID?       MY WIFE I TAKE TO WORK

10:54AM    8       EVERY DAY AND I'M THE ONLY ONE WHO IS DRIVING.

10:54AM    9                   THE COURT:    WELL, SIR, AS TO YOUR HEARING, WE HAVE

10:54AM   10       ASSISTED LISTENING DEVICES, AND I'M HAPPY TO PROVIDE THAT TO

10:54AM   11       YOU IF YOU THINK THAT WOULD BE HELPFUL TO YOU.

10:55AM   12                   PROSPECTIVE JUROR:      ALSO, I HAVE TO DROP OFF MY WIFE

10:55AM   13       TO WORK EVERY DAY, AND MY MOTHER-IN-LAW, I NEED TO TAKE HER

10:55AM   14       BLOOD SUGAR EVERY DAY, TOO.        THEY'RE 82 YEARS OLD.

10:55AM   15                   THE COURT:    ALL RIGHT, SIR.    WHAT TIME DO YOU DROP

10:55AM   16       OFF YOUR CHILDREN?

10:55AM   17                   PROSPECTIVE JUROR:      PARDON ME?

10:55AM   18                   THE COURT:    WHAT TIME DO YOU DROP YOUR CHILDREN OFF?

10:55AM   19                   PROSPECTIVE JUROR:      8:00 IN THE MORNING, AND MY WIFE

10:55AM   20       MAYBE 12:00 O'CLOCK.

10:55AM   21                   THE COURT:    I SEE.    ALL RIGHT.   THANK YOU.

10:55AM   22              ANY QUESTIONS, MR. SCHENK?

10:55AM   23                   MR. SCHENK:    NO, YOUR HONOR.

10:55AM   24                   MR. DOWNEY:    NOTHING.

10:55AM   25                   THE COURT:    ALL RIGHT.    THANK YOU, SIR.    THANK YOU.



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10:55AM    1             MR. NGO, THANK YOU.    I'M NOT GOING TO EXCUSE YOU JUST AT

10:55AM    2       THE MOMENT, BUT IF YOU WOULD JUST TAKE A SEAT.

10:56AM    3             LET ME ASK YOU, WOULD YOU LIKE ONE OF THESE ASSISTED

10:56AM    4       LISTENING DEVICES?

10:56AM    5             WHY DON'T WE PROVIDE SOMETHING TO MR. NGO JUST FOR THE

10:56AM    6       MOMENT.

10:56AM    7                   THE CLERK:    (HANDING.)

10:56AM    8                   THE COURT:    THANK YOU.

10:56AM    9             ANY OTHER RESPONSE TO THAT QUESTION?

10:56AM   10             I SEE NO HANDS.

10:56AM   11             LADIES AND GENTLEMEN, WE NOW COME TO THAT PORTION OF THE

10:56AM   12       TRIAL WHERE I WILL ASK YOU SOME QUESTIONS REGARDING YOUR

10:57AM   13       QUALIFICATIONS TO SIT AS JURORS IN THE CASE.        COUNSEL WILL ALSO

10:57AM   14       HAVE AN OPPORTUNITY TO ASK YOU QUESTIONS.

10:57AM   15             THIS PROCESS IS VERY IMPORTANT BECAUSE THE PARTIES AND THE

10:57AM   16       COURT WANT FAIR AND IMPARTIAL JURORS, JURORS WHO ARE FREE OF

10:57AM   17       ANY PRECONCEIVED IDEA, BELIEF, ATTITUDE, BIAS, OR PREJUDICE

10:57AM   18       ABOUT THE OFFENSES CHARGED OR THE ACCUSED, AND JURORS WHO WILL

10:57AM   19       DECIDE THIS CASE ONLY AFTER HEARING ALL OF THE EVIDENCE IN THIS

10:57AM   20       COURTROOM, THE ARGUMENTS OF COUNSEL, THE LAW AS GIVEN TO YOU BY

10:57AM   21       THE COURT, AND THEN ONLY AFTER DELIBERATING WITH YOUR FELLOW

10:57AM   22       JURORS.

10:57AM   23             BY THE OATH THAT YOU HAVE TAKEN, YOU'RE OBLIGATED TO

10:57AM   24       ANSWER ALL OF THESE QUESTIONS TRUTHFULLY AND COMPLETELY.

10:57AM   25             YOU'LL HELP THE PROCESS BY VOLUNTEERING INFORMATION ABOUT



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10:57AM    1       YOUR EXPERIENCES, FEELINGS, BIASES, IF ANY, EVEN THOUGH YOU

10:57AM    2       FEEL YOU CAN PUT ASIDE THOSE FEELINGS, EXPERIENCES, AND BIASES

10:58AM    3       TO SERVE AS A FAIR AND IMPARTIAL JUROR.

10:58AM    4             IF YOU ARE SENSITIVE ABOUT ANSWERING ANY QUESTION OF ANY

10:58AM    5       TYPE, YOU SHOULD PLEASE LET ME KNOW AND WE CAN DISCUSS WHATEVER

10:58AM    6       THAT MATTER IS PRIVATELY WITH COUNSEL.

10:58AM    7             LET ME SAY, YOU SHOULD -- IF YOU FEEL THAT YOU'D LIKE TO

10:58AM    8       DISCUSS SOMETHING PRIVATELY, PLEASE DON'T BE SHY ABOUT LETTING

10:58AM    9       ME KNOW THAT.    THAT'S VERY COMMON IN OUR COURTS, AND WE DO THAT

10:58AM   10       WITH GREAT FREQUENCY.    SO DON'T BE SHY ABOUT LETTING ME KNOW

10:58AM   11       THAT, AND WE CAN CERTAINLY ENGAGE THAT.

10:58AM   12             THIS PROCESS SEEKS TO IDENTIFY ANY MATTER, INCLUDING THOSE

10:58AM   13       THAT MIGHT BE CONTROVERSIAL THAT RAISE AN ISSUE OF BIAS OR AN

10:58AM   14       INABILITY TO BE FAIR AND IMPARTIAL.

10:58AM   15             NOW, IF ANY JUROR FEELS LIKE AN ISSUE HAS ARISEN THAT YOU

10:58AM   16       WOULD LIKE TO, OR YOU THINK IT MIGHT BE BETTER TO SPEAK IN

10:58AM   17       PRIVATE WITH THE COURT AND COUNSEL, AS I'VE SAID, PLEASE LET ME

10:58AM   18       KNOW AND WE CAN CERTAINLY DO THAT.

10:58AM   19             YOU SEE, IT'S IMPORTANT THAT YOU EXPRESS THESE ISSUES WITH

10:59AM   20       THE PARTIES.    WE CAN MEET PRIVATELY AND ALLOW YOU TO DO THAT.

10:59AM   21             AND I WANT YOU TO BE FRANK AND OPEN, BUT I ALSO WANT TO

10:59AM   22       NOT ALLOW ANYTHING THAT IS SAID TO NEGATIVELY INFLUENCE OR

10:59AM   23       AFFECT ANY OTHER JUROR.     THIS IS IMPORTANT.      WHILE WE ALL WANT

10:59AM   24       TO HEAR YOUR CANDID THOUGHTS ON TOPICS, IT IS IMPORTANT THAT

10:59AM   25       EXPRESSIONS, WHILE HEARTFELT, DO NOT TAINT OR NEGATIVELY IMPACT



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10:59AM    1       THE FAIRNESS OF THE PANEL.

10:59AM    2             SO IF YOU FEEL, LADIES AND GENTLEMEN, THAT YOU MIGHT, FOR

10:59AM    3       WHATEVER REASON, HAVE AN ISSUE THAT IS CONTROVERSIAL OR

10:59AM    4       SOMETHING -- A STRONG BELIEF ABOUT SOMETHING, LET ME KNOW,

10:59AM    5       PLEASE, AND WE'LL HAVE A PRIVATE CONVERSATION ABOUT THAT.

10:59AM    6             NOW, IN SELECTING A JUROR, EACH SIDE IS PERMITTED A

10:59AM    7       CERTAIN NUMBER OF PEREMPTORY CHALLENGES TO PROSPECTIVE JURORS

10:59AM    8       AND AN ATTORNEY MAY EXCUSE A JUROR JUST BECAUSE THEY FEEL THIS

10:59AM    9       IS NOT THE RIGHT CASE FOR THEM.

10:59AM   10             THERE ARE CHALLENGES FOR CAUSE, AND THOSE ARISE WHERE A

11:00AM   11       PARTY OR THE COURT FEELS THAT AN INDIVIDUAL CANNOT SIT ON THE

11:00AM   12       CASE BECAUSE OF A BIAS, INTEREST, OR OTHER INABILITY TO BE

11:00AM   13       FAIR.

11:00AM   14             I'LL DETERMINE IF A JUROR SHOULD BE EXCUSED FOR CAUSE.

11:00AM   15       THE QUESTIONS OF THE COURT AND COUNSEL AND THE ANSWERS OF THE

11:00AM   16       PROSPECTIVE JURORS ASSIST THE ATTORNEYS IN THIS PROCESS.

11:00AM   17             NOW, FOLLOWING MY QUESTIONS AND THE QUESTIONS -- MY

11:00AM   18       QUESTIONS, THE LAWYERS WILL HAVE AN OPPORTUNITY TO MAKE ANY

11:00AM   19       DECISIONS ABOUT THE JURORS THAT THEY WISH.      WE'LL TAKE THESE UP

11:00AM   20       AFTER WE HAVE MET ALL OF THE PANELS, AND YOU'LL THEN BE

11:00AM   21       NOTIFIED BY THE COURT WHETHER AND WHEN YOU SHOULD RETURN TO THE

11:00AM   22       COURT FOR FURTHER SERVICE.

11:00AM   23             WE WILL ALSO BE SELECTING FIVE ALTERNATE JURORS IN THIS

11:00AM   24       CASE.   THEY WILL SIT DURING THE TRIAL AND, SHOULD A MEMBER OF

11:00AM   25       THE SEATED 12 JURORS BE UNABLE TO CONTINUE TO SIT AS A JUROR,



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11:00AM    1       THE ALTERNATE JUROR WOULD REPLACE THAT SITTING JUROR AND WOULD

11:01AM    2       JOIN THE OTHER JURORS IN DELIBERATION AT THE CONCLUSION OF THE

11:01AM    3       CASE.

11:01AM    4             IF THERE IS NO NEED FOR THE SUBSTITUTION OF A SITTING

11:01AM    5       JUROR, THE ALTERNATE JURORS WOULD BE PERMITTED TO GO HOME.          YOU

11:01AM    6       WOULD STILL BE UNDER THE COURT ORDER NOT TO DISCUSS THE CASE OR

11:01AM    7       NOT TO READ, LISTEN TO, OR SEE ANY MATERIAL ATTACHED TO IT, BUT

11:01AM    8       YOU WOULD AND COULD BE SUBJECT TO BEING RECALLED TO REPLACE A

11:01AM    9       SITTING DELIBERATING JUROR.

11:01AM   10             IF THAT HAPPENS, THE JURY DELIBERATIONS WOULD START ANEW,

11:01AM   11       ALL OVER AGAIN WITH THE NEW SEATED AND SUBSTITUTED JUROR.

11:01AM   12             NOW, YOU'VE COMPLETED QUESTIONNAIRES LAST WEEK.       I'M

11:01AM   13       GRATEFUL FOR THAT.    WE'RE ALL GRATEFUL FOR THAT.      YOUR ANSWERS

11:01AM   14       IN RESPONSE TO THOSE QUESTIONNAIRES HAVE BEEN VERY HELPFUL IN

11:01AM   15       PREPARATION FOR THIS PROCESS.

11:01AM   16             NOW, MY QUESTIONS MAY BE REPETITIVE AS TO SOME OF THOSE

11:02AM   17       ITEMS ASKED, AND I'LL HAVE SOME ADDITIONAL QUESTIONS TO ASK AS

11:02AM   18       WELL.   SO THANK YOU IN ADVANCE FOR YOUR PATIENCE.

11:02AM   19             PLEASE DO LISTEN CAREFULLY TO ALL OF THE QUESTIONS ASKED

11:02AM   20       AND THE ANSWERS OF PROSPECTIVE JURORS.      DOING SO MAY ASSIST YOU

11:02AM   21       IN THINKING ABOUT WHAT YOUR RESPONSE MIGHT BE TO A QUESTION.

11:02AM   22             NOW, FIRST OF ALL, LET ME ASK THE PANEL AS A WHOLE HERE,

11:02AM   23       DO ANY OF YOU KNOW THE ASSISTANT UNITED STATES ATTORNEYS OR

11:02AM   24       DEFENSE COUNSEL OR ANY MEMBERS OF THEIR TEAMS?        ANYONE HAVE

11:02AM   25       FAMILIARITY WITH ANY OF THESE PARTIES HERE?         RAISE YOUR HAND IF



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11:02AM    1       YOU DO.

11:02AM    2             I SEE NO HANDS.

11:02AM    3             HAVE ANY OF YOU HAD ANY BUSINESS DEALINGS WITH THE

11:02AM    4       ATTORNEYS OR BEEN REPRESENTED BY THEM OR MEMBERS OF THEIR

11:02AM    5       FIRMS?

11:02AM    6             AGAIN, I SEE NO HANDS.

11:02AM    7             DO ANY OF YOU KNOW THE DEFENDANT, MS. HOLMES?      ANY OF YOU

11:02AM    8       KNOW MS. HOLMES?

11:02AM    9             I SEE NO HANDS.

11:02AM   10             DO ANY OF YOU KNOW ANY OF THE WITNESSES THAT WERE ON THE

11:03AM   11       WITNESS LIST?

11:03AM   12             I SEE A HAND HERE IN THE JURY BOX.

11:03AM   13                   PROSPECTIVE JUROR:     I KNOW TWO.

11:03AM   14                   THE COURT:    HANG ON, MR. WAXMAN, AND WE'LL GET YOU A

11:03AM   15       MICROPHONE.

11:03AM   16             THIS IS MR. WAXMAN, JUROR NUMBER 220.

11:03AM   17                   PROSPECTIVE JUROR:     NO, MR. GOLDBERG.

11:03AM   18                   THE COURT:    GOLDBERG, I BEG YOUR PARDON.    I'M

11:03AM   19       LOOKING AT THE WRONG CHART.

11:03AM   20             MR. GOLDBERG, YOU ARE JUROR NUMBER 102.       I BEG YOUR

11:03AM   21       PARDON.

11:03AM   22             YES, SIR?

11:03AM   23                   PROSPECTIVE JUROR:     I SEE A NAME ON THE WITNESS LIST

11:03AM   24       WITH WHOM I HAVE A PERSONAL AND PROFESSIONAL RELATIONSHIP.

11:03AM   25                   THE COURT:    OKAY.



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11:03AM    1                   PROSPECTIVE JUROR:     I DID NOT NOTICE THAT NAME WHEN

11:03AM    2       WE FILLED OUT THE QUESTIONNAIRE.

11:03AM    3                   THE COURT:    I SEE.   WELL, THERE'S A LOT OF THEM.     I

11:03AM    4       RESPECT THAT.

11:03AM    5             WHO IS IT, SIR.

11:03AM    6                   PROSPECTIVE JUROR:     HIS NAME IS SETH MICHELSON.

11:03AM    7       HE'S A RETIRED MEDICAL RESEARCHER.

11:03AM    8                   THE COURT:    OKAY.    AND TELL ME THE NATURE OF YOUR

11:03AM    9       CONNECTION WITH HIM.

11:03AM   10                   PROSPECTIVE JUROR:     I'M A CUSTOM PICTURE FRAMER IN

11:03AM   11       THE COMMUNITY NEAR DOWNTOWN, AND HE'S ONE OF MY LONG-TIME

11:03AM   12       CUSTOMERS, AND WE HAVE SPOKEN ABOUT PERSONAL MEDICAL ISSUES

11:03AM   13       HAVING TO DO WITH THE ILLNESS OF MY FATHER.

11:03AM   14                   THE COURT:    I SEE.   MR. GOLDBERG, HAVE YOU TALKED TO

11:04AM   15       HIM AT ALL ABOUT ANYTHING ABOUT THIS CASE?

11:04AM   16                   PROSPECTIVE JUROR:     NOTHING HAVING TO DO WITH THIS

11:04AM   17       CASE.

11:04AM   18                   THE COURT:    I SEE.   OKAY.

11:04AM   19             TELL ME, WHAT EFFECT DO YOU THINK YOUR RELATIONSHIP WITH

11:04AM   20       MR. MICHELSON WILL BE SHOULD HE TESTIFY IN THIS CASE?

11:04AM   21                   PROSPECTIVE JUROR:     GIVEN MY EXPERIENCE WITH HIM, I

11:04AM   22       WOULD GIVE GREAT WEIGHT TO HIS TESTIMONY BEING ACCURATE.

11:04AM   23                   THE COURT:    I SEE.

11:04AM   24             DO YOU THINK IF HE IS CALLED AS A WITNESS, IF HE

11:04AM   25       TESTIFIES, WOULD YOU BE ABLE TO WEIGH HIS TESTIMONY AND



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11:04AM    1       CREDIBILITY?    THAT'S WHAT JURORS DO, THEY DETERMINE CREDIBILITY

11:04AM    2       OF TESTIMONY.

11:04AM    3             DO YOU THINK YOU WOULD BE ABLE TO WEIGH HIS TESTIMONY THE

11:04AM    4       WAY YOU WOULD ANY OTHER WITNESS?

11:04AM    5                   PROSPECTIVE JUROR:     I WOULD APPLY THE RULES OF

11:04AM    6       EVIDENCE AND -- OF THE LAW.

11:05AM    7             HOWEVER, KNOWING THE MAN IN A CASE WHERE AN INDIVIDUAL

11:05AM    8       DISAGREED WITH HIM, I WOULD BE INCLINED TO BELIEVE

11:05AM    9       MR. MICHELSON.

11:05AM   10                   THE COURT:    THAT'S WHERE I WAS GOING NEXT.    THANK

11:05AM   11       YOU FOR THAT.

11:05AM   12             IT MAY BE THAT -- IT'S NOT UNUSUAL FOR A WITNESS TO

11:05AM   13       TESTIFY AND THEN OTHER EVIDENCE THAT MAY COME IN THAT MIGHT

11:05AM   14       REBUT OR BE CONTRARY TO A WITNESS'S TESTIMONY.

11:05AM   15             AND IN REGARDS TO MR. MICHELSON, I DON'T KNOW IF HE'S

11:05AM   16       GOING TO TESTIFY OR NOT, BUT IF HE DID AND IF EVIDENCE WERE TO

11:05AM   17       COME IN THAT WAS CONTRARY, OR THE OTHER SIDE OF HIS TESTIMONY,

11:05AM   18       IS THERE ANY WAY THAT YOU THINK YOU COULD KEEP A --

11:05AM   19                   PROSPECTIVE JUROR:     I DON'T BELIEVE I COULD --

11:05AM   20                   THE COURT:    I'M SORRY.   LET ME FINISH.

11:05AM   21             IS THERE ANY WAY THAT YOU THINK YOU COULD JUDGE FAIRLY

11:05AM   22       MR. MICHELSON'S TESTIMONY, NOTWITHSTANDING YOUR RELATIONSHIP

11:05AM   23       WITH HIM?

11:05AM   24                   PROSPECTIVE JUROR:     YES, I BELIEVE I COULD WEIGH IT

11:05AM   25       OBJECTIVELY.



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11:05AM    1                   THE COURT:    OKAY.    AND I'M SORRY, MR. GOLDBERG,

11:06AM    2       THESE LAWYERS ARE GOING TO ASK YOU SOME QUESTIONS ABOUT THAT,

11:06AM    3       TOO.

11:06AM    4                   PROSPECTIVE JUROR:     SURE.

11:06AM    5                   THE COURT:    BUT I THINK YOUR FIRST ANSWER WAS, I

11:06AM    6       DON'T THINK I COULD DO THAT.

11:06AM    7                   PROSPECTIVE JUROR:     UM --

11:06AM    8                   THE COURT:    MR. GOLDBERG, I'M SORRY, WE JUST HAVE TO

11:06AM    9       TALK ONE AT A TIME, AND I APOLOGIZE.

11:06AM   10              YOU TOLD ME FIRST, I'M GOING TO GIVE HIS TESTIMONY MORE

11:06AM   11       WEIGHT, AND THAT'S VERY NATURAL.       I COMPLETELY UNDERSTAND THAT.

11:06AM   12              AGAIN, I WANT TO EMPHASIZE, THERE'S NO RIGHT OR WRONG

11:06AM   13       ANSWER HERE.    YOU'RE NOT BEING PENALIZED FOR TELLING US HOW YOU

11:06AM   14       FEEL.    WE JUST WANT YOU TO BE HONEST ABOUT THIS.

11:06AM   15              SO -- AND THEN YOU SAID, WELL, I THINK I CAN BE FAIR.       I

11:06AM   16       CAN BE OBJECTIVE.

11:06AM   17              SO WHAT DO YOU THINK?

11:06AM   18                   PROSPECTIVE JUROR:     I THINK THAT MY FIRST RESPONSE

11:06AM   19       IS PROBABLY TRUER, THAT IN THE CASE OF WEIGHING THAT WITNESS'S

11:06AM   20       TESTIMONY AGAINST CONFLICTING TESTIMONY, GIVEN THAT I HAVE A

11:06AM   21       PERSONAL RELATIONSHIP AND HE'S ESTABLISHED CREDIBILITY, I WOULD

11:06AM   22       BE MORE SWAYED BY HIS TESTIMONY THAN CONTRADICTORY TESTIMONY.

11:07AM   23                   THE COURT:    AND IT'S NOT --

11:07AM   24                   PROSPECTIVE JUROR:     I WOULD BE OPEN TO CHANGING MY

11:07AM   25       MIND, BUT I CAN'T TELL YOU THAT I WOULD BE -- MAYBE "OBJECTIVE"



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11:07AM    1       IS THE WRONG WORD.    I WOULD BE COMING AT IT WITH SOME

11:07AM    2       PREEXISTING IDEA.

11:07AM    3                   THE COURT:    SURE.

11:07AM    4                   PROSPECTIVE JUROR:     I WOULD FEEL LIKE I COULD PUT

11:07AM    5       THAT ASIDE, BUT A PERSON'S LIBERTY IS ON THE LINE, AND I THINK

11:07AM    6       THAT REQUIRES A REAL HIGH STANDARD OF FAIRNESS.

11:07AM    7                   THE COURT:    OKAY.    WELL, THANK YOU FOR CALLING THAT

11:07AM    8       OUT.    I APPRECIATE THAT.

11:07AM    9              HE'S A CUSTOMER OF YOURS?     YOU'RE A CUSTOM FRAMER AND YOU

11:07AM   10       HAVE DONE CUSTOM FRAMING FOR HIS ARTWORK?

11:07AM   11                   PROSPECTIVE JUROR:     HE'S A PAINTER AND HE BRINGS ME

11:07AM   12       A PAINTING ABOUT EVERY SIX WEEKS.

11:07AM   13                   THE COURT:    I SEE.   AND HE TRUSTS YOU WITH FRAMING

11:07AM   14       HIS WORK?

11:07AM   15                   PROSPECTIVE JUROR:     HE GIVES ME MATERIAL AND SAYS,

11:07AM   16       DO WHAT YOU THINK IS BEST AND CHARGE ME WHAT YOU THINK IS FAIR.

11:07AM   17                   THE COURT:    AND YOU DO BOTH OF THOSE THINGS?

11:07AM   18                   PROSPECTIVE JUROR:     HE'S ALWAYS BEEN HAPPY WITH THE

11:07AM   19       RESULT.

11:07AM   20                   THE COURT:    OKAY.    HOW LONG HAS HE BEEN A

11:07AM   21       CUSTOMER/CLIENT OF YOURS?

11:08AM   22                   PROSPECTIVE JUROR:     MORE THAN FIVE YEARS.

11:08AM   23                   THE COURT:    I SEE.

11:08AM   24              MR. SCHENK, DO YOU HAVE ANY QUESTIONS?

11:08AM   25                   MR. SCHENK:    NO QUESTIONS, YOUR HONOR.



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11:08AM    1                     MR. DOWNEY:    NOTHING, YOUR HONOR.

11:08AM    2                     THE COURT:    ANYTHING ELSE YOU WOULD LIKE ME TO KNOW

11:08AM    3       ABOUT, MR. GOLDBERG, IN THIS REGARD?

11:08AM    4                     PROSPECTIVE JUROR:     NOT WITH RESPECT TO THE WITNESS,

11:08AM    5       YOUR HONOR, NO.

11:08AM    6                     THE COURT:    THANK YOU.   I APPRECIATE IT.

11:08AM    7             ANYONE ELSE WHO KNOWS ANYONE ON THE WITNESS LIST?

11:08AM    8             I SEE NO HANDS.

11:08AM    9             AS I INDICATED, THIS CASE RELATES TO MS. HOLMES'S ALLEGED

11:08AM   10       VIOLATIONS OF WIRE FRAUD OR CONSPIRACY TO COMMIT WIRE FRAUD AS

11:08AM   11       INDICATED IN THE INDICTMENT.

11:08AM   12             LET ME ASK, HAS ANYONE READ OR HEARD ANY NEWS COVERAGE OF

11:08AM   13       THIS CASE?

11:08AM   14             OKAY.    WE'LL START IN THE JURY BOX THERE.

11:08AM   15             MR. WAXMAN, YOU HAVE THE MICROPHONE.        WHY DON'T YOU TELL

11:08AM   16       US --

11:08AM   17                     PROSPECTIVE JUROR:     GOLDBERG.

11:08AM   18                     THE COURT:    GOLDBERG, I BEG YOUR PARDON.

11:08AM   19                     PROSPECTIVE JUROR:     I'VE BEEN FAMILIAR WITH THE

11:08AM   20       DETAILS OF THE CASE PRETTY MUCH IN REALTIME.         WHEN I WAS ASKED

11:09AM   21       TEN DAYS AGO TO REFRAIN FROM READING OR LISTENING TO ANYTHING

11:09AM   22       ABOUT THE CASE, I CLOSED NEWSPAPERS AND WEBSITES AND SHUT OFF

11:09AM   23       NEWS PROGRAMS WHEN THE STORY CAME UP.

11:09AM   24                     THE COURT:    OKAY.    WHAT IS THE MOST RECENT PIECE OF

11:09AM   25       INFORMATION THAT YOU RECEIVED SUBSEQUENT TO YOUR FILLING OUT



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11:09AM    1       THE QUESTIONNAIRE?

11:09AM    2                    PROSPECTIVE JUROR:     SUBSEQUENT TO MY FILLING OUT THE

11:09AM    3       QUESTIONNAIRE?    I HAVE RECEIVED NO NEW INFORMATION SUBSEQUENT

11:09AM    4       TO MY FILLING OUT THE QUESTIONNAIRE.        I'VE STUDIOUSLY AVOIDED

11:09AM    5       THAT.

11:09AM    6                    THE COURT:    OKAY.    SO TELL US ABOUT THE INFORMATION.

11:09AM    7       YOU SAID YOU KNOW DETAILS ABOUT THE CASE.

11:09AM    8                    PROSPECTIVE JUROR:     WELL, PRIOR TO BEING CALLED FOR

11:09AM    9       JURY SERVICE, I HAD HEARD NEWS ARTICLES ABOUT THE DEFENDANT'S

11:09AM   10       PREGNANCY.

11:09AM   11             AND IN YEARS PRIOR I HAD HEARD NEWS ARTICLES ABOUT

11:10AM   12       INDIVIDUALS WHO HAD INVESTED IN THE COMPANY, AND EARLY ON I WAS

11:10AM   13       ENTHUSIASTIC ABOUT THE POSSIBILITIES OF A MEDICAL DEVICE AND

11:10AM   14       WAS DISAPPOINTED AS NEWS REPORTS SUGGESTED THAT EARLY PROMISES

11:10AM   15       WERE NOT COMING TO FRUITION.

11:10AM   16                    THE COURT:    OKAY.    SO YOU FOLLOWED THE MEDIA STORIES

11:10AM   17       ABOUT THIS, RIGHT?    I THINK YOU ALSO TELL US, OR TOLD US -- DO

11:10AM   18       YOU GO TO L.A., LOS ANGELES, EVERY SUNDAY?

11:10AM   19                    PROSPECTIVE JUROR:     I TRAVEL EVERY SUNDAY TO SPEND

11:10AM   20       THE DAY WITH MY 90-YEAR-OLD FATHER WHO IS IN THE MIDDLE STAGES

11:10AM   21       OF ALZHEIMER'S.    HE WAS A BRILLIANT ATTORNEY, AND IT'S AN

11:10AM   22       INTERESTING PROCESS TO HELP A PERSON TRANSITION, AND I WANT TO

11:10AM   23       SPEND TIME WITH HIM.

11:11AM   24                    THE COURT:    YES.

11:11AM   25                    PROSPECTIVE JUROR:     ADDITIONALLY, YOUR HONOR, I LOST



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11:11AM    1       A BROTHER IN DECEMBER TO AN ACCIDENTAL OPIATE OVERDOSE, AND

11:11AM    2       I'VE BEEN COMFORTING MY FATHER AND STEPMOTHER, AS WELL AS

11:11AM    3       HANDLING THE PROBATE, HELPING WITH THE PROBATION OF MY

11:11AM    4       BROTHER'S ESTATE.    HE DIED INTESTATE WITH NO HEIRS.

11:11AM    5                   THE COURT:    I SAW THAT AND THAT DREW MY ATTENTION,

11:11AM    6       AND THAT'S WHY I'M SOMEHOW CHANGING CONVERSATIONS HERE.

11:11AM    7              YOU GO EVERY SUNDAY TO SEE YOUR FATHER?

11:11AM    8                   PROSPECTIVE JUROR:     THIS SUNDAY I'M GOING TO

11:11AM    9       REFRAIN.    LAST SUNDAY I TRAVELLED DOWN.

11:11AM   10              NEXT SATURDAY IS MY FATHER'S 91ST BIRTHDAY.     MY PLAN HAD

11:11AM   11       BEEN TO RENT A MOTOR HOME AND TAKE MY PET ANIMALS DOWN TO VISIT

11:11AM   12       HIM.

11:11AM   13              I SEE NOW THAT COURT IS SCHEDULED FOR FRIDAY OF NEXT WEEK.

11:11AM   14       I WAS HOPING THAT IF COURT WAS MONDAY, TUESDAY, AND THURSDAY,

11:11AM   15       OR TUESDAY, WEDNESDAY, THURSDAY I COULD TRAVEL FOR FRIDAY.         I

11:11AM   16       NOW SEE THAT THAT COULD BE INTERRUPTED.

11:11AM   17              I FELT THAT I COULD MAKE IT IF I COULD LEAVE ON A SATURDAY

11:11AM   18       AND RETURN FOR COURT ON A TUESDAY, BUT I'M AFRAID IF COURT IS

11:11AM   19       MEETING ON FRIDAY, IT'S STARTING TO -- AND THAT IS SOMETHING

11:12AM   20       THAT, MY PRESENCE THERE IS EXTREMELY IMPORTANT TO MY STEPMOTHER

11:12AM   21       AND MY SURVIVING FAMILY MEMBERS BECAUSE I'M THE ONLY SON THAT

11:12AM   22       HAS THE TIME --

11:12AM   23                   THE COURT:    SURE.

11:12AM   24                   PROSPECTIVE JUROR:     -- AND WHEREWITHAL TO FLY THERE

11:12AM   25       AND SUPPORT HIM AND GIVE MY STEPMOTHER A BREAK FROM CARE FOR A



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11:12AM    1       PERSON WHO IS SUFFERING FROM DEMENTIA.

11:12AM    2                    THE COURT:    THANK YOU.   ARE THERE OCCASIONS WHEN YOU

11:12AM    3       ARE CALLED DURING THE WEEK?

11:12AM    4                    PROSPECTIVE JUROR:     THERE ARE OCCASIONS.   THEY ARE

11:12AM    5       NOT COMMON.    BUT BECAUSE OF THE FAST MOVING NATURE OF THE

11:12AM    6       ILLNESS, I DON'T KNOW WHERE WE MIGHT BE IN THREE OR TEN WEEKS.

11:12AM    7                    THE COURT:    SURE.    THANK YOU.

11:12AM    8             AS TO THIS, ANY QUESTIONS, MR. SCHENK?

11:12AM    9                    MR. SCHENK:    NO, YOUR HONOR.

11:12AM   10                    MR. DOWNEY:    NOTHING, YOUR HONOR.

11:12AM   11                    THE COURT:    OKAY.    THANK YOU.

11:12AM   12             ALL RIGHT.   THANK YOU.

11:12AM   13             LET ME SEE, WERE THERE OTHER HANDS IN THE JURY BOX?

11:12AM   14             YES?   IS THAT MS. LOCKWOOD?

11:12AM   15                    PROSPECTIVE JUROR:     YES.

11:13AM   16                    THE COURT:    NUMBER 99.   YES, MS. LOCKWOOD?   WHAT

11:13AM   17       WOULD YOU LIKE US TO KNOW?

11:13AM   18                    PROSPECTIVE JUROR:     I'VE ONLY SEEN A COUPLE OF

11:13AM   19       ONLINE MEMES, OR FUNNY IMAGES RELATING TO THIS, NOT REALLY ANY

11:13AM   20       REAL INFORMATION.    BUT I JUST WANTED TO LET YOU KNOW THAT I

11:13AM   21       HAVE SEEN SOME THINGS.

11:13AM   22             BUT SINCE THE QUESTIONNAIRE, I HAVE DEFINITELY STOPPED

11:13AM   23       MYSELF FROM LOOKING ON YOUTUBE AND ALL OF THAT FUN STUFF

11:13AM   24       BECAUSE IT CAN BE A VERY QUICK RABBIT HOLE OF MISINFORMATION,

11:13AM   25       SO --



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11:13AM    1                    THE COURT:    OKAY.    LET ME ASK YOU THE SAME

11:13AM    2       QUESTION -- AND THOSE OF YOU WHO HAVE RAISED YOUR HANDS, PLEASE

11:13AM    3       KNOW I'M GOING TO ASK YOU THIS SAME QUESTION -- WHAT IS THE

11:13AM    4       MOST RECENT INFORMATION THAT YOU RECEIVED POST, AFTER YOU

11:13AM    5       FILLED OUT THE QUESTIONNAIRE?

11:14AM    6                    PROSPECTIVE JUROR:     NONE.

11:14AM    7                    THE COURT:    NONE.    OKAY.   LET'S START THERE AND GO

11:14AM    8       BACKWARDS.

11:14AM    9             AND THEN PRIOR TO FILLING OUT THE QUESTIONNAIRE, WHAT IS

11:14AM   10       THE MOST RECENT THING THAT YOU SAW?

11:14AM   11                    PROSPECTIVE JUROR:     MAYBE A COUPLE MONTHS AGO THERE

11:14AM   12       WAS A FUNNY IMAGE OR A MEME IN, LIKE, A GROUP THAT I'M IN

11:14AM   13       RELATING TO A VOICE THING, NOT REALLY ANYTHING ABOUT THE ACTUAL

11:14AM   14       CASE.

11:14AM   15                    THE COURT:    OKAY.    THANK YOU FOR THAT DISTINCTION.

11:14AM   16             HAVE YOU SEEN ANYTHING THAT REFLECTS ON THE FACTS OR

11:14AM   17       ANTICIPATED FACTS OR ANYTHING ABOUT THE CASE IN ANY OF THE

11:14AM   18       MATERIAL THAT YOU'VE LOOKED AT?

11:14AM   19                    PROSPECTIVE JUROR:     NOT THAT I KNOW OF.   BUT I DON'T

11:14AM   20       CONSIDER MYSELF VERY KNOWLEDGEABLE ON MEDICAL DEVICES, SO I

11:14AM   21       CAN'T BE A GOOD JUDGE OF THAT.

11:14AM   22                    THE COURT:    YOU CAME IN A WEEK AGO TO FILL OUT THE

11:14AM   23       QUESTIONNAIRE AND YOU SAW THE NAME OF THE CASE, YOU SAW WHAT

11:14AM   24       CASE IT WAS.

11:14AM   25             DID THAT CAUSE YOU, JUST THAT READING WHAT THE CASE WAS



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11:14AM    1       ABOUT, DID THAT CAUSE YOU TO REFLECT ANYTHING ABOUT, OH, I KNOW

11:15AM    2       ABOUT THIS, OR, OH, I SAW A MOVIE ABOUT THIS, I READ A BOOK,

11:15AM    3       ANYTHING LIKE THAT?

11:15AM    4                    PROSPECTIVE JUROR:     I ONLY RECOGNIZED THE NAME

11:15AM    5       THERANOS.    THAT WAS IT, AND ONLY FROM THE MEME.

11:15AM    6                    THE COURT:    I SEE.

11:15AM    7                    PROSPECTIVE JUROR:     BUT I DIDN'T REALLY KNOW WHO

11:15AM    8       ANYBODY WAS.    MAYBE IT'S JUST A LITTLE OUT OF MY CIRCLES OF

11:15AM    9       SOCIAL CIRCLES, YOU KNOW, BECAUSE I DON'T REALLY KNOW MUCH

11:15AM   10       ABOUT IT.

11:15AM   11                    THE COURT:    BASED ON WHAT YOU HAVE SEEN, YOU DID

11:15AM   12       SEE, IS THERE ANYTHING ABOUT THAT EXPOSURE THAT YOU THINK WILL

11:15AM   13       AFFECT YOUR ABILITY TO BE FAIR TO BOTH SIDES IN THIS CASE?

11:15AM   14                    PROSPECTIVE JUROR:     NOT THAT I KNOW OF.

11:15AM   15                    THE COURT:    CAN YOU THINK OF -- AND YOU WILL PARDON

11:15AM   16       ME, BUT YOU KNOW YOURSELF BETTER THAN ANYBODY.        CAN YOU THINK

11:15AM   17       OF A CIRCUMSTANCE WHERE YOU MIGHT -- WHERE THAT INFORMATION

11:15AM   18       THAT YOU'VE BEEN EXPOSED TO MIGHT CREEP INTO YOUR THOUGHT

11:16AM   19       PROCESS AS A JUROR IN THIS CASE AS YOU JUDGE THE EVIDENCE IN

11:16AM   20       THIS CASE?    ANYTHING?

11:16AM   21                    PROSPECTIVE JUROR:     NO.   BECAUSE IT WAS LITERALLY AN

11:16AM   22       IMAGE MAKING FUN OF HOW SOMEONE WAS TALKING IN VIDEOS.        I DON'T

11:16AM   23       REALLY -- I DON'T BELIEVE THAT PERSONALLY BECAUSE PEOPLE SPEAK

11:16AM   24       DIFFERENTLY TO DIFFERENT PEOPLE AND I UNDERSTAND THAT.        SO I

11:16AM   25       DON'T REALLY FIND THAT AS ANYTHING TO SWAY MY BIAS IN ANY



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11:16AM    1       DIRECTION.

11:16AM    2                    THE COURT:    OKAY.    ALL RIGHT.

11:16AM    3             WHAT YOU SAW WAS AN OPINION POSTED BY SOME OTHER

11:16AM    4       INDIVIDUAL, I TAKE IT?       IS THAT A FAIR CHARACTERIZATION OF

11:16AM    5       THAT?

11:16AM    6                    PROSPECTIVE JUROR:     YEAH, I THINK SO.

11:16AM    7                    THE COURT:    ALL RIGHT.     THANK YOU.

11:16AM    8             YOU HEARD ME TALK EARLIER, AND I THINK -- WELL, MAYBE NOT.

11:16AM    9             I WAS TALKING ABOUT THE JUROR'S OBLIGATION, IF THEY'RE

11:16AM   10       SEATED AS A JUROR, YOU WILL DECIDE THIS CASE ONLY ON THE

11:16AM   11       EVIDENCE THAT YOU HEAR IN THIS COURTROOM, NOT ON ANYTHING

11:16AM   12       OUTSIDE OF THIS COURTROOM, JUST HERE.

11:16AM   13             IS THAT SOMETHING THAT YOU THINK YOU CAN DO?

11:17AM   14                    PROSPECTIVE JUROR:     ABSOLUTELY.

11:17AM   15                    THE COURT:    OKAY.    YOU ANSWERED THAT RIGHT AWAY AND

11:17AM   16       WITH A VERY FIRM VOICE, AND SO I TAKE IT YOU HAVE NO QUESTION

11:17AM   17       ABOUT THAT.

11:17AM   18                    PROSPECTIVE JUROR:     UH-HUH, NO QUESTIONS.

11:17AM   19                    THE COURT:    OKAY.    GREAT.   THANK YOU.

11:17AM   20             LET'S SEE.   WAS THERE ANOTHER HAND?        YES?

11:17AM   21             IS THAT MR. MASON-BURCHELL?

11:17AM   22                    PROSPECTIVE JUROR:     MS.

11:17AM   23                    THE COURT:    MS.   PARDON ME.

11:17AM   24                    PROSPECTIVE JUROR:     YES.     GOOD MORNING.

11:17AM   25             THE ONLY THING I HEARD WAS ABOUT A WEEK PRIOR TO GETTING



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11:17AM    1       THE NOTIFICATION TO SHOW UP FOR JURY DUTY, SOMETHING ON THE

11:17AM    2       NEWS BLURB BECAUSE I WAS WALKING BY, BECAUSE I NORMALLY DON'T

11:17AM    3       WATCH THE NEWS, THAT IT WAS GOING TO TRIAL.         SO IT WAS JUST A

11:17AM    4       REAL QUICK THING.    BUT OTHER THAN THAT, I HAVE NOT HEARD

11:17AM    5       ANYTHING.

11:17AM    6                   THE COURT:    WAS THAT A HEADLINE OR SOMETHING YOU

11:17AM    7       SAW?

11:17AM    8                   PROSPECTIVE JUROR:     YEAH, LIKE RIGHT AT THE

11:17AM    9       BEGINNING OF THE NEWS THEY TALK ABOUT WHAT THEY'RE GOING TO GO

11:17AM   10       THROUGH, AND IT WAS REAL QUICK AND THAT WAS IT.

11:17AM   11                   THE COURT:    OKAY.    AND YOU DIDN'T PAY ATTENTION TO

11:17AM   12       IT OTHER THAN THAT?

11:17AM   13                   PROSPECTIVE JUROR:     NO.

11:17AM   14                   THE COURT:    AND HAVE YOU SEEN ANYTHING ELSE ABOUT

11:17AM   15       THIS CASE OR ANYTHING RELATED TO IT PRIOR?

11:18AM   16                   PROSPECTIVE JUROR:     NO, I HAVE NOT.

11:18AM   17                   THE COURT:    CAN YOU BE FAIR AND IMPARTIAL TO BOTH

11:18AM   18       SIDES HERE BASED ON THAT LIMITED EXPOSURE?

11:18AM   19                   PROSPECTIVE JUROR:     YES, ABSOLUTELY.

11:18AM   20                   THE COURT:    DO YOU THINK THAT'S GOING TO AFFECT YOUR

11:18AM   21       ABILITY TO BE FAIR AND IMPARTIAL TO BOTH SIDES HERE?

11:18AM   22                   PROSPECTIVE JUROR:     NO, IT'S NOT.

11:18AM   23                   THE COURT:    IN ANY WAY?

11:18AM   24                   PROSPECTIVE JUROR:     NO.

11:18AM   25                   THE COURT:    OKAY.    THANK YOU.



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11:18AM    1             AND WAS THERE ANOTHER HAND?       LET'S JUST GO RIGHT ACROSS

11:18AM    2       THERE.   IS THAT MR. CHATHAM?

11:18AM    3                    PROSPECTIVE JUROR:     CHATHAM, YES.

11:18AM    4                    THE COURT:    YES.

11:18AM    5                    PROSPECTIVE JUROR:     GOOD MORNING.

11:18AM    6                    THE COURT:    WHAT WOULD YOU LIKE ME TO KNOW ABOUT

11:18AM    7       YOUR ANSWER TO THAT QUESTION?

11:18AM    8                    PROSPECTIVE JUROR:     THE STORY OF THERANOS HAS BEEN

11:18AM    9       IN THE NEWS, OR IN THE PAST IT WAS IN THE NEWS, AND I WAS AWARE

11:18AM   10       OF IT.   I READ A FAIR AMOUNT OF NEWS ONLINE.

11:18AM   11             BUT I HAVE NOT REALLY FOLLOWED IT SUPER CLOSELY IN THE

11:18AM   12       PAST YEAR.    I WAS AWARE IT WAS GOING TO TRIAL.      I THINK THAT

11:18AM   13       WAS ABOUT IT.

11:19AM   14                    THE COURT:    OKAY.    TELL ME AGAIN ABOUT THE MOST

11:19AM   15       RECENT PIECE OF INFORMATION THAT YOU HAVE READ.        THIS IS POST

11:19AM   16       THE QUESTIONNAIRE.

11:19AM   17                    PROSPECTIVE JUROR:     AS THE OTHER PEOPLE HAVE SAID,

11:19AM   18       I'VE BEEN DELIBERATE ABOUT ANYTHING ABOUT THERANOS OR

11:19AM   19       ELIZABETH HOLMES OR ANY SORT OF THING ON A HEADLINE, I

11:19AM   20       IMMEDIATELY DIDN'T READ ANYTHING FURTHER THAN THAT.          SO I'VE

11:19AM   21       AVOIDED ANY EXPOSURE SINCE COMING OVER TO THE -- YOU KNOW, LAST

11:19AM   22       WEEK.

11:19AM   23                    THE COURT:    OKAY.    YOU'VE SEEN HEADLINES.   DO YOU

11:19AM   24       HAVE A RECOLLECTION OF WHAT HEADLINES YOU'VE OBSERVED?

11:19AM   25                    PROSPECTIVE JUROR:     WELL, LIKE ELIZABETH HOLMES'S



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11:19AM    1       NAME, AND I WOULDN'T READ ANYTHING FURTHER, OR THERANOS I WOULD

11:19AM    2       STOP.

11:19AM    3                    THE COURT:    I SEE.   OKAY.

11:19AM    4              WERE THOSE IN ELECTRONIC FORM OR WAS IT HARD COPY

11:19AM    5       NEWSPAPER?

11:19AM    6                    PROSPECTIVE JUROR:     ELECTRONIC FORM.   I DON'T

11:19AM    7       TYPICALLY WATCH NEWS, SO, YEAH.

11:19AM    8                    THE COURT:    OKAY.    DO YOU READ NEWSPAPERS?

11:19AM    9                    PROSPECTIVE JUROR:     ONLINE, "THE WASHINGTON POST"

11:20AM   10       AND "NEW YORK TIMES."

11:20AM   11                    THE COURT:    OKAY.    I SEE.   DO YOU GET HARD COPY

11:20AM   12       NEWSPAPERS?

11:20AM   13                    PROSPECTIVE JUROR:     NO.

11:20AM   14                    THE COURT:    WHEN IS THE LAST TIME THAT YOU READ A

11:20AM   15       HARD COPY NEWSPAPER?

11:20AM   16                    PROSPECTIVE JUROR:     WE WERE TAKING "THE SANTA CRUZ

11:20AM   17       SENTINEL" UP UNTIL MAYBE FEBRUARY OR SOMETHING LIKE THAT.

11:20AM   18                    THE COURT:    I SEE.   OKAY.

11:20AM   19              I ASK THAT QUESTION BECAUSE I HAVE A PENCHANT FOR HOLDING

11:20AM   20       THE NEWSPAPER IN MY HAND AND I HAVE MY TEA IN THE OTHER HAND,

11:20AM   21       AND THAT'S A DYING ART, I THINK, OR A DYING PRACTICE.

11:20AM   22                    PROSPECTIVE JUROR:     YES.

11:20AM   23                    THE COURT:    SO LET ME GET BACK TO YOUR OBSERVATIONS,

11:20AM   24       SIR.    WHAT ABOUT -- YOU FOLLOWED THE CASE, I THINK YOU TOLD US,

11:20AM   25       YOU FOLLOWED IT FOR SOME TIME; IS THAT RIGHT?



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11:20AM    1                    PROSPECTIVE JUROR:     I WOULDN'T SAY FOLLOW IT.    THERE

11:20AM    2       WAS OCCASIONALLY A NEWS ARTICLE THAT WOULD POP UP AND IT WOULD

11:20AM    3       CATCH MY ATTENTION AND I WOULD PROBABLY READ IT.

11:20AM    4              I THINK THE LAST ONE I KIND OF LOOKED AT WAS JUST

11:20AM    5       SOMETHING ABOUT IT COMING TO TRIAL.        I DON'T KNOW WHEN THAT

11:20AM    6       WAS, IN THE SPRING MAYBE.

11:20AM    7                    THE COURT:    OKAY.    IS THERE ANYTHING ABOUT YOUR --

11:20AM    8       AND I'LL CALL IT EXPOSURE -- BUT ANYTHING THAT YOU'VE READ,

11:21AM    9       SEEN, LISTENED TO THAT YOU THINK WILL AFFECT YOUR ABILITY TO BE

11:21AM   10       FAIR AND IMPARTIAL TO BOTH SIDES HERE?

11:21AM   11                    PROSPECTIVE JUROR:     I DON'T THINK SO.   I'LL WEIGH

11:21AM   12       THE EVIDENCE BASED ON WHAT IS PRESENTED IN TRIAL.

11:21AM   13                    THE COURT:    OKAY.    ALL RIGHT.   THANK YOU.   THANK

11:21AM   14       YOU.

11:21AM   15              LET'S JUST GO DOWN IN THE FRONT ROW.       IS THIS

11:21AM   16       MS. GONZALEZ?

11:21AM   17                    PROSPECTIVE JUROR:     YES.

11:21AM   18                    THE COURT:    JUROR NUMBER 108.

11:21AM   19                    PROSPECTIVE JUROR:     SO I JUST HEARD A NEWS STORY ON

11:21AM   20       IT ON NPR WHEN IT FIRST HAPPENED, AND SO I DON'T KNOW, WAS THAT

11:21AM   21       A COUPLE OF YEARS AGO MAYBE?        AND SINCE THEN NOTHING, EXCEPT

11:21AM   22       THAT I HEARD THAT SHE HAD A BABY MAYBE.

11:21AM   23                    THE COURT:    AND THE STORY ON NPR, THAT WAS A COUPLE

11:21AM   24       YEARS AGO.

11:21AM   25              AND WAS IT -- CAN YOU TELL US, WAS IT A NEWS STORY OR WAS



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11:22AM    1       IT A DOCUMENTARY OR A LENGTHY STORY?

11:22AM    2                   PROSPECTIVE JUROR:     IT WASN'T LENGTHY.    IT WAS JUST

11:22AM    3       KIND OF, HERE'S WHAT IS HAPPENING, MAYBE A COUPLE MINUTES, AND

11:22AM    4       I DON'T REALLY REMEMBER ANYTHING EXCEPT FOR THE NAME OF THE

11:22AM    5       COMPANY AND THE NAMES OF THE PEOPLE INVOLVED.

11:22AM    6                   THE COURT:    I SEE.   OKAY.

11:22AM    7             AND SINCE FILLING OUT YOUR QUESTIONNAIRE, YOU'VE HAD NO

11:22AM    8       EXPOSURE?

11:22AM    9                   PROSPECTIVE JUROR:     NO, NONE.

11:22AM   10                   THE COURT:    HAVE YOU TALKED TO FRIENDS OR HAVE ANY

11:22AM   11       FRIENDS TALKED TO YOU ABOUT THIS CASE TO YOUR KNOWLEDGE, TO

11:22AM   12       YOUR RECOLLECTION?

11:22AM   13                   PROSPECTIVE JUROR:     A COWORKER MENTIONED IT.   MY

11:22AM   14       BOSS, BECAUSE I HAD TO SAY THAT I WAS COMING TO JURY DUTY, AND

11:22AM   15       SHE SAID, OH, IS IT THIS?

11:22AM   16             AND I SAID HMM -- NO.

11:22AM   17                   THE COURT:    YOU DIDN'T TELL HER WHAT THE CASE WAS?

11:22AM   18                   PROSPECTIVE JUROR:     I DIDN'T.   SHE SAID SHE HAD

11:22AM   19       HEARD ABOUT A CASE, SO --

11:22AM   20                   THE COURT:    AND YOU'RE SOMEBODY WHO KEEPS

11:22AM   21       CONFIDENCE.    OKAY.

11:22AM   22                   PROSPECTIVE JUROR:     ESPECIALLY AT WORK.

11:22AM   23                   THE COURT:    OKAY.    WE PROBABLY SHOULD LEAVE THAT

11:23AM   24       THERE.

11:23AM   25             BUT LET ME ASK YOU, SO THERE WAS INQUIRY FROM YOUR BOSS



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11:23AM    1       AND OTHERS AT WORK ABOUT WHAT CASE ARE YOU GOING ON, AND YOU

11:23AM    2       DIDN'T REVEAL TO THEM THE CASE.

11:23AM    3                   PROSPECTIVE JUROR:     RIGHT.

11:23AM    4                   THE COURT:    YOU KNEW WHAT IT WAS, OF COURSE, HAVING

11:23AM    5       BEEN SUMMONED AND FILLED OUT THE QUESTIONNAIRE.

11:23AM    6                   PROSPECTIVE JUROR:     YES.

11:23AM    7                   THE COURT:    OKAY.    WELL, THANK YOU FOR DOING THAT.

11:23AM    8       I THINK THE QUESTIONNAIRE INSTRUCTED THAT.

11:23AM    9                   PROSPECTIVE JUROR:     RIGHT.

11:23AM   10                   THE COURT:    SO LET ME THANK YOU FOR FOLLOWING THOSE

11:23AM   11       INSTRUCTIONS.

11:23AM   12                   PROSPECTIVE JUROR:     YOU'RE WELCOME.

11:23AM   13                   THE COURT:    AND HAVE YOU HAD ANY CONVERSATION SINCE

11:23AM   14       WITH ANYBODY ABOUT ANYTHING TO DO WITH THIS CASE?

11:23AM   15                   PROSPECTIVE JUROR:     NO.

11:23AM   16                   THE COURT:    OKAY.    IS THERE ANYTHING ABOUT THE

11:23AM   17       EXPOSURE THAT YOU'VE TOLD US ABOUT -- I USE THAT WORD AND I

11:23AM   18       DON'T MEAN IT PEJORATIVELY, BUT IT'S WHAT I'M CALLING IT -- BUT

11:23AM   19       IS THERE ANYTHING ABOUT THAT THAT YOU THINK, AGAIN, WILL IMPAIR

11:23AM   20       YOUR ABILITY TO BE FAIR TO THE GOVERNMENT, TO BE FAIR TO

11:23AM   21       MS. HOLMES?

11:23AM   22                   PROSPECTIVE JUROR:     NO.

11:23AM   23                   THE COURT:    OKAY.    ALL RIGHT.   THANK YOU.

11:23AM   24                   PROSPECTIVE JUROR:     THANKS.

11:24AM   25                   THE COURT:    IS THAT MS. DENT?



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11:24AM    1                    PROSPECTIVE JUROR:     YES.

11:24AM    2                    THE COURT:    JUROR NUMBER 112.

11:24AM    3                    PROSPECTIVE JUROR:     IN FULL DISCLOSURE AND HONESTY,

11:24AM    4       I READ THE NEWSPAPER ALSO AND I THOUGHT IT WAS MORE THAN A

11:24AM    5       COUPLE YEARS AGO I HAD WATCHED AND BEEN VERY INVOLVED WITH THIS

11:24AM    6       WHOLE THING AS FAR AS WATCHING WHAT WAS GOING ON.

11:24AM    7             I'M A RETIRED REGISTERED NURSE.       MY HUSBAND IS A RETIRED

11:24AM    8       LAB TECHNICIAN.    SO WE ACTUALLY HAD QUITE A BIT OF INFORMATION.

11:24AM    9       WE WATCHED THE DOCUMENTARIES.

11:24AM   10             WE ALSO WATCHED I THINK IT WAS LIKE A MOVIE KIND OF THING

11:24AM   11       THAT CAME OUT ABOUT IT.

11:24AM   12             SO WE HAD A LOT OF EXPOSURE I GUESS YOU WOULD SAY.

11:24AM   13             AND THEN WHEN I CAME DOWN FOR JURY DUTY, I WAS VERY

11:24AM   14       SURPRISED.    I DID WRITE DOWN ON MY QUESTIONNAIRE THE FACT THAT

11:25AM   15       I HAD BEEN VERY AWARE OF IT.

11:25AM   16             I DID NOT KNOW THAT IT WAS COMING TO TRIAL.       I WASN'T

11:25AM   17       AWARE OF THAT UNTIL I ACTUALLY CAME TO JURY DUTY.

11:25AM   18             AS FAR AS -- I REALLY WANT TO SAY THAT I'M COMPLETELY

11:25AM   19       UNBIASSED AND IT'S NOT GOING TO AFFECT ME.        I DON'T KNOW THAT I

11:25AM   20       CAN HONESTLY 100 PERCENT SAY THAT.         I'VE NEVER BEEN ON A JURY.

11:25AM   21       I'VE NEVER BEEN INVOLVED IN SOMETHING LIKE THIS.

11:25AM   22             SO TO BE VERY HONEST WITH YOU, I DON'T KNOW.

11:25AM   23             I'M MORE THAN WILLING TO TRY AND TO, YOU KNOW, SAY AND TO

11:25AM   24       LISTEN AND ALL OF THAT KIND OF THING.        BUT I DON'T KNOW IF

11:25AM   25       YOU'VE -- I DON'T KNOW HOW YOU, YOU KNOW, PREVIOUS KNOWLEDGE I



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11:25AM    1       DON'T KNOW.    SO --

11:25AM    2                   THE COURT:    HOW TO PUT THAT ASIDE?

11:25AM    3                   PROSPECTIVE JUROR:      YES.

11:25AM    4                   THE COURT:    YES.     THANK YOU.

11:25AM    5                   PROSPECTIVE JUROR:      I'M TRYING TO BE REAL HONEST.       I

11:25AM    6       MEAN, I WANT TO SAY THAT I CAN DO THAT, BUT I DON'T KNOW

11:26AM    7       BECAUSE I'VE NEVER BEEN IN THAT SITUATION.         SO I DON'T KNOW.

11:26AM    8                   THE COURT:    SURE.    RIGHT.    THANK YOU.

11:26AM    9             WE HAD BENEFIT OF YOUR QUESTIONNAIRE AND I THINK IN YOUR

11:26AM   10       QUESTIONNAIRE YOU TOLD US, YOU SAID, I'M NOT SURE I CAN BE

11:26AM   11       FAIR.   I THINK THAT'S WHAT YOU SAID.

11:26AM   12                   PROSPECTIVE JUROR:      UH-HUH.

11:26AM   13                   THE COURT:    RIGHT.    AND I APPRECIATE YOUR CANDOR.

11:26AM   14             LET ME AGAIN SAY, MS. DENT, THERE'S NO RIGHT OR WRONG

11:26AM   15       ANSWER HERE.    THERE ISN'T.      YOU KNOW, THERE'S NO PENALTY FOR

11:26AM   16       BEING HONEST.    QUITE THE CONTRARY.        WE WANT YOU TO BE HONEST

11:26AM   17       AND CANDID.

11:26AM   18             THIS IS SOMETHING THAT WE'RE GOING TO TALK ABOUT THE REST

11:26AM   19       OF THE MORNING, I EXPECT, AND PERHAPS THIS AFTERNOON.

11:26AM   20             EVERYBODY IS DIFFERENT.       YOU AND I READ HARD COPY

11:26AM   21       NEWSPAPERS.    A LOT OF OTHER PEOPLE DON'T.       THERE'S NOTHING

11:26AM   22       WRONG WITH THAT.

11:26AM   23             BUT WE PROCESS THINGS DIFFERENTLY.

11:26AM   24             AS YOU SAID, YOU'VE HEARD A COUPLE OF OTHER PEOPLE SAY, I

11:26AM   25       THINK I SAW SOMETHING.      MS. GONZALEZ SAID, I THINK I HEARD



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11:27AM    1       THIS.   MS. LOCKWOOD TALKED ABOUT SEEING THIS MEME, OR WHATEVER

11:27AM    2       IT WAS.   AND EACH OF THEM HAVE TOLD US IT'S NOT GOING TO HAVE

11:27AM    3       AN EFFECT BECAUSE OF THIS REASON, I THINK I CAN PROCESS THAT

11:27AM    4       AWAY.

11:27AM    5             YOU'RE A LITTLE DIFFERENT.       YOU FOLLOWED THIS STORY.

11:27AM    6       YOU'RE IN THE INDUSTRY, SHALL WE SAY, AND YOUR HUSBAND WAS, AND

11:27AM    7       THAT PUTS YOU IN A DIFFERENT POSITION, I SUPPOSE, JUST INSIDE

11:27AM    8       INFORMATION, I'LL CALL IT THAT.

11:27AM    9             THAT'S WHAT I'M TRYING TO PROBE HERE.      THESE LAWYERS WANT

11:27AM   10       TO KNOW THAT, TOO, WHETHER OR NOT -- CANDIDLY, THE QUESTION

11:27AM   11       REALLY IS, IS THIS THE RIGHT CASE FOR A JUROR?       THAT'S REALLY

11:27AM   12       WHAT THE QUESTION IS.      IS THIS A CASE WHERE A JUROR CAN SIT AND

11:27AM   13       BE FAIR TO BOTH SIDES?      THAT'S THE JOB DESCRIPTION FOR A JUROR.

11:27AM   14       YOU HAVE TO BE FAIR TO BOTH SIDES IN THIS CASE.

11:27AM   15             IF THERE'S SOMETHING THAT YOU THINK WILL IMPAIR, AFFECT

11:27AM   16       THAT ABILITY TO BE FAIR TO BOTH SIDES, WE NEED TO KNOW ABOUT

11:27AM   17       THAT.   THESE LAWYERS NEED TO KNOW ABOUT THAT.       I NEED TO KNOW

11:28AM   18       ABOUT THAT.

11:28AM   19             SO I APPRECIATE THIS CONVERSATION.

11:28AM   20             I'M GOING TO ASK THE LAWYERS IF THEY HAVE SOME QUESTIONS

11:28AM   21       OF YOU ABOUT THIS RIGHT NOW AS WELL.

11:28AM   22             MR. SCHENK, DO YOU HAVE ANY QUESTIONS?

11:28AM   23                   MR. SCHENK:    NO FURTHER QUESTIONS.

11:28AM   24                   MR. DOWNEY:    NO QUESTIONS, YOUR HONOR.

11:28AM   25                   THE COURT:    ALL RIGHT.    THANK YOU.



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11:28AM    1             THANK YOU VERY MUCH, MS. DENT.      I APPRECIATE YOUR CANDOR

11:28AM    2       HERE, AND I APPRECIATE THE FACT THAT YOU READ A HARD COPY

11:28AM    3       NEWSPAPER.

11:28AM    4             (LAUGHTER.)

11:28AM    5                    THE COURT:    IS THERE ANYONE ELSE IN THE BOX HERE?

11:28AM    6             YES, LET'S GO DOWN TO MS. NELSON, 116.

11:28AM    7                    PROSPECTIVE JUROR:     YES, YOUR HONOR.

11:28AM    8             SO I FOLLOWED THE NEWS COVERAGE PRETTY EXTENSIVELY WHEN

11:28AM    9       THE STORY BROKE OUT.       I DISCLOSED IN MY QUESTIONNAIRE THAT I

11:28AM   10       LISTENED TO A PODCAST ON A ROAD TRIP WITH MY HUSBAND.         MY

11:28AM   11       HUSBAND IS A SCIENTIST FOR A BIOTECH COMPANY.          AS A GRADUATE

11:28AM   12       STUDENT, HE DID MALARIA RESEARCH AND DID BLOOD TESTS AND IS

11:29AM   13       REALLY FAMILIAR WITH THAT FIELD, AND SO WE HAD A LOT OF

11:29AM   14       DISCUSSIONS ABOUT THAT WHEN THE STORY BROKE OUT.

11:29AM   15             SINCE COMPLETING THE QUESTIONNAIRE, I TRIED NOT TO, YOU

11:29AM   16       KNOW, SEEK OUT MEDIA ON THE STORY.       I WAS EXPOSED A COUPLE DAYS

11:29AM   17       AGO TO A HEADLINE ON TWITTER, AND I THINK THAT I SHOULD

11:29AM   18       DISCLOSE THAT JUST BECAUSE OF MY -- THE PRACTICE AREA THAT I

11:29AM   19       PRACTICE IN.

11:29AM   20             I THINK IT MIGHT AFFECT MY GOING INTO THE CASE.        IT HAS TO

11:29AM   21       DO WITH THE DEFENSE STRATEGY, SO I DON'T KNOW IF WE WANT TO

11:29AM   22       TALK ABOUT THAT PRIVATELY.

11:29AM   23                    THE COURT:    WELL, YES.   THANK YOU.   THANK YOU.

11:29AM   24             BUT JUST A -- AND THAT'S FINE, THAT TOPIC, THE TITLE

11:29AM   25       RATHER, PARDON ME.



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11:29AM    1              BUT WHAT YOU READ ON THAT TWITTER, DO YOU THINK THAT WILL

11:29AM    2       AFFECT YOU AS A JUROR IF YOU'RE SEATED AS A JUROR IN THIS CASE?

11:29AM    3       OR DO YOU THINK IT WILL HAVE SOME IMPACT?

11:30AM    4                   PROSPECTIVE JUROR:     I THINK THAT I CAN BE OBJECTIVE

11:30AM    5       AND FAIR, BUT I THINK, IN FULL DISCLOSURE, THAT COUNSEL SHOULD

11:30AM    6       KNOW WHAT I HEARD AND MAYBE LET THEM DECIDE WHETHER THEY THINK

11:30AM    7       THAT THIS WOULD BE A GOOD CASE FOR ME GIVEN MY BACKGROUND.

11:30AM    8                   THE COURT:    OKAY.    WELL, TELL US A LITTLE BIT ABOUT

11:30AM    9       YOUR BACKGROUND.

11:30AM   10                   PROSPECTIVE JUROR:     SO I'M AN ATTORNEY FOR LEGAL

11:30AM   11       AID.    I REPRESENT DOMESTIC VIOLENCE SURVIVORS AND SURVIVORS OF

11:30AM   12       SEXUAL ASSAULT AND HUMAN TRAFFICKING IN FAMILY COURT, AND SO,

11:30AM   13       YEAH.

11:30AM   14                   THE COURT:    I SAW THAT IN YOUR QUESTIONNAIRE.

11:30AM   15              AND HOW LONG HAVE YOU BEEN DOING THAT?

11:30AM   16                   PROSPECTIVE JUROR:     ELEVEN YEARS.

11:30AM   17                   THE COURT:    AND DO YOU ASSIST IN -- DO YOU SOMETIMES

11:30AM   18       ASSIST THE DISTRICT ATTORNEY'S OFFICE IN THE PROSECUTION OF

11:30AM   19       CASES BY PROVIDING INFORMATION TO THEM?

11:30AM   20                   PROSPECTIVE JUROR:     SO I WILL SAY THAT WE HAVE -- I

11:30AM   21       HAVE A GOOD RELATIONSHIP WITH A LOT OF THE D.A.'S.       A LOT OF MY

11:31AM   22       CLIENTS ALSO HAVE CASES WHERE THEIR ABUSER IS BEING PROSECUTED,

11:31AM   23       AND SOMETIMES OUR CLIENT WHO WE IDENTIFY AS D.V. SURVIVORS ARE

11:31AM   24       PROSECUTED THEMSELVES.      ACTUALLY, THAT HAPPENS QUITE OFTEN, AND

11:31AM   25       SO I'M PROVIDING INFORMATION TO THE D.A. TO GET THOSE CHARGES



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11:31AM    1       DROPPED.

11:31AM    2             AND THEN I ALSO DO A LITTLE BIT OF IMMIGRATION.      SO WE

11:31AM    3       COOPERATE WITH THE D.A. TO GET CERTIFICATION FOR U-VISA

11:31AM    4       APPLICATIONS.

11:31AM    5                   THE COURT:    AND DO YOU PROSECUTE -- I CAN'T REMEMBER

11:31AM    6       IF BAY AREA LEGAL AID ACTUALLY ASSISTS IN THE APPLICATION

11:31AM    7       PROCESS FOR THOSE TYPES OF VISAS.

11:31AM    8                   PROSPECTIVE JUROR:      WE DO.

11:31AM    9                   THE COURT:    YOU DO.

11:31AM   10                   PROSPECTIVE JUROR:      AND I'VE DONE THEM PERSONALLY

11:31AM   11       MYSELF.

11:31AM   12                   THE COURT:    AND THOSE ARE VISAS THAT ARE UNIQUE AND

11:31AM   13       SPECIAL TO INDIVIDUALS WHO HAVE PRESENTED EVIDENCE OF BEING --

11:31AM   14                   PROSPECTIVE JUROR:      VICTIM OF A QUALIFYING CRIME.

11:31AM   15                   THE COURT:    YES, EXACTLY.      THANK YOU.

11:31AM   16             IS THERE ANYTHING ABOUT THAT WORK, BASED ON WHAT YOU'VE

11:31AM   17       READ, THAT YOU THINK -- YOU READ ABOUT THIS CASE, THAT YOU

11:31AM   18       THINK WOULD IMPAIR OR AFFECT YOUR ABILITY TO BE FAIR AND

11:31AM   19       IMPARTIAL AS A JUROR IN THIS CASE?

11:32AM   20                   PROSPECTIVE JUROR:      I DO NOT THINK SO.

11:32AM   21                   THE COURT:    OKAY.    ALL RIGHT.

11:32AM   22             TELL ME ABOUT THE OTHER CONVERSATIONS WITH YOUR HUSBAND

11:32AM   23       ABOUT THIS CASE.

11:32AM   24             IT SOUNDS LIKE YOU'VE SEEN SOME -- I THINK YOU TOLD US YOU

11:32AM   25       SAW AN ABC AND HBO, YOU SAW PODCASTS AND THINGS.



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11:32AM    1                   PROSPECTIVE JUROR:     SO I'VE READ ARTICLES, AND THEN

11:32AM    2       WE LISTENED TO A PODCAST.

11:32AM    3                   THE COURT:    I SEE.   AND HOW LONG AGO WAS THAT?      I'M

11:32AM    4       SORRY.

11:32AM    5                   PROSPECTIVE JUROR:     PROBABLY TWO YEARS AGO WAS THE

11:32AM    6       PODCAST I WANT TO SAY, YEAH.

11:32AM    7                   THE COURT:    OKAY.    AND YOU'VE DISCUSSED THIS WITH

11:32AM    8       YOUR HUSBAND?

11:32AM    9                   PROSPECTIVE JUROR:     YES.    PRIOR TO BEING SUMMONED,

11:32AM   10       YES.

11:32AM   11                   THE COURT:    AND IS THERE ANYTHING ABOUT THOSE

11:32AM   12       DISCUSSIONS, I'M SURE -- WELL, I'M NOT SURE.        IT MAY BE THAT

11:32AM   13       YOU'VE TALKED ABOUT THE SCIENCE OR SOMETHING LIKE THAT, AND HE

11:32AM   14       SHARED WITH YOU HIS OPINION.       I'M NOT GOING TO ASK YOU WHAT HIS

11:32AM   15       OPINION IS OR WAS.

11:32AM   16                   PROSPECTIVE JUROR:     RIGHT.

11:32AM   17                   THE COURT:    BUT IS THERE ANYTHING ABOUT THOSE

11:32AM   18       CONVERSATIONS THAT YOU THINK WILL CARRY FORWARD WITH YOU AS YOU

11:32AM   19       SIT AS A DELIBERATING JUROR IN THIS CASE?

11:32AM   20                   PROSPECTIVE JUROR:     I THINK THAT MY HUSBAND'S

11:33AM   21       OPINION -- YOU KNOW, I TRUST HIM ON THE SCIENCE AND I THINK

11:33AM   22       THAT WOULD CARRY OVER AS I'M WEIGHING THE TESTIMONY THAT I HEAR

11:33AM   23       IN THIS CASE.

11:33AM   24                   THE COURT:    SURE.    OKAY.   ALL RIGHT.   THANK YOU.

11:33AM   25              MR. SCHENK, ANY QUESTIONS ON THIS?



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11:33AM    1                    MR. SCHENK:    NO.     THANK YOU.

11:33AM    2                    MR. DOWNEY:    NOT FROM THE DEFENSE, YOUR HONOR.

11:33AM    3       THANK YOU.

11:33AM    4                    THE COURT:    THANK YOU.    THANK YOU, MS. NELSON.

11:33AM    5       THANK YOU FOR WORKING FOR BAY AREA LEGAL AID.         THAT'S A

11:33AM    6       WONDERFUL ORGANIZATION.

11:33AM    7             I KNOW THAT THEY HAVE EVENTS ANNUALLY TO RECOGNIZE THE

11:33AM    8       LAWYERS IN THAT GROUP, BUT YOU HAVEN'T HAD ONE BECAUSE OF THE

11:33AM    9       PANDEMIC.

11:33AM   10                    PROSPECTIVE JUROR:      THAT'S RIGHT, YES.

11:33AM   11                    THE COURT:    I KNOW.    AND I SAY THIS, AND THIS IS

11:33AM   12       JUST RECOGNITION, MANY OF MY COLLEAGUES AND OUR COLLEAGUES IN

11:33AM   13       SISTER STATE COURTS ATTEND THOSE EVENTS TO SUPPORT THE GOOD

11:33AM   14       WORK OF YOUR ORGANIZATION.

11:33AM   15                    PROSPECTIVE JUROR:      I APPRECIATE THAT, YOUR HONOR.

11:33AM   16       THANK YOU.

11:33AM   17                    THE COURT:    YOU'RE WELCOME.

11:33AM   18             ANYONE ELSE?

11:34AM   19             OH, LET'S GO TO MR., IS IT PARODI, 123?        MS. PARODI.

11:34AM   20             I THINK I HAVE THAT RIGHT.

11:34AM   21             122, I BEG YOUR PARDON.        THANK YOU, MS. PARODI.

11:34AM   22                    PROSPECTIVE JUROR:      I ALSO GET THE HARD COPY OF THE

11:34AM   23       NEWSPAPER, "SAN JOSE MERCURY NEWS."

11:34AM   24                    THE COURT:    WE'RE ON A ROLL HERE.

11:34AM   25                    PROSPECTIVE JUROR:      SO WE'RE OUT HERE.



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11:34AM    1             AND I HAVE SEEN GENERAL NEWS ARTICLES IN THE PAST.        SINCE

11:34AM    2       WE'VE BEEN CALLED IN, I HAVE SEEN JUST KIND OF HEADLINES ON THE

11:34AM    3       TOP OF THE FRONT PAGE, BUT I JUST PUSH IT AWAY.       AS SOON AS I

11:34AM    4       RECOGNIZE IT'S RELATED, I DON'T READ IT.

11:34AM    5             I'VE ALSO SEEN JUST ON MY FACEBOOK FEED NATIONAL NEWS

11:34AM    6       STORIES, LIKE "U.S.A. TODAY," "NEW YORK TIMES," AND AGAIN, I

11:34AM    7       JUST SCROLL PAST AND DON'T READ THOSE.

11:34AM    8             THE MOST RECENT THING I'VE SEEN WAS ACTUALLY LAST NIGHT MY

11:35AM    9       SON TURNED ON THE LOCAL NEWS AND THEY TALKED ABOUT JURY

11:35AM   10       SELECTION HERE TODAY.

11:35AM   11                   THE COURT:    YOUR 5-YEAR OLD SON?

11:35AM   12                   PROSPECTIVE JUROR:     NO, THAT'S MY 16-YEAR OLD.

11:35AM   13                   THE COURT:    OH, OKAY.   THANK YOU.

11:35AM   14                   PROSPECTIVE JUROR:     HE'S A BIG NEWS JUNKIE, SO HE'S

11:35AM   15       ALWAYS ON CNN.    JUST, THE NEWS IS ON A LOT IN OUR HOUSE.

11:35AM   16                   THE COURT:    OKAY.

11:35AM   17                   PROSPECTIVE JUROR:     BUT SINCE THEN I'VE TRIED TO

11:35AM   18       AVOID EVERYTHING.

11:35AM   19                   THE COURT:    WELL, WHAT ABOUT -- HOW MUCH DID YOU SEE

11:35AM   20       LAST NIGHT?

11:35AM   21                   PROSPECTIVE JUROR:     JUST -- I JUST SAW, LIKE, A

11:35AM   22       PHOTO OF THE COURTROOM COME ON AND THEN I -- I WAS IN THE

11:35AM   23       KITCHEN AND I WASN'T REALLY WATCHING IT WITH HIM, BUT I HEARD

11:35AM   24       IT AND I ASKED HIM TO CHANGE THE CHANNEL AND HE DID.

11:35AM   25                   THE COURT:    I SEE.   OKAY.



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11:35AM    1                    PROSPECTIVE JUROR:      SO JUST A SNIPPET.

11:35AM    2                    THE COURT:    OKAY.    THE QUESTION THAT I'VE ASKED YOUR

11:35AM    3       COLLEAGUE AND JURORS, WHAT ABOUT WHAT YOU'VE SEEN, WHAT YOU'VE

11:35AM    4       READ, WHAT YOU'VE HEARD, AND HOW DO YOU THINK THAT WILL AFFECT

11:35AM    5       YOUR ABILITY TO BE FAIR AND IMPARTIAL TO BOTH SIDES IN THIS

11:35AM    6       CASE?

11:35AM    7                    PROSPECTIVE JUROR:      I DON'T THINK IT WOULD.

11:35AM    8                    THE COURT:    OKAY.    DO YOU HAVE ANY DOUBT IN YOUR

11:35AM    9       MIND ABOUT THAT?

11:35AM   10                    PROSPECTIVE JUROR:      NO.

11:36AM   11                    THE COURT:    YOUR 16-YEAR OLD, HE SOUNDS LIKE HE'S

11:36AM   12       VERY BRIGHT AND PRECOCIOUS, AND HE MIGHT SAY, IF YOU'RE SEATED

11:36AM   13       AS A JUROR, MOM, TELL ME WHAT HAPPENED?        WHAT IS GOING ON?

11:36AM   14                    PROSPECTIVE JUROR:      YEAH, 100 PERCENT.    BUT I WON'T.

11:36AM   15                    THE COURT:    HE'S GOING TO PUSH AND HE'S GOING TO

11:36AM   16       PROD, MOM.

11:36AM   17                    PROSPECTIVE JUROR:      YEAH, I KNOW, I KNOW.

11:36AM   18             (LAUGHTER.)

11:36AM   19                    THE COURT:    AND YOU'VE GOT CONTROL OF THAT?

11:36AM   20                    PROSPECTIVE JUROR:      YEAH, I CAN DEFEND.

11:36AM   21                    THE COURT:    OKAY.    ANYTHING ELSE YOU WOULD LIKE US

11:36AM   22       TO KNOW ABOUT THIS?

11:36AM   23             LET ME ASK ONE THING.        I THINK YOU HAVE A VACATION PLANNED

11:36AM   24       FOR THE FIRST WEEK IN OCTOBER.

11:36AM   25                    PROSPECTIVE JUROR:      WELL, THAT'S KIND OF UP IN THE



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11:36AM    1       AIR BECAUSE THAT WAS TO HAWAII, AND WE'VE RECONSIDERED THAT,

11:36AM    2       BUT MY CHILDREN WILL BE OUT THAT ENTIRE WEEK FROM SCHOOL

11:36AM    3       BECAUSE IT'S A PLANNED NORMAL SCHOOL BREAK, SO I DO HAVE A LOT

11:36AM    4       OF CHILDCARE ISSUES WITH SHOWING UP BECAUSE I'M THE PRIMARY

11:36AM    5       CARE GIVER FOR MY THREE KIDS AND THERE'S NO ONE ELSE WHO CAN

11:36AM    6       PICK THEM UP FROM SCHOOL AND TAKE THEM TO ORTHODONTIST

11:36AM    7       APPOINTMENTS AND BE THERE WHEN THEY'RE ON THEIR BREAK.

11:37AM    8             AND ALSO, MY YOUNGEST IS UNVACCINATED, AND THEY'RE ASKING,

11:37AM    9       IF HE SHOWS ANY SYMPTOMS WHATSOEVER OF COVID, WE'RE SUPPOSED TO

11:37AM   10       KEEP HIM HOME.    IF THEY'RE EXPOSED IN SCHOOL AND CONSIDERED A

11:37AM   11       CLOSE CONTACT, WE'RE SUPPOSED TO KEEP THEM HOME AND GET TESTED.

11:37AM   12             SO THAT'S KIND OF ALWAYS UP IN THE AIR OF WHAT I WOULD BE

11:37AM   13       NEEDED FOR AT HOME, SO --

11:37AM   14                   THE COURT:    OKAY.    ALL RIGHT.   THANK YOU.

11:37AM   15             ANY QUESTIONS, MR. SCHENK?

11:37AM   16                   MR. SCHENK:    NO, YOUR HONOR.

11:37AM   17                   MR. DOWNEY:    NO, YOUR HONOR.

11:37AM   18                   THE COURT:    ALL RIGHT.    THANK YOU.

11:37AM   19             THANK YOU, MS. PARODI.       I APPRECIATE IT.

11:37AM   20             I THINK THAT EXHAUSTS EVERYONE IN THE BOX.       LET'S GO BACK

11:37AM   21       TO OUR AUDIENCE HERE AND WE'LL PASS THE MICROPHONE DOWN.

11:37AM   22                   PROSPECTIVE JUROR:      YOUR HONOR, I'M 130, MR. MURPHY.

11:37AM   23                   THE COURT:    MR. MURPHY.

11:37AM   24                   PROSPECTIVE JUROR:      SO I'VE ACTIVELY AVOIDED ANY

11:37AM   25       EXPOSURE SINCE THE QUESTIONNAIRE AND THAT'S MOVING KIND OF PAST



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11:38AM    1       ONLINE.    I DON'T READ A HARD COPY NEWSPAPER THOUGH, MY FATHER

11:38AM    2       DID.

11:38AM    3                   THE COURT:    THANK YOU.     THANK YOU FOR DATING ME.   I

11:38AM    4       APPRECIATE THE RECOGNITION.

11:38AM    5              (LAUGHTER.)

11:38AM    6                   PROSPECTIVE JUROR:     I DO FOLLOW THE LOCAL NEWS, BUT

11:38AM    7       I DO THAT RECORDED AND I'LL AVOID ANYTHING RELATED TO THIS

11:38AM    8       CASE.

11:38AM    9                   THE COURT:    OKAY.

11:38AM   10                   PROSPECTIVE JUROR:     THE TESTIMONY SO FAR REMINDED

11:38AM   11       ME, I THINK I DID LISTEN TO A PODCAST A COUPLE YEARS AGO.

11:38AM   12              AND I'M ABSOLUTELY CONFIDENT THAT I COULD FOLLOW THE

11:38AM   13       INSTRUCTIONS AND BE A JUROR OBJECTIVELY BASED ON MY EXPOSURE.

11:38AM   14                   THE COURT:    THANK YOU.

11:38AM   15              DO YOU RECALL THE NAME OF THE PODCAST?

11:38AM   16                   PROSPECTIVE JUROR:     I DON'T.   I'M SORRY.   AND

11:38AM   17       PROBABLY RADIO STORIES ALONG THE WAY, BUT IT WAS QUITE SOME

11:38AM   18       TIME AGO.

11:38AM   19                   THE COURT:    SO IS IT FAIR TO SAY THAT WHAT YOU'VE

11:38AM   20       LISTENED TO AND ALL OF THOSE THINGS THAT YOU'VE LISTENED TO,

11:38AM   21       I'LL JUST PUT IT IN THE VERNACULAR, NOTHING STUCK?

11:38AM   22                   PROSPECTIVE JUROR:     NO.   I'M GOOD.

11:38AM   23                   THE COURT:    AND NOTHING STICKS WITH YOU THAT YOU

11:38AM   24       WOULD CALL UPON IF YOU'RE SEATED AS A JUROR IN THE CASE?

11:38AM   25                   PROSPECTIVE JUROR:     MAYBE JUST THE BASIC, VERY BASIC



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11:39AM    1       SKELETAL SERIES OF EVENTS, OR STORY.

11:39AM    2              BUT AS I SAID, I'M CONFIDENT THAT I COULD LOOK AT WHAT IS

11:39AM    3       PRESENTED.

11:39AM    4                    THE COURT:    OF COURSE.     AND NOW I HAVE TO PROBE A

11:39AM    5       LITTLE BIT ABOUT, WHAT DO YOU MEAN BY "THE SKELETAL?"         ARE YOU

11:39AM    6       SAYING THAT, WELL, I KNOW IT'S THERANOS AND THAT WAS A COMPANY,

11:39AM    7       AND I KNOW THAT IT IS MS. HOLMES AND THAT'S IT?

11:39AM    8                    PROSPECTIVE JUROR:     YEAH.   YEAH, PRETTY MUCH.

11:39AM    9                    THE COURT:    AND ANYTHING DEEPER THAN THAT?

11:39AM   10                    PROSPECTIVE JUROR:     JUST THAT IT WAS ABOUT TESTING.

11:39AM   11                    THE COURT:    OKAY.

11:39AM   12                    PROSPECTIVE JUROR:     LAB TESTING.

11:39AM   13                    THE COURT:    OKAY.    OKAY.

11:39AM   14              IS THERE -- AND I'M SORRY, YOU SAID SOMETHING ABOUT HBO.

11:39AM   15       DID YOU SEE AN HBO SHOW OR LISTEN TO AN HBO SHOW?

11:39AM   16                    PROSPECTIVE JUROR:     I MEAN, MAYBE.   I WATCH A LOT OF

11:39AM   17       HBO.    SO I DON'T BELIEVE IT SAID IT WHEN I JUST SPOKE.         I MAY

11:39AM   18       HAVE PUT IT ON MY QUESTIONNAIRE.

11:39AM   19                    THE COURT:    I THINK THAT'S WHERE I GOT IT.

11:39AM   20                    PROSPECTIVE JUROR:     I REMEMBER SEEING SOME MEDIA

11:39AM   21       ABOUT IT A COUPLE YEARS AGO.

11:39AM   22                    THE COURT:    OKAY.    BUT, AGAIN, NOTHING STICKS TODAY?

11:39AM   23                    PROSPECTIVE JUROR:     NO.

11:39AM   24                    THE COURT:    CAN YOU BE FAIR TO THE GOVERNMENT IN

11:39AM   25       THIS CASE?



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11:39AM    1                    PROSPECTIVE JUROR:      YES.

11:39AM    2                    THE COURT:    AND CAN YOU BE FAIR TO MS. HOLMES IN

11:40AM    3       THIS CASE?

11:40AM    4                    PROSPECTIVE JUROR:      YES, YOUR HONOR.

11:40AM    5                    THE COURT:    DO YOU HAVE ANY DOUBT IN YOUR MIND ABOUT

11:40AM    6       THOSE THINGS?

11:40AM    7                    PROSPECTIVE JUROR:      I HAVE NO DOUBT.

11:40AM    8                    THE COURT:    ALL RIGHT.   THANK YOU VERY MUCH,

11:40AM    9       MR. MURPHY.

11:40AM   10             ANYONE ELSE?

11:40AM   11             LET'S PASS IT BEHIND, MR. MURPHY.

11:40AM   12             IS THIS MR. TONG?

11:40AM   13                    PROSPECTIVE JUROR:      YES.

11:40AM   14                    THE COURT:    THIS IS JUROR NUMBER --

11:40AM   15                    PROSPECTIVE JUROR:      -- 147.

11:40AM   16                    THE COURT:    -- 147.   THANK YOU, SIR.    YES?

11:40AM   17                    PROSPECTIVE JUROR:      SO EXPOSURE TO THE CASE PRIOR TO

11:40AM   18       THE QUESTIONNAIRE, MAYBE, LIKE, YEARS AGO JUST HEARING ON THE

11:40AM   19       NEWS.

11:40AM   20             AND THEN ALSO I HAD A COWORKER WHO HAD A DAUGHTER WHO

11:40AM   21       WORKED AT THERANOS AND THERE WAS DISCUSSION OF WHAT WAS GOING

11:40AM   22       ON IN THE NEWS AND STUFF.

11:40AM   23             AND MAYBE A FEW MONTHS AGO I SAW IN, LIKE, ABC NEWS THERE

11:40AM   24       WAS, LIKE, A TRIAL WAS COMING.

11:40AM   25             AND THERE WAS SOME DISCUSSION JUST WITHIN THE FAMILY AND



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11:40AM    1       WHAT WERE THE ALLEGATIONS AND SUCH.

11:40AM    2             SO THAT'S TO THE EXTENT WHERE I HAD KNOWLEDGE PRIOR.

11:41AM    3                   THE COURT:    OKAY.

11:41AM    4                   PROSPECTIVE JUROR:     AND AFTER THE QUESTIONNAIRE I

11:41AM    5       SAW THAT THE TRIAL WAS COMING ON THE NEWS, BUT I DIDN'T CLICK

11:41AM    6       ON IT.

11:41AM    7                   THE COURT:    AND THAT WAS ON A NEWS FEED ON YOUR

11:41AM    8       DEVICE?

11:41AM    9                   PROSPECTIVE JUROR:     YEAH, YEAH.

11:41AM   10                   THE COURT:    SO I THINK YOU SAID IN YOUR

11:41AM   11       QUESTIONNAIRE THAT YOU HEARD ABOUT HER AND YOU MIGHT BE

11:41AM   12       BIASSED.   I THINK THAT'S WHAT YOU WROTE.

11:41AM   13                   PROSPECTIVE JUROR:     YEAH.   YOU HEAR ON THE NEWS, AND

11:41AM   14       I DON'T KNOW IF THERE'S ANY SUBCONSCIOUS BIAS, BUT I THINK I

11:41AM   15       CAN TRY TO BE OBJECTIVE AND NOT LET IT AFFECT ME.       BUT IT'S

11:41AM   16       JUST BASED ON THE NEWS WHAT I HAVE HEARD.

11:41AM   17                   THE COURT:    OKAY.    SO YOU'VE HEARD ME TALK TO THE

11:41AM   18       OTHER JURORS AND YOU'VE HEARD THEIR ANSWERS ABOUT HOW IT WILL

11:41AM   19       AFFECT THEM AND BASED ON THEIR EXPOSURES.

11:41AM   20             WHAT ABOUT YOU?     IS THAT SOMETHING THAT YOU THINK YOU HAVE

11:41AM   21       CONFIDENCE THAT YOU CAN PUT ASIDE ANY QUESTIONS THAT YOU'VE

11:41AM   22       HEARD, READ?

11:41AM   23                   PROSPECTIVE JUROR:     BASED ON WHAT I'VE HEARD AND

11:41AM   24       READ, I THINK I CAN NOT LET IT AFFECT ME.

11:42AM   25                   THE COURT:    OKAY.    HAVE YOU -- HAVE YOU WATCHED ANY



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11:42AM    1       SHOW OR DOCUMENTARY OR ANYTHING ON THIS, ON THIS CASE OR THE

11:42AM    2       ITEMS SURROUNDING THIS CASE?

11:42AM    3                    PROSPECTIVE JUROR:     NOT ANY SHOWS OR DOCUMENTARY.

11:42AM    4             JUST, LIKE, THE NEWS CHANNEL, LIKE ABC OR SOMETHING WHEN

11:42AM    5       THEY TALK ABOUT THE CASE.      BUT I DIDN'T WATCH IT IN DEPTH.

11:42AM    6                    THE COURT:    HAVE YOU LISTENED TO THE ENTIRETY OF

11:42AM    7       THAT NEWS?

11:42AM    8                    PROSPECTIVE JUROR:     NOT PARTICULARLY.

11:42AM    9                    THE COURT:    I'M SORRY, I INTERRUPTED YOU.   GO AHEAD.

11:42AM   10                    PROSPECTIVE JUROR:     JUST, LIKE, WHEN IT'S ON THE

11:42AM   11       NEWS AND IN THE BACKGROUND IN PASSING I JUST HEAR, AND MAYBE

11:42AM   12       SOME DISCUSSION WITH FAMILY ABOUT WHAT THEY THINK HAS HAPPENED.

11:42AM   13       BUT NOTHING IN DETAIL.

11:42AM   14                    THE COURT:    AND HAVE YOU SHARED IN THAT CONVERSATION

11:42AM   15       WITH YOUR FAMILY?    AND I'M NOT GOING TO ASK YOU WHAT WAS SAID,

11:42AM   16       BUT DID YOU SHARE YOUR OPINION ABOUT THE CASE AT THAT TIME?          OR

11:42AM   17       NOT THE CASE, BUT ABOUT THE NEWS STORY?

11:42AM   18                    PROSPECTIVE JUROR:     NO, NOT -- NOT TOO MUCH

11:42AM   19       DISCUSSION.    MAINLY THEY WERE ASKING, WHAT DO YOU THINK

11:43AM   20       HAPPENED?    BUT NOT TOO MUCH ON MY SIDE.

11:43AM   21                    THE COURT:    OKAY.    ALL RIGHT.

11:43AM   22             I WANT TO ASK YOU ABOUT SOMETHING ELSE.       YOU'VE TOLD US

11:43AM   23       THAT YOU'RE A BUSY ENGINEER.

11:43AM   24                    PROSPECTIVE JUROR:     YEAH.

11:43AM   25                    THE COURT:    TELL US ABOUT THAT.



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11:43AM    1                   PROSPECTIVE JUROR:     OH, MY WORK RIGHT NOW, IT'S

11:43AM    2       PRETTY STRESSFUL.    I'M WORKING MAYBE 60 TO 80 HOURS A WEEK AND

11:43AM    3       I'M BARELY KEEPING UP.

11:43AM    4             WHAT I MENTIONED WAS THAT I WAS CONCERNED THAT THE

11:43AM    5       WORKLOAD IS PRETTY HIGH AND I'LL HAVE TROUBLE KIND OF FOCUSSING

11:43AM    6       ON WORK AND WITH FOCUSSING MENTALLY ON THE CASE IS WHAT WAS MY

11:43AM    7       CONCERN.

11:43AM    8                   THE COURT:    I SEE.   DO YOU THINK THAT WOULD BE A

11:43AM    9       CHALLENGE FOR YOU?

11:43AM   10                   PROSPECTIVE JUROR:     YEAH, I THINK SO, BECAUSE SINCE

11:43AM   11       THE CASE IS SO LONG AND THE WORK, I MEAN, IT'S PRETTY HEAVY IN

11:43AM   12       TERMS OF THE HOURS THAT I HAVE TO PUT IN.       I DON'T KNOW HOW I

11:43AM   13       WILL BE ABLE TO MANAGE BOTH.

11:43AM   14                   THE COURT:    OKAY.    I THINK YOU NEED TO HAVE A

11:43AM   15       CONVERSATION WITH YOUR EMPLOYER AND TELL HIM TO HIRE SOME MORE

11:43AM   16       PEOPLE, DO YOU THINK?

11:43AM   17             (LAUGHTER.)

11:43AM   18                   PROSPECTIVE JUROR:     YEAH, WE'RE PRETTY SHORT

11:44AM   19       STAFFED.

11:44AM   20                   THE COURT:    THAT MIGHT BE A FAST SOLUTION TO THIS.

11:44AM   21             BUT I KNOW YOU TOLD US ABOUT THAT IN YOUR QUESTIONNAIRE,

11:44AM   22       THAT YOU HAVE A LOT OF WORK TO DO.

11:44AM   23             ARE THE PROJECTS THAT YOU ARE WORKING ON NOW THAT HAVE A

11:44AM   24       COMPLETION DATE SOON?

11:44AM   25                   PROSPECTIVE JUROR:     NO.   IT'S KIND OF JUST STARTING,



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11:44AM    1       SO IT WILL GO ON FOR A WHILE.      AND I'M ONE OF THE MAIN ONES

11:44AM    2       KIND OF STARTING ON IT, AND THE OPPORTUNITY IS, LIKE, A PRETTY

11:44AM    3       HIGH VISIBLE PROJECT, AND SO IT'S LIKE PRETTY IMPORTANT TO MY

11:44AM    4       WORK AND CAREER IN TERMS OF PROVING MYSELF.         SO, YEAH.

11:44AM    5                   THE COURT:    ALL RIGHT.   THANK YOU.

11:44AM    6             MR. SCHENK, ANY QUESTIONS?

11:44AM    7                   MR. SCHENK:    NO.

11:44AM    8                   MR. DOWNEY:    I WANTED TO INQUIRE OF MR. TONG OF THE

11:44AM    9       COWORKER WHO WORKED AT THERANOS, BUT I DIDN'T WANT TO --

11:45AM   10                   THE COURT:    NO, I THINK YOU MENTIONED THAT,

11:45AM   11       MR. TONG.

11:45AM   12             MR. DOWNEY, YOU HAD A QUESTION ABOUT THAT?

11:45AM   13                   MR. DOWNEY:    I DO.

11:45AM   14             WHO WAS THE FRIEND WHO HAD A CHILD THAT WORKED AT

11:45AM   15       THERANOS?

11:45AM   16                   PROSPECTIVE JUROR:     SO IT WAS A COUPLE COMPANIES AGO

11:45AM   17       THAT I WORKED AT, AND I JUST KNOW THAT THE DAUGHTER WORKED AT

11:45AM   18       THE COMPANY, AND I MIGHT HAVE MET ONCE AT A COMPANY PARTY, BUT

11:45AM   19       I DON'T KNOW HER PERSONALLY WELL.

11:45AM   20                   MR. DOWNEY:    OKAY.   DO YOU KNOW THE LAST NAME OF

11:45AM   21       YOUR COWORKER?

11:45AM   22                   PROSPECTIVE JUROR:     IT'S BEEN, LIKE, A FEW YEARS

11:45AM   23       AGO, SO I DON'T KNOW THE LAST NAME, BUT I HAVE THE FIRST NAME.

11:45AM   24                   MR. DOWNEY:    YOU DO RECALL THE FIRST NAME?

11:45AM   25                   PROSPECTIVE JUROR:     YEAH.



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11:45AM    1                   MR. DOWNEY:   AND WHAT WAS THE FIRST NAME?

11:45AM    2                   PROSPECTIVE JUROR:    THE FIRST NAME OF THE COWORKER

11:45AM    3       OR THE DAUGHTER?

11:45AM    4                   MR. DOWNEY:   THE DAUGHTER.

11:45AM    5                   PROSPECTIVE JUROR:    OH, THE DAUGHTER.   I DON'T

11:45AM    6       REMEMBER HER NAME.

11:45AM    7                   MR. DOWNEY:   HOW ABOUT THE COWORKER?

11:45AM    8                   PROSPECTIVE JUROR:    IT'S PHI, P-H-I.

11:45AM    9                   MR. DOWNEY:   AND DO YOU KNOW WHAT YOUR COWORKER'S

11:46AM   10       DAUGHTER DID AT THERANOS?

11:46AM   11                   PROSPECTIVE JUROR:    NO.   I JUST KNOW THAT SHE WAS

11:46AM   12       WORKING THERE AT THE TIME.

11:46AM   13                   MR. DOWNEY:   OKAY.   DID YOU EVER TALK TO YOUR

11:46AM   14       COWORKER ABOUT THERANOS?

11:46AM   15                   PROSPECTIVE JUROR:    NO, NOT THAT COWORKER.    MAYBE

11:46AM   16       SOME OTHER COWORKER THAT KNEW HER JUST MENTIONED WHEN THIS

11:46AM   17       HAPPENED THAT SHE HAD A DAUGHTER THAT WORKED THERE.

11:46AM   18                   MR. DOWNEY:   I THINK YOU SAID YOU MAY HAVE MET YOUR

11:46AM   19       COWORKER'S DAUGHTER ONCE AT A PARTY.

11:46AM   20                   PROSPECTIVE JUROR:    A COMPANY EVENT.

11:46AM   21                   MR. DOWNEY:   WHEN YOU WERE AT THE PARTY, DID YOU

11:46AM   22       HAVE ANY DISCUSSIONS ABOUT THERANOS WITH HER?

11:46AM   23                   PROSPECTIVE JUROR:    NO.   THIS IS BEFORE EVERYTHING

11:46AM   24       HAPPENED, SO WE DIDN'T HAVE ANY DISCUSSION REGARDING THIS.

11:46AM   25                   MR. DOWNEY:   OKAY.   WHAT ABOUT ANY WORK AT THERANOS



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11:46AM    1       THAT SHE WAS DOING?

11:46AM    2                    PROSPECTIVE JUROR:     THERE WAS NO DISCUSSION ABOUT

11:46AM    3       THAT.

11:46AM    4                    MR. DOWNEY:    THANK YOU, MR. TONG.

11:46AM    5                    THE COURT:    ANYTHING FURTHER, MR. DOWNEY?

11:46AM    6                    MR. DOWNEY:    NO, NOTHING, YOUR HONOR.

11:46AM    7                    THE COURT:    MR. SCHENK?

11:46AM    8                    MR. SCHENK:    NO.

11:46AM    9                    THE COURT:    THANK YOU, MR. TONG.     THANK YOU.

11:46AM   10             LET'S PASS THE MICROPHONE DOWN THE ROW BEHIND YOU, I

11:46AM   11       THINK.

11:47AM   12             IS THAT MS. GLIK?      WHERE DID THE MICROPHONE GO?

11:47AM   13                    PROSPECTIVE JUROR:     VANDEKAMP IS MY LAST NAME, 160.

11:47AM   14                    THE COURT:    I'M SORRY.    THANK YOU.

11:47AM   15             YES?

11:47AM   16                    PROSPECTIVE JUROR:     ARE WE DISCLOSING THINGS OUTSIDE

11:47AM   17       OF THE QUESTIONNAIRE OR JUST THE QUESTIONNAIRE STILL?

11:47AM   18                    THE COURT:    WELL, MY QUESTION WAS REGARDING

11:47AM   19       EXPOSURE, ANYTHING THAT YOU MAY HAVE SEEN, READ, HEARD.

11:47AM   20                    PROSPECTIVE JUROR:     YEAH, FOR SURE.

11:47AM   21                    THE COURT:    BOTH BEFORE THE QUESTIONNAIRE AND AFTER

11:47AM   22       THE QUESTIONNAIRE.

11:47AM   23                    PROSPECTIVE JUROR:     OKAY.   COOL.

11:47AM   24             SO BEFORE THE QUESTIONNAIRE, I CONSUMED A LOT OF MEDIA AND

11:47AM   25       I'M PRETTY SURE I HAVE HEARD THE PODCAST ABOUT IT.



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11:47AM    1              BUT NOW THAT I SEE THE DEFENDANT, I THINK I HAVE SEEN A

11:47AM    2       MOVIE OR DOCUMENTARY BECAUSE SHE LOOKS FAMILIAR.

11:47AM    3                   THE COURT:    OKAY.    WHEN WOULD THAT HAVE BEEN THAT

11:47AM    4       YOU SAW THIS?

11:47AM    5                   PROSPECTIVE JUROR:     A WHILE AGO.     MAYBE A YEAR AGO,

11:47AM    6       TWO YEARS AGO.    I'M NOT SURE.

11:47AM    7                   THE COURT:    OKAY.    OKAY.

11:47AM    8              IS THERE -- DO YOU REMEMBER ANY OF THE CONTENT THAT YOU

11:48AM    9       SAW?

11:48AM   10                   PROSPECTIVE JUROR:     SOMEWHAT, LIKE, ABOUT THE

11:48AM   11       TESTING AND SUCH.    BUT THAT'S PRETTY MUCH IT.

11:48AM   12                   THE COURT:    THE GENERAL STORY?

11:48AM   13                   PROSPECTIVE JUROR:     YEAH, THE GENERAL STORY.    I

11:48AM   14       WASN'T THAT INVESTED IN IT, TO BE HONEST.

11:48AM   15                   THE COURT:    OKAY.    WAS IT A CABLE NEWS SHOW OR A

11:48AM   16       TELEVISION SHOW?    DO YOU RECALL?

11:48AM   17                   PROSPECTIVE JUROR:     IT WAS PROBABLY EITHER SOMETHING

11:48AM   18       LIKE ON A STREAMING SERVICE.

11:48AM   19                   THE COURT:    I SEE.

11:48AM   20                   PROSPECTIVE JUROR:     YEAH.

11:48AM   21                   THE COURT:    OKAY.    AND WHAT ABOUT SUBSEQUENT TO THE

11:48AM   22       QUESTIONNAIRE?

11:48AM   23                   PROSPECTIVE JUROR:     I SAW A HEADLINE ON "THE

11:48AM   24       NEW YORK TIMES" THE OTHER DAY ABOUT FEMALE FUNDING IN THE TECH

11:48AM   25       SPACE, BUT I DIDN'T READ IT.       I DIDN'T READ THE WHOLE THING.



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11:48AM    1                   THE COURT:    THERE'S A BOOK I THINK CALLED

11:48AM    2       "BAD BLOOD."    ARE YOU FAMILIAR WITH THAT?

11:48AM    3                   PROSPECTIVE JUROR:     WITH THE BOOK?

11:48AM    4                   THE COURT:    YES.

11:48AM    5                   PROSPECTIVE JUROR:     NO, I DIDN'T READ THE BOOK.

11:48AM    6                   THE COURT:    YOU DID NOT READ THE BOOK?

11:48AM    7                   PROSPECTIVE JUROR:     HUH-UH.

11:48AM    8                   THE COURT:    DID YOU SEE A MOVIE OR DOCUMENTARY ABOUT

11:48AM    9       THE BOOK?

11:48AM   10                   PROSPECTIVE JUROR:     I THINK IT WAS A PODCAST.

11:49AM   11                   THE COURT:    I SEE.   OKAY.

11:49AM   12             I THINK YOU TOLD US ALSO THAT THE MEDIA THAT YOU CONSUMED

11:49AM   13       ABOUT THIS, AND IT MAY BE THIS, DID YOU SAY THAT IT DID NOT

11:49AM   14       SHOW BOTH SIDES?

11:49AM   15                   PROSPECTIVE JUROR:     I DON'T FEEL LIKE IT WAS A

11:49AM   16       TWO-SIDED THING.    I FEEL LIKE IT WAS FROM -- IT WAS REALLY JUST

11:49AM   17       COVERAGE ABOUT WHAT WAS HAPPENING.         IT DIDN'T SEEM LIKE IT HAD

11:49AM   18       ANY OTHER -- LIKE, IT WASN'T LIKE A GOVERNMENT TYPE THING OR

11:49AM   19       FROM THE INVESTOR SIDE OR ANYTHING LIKE THAT I DON'T THINK.        I

11:49AM   20       DON'T REALLY RECALL TO BE HONEST.

11:49AM   21                   THE COURT:    I JUST ASKED THAT AND I SAW YOU -- I

11:49AM   22       THINK YOU SAID IT DID NOT, "IT" MEANING THE DOCUMENTARY, THE

11:49AM   23       PODCAST, WHATEVER IT WAS --

11:49AM   24                   PROSPECTIVE JUROR:     YEAH.

11:49AM   25                   THE COURT:    -- IT DID NOT SHOW BOTH SIDES, AND I WAS



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11:49AM    1       CURIOUS WHAT YOU MEANT BY THAT.

11:49AM    2                   PROSPECTIVE JUROR:     YEAH, I WAS TRYING TO THINK

11:49AM    3       ABOUT IT AS THE PROSECUTOR AND THE DEFENDANT, AND I DON'T FEEL

11:49AM    4       LIKE IT WAS A TWO-SIDED THING.       IT WAS JUST, LIKE,

11:49AM    5       INFORMATIONAL.

11:49AM    6                   THE COURT:    I SEE.   OKAY.

11:50AM    7             I ALSO WANT TO ASK YOU, I THINK YOU TOLD US THAT YOU HAVE

11:50AM    8       SOME TRAVEL PLANNED?

11:50AM    9                   PROSPECTIVE JUROR:     I DO, YEAH.

11:50AM   10                   THE COURT:    AND TELL US ABOUT THAT.

11:50AM   11                   PROSPECTIVE JUROR:     I HAVE A WORK TRIP FROM

11:50AM   12       SEPTEMBER 20TH TO THE 28TH.

11:50AM   13                   THE COURT:    28TH.    OH, OKAY.

11:50AM   14             AND IS THAT INTERNATIONAL TRAVEL?

11:50AM   15                   PROSPECTIVE JUROR:     NO.   IT'S TO CHICAGO.

11:50AM   16                   THE COURT:    OKAY.    AND IS THAT SOMETHING THAT COULD

11:50AM   17       BE EITHER RESCHEDULED OR THAT YOUR EMPLOYER MIGHT SEND SOMEONE

11:50AM   18       ELSE?   I KNOW THERE'S NO ONE ELSE THAT WOULD DO AS GOOD OF A

11:50AM   19       JOB AS YOU --

11:50AM   20                   PROSPECTIVE JUROR:     THAT'S RIGHT.

11:50AM   21             (LAUGHTER.)

11:50AM   22                   PROSPECTIVE JUROR:     I'M ACTUALLY THE PERSON IN

11:50AM   23       CHARGE OF THE ENTIRE EVENT.

11:50AM   24                   THE COURT:    I BEG YOUR PARDON?

11:50AM   25                   PROSPECTIVE JUROR:     I'M IN CHARGE OF THE EVENT FOR



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11:50AM    1       THE ENTIRE TEAM.

11:50AM    2                   THE COURT:    OH, YOU'RE RUNNING THE EVENT?

11:50AM    3                   PROSPECTIVE JUROR:      YEAH.

11:50AM    4                   THE COURT:    SO YOU WOULD BE CONSPICUOUS IN YOUR

11:50AM    5       ABSENCE?

11:50AM    6                   PROSPECTIVE JUROR:      I THINK SO.   PARTICULARLY

11:50AM    7       BECAUSE I'M REALLY GOOD AT WHAT I DO.

11:50AM    8             (LAUGHTER.)

11:50AM    9                   THE COURT:    DO YOU HAVE ANY DOUBT ABOUT THAT

11:51AM   10       MS. VANDEKAMP?

11:51AM   11                   PROSPECTIVE JUROR:      NO DOUBTS.

11:51AM   12                   THE COURT:    OKAY.    THANK YOU.

11:51AM   13             ANY QUESTIONS, MR. SCHENK?

11:51AM   14                   MR. SCHENK:    NO.     THANK YOU, YOUR HONOR.

11:51AM   15                   MR. DOWNEY:    NO.     THANK YOU, YOUR HONOR.

11:51AM   16                   THE COURT:    THANK YOU VERY MUCH, MS. VANDEKAMP.      I

11:51AM   17       APPRECIATE IT.

11:51AM   18             IS THIS MS. GLIK?

11:51AM   19                   PROSPECTIVE JUROR:      YES.

11:51AM   20                   THE COURT:    ALL RIGHT.

11:51AM   21                   PROSPECTIVE JUROR:      SO WHEN I FILLED OUT THE

11:51AM   22       QUESTIONNAIRE I WASN'T FAMILIAR WITH ANYTHING, NOT THE TOPIC OR

11:51AM   23       THE NAME.

11:51AM   24             BUT WHEN I CAME BACK HOME I COMPLETED THE QUESTIONS, AND

11:51AM   25       THEN I REMEMBER MY HUSBAND'S MOVIE WAS IN THE MIDDLE ABOUT THE



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11:51AM    1       BLOOD TESTS WHICH I MADE THE CONNECTION.       I DON'T KNOW MUCH

11:51AM    2       ABOUT IT, JUST PART OF THE MOVIE.        I KNOW IT'S ABOUT BLOOD

11:51AM    3       TESTING, LIKE A SMALL BLOOD TESTING, BUT NOTHING ELSE.

11:51AM    4                   THE COURT:    OKAY.    WELL, THANK YOU.   SO YOU SAW PART

11:51AM    5       OF THE MOVIE?

11:51AM    6                   PROSPECTIVE JUROR:     YEAH.   MY HUSBAND, BUT NOTHING

11:52AM    7       MUCH I REMEMBER.

11:52AM    8                   THE COURT:    DO YOU REMEMBER THE TITLE OF THE MOVIE?

11:52AM    9                   PROSPECTIVE JUROR:     NO.

11:52AM   10                   THE COURT:    AND HOW LONG AGO WAS THIS?

11:52AM   11                   PROSPECTIVE JUROR:     I DON'T REMEMBER MUCH, SO I

11:52AM   12       GUESS IT WAS A LONG TIME AGO.

11:52AM   13                   THE COURT:    MORE THAN A YEAR AGO?

11:52AM   14                   PROSPECTIVE JUROR:     PERHAPS, YEAH.     I JUST --

11:52AM   15                   THE COURT:    AND DO YOU REMEMBER HOW LONG THE MOVIE

11:52AM   16       WAS OR HOW LONG YOU WATCHED THE MOVIE?

11:52AM   17                   PROSPECTIVE JUROR:     NO.   I WATCHED JUST A FEW

11:52AM   18       MINUTES.   MY HUSBAND GAVE ME SOME MORE DETAILS ABOUT IT, BUT I

11:52AM   19       DON'T REMEMBER THE DETAILS, SO --

11:52AM   20                   THE COURT:    OKAY.    DO YOU REMEMBER OR DO YOU HAVE

11:52AM   21       ANY KNOWLEDGE TODAY ABOUT ANYTHING ABOUT THIS CASE?

11:52AM   22                   PROSPECTIVE JUROR:     NO.   NOT EXCEPT THAT IT'S ABOUT

11:52AM   23       VERY SMALL BLOOD TEST.

11:52AM   24                   THE COURT:    OKAY.    HAVE YOU TALKED TO ANYBODY ABOUT

11:52AM   25       ANYTHING ABOUT THIS CASE?



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11:52AM    1                   PROSPECTIVE JUROR:      NO.

11:52AM    2                   THE COURT:    OR HAS ANYBODY TALKED TO YOU?

11:52AM    3                   PROSPECTIVE JUROR:      NO.

11:52AM    4                   THE COURT:    HAVE YOU READ ANYTHING ABOUT THIS CASE?

11:52AM    5                   PROSPECTIVE JUROR:      NO.

11:52AM    6                   THE COURT:    OKAY.    ALL RIGHT.

11:52AM    7             MR. SCHENK, ANY QUESTIONS FOR MS. GLIK?

11:52AM    8                   MR. SCHENK:    NO.     THANK YOU.

11:52AM    9                   MR. DOWNEY:    NOTHING, YOUR HONOR.

11:52AM   10                   THE COURT:    ALL RIGHT.      THANK YOU.   THANK YOU,

11:52AM   11       MS. GLIK.

11:52AM   12                   PROSPECTIVE JUROR:      THANK YOU.

11:53AM   13                   THE COURT:    YOU'RE WELCOME.

11:53AM   14             IS THAT MR. FORSBERG?

11:53AM   15                   PROSPECTIVE JUROR:      YES.

11:53AM   16                   THE COURT:    169.

11:53AM   17                   PROSPECTIVE JUROR:      SO SINCE FILLING OUT THE

11:53AM   18       QUESTIONNAIRE, THE ONLY EXPOSURE I'VE HAD WAS LAST NIGHT MY

11:53AM   19       HUSBAND HAD THE T.V. ON AND THERE WAS A SHOT OF THE COURT

11:53AM   20       REPORTER, OR THE REPORTER OUTSIDE THE COURT.           WE IMMEDIATELY

11:53AM   21       TURNED OFF THE T.V., SO IT JUST FLASHED BY.

11:53AM   22                   THE COURT:    OKAY.    DID YOU SEE ANY -- OR EXCUSE ME.

11:53AM   23       DID YOU HEAR ANY CONTENT?

11:53AM   24                   PROSPECTIVE JUROR:      JUST THAT THEY WERE DOING JURY

11:53AM   25       SELECTION TODAY.



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11:53AM    1                   THE COURT:    OKAY.    ALL RIGHT.

11:53AM    2             WHAT ABOUT PRE-QUESTIONNAIRE?

11:53AM    3                   PROSPECTIVE JUROR:     SO PRE-QUESTIONNAIRE I HAD SEEN

11:53AM    4       THE "60 MINUTES" PIECE, AND ANOTHER PIECE ABOUT THE TESTING

11:53AM    5       THAT WAS POSSIBLE.

11:53AM    6                   THE COURT:    AND DID YOU SEE THOSE IN THE ENTIRETY?

11:53AM    7                   PROSPECTIVE JUROR:     YES, I DID.

11:53AM    8                   THE COURT:    OKAY.    AND DO YOU RETAIN SOME OF WHAT

11:53AM    9       YOU SAW TODAY?

11:53AM   10                   PROSPECTIVE JUROR:     YES, I DID.

11:53AM   11                   THE COURT:    I SEE.   YOU HAVE THAT IN YOUR MIND

11:53AM   12       TODAY, WHAT YOU SAW?

11:53AM   13                   PROSPECTIVE JUROR:     YES.

11:54AM   14                   THE COURT:    AND YOU'VE HEARD ME TALK, OF COURSE, ALL

11:54AM   15       MORNING HERE ABOUT SEPARATING THINGS IF YOU'RE A JUROR IN THIS

11:54AM   16       CASE.

11:54AM   17             IS THAT SOMETHING THAT YOU THINK YOU COULD DO?

11:54AM   18                   PROSPECTIVE JUROR:     I BELIEVE, YES, I COULD DO IT.

11:54AM   19       I THINK THAT I'M NOT UNBIASSED, BUT I THINK I'M AWARE OF MY

11:54AM   20       BIASES.

11:54AM   21                   THE COURT:    OKAY.    AND HOW DO YOU -- MAY I ASK YOU,

11:54AM   22       MR. FORSBERG, HOW DO YOU RECONCILE THOSE TWO THINGS,

11:54AM   23       RECOGNIZING YOUR BIASES AND THEN MOVING TO PUT ASIDE THOSE

11:54AM   24       BIASES?   HOW DO YOU, HOW DO YOU -- WHAT TOOLS DO YOU USE TO

11:54AM   25       ACCOMPLISH THAT?



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11:54AM    1                    PROSPECTIVE JUROR:     I THINK IN THIS APPLICATION IT

11:54AM    2       WOULD BE BASICALLY LISTENING TO THE COURT AND THE DIRECTION

11:54AM    3       THAT THEY HAVE.

11:54AM    4             SO YOU MAY HEAR THINGS OR HAVE TO NOT APPLY THEM, IF YOU

11:54AM    5       WILL.

11:54AM    6                    THE COURT:    AND YOU KNOW THIS AND I'VE TOLD THIS AND

11:54AM    7       I'VE SAID THIS, THAT THERE WILL BE A COURT ORDER THAT JURORS,

11:55AM    8       JURORS ARE NOT, NOT TO CONSULT ANYTHING OUTSIDE THE EVIDENCE IN

11:55AM    9       THIS CASE.    YOU HAVE HEARD ME TALK ABOUT THE UNIVERSE OF

11:55AM   10       EVIDENCE IN THIS COURTROOM AND THAT FORMS THE BASIS OF A

11:55AM   11       JUROR'S INFORMATION.

11:55AM   12             IS THAT SOMETHING THAT YOU CAN DO?

11:55AM   13                    PROSPECTIVE JUROR:     ABSOLUTELY, YES.

11:55AM   14                    THE COURT:    AND CAN YOU PARSE OUT THE PROGRAMS THAT

11:55AM   15       YOU'VE SEEN AND ANY OTHER INFORMATION THAT YOU'VE SEEN AND NOT

11:55AM   16       ALLOW THAT TO INFECT YOUR THOUGHT PROCESS AS YOU DELIBERATE AS

11:55AM   17       A JUROR AND YOU SEE AND HEAR THE EVIDENCE IN THE CASE?        CAN YOU

11:55AM   18       DO THAT?

11:55AM   19                    PROSPECTIVE JUROR:     I BELIEVE I CAN.

11:55AM   20                    THE COURT:    AND ANY DOUBT ABOUT THAT?

11:55AM   21                    PROSPECTIVE JUROR:     THERE'S A LITTLE DOUBT, YES.

11:55AM   22                    THE COURT:    AND LET'S TALK ABOUT THAT.   TELL ME

11:55AM   23       ABOUT YOUR THOUGHTS ABOUT THAT.       AND I APPRECIATE YOUR CANDOR,

11:55AM   24       MR. FORSBERG, I REALLY DO.

11:55AM   25                    PROSPECTIVE JUROR:     I THINK JUST -- I THINK THERE



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11:55AM    1       WAS SO MUCH POSSIBILITY ATTACHED TO THE PRODUCT THAT WOULD BE

11:56AM    2       DELIVERED, THAT THAT'S WHAT I HAVE TO DETACH AND GO BACK TO,

11:56AM    3       THIS IS WHAT IS HAPPENING IN THE COURTROOM AND THIS IS WHAT IS

11:56AM    4       BEING GUIDED, AND TO PUT THE OTHER PERCEPTIONS ASIDE.

11:56AM    5                   THE COURT:    RIGHT.   AND THAT'S -- I RECOGNIZE --

11:56AM    6       YESTERDAY I SAID IT WAS A HERCULEAN TASK TO ACCOMPLISH THAT FOR

11:56AM    7       FOLKS, TO SEPARATE THAT, TO UNRING A BELL, TO UNREAD A BOOK,

11:56AM    8       WHATEVER THAT IS.

11:56AM    9             HOW WOULD YOU ACCOMPLISH THAT OR GO ABOUT DOING THAT?

11:56AM   10                   PROSPECTIVE JUROR:     I'M NOT SURE HOW TO ANSWER THAT

11:56AM   11       QUESTION.   IT WOULD JUST BE TO THE BEST OF MY ABILITY TO REALLY

11:56AM   12       JUST FOLLOW THE INSTRUCTIONS AND THE GUIDANCE, LIKE WE HAD ON

11:56AM   13       THE QUESTIONNAIRE WHERE IT WAS DON'T GOOGLE IT, DON'T LOOK IT

11:56AM   14       UP, DON'T TALK ABOUT IT.     YOU KNOW, SO WHEN IT CAME ON T.V.

11:56AM   15       LAST NIGHT, WE IMMEDIATELY TURNED THE T.V. OFF.

11:56AM   16             SO I THINK JUST FOLLOWING THE GUIDANCE OF THE COURT IS

11:56AM   17       PROBABLY THE BEST ANSWER I HAVE AT THIS TIME.

11:56AM   18                   THE COURT:    I APPRECIATE THAT.   THAT WAS A TOUGH

11:57AM   19       QUESTION.

11:57AM   20             SOMETIMES IN A CASE LIKE THIS, PERHAPS, A JUROR MIGHT SIT

11:57AM   21       HERE AND WILL INFORM US ALL THAT, YOU KNOW, I CAN KEEP THAT OUT

11:57AM   22       OF MY MIND.

11:57AM   23             AND THEN SOMETHING MIGHT COME UP IN THE TRIAL ITSELF, A

11:57AM   24       PIECE OF EVIDENCE, A WITNESS, AND SOMEONE MIGHT SAY, OH, I

11:57AM   25       REMEMBER HEARING ABOUT THAT IN THIS PODCAST, IN THIS MOVIE, AND



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11:57AM    1       THIS IS DIFFERENT THAN WHAT I HEARD, HOW CAN THAT BE?

11:57AM    2             DO YOU UNDERSTAND THAT SCENARIO?

11:57AM    3                   PROSPECTIVE JUROR:     ABSOLUTELY, YES.

11:57AM    4                   THE COURT:    AND THAT'S OUR CONCERN HERE IS HOW CAN A

11:57AM    5       JUROR, HOW CAN WE ASK A JUROR TO KEEP THAT SEPARATE?

11:57AM    6                   PROSPECTIVE JUROR:     I ALSO THINK TIME HAS A BIT OF

11:57AM    7       AN ADVANTAGE.    MOST OF THE THINGS THAT I PREVIOUSLY SAW WERE,

11:57AM    8       YOU KNOW, WELL OVER A YEAR AND A HALF AGO.

11:57AM    9                   THE COURT:    RIGHT.   OKAY.

11:57AM   10             I WANT TO TALK A LITTLE BIT ABOUT YOU HAVE SOME TRAVEL.

11:57AM   11                   PROSPECTIVE JUROR:     I DO.

11:57AM   12                   THE COURT:    AND THAT'S FROM THE END OF OCTOBER

11:57AM   13       THROUGH THE SECOND WEEK OF NOVEMBER I BELIEVE.

11:57AM   14                   PROSPECTIVE JUROR:     SO THE OCTOBER TRIP CAN BE

11:58AM   15       CANCELLED AND RESCHEDULED, BUT I SENT AN EMAIL ON MONDAY AND I

11:58AM   16       DO HAVE A TRIP SCHEDULED FROM DECEMBER 3RD THROUGH THE 13TH.

11:58AM   17                   THE COURT:    OH, OKAY.

11:58AM   18                   PROSPECTIVE JUROR:     AND WHEN I COUNTED 13 WEEKS, I

11:58AM   19       DIDN'T REALIZE THAT WAS RIGHT AT THE END OF THE TRIAL SCHEDULE.

11:58AM   20                   THE COURT:    SO, I'M SORRY.   THE OCTOBER TRAVEL?

11:58AM   21                   PROSPECTIVE JUROR:     COULD BE RESCHEDULED.

11:58AM   22                   THE COURT:    OKAY.    THANK YOU FOR THAT.

11:58AM   23                   PROSPECTIVE JUROR:     YES.

11:58AM   24                   THE COURT:    MR. SCHENK, ANY QUESTIONS?

11:58AM   25                   MR. SCHENK:    NO, YOUR HONOR.



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11:58AM    1                     MR. DOWNEY:    NO, YOUR HONOR.

11:58AM    2                     THE COURT:    ALL RIGHT.   THANK YOU VERY MUCH.

11:58AM    3             LET'S SEE.    WERE THERE OTHER HANDS?

11:58AM    4             OKAY.    I SEE.

11:58AM    5                     PROSPECTIVE JUROR:     I'M JUROR 165.

11:58AM    6                     THE COURT:    YES.

11:58AM    7                     PROSPECTIVE JUROR:     I HAVE A 5-YEAR OLD SON I NEED

11:58AM    8       TO PICK UP FROM SCHOOL AT 12:30, AND THERE'S NO ONE ELSE THAT

11:58AM    9       CAN GO GET HIM.     I CAN ONLY GET HIM.

11:58AM   10                     THE COURT:    I SEE IT'S NOON NOW.     WILL YOU BE ABLE

11:58AM   11       TO RETURN?

11:58AM   12                     PROSPECTIVE JUROR:     NO, BECAUSE NO ONE IS ABLE TO

11:59AM   13       PICK HIM UP.     I'M THE ONLY ONE THAT CARES FOR HIM.

11:59AM   14                     THE COURT:    IS THAT EVERY DAY, SIR?

11:59AM   15                     PROSPECTIVE JUROR:     YEAH.

11:59AM   16                     THE COURT:    ALL RIGHT.   THANK YOU.

11:59AM   17             THIS IS MR. RAZO; IS THAT RIGHT?

11:59AM   18                     THE CLERK:    YES, JUROR 165.

11:59AM   19                     THE COURT:    ALL RIGHT.   WHY DON'T YOU HAND THAT BACK

11:59AM   20       TO YOUR COLLEAGUE.      THANK YOU, MR. RAZO.    HAVE A SEAT.

11:59AM   21             WHERE DO YOU PICK UP YOUR CHILD?

11:59AM   22                     PROSPECTIVE JUROR:     MORGAN HILL.

11:59AM   23                     THE COURT:    THAT'S A BIT OF A DISTANCE FROM HERE.

11:59AM   24             MR. SCHENK, ANY OBJECTION?

11:59AM   25                     MR. SCHENK:    NO OBJECTION.



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11:59AM    1                   MR. DOWNEY:    NO OBJECTION.

11:59AM    2                   THE COURT:    MR. RAZO, YOU'RE EXCUSED.   DRIVE SAFELY.

11:59AM    3                   PROSPECTIVE JUROR:     THANK YOU.

11:59AM    4                   PROSPECTIVE JUROR:     MY NAME IS DANIEL HALL, JUROR

11:59AM    5       167.

11:59AM    6              PRIOR TO FILLING OUT THIS QUESTIONNAIRE, I HAD NO

11:59AM    7       KNOWLEDGE OF THIS CASE WHATSOEVER, NOT THE NAMES OR NOTHING

11:59AM    8       INVOLVED.

11:59AM    9              UP UNTIL THIS LAST WEEKEND, AND EVEN THIS MORNING, I SAW

11:59AM   10       SOME NEWS ARTICLES COMING THROUGH, JUST THE TITLES ON THE FEED

12:00PM   11       AND GOING TO COURT AND THAT KIND OF THING.      I DIDN'T CLICK ON

12:00PM   12       THEM.    I DIDN'T GO TO THE STORY OR ANYTHING LIKE THAT.

12:00PM   13              SO I DON'T HAVE ANY DETAILS ON THE CASE OR ANYTHING LIKE

12:00PM   14       THAT, BUT IT WAS JUST THEY STARTED COMING THROUGH THE NEWS,

12:00PM   15       SO --

12:00PM   16                   THE COURT:    ALL RIGHT.   THANK YOU.   I APPRECIATE

12:00PM   17       THAT.

12:00PM   18              YOU KNOW, IT MAY BE THAT I CAN'T ORDER PEOPLE TO -- WELL,

12:00PM   19       I CAN ORDER PEOPLE NOT TO READ AND PAY ATTENTION TO THOSE

12:00PM   20       THINGS.    I CAN'T TELL YOU HOW TO DO THAT.

12:00PM   21              BUT I'M TOLD THAT YOU CAN TURN THESE NEWS FEEDS OFF.        JUST

12:00PM   22       LIKE THAT PHONE THAT IS RINGING, YOU CAN TURN THAT OFF.        I'M

12:00PM   23       TOLD THAT THEY CAN TURN PHONES OFF LIKE THAT, SO --

12:00PM   24              BUT THAT'S SOMETHING THAT, YOU KNOW, THE JURORS MIGHT

12:00PM   25       ENGAGE IN, THAT IS, TO TURN OFF THOSE NEWS FEEDS, AND THAT



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12:00PM    1        MIGHT BE OF ASSISTANCE.

12:00PM    2             SO THANK YOU.    THANK YOU FOR THAT.

12:00PM    3             ANYONE ELSE IN THE BACK?

12:00PM    4             WE'RE GOING TO TAKE OUR NOON RECESS NOW, BUT I'D LIKE TO

12:00PM    5        FINISH THIS CONVERSATION WITH YOU IF I CAN.

12:00PM    6                    PROSPECTIVE JUROR:     GOOD AFTERNOON, YOUR HONOR.

12:00PM    7                    THE COURT:    YES.

12:01PM    8                    PROSPECTIVE JUROR:     HI.   I'M JUROR 161,

12:01PM    9        RONNIE JACOBSON.

12:01PM   10                    THE COURT:    THANK YOU.

12:01PM   11                    PROSPECTIVE JUROR:     AS I PUT IN MY QUESTIONNAIRE, I

12:01PM   12        DIDN'T --

12:01PM   13             (CELL PHONE RINGING.)

12:01PM   14                    PROSPECTIVE JUROR:     THAT WAS NOT MY PHONE.

12:01PM   15             (LAUGHTER.)

12:01PM   16                    PROSPECTIVE JUROR:     I DID NOT KNOW MUCH ABOUT THE

12:01PM   17        CASE.   I HEARD NAMES AND THINGS, BUT I DIDN'T REALLY PURSUE

12:01PM   18        READING ANYTHING.

12:01PM   19             SINCE I FILLED OUT THE QUESTIONNAIRE, MY COLLEAGUES AT

12:01PM   20        WORK DID KNOW THAT I WAS AT JURY DUTY, SO THEY'VE BEEN TRYING

12:01PM   21        TO GUESS.

12:01PM   22             FORTUNATELY, I'VE BEEN ON ZOOM SO I DIDN'T HAVE TO -- IT

12:01PM   23        WAS EASY TO KIND OF CONCEAL THAT.        BUT YESTERDAY WHEN MY FRIEND

12:01PM   24        KNEW I HAD TO COME TODAY, SHE STARTED TEXTING ME LINKS TO

12:01PM   25        THINGS, AND SO I JUST SAW A COUPLE OF HEADLINES ABOUT THE JURY



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12:01PM    1        SELECTION THAT HAPPENED YESTERDAY AND THINGS LIKE THAT.         SO I

12:01PM    2        DIDN'T READ IT AND THAT WAS THE END OF IT.

12:01PM    3                   THE COURT:    OKAY.    THANK YOU.   THANK YOU.

12:01PM    4             I WONDER, IS IT ALSO POSSIBLE TO BLOCK PEOPLE FROM TEXTS?

12:01PM    5             (LAUGHTER.)

12:02PM    6                   THE COURT:    THAT MIGHT BE A SOLUTION.    THANKS.

12:02PM    7             WELL, YOU SAW THE HEADLINES?

12:02PM    8                   PROSPECTIVE JUROR:     IT SAID JURY SELECTION STARTED

12:02PM    9        YESTERDAY WAS THE HEADLINE THAT I SAW, AND THEN I SAW THE

12:02PM   10        CAMERAS DOWNSTAIRS WHEN I GOT HERE TODAY, SO --

12:02PM   11                   THE COURT:    AND THAT'S THE EXTENT OF IT?

12:02PM   12                   PROSPECTIVE JUROR:     YES.

12:02PM   13                   THE COURT.    OKAY.    SO IF YOU'RE SEATED AS A JUROR,

12:02PM   14        I'LL INSTRUCT YOU THAT YOU'RE NOT TO DISCUSS THE CASE WITH

12:02PM   15        ANYONE.   YOU MAY TELL THEM THAT YOU'RE SEATED AS A JUROR IN A

12:02PM   16        CASE, BUT YOU'RE NOT TO TALK ABOUT THE CASE AT ALL.

12:02PM   17             ARMED WITH THAT, WE CAN GIVE YOU A WRITTEN ORDER IF YOU

12:02PM   18        WOULD LIKE TO PUT IT IN FRONT OF YOUR FRIEND.

12:02PM   19             (LAUGHTER.)

12:02PM   20                   PROSPECTIVE JUROR:     YES.

12:02PM   21                   THE COURT:    THAT MIGHT BE HELPFUL.

12:02PM   22             BUT THAT MIGHT ASSIST YOU ALSO AS TO ANY COLLEAGUES WHO

12:02PM   23        WANT TO ENGAGE YOU.

12:02PM   24             BUT I APPRECIATE YOUR -- YOU KNOW, YOU AND MS. GONZALEZ

12:02PM   25        ARE TERRIFIC IN DOING THAT AND AVOIDING THAT CONVERSATION.



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12:02PM    1        THANK YOU.

12:02PM    2                     PROSPECTIVE JUROR:     IS IT POSSIBLE, MAY I ASK A

12:02PM    3        QUESTION, PLEASE?

12:02PM    4                     THE COURT:    ABSOLUTELY, PLEASE.

12:02PM    5                     PROSPECTIVE JUROR:     I APPRECIATE VERY MUCH THAT YOU

12:02PM    6        LET EVERYONE KNOW THAT EVERYONE IN HERE IS VACCINATED, BUT IF

12:02PM    7        YOU SAW MY QUESTIONNAIRE, I WROTE SEVERAL TIMES HOW CONCERNED I

12:03PM    8        AM ABOUT BEING IN AN ENCLOSED ROOM.        THIS IS THE MOST PEOPLE

12:03PM    9        THAT I'VE BEEN WITH IN A YEAR AND A HALF, AND THE FACT THAT IT

12:03PM   10        HAS HAPPENED TWICE NOW IN TWO WEEKS HAS ME VERY, VERY ANXIOUS,

12:03PM   11        AND SO --

12:03PM   12                     THE COURT:    YES.

12:03PM   13                     PROSPECTIVE JUROR:     -- SO I APPRECIATE ALL OF THE

12:03PM   14        LENGTHS THAT YOU DESCRIBED IN TERMS OF TRYING TO KEEP US SAFE,

12:03PM   15        BUT I DON'T KNOW THAT I CAN BE COMFORTABLE AT ALL.

12:03PM   16             I MEAN, I'VE BEEN IN MY HOUSE AND WORKING FROM HOME.          I

12:03PM   17        HAVE A SON WHO IS IN HIGH SCHOOL, AND THANKFULLY HE WAS ABLE TO

12:03PM   18        GO BACK, AND I'M WORRIED AND I JUST --

12:03PM   19                     THE COURT:    SURE.    IS YOUR SON VACCINATED?

12:03PM   20                     PROSPECTIVE JUROR:     HE IS, YES.   WE'RE ALL

12:03PM   21        VACCINATED.

12:03PM   22             AND A COLLEAGUE AT WORK WAS VACCINATED AND SHE AND HER

12:03PM   23        PARENTS BOTH GOT SICK, AND SHE WAS SICK LAST WEEK, AND SO --

12:03PM   24                     THE COURT:    RIGHT.

12:03PM   25                     PROSPECTIVE JUROR:     SO THREE MONTHS AGO MAYBE I



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12:03PM    1        WOULD HAVE FELT A LITTLE BIT BETTER AFTER THE INITIAL WE ALL

12:03PM    2        GOT VACCINATED AND WE SORT OF HAD HOPE.

12:03PM    3             BUT THE LAST, YOU KNOW, SIX WEEKS ARE -- I'M KIND OF

12:04PM    4        SHAKEN, AND I'VE NEVER TRIED TO GET OUT OF JURY DUTY BEFORE

12:04PM    5        BECAUSE I BELIEVE IN IT.

12:04PM    6             BUT I'VE NEVER BEEN IN A PANDEMIC BEFORE, AND THE THOUGHT

12:04PM    7        OF HAVING TO BE IN A ROOM LIKE THIS WITH THIS MANY PEOPLE THREE

12:04PM    8        DAYS A WEEK FOR 13 WEEKS, QUITE HONESTLY, I DON'T KNOW THAT I

12:04PM    9        CAN DO THAT.

12:04PM   10                   THE COURT:    THANK YOU.   I EXPECT THAT ONCE WE GET

12:04PM   11        OUR JURY SEATED, CERTAINLY THE NUMBERS ON YOUR SIDE OF THE ROOM

12:04PM   12        I THINK WILL DIMINISH GREATLY.     THAT'S MY UNDERSTANDING.

12:04PM   13             BUT THANK YOU FOR SHARING THAT WITH ME.

12:04PM   14             ANY QUESTIONS, MR. SCHENK?

12:04PM   15                   MR. SCHENK:    NO, YOUR HONOR.

12:04PM   16                   MR. DOWNEY:    NO, YOUR HONOR.

12:04PM   17                   THE COURT:    THANK YOU.

12:04PM   18             WAS THERE ONE MORE INDIVIDUAL?

12:04PM   19             YES, LET'S -- IS THIS MS. CHEN?

12:04PM   20                   PROSPECTIVE JUROR:     YES.

12:04PM   21                   THE COURT:    YES?

12:04PM   22                   PROSPECTIVE JUROR:     I PREVIOUSLY WATCHED SOME

12:04PM   23        YOUTUBE VIDEOS ABOUT THIS CASE ABOUT I'D SAY, LIKE, SIX MONTHS

12:04PM   24        AGO, AND I SORT OF FELL DOWN THE RABBIT HOLE BACK THEN.       I HAVE

12:04PM   25        A HABIT OF WATCHING A LOT OF DOCUMENTARIES, AND I BELIEVE THAT



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12:04PM    1        I WATCHED EITHER THE "20/20" OR THE "60 MINUTES" DOCUMENTARY ON

12:05PM    2        IT, AND SO I'M SOMEWHAT FAMILIAR WITH THE CASE.

12:05PM    3               I DO HAPPEN TO REMEMBER THE DETAILS ABOUT SORT OF WHAT

12:05PM    4        HAPPENED, AND ALSO THE FIRST VIDEO THAT I WATCHED, SPECIFICALLY

12:05PM    5        THE PERSON WAS A BIT MORE OPINIONATED AND NOT LINKED TO ANY

12:05PM    6        JOURNAL NATIONALISM, AND SO THEY WERE PURELY STATING OPINIONS

12:05PM    7        EXPLICITLY STATING THAT --

12:05PM    8                    THE COURT:    PARDON ME FOR INTERRUPTING YOU, FIRST OF

12:05PM    9        ALL.

12:05PM   10               SO WAS IT A "20/20" THAT YOU SAW, I THINK?       IS THAT WHAT

12:05PM   11        YOU SAID?

12:05PM   12                    PROSPECTIVE JUROR:      I'M NOT TOO SURE.   I TEND TO

12:05PM   13        WATCH THINGS, EVERYTHING ON TIMES 2.        SO I WATCH A LOT OF

12:05PM   14        VIDEOS.    IT WAS EITHER A "20/20" DOCUMENTARY OR "60 MINUTES."

12:05PM   15        I DON'T REALLY LOOK AT THE TITLES OF VIDEOS SOMETIMES.

12:05PM   16                    THE COURT:    ALL RIGHT.    OKAY.   THANK YOU FOR THAT.

12:06PM   17               LET ME ASK YOU TO PASS THE MICROPHONE TO I THINK IT'S THE

12:06PM   18        LAST PERSON THERE.    IT'S JUST BEHIND YOU THERE.

12:06PM   19               OH, THERE'S MORE THAN --

12:06PM   20                    PROSPECTIVE JUROR:      I'M JUROR 164.

12:06PM   21                    THE COURT:    YES, MS. QUINTANILLA?

12:06PM   22                    PROSPECTIVE JUROR:      YES.

12:06PM   23                    THE COURT:    YES.     THANK YOU.

12:06PM   24                    PROSPECTIVE JUROR:      AFTER THE QUESTIONNAIRE, I TRY

12:06PM   25        NOT TO TALK TO ANYBODY, INCLUDING MY FAMILY.         BUT LAST NIGHT MY



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12:06PM    1        HUSBAND WAS WATCHING THE EVENING NEWS AND THE JURY SELECTION

12:06PM    2        COMMENT CAME ACROSS.

12:06PM    3             AND MY SON DID ASK ME, MOM, BY ANY CHANCE IS THIS CASE THE

12:06PM    4        ONE THAT YOU'RE POTENTIALLY IN THE JURY?

12:06PM    5             AND I SAID I COULD NOT DISCLOSE THAT, AND I KNOW IT WOULD

12:06PM    6        BE VERY DISRESPECTFUL IF I WERE TO TELL THEM THAT I'M PART OF

12:07PM    7        THIS CASE.

12:07PM    8             PRIOR TO THE QUESTIONNAIRE I DID WATCH -- I DON'T REMEMBER

12:07PM    9        IF IT WAS A T.V. SHOW OR A DOCUMENTARY, BUT IT WAS YEARS AGO

12:07PM   10        AND IT WAS REGARDING THE CASE.

12:07PM   11             AND I DIDN'T REALIZE UNTIL I WAS ANSWERING THE

12:07PM   12        QUESTIONNAIRE THAT I ALREADY HAD, LIKE, A LITTLE BIT OF A --

12:07PM   13        NOT A LITTLE BIT, BUT I ALREADY HAD BEEN TO AN EXTENT EXPOSED,

12:07PM   14        BUT I DIDN'T REMEMBER THE NAMES OR THE COMPANY, BUT I REMEMBER

12:07PM   15        WHAT IT WAS ABOUT AND IT WAS ABOUT TESTING.

12:07PM   16                     THE COURT:    OKAY.

12:07PM   17                     PROSPECTIVE JUROR:     I THINK I CAN FOLLOW DIRECTIONS

12:07PM   18        AND BE FAIR AND BE OBJECTIVE FOR THE ENTIRE PROCESS.

12:08PM   19                     THE COURT:    THANK YOU.   THANK YOU VERY MUCH.

12:08PM   20             MS. QUINTANILLA, I ALSO SEE THAT YOU'RE TRAVELLING --

12:08PM   21                     PROSPECTIVE JUROR:     I'M TRAVELLING --

12:08PM   22                     THE COURT:    -- THIS WEEKEND.

12:08PM   23                     PROSPECTIVE JUROR:     -- TOMORROW AND COMING BACK THIS

12:08PM   24        WEEKEND, AND THAT'S THE ONLY TRAVELLING I WILL BE DOING PLANNED

12:08PM   25        AS OF NOW.



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12:08PM    1                     THE COURT:    ALL RIGHT.      THANK YOU.   THANK YOU VERY

12:08PM    2        MUCH.    THANK YOU.

12:08PM    3             AND THERE WAS ONE OTHER PERSON I THINK.

12:08PM    4             IS THAT MS. DOMINGUEZ?

12:08PM    5                     PROSPECTIVE JUROR:      YES, IT IS, 211.

12:08PM    6                     THE COURT:    YES.     THANK YOU.

12:08PM    7                     PROSPECTIVE JUROR:      SAME AS HER.     CAN YOU HEAR ME?

12:08PM    8                     THE COURT:    YES.

12:08PM    9                     PROSPECTIVE JUROR:      PRIOR TO THE QUESTIONNAIRE I DID

12:08PM   10        KNOW ABOUT THE CASE, BUT I DIDN'T REMEMBER WHEN I WAS FILLING

12:09PM   11        OUT THE QUESTIONNAIRE, BUT I DID SEE IT AGAIN LAST NIGHT ON THE

12:09PM   12        NEWS.

12:09PM   13                     THE COURT:    WHAT DID YOU SEE ON THE NEWS?

12:09PM   14                     PROSPECTIVE JUROR:      JURY SELECTION STARTED

12:09PM   15        YESTERDAY.

12:09PM   16                     THE COURT:    OKAY.    ANYTHING ELSE?

12:09PM   17                     PROSPECTIVE JUROR:      I'M GOING ON VACATION TOMORROW

12:09PM   18        AND COMING BACK THE 10TH, AND I DON'T THINK I STATED THAT ON

12:09PM   19        THERE.

12:09PM   20                     THE COURT:    NO, I DON'T THINK YOU DID.

12:09PM   21             AND IS THIS -- IS THIS TRAVEL OF A GREAT DISTANCE?

12:09PM   22                     PROSPECTIVE JUROR:      NOT A GREAT DISTANCE.

12:09PM   23                     THE COURT:    IS THIS SOMETHING THAT CAN BE

12:09PM   24        RESCHEDULED?

12:09PM   25                     PROSPECTIVE JUROR:      NO.   I WORK FOR THE SUPERIOR



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12:09PM    1        COURT FOR 21 YEARS AND I --

12:09PM    2                   THE COURT:    SANTA CLARA SUPERIOR COURT?

12:09PM    3                   PROSPECTIVE JUROR:     SANTA CLARA.

12:09PM    4                   THE COURT:    YES.

12:09PM    5                   PROSPECTIVE JUROR:     AND EVERY YEAR WE HAVE TO PUT IN

12:09PM    6        OUR BIDS AND SO I PUT IT IN LAST YEAR.

12:09PM    7                   THE COURT:    YOU KNOW, I HAVE SOME FAMILIARITY WITH

12:09PM    8        THAT, I THINK.

12:09PM    9             (LAUGHTER.)

12:09PM   10                   THE COURT:    I RECALL THAT THE CLERKS OF THE COURT,

12:09PM   11        YOU DO HAVE A BIDDING PROCESS THAT YOU HAVE TO GO THROUGH.

12:10PM   12                   PROSPECTIVE JUROR:     YES.

12:10PM   13                   THE COURT:    AND THEN WHOEVER IT IS APPROVES IT AND

12:10PM   14        THAT'S WHAT YOU GET.

12:10PM   15                   PROSPECTIVE JUROR:     YES.

12:10PM   16                   THE COURT:    AND IF YOU DON'T USE IT, YOU LOSE IT, I

12:10PM   17        GUESS, IF YOU'LL PARDON ME FOR PUTTING IT THAT WAY.

12:10PM   18             IS THAT RIGHT?

12:10PM   19                   PROSPECTIVE JUROR:     WE DON'T LOSE THE HOURS.    WE

12:10PM   20        DON'T LOSE THE HOURS.

12:10PM   21                   THE COURT:    RIGHT.   BUT YOU HAVE TO TRADE WITH

12:10PM   22        SOMEONE IF YOU MISS THAT DAY?     IS THAT HOW IT WORKS?

12:10PM   23                   PROSPECTIVE JUROR:     YES.

12:10PM   24                   THE COURT:    RIGHT.

12:10PM   25                   PROSPECTIVE JUROR:     AND IT IS ALREADY TOMORROW.



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12:10PM    1                   THE COURT:    IT IS TOMORROW.    OKAY.   THANK YOU.

12:10PM    2             (LAUGHTER.)

12:10PM    3                   THE COURT:    ANY QUESTIONS FOR MS. DOMINGUEZ?

12:10PM    4                   MR. SCHENK:    NO, YOUR HONOR.

12:10PM    5                   MR. DOWNEY:    NO, YOUR HONOR.

12:10PM    6                   THE COURT:    THANK YOU, MS. DOMINGUEZ:

12:10PM    7             LET ME --

12:10PM    8                   PROSPECTIVE JUROR:     HI, YOUR HONOR.

12:10PM    9                   THE COURT:    I'M SORRY.

12:10PM   10                   PROSPECTIVE JUROR:     I'M IN THE BACK CORNER.   220.

12:10PM   11                   THE COURT:    OH, THAT'S MR. WAXMAN.     THERE WE ARE.

12:10PM   12                   PROSPECTIVE JUROR:     HERE I AM.

12:10PM   13                   THE COURT:    YES.

12:10PM   14                   PROSPECTIVE JUROR:     SO BY NATURE OF MY PROFESSION

12:10PM   15        AND MY EDUCATION, MEDIA IS SOMETHING THAT I CONSUME

12:10PM   16        VORACIOUSLY, SO I'VE BEEN READING, WATCHING PARTICULARLY

12:11PM   17        BUSINESS NEWS AND PARTICULARLY SILICON VALLEY NEWS FOR MOST OF

12:11PM   18        MY CAREER, AND I'VE READ ARTICLES MOSTLY CONTEMPORANEOUSLY AS

12:11PM   19        THE COMPANY WAS ANNOUNCED AND SUCCESSFUL.

12:11PM   20             AND THEN AFTER THAT I'M NOT AS FAMILIAR WITH THE

12:11PM   21        DOCUMENTARY KINDS OF THINGS THAT HAPPENED AFTERWARDS.

12:11PM   22             BUT I WAS VERY FAMILIAR DURING THE TIME.       SO I DON'T KNOW

12:11PM   23        HOW MANY ARTICLES THAT I READ, INCLUDING BECAUSE I HAVE -- I

12:11PM   24        ALSO ADVISE A LOT OF EARLY START-UP COMPANIES AND WORK WITH

12:11PM   25        INVESTORS AND V.C.'S.     IT WAS KIND OF A CONVERSATIONAL, I DON'T



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12:11PM    1        KNOW, CONTACT PARTY CONVERSATION, IF YOU WILL, FOR QUITE SOME

12:11PM    2        TIME DURING THE TIME THAT IT ACTUALLY REALLY HAPPENED, NOT

12:11PM    3        RECENTLY.

12:11PM    4             YEAH, SO I HAVE A CONSIDERABLE BOTH AMOUNT OF INFORMATION

12:12PM    5        AND PRECONCEIVED OPINION ON THE SUBJECT.

12:12PM    6                     THE COURT:    THANK YOU.

12:12PM    7             NOW, TELL US WHAT YOU CAN DO TO PUT ALL OF THAT ASIDE IF

12:12PM    8        YOU'RE SEATED AS A JUROR IN THIS CASE AND TO DECIDE THE CASE

12:12PM    9        ONLY ON THE EVIDENCE IN THIS COURTROOM?

12:12PM   10             IS THAT SOMETHING THAT YOU CAN DO, MR. WAXMAN?

12:12PM   11                     PROSPECTIVE JUROR:      AND THAT'S A REALLY HARD

12:12PM   12        QUESTION AND I THOUGHT ABOUT THAT AND THERE ARE TWO THINGS THAT

12:12PM   13        I FIND CONFLICTING FOR ME.

12:12PM   14             ONE IS THAT I DO THINK I'M A VERY OBJECTIVE PERSON.         I DO

12:12PM   15        THINK THAT I CAN LOOK AT INFORMATION OBJECTIVELY AND MAKE THAT

12:12PM   16        KIND OF A DECISION.

12:12PM   17             BUT I'LL ALSO SAY THAT HAD SOMEONE IN THIS COURTROOM

12:12PM   18        WALKED UP TO ME A WEEK AGO AND, KNOWING WHAT THIS WAS ABOUT,

12:12PM   19        AND ASKED, HEY, DO YOU KNOW ANYTHING ABOUT THIS, I WOULD HAVE

12:12PM   20        BEEN VERY UNAMBIGUOUS ON MY OPINION ON THE SUBJECT BECAUSE IT'S

12:12PM   21        STRONG.

12:12PM   22             SO I'M A HUMAN BEING.         I CAN DO MY BEST TO BE OBJECTIVE,

12:12PM   23        BUT I HAVE A STRONG OPINION.

12:13PM   24                     THE COURT:    OKAY.    THANK YOU FOR THAT.   ALL RIGHT.

12:13PM   25        THANK YOU.    I APPRECIATE THAT.



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12:13PM    1             LET'S PASS THE MICROPHONE UP.

12:13PM    2             I THINK MS. COMILANG WANTS TO BE HEARD, SO LET'S GET THAT

12:13PM    3        TO HER, AND THEN WE'LL END WITH MR. CHATHAM, YES.

12:13PM    4             THIS IS JUROR NUMBER 124, MS. COMILANG.

12:13PM    5                    PROSPECTIVE JUROR:     IT'S NOT RELATED TO THE

12:13PM    6        IMMEDIATE, BUT I HAVE TO PICK UP MY TWO DAUGHTERS TODAY AT 1:00

12:13PM    7        AND 1:30.   IF I COULD BE EXCUSED?

12:13PM    8                    THE COURT:    AND IS THIS EVERY DAY YOU PICK THEM UP?

12:13PM    9                    PROSPECTIVE JUROR:     YEAH, EVERY WEDNESDAY AND

12:13PM   10        THURSDAY.

12:13PM   11                    THE COURT:    AND WHAT HAVE YOU DONE TO ARRANGE FOR

12:13PM   12        OTHER TRANSPORTATION FOR THEM SINCE YOU WERE SUMMONED FOR JURY

12:14PM   13        SERVICE?

12:14PM   14                    PROSPECTIVE JUROR:     THERE'S NOBODY WHO CAN PICK UP

12:14PM   15        MY KIDS, BECAUSE MY HUSBAND HAS TO GO TO WORK UNTIL

12:14PM   16        3:00 O'CLOCK OR 2:30, 2:30, 3:00, SO --

12:14PM   17                    THE COURT:    AND WHERE DO YOU PICK THEM UP?

12:14PM   18                    PROSPECTIVE JUROR:     I PICK THEM UP AT PIEDMONT HIGH

12:14PM   19        SCHOOL AND MIDDLE SCHOOL.

12:14PM   20                    THE COURT:    PIEDMONT.   AND DO YOU PICK THEM UP OR

12:14PM   21        TAKE THEM HOME?

12:14PM   22                    PROSPECTIVE JUROR:     YEAH, I HAVE TO PICK THEM UP AND

12:14PM   23        TAKE THEM HOME.

12:14PM   24                    THE COURT:    AND HOW OLD ARE YOUR CHILDREN?     WHAT ARE

12:14PM   25        THEIR AGES?



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12:14PM    1                   PROSPECTIVE JUROR:     THEY ARE 11 AND 15, AND I HAVE

12:14PM    2        ONE UNVACCINATED, SO --

12:14PM    3                   THE COURT:    ALL RIGHT.   THANK YOU FOR SHARING THAT.

12:14PM    4              ANY QUESTIONS, MR. SCHENK?

12:14PM    5                   MR. SCHENK:    NO, YOUR HONOR.

12:14PM    6                   MR. DOWNEY:    NO, YOUR HONOR.

12:14PM    7                   THE COURT:    ALL RIGHT.   PLEASE HAND THAT TO

12:14PM    8        MR. CHATHAM.

12:14PM    9                   PROSPECTIVE JUROR:     I NEGLECTED TO PUT IN THE

12:14PM   10        QUESTIONNAIRE ABOUT SOME PLANNED TRIPS, AND SINCE YOU'RE ASKING

12:14PM   11        ABOUT THAT, I THOUGHT I WOULD BRING IT UP.

12:15PM   12                   THE COURT:    WHAT WOULD YOU LIKE ME TO KNOW?

12:15PM   13                   PROSPECTIVE JUROR:     WE HAVE THE FIRST VACATION

12:15PM   14        PLANNED IN TWO YEARS TO GO TO EUROPE TO SEE MY DAUGHTER FOR,

12:15PM   15        LIKE, EIGHT DAYS AT THE END OF -- OR AT THE BEGINNING OF -- END

12:15PM   16        OF OCTOBER, BEGINNING OF NOVEMBER, WHICH WE'VE ALREADY PAID FOR

12:15PM   17        THE HOTEL AND THE FLIGHT, SO --

12:15PM   18                   THE COURT:    TELL ME THOSE DATES AGAIN.

12:15PM   19                   PROSPECTIVE JUROR:     THAT WOULD BE -- WE'RE LEAVING

12:15PM   20        SUNDAY, THE 24TH OF OCTOBER, AND WE'RE RETURNING ON TUESDAY,

12:15PM   21        NOVEMBER 2ND.

12:15PM   22                   THE COURT:    ALL RIGHT.   THANK YOU.

12:15PM   23              ANYTHING ELSE?

12:15PM   24                   PROSPECTIVE JUROR:     THERE IS A SHORTER TRIP COMING

12:15PM   25        UP.   MY MOTHER-IN-LAW'S 90TH BIRTHDAY IS COMING UP AND WE ARE



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12:15PM    1        GOING DOWN TO SAN DIEGO, JUST DRIVING.          I CAN MAKE SOME

12:15PM    2        ARRANGEMENTS FOR THAT, BUT THAT'S THE 1ST THROUGH THE 5TH OF

12:15PM    3        OCTOBER.

12:15PM    4                    THE COURT:    OKAY.    ALL RIGHT.    THANK YOU VERY MUCH.

12:15PM    5        THANK YOU FOR LETTING ME KNOW THAT.

12:16PM    6             LADIES AND GENTLEMEN, I'VE KEPT YOU PAST THE NOON HOUR, SO

12:16PM    7        WE'RE GOING TO TAKE OUR LUNCH BREAK NOW, AND THANK YOU FOR YOUR

12:16PM    8        PATIENCE.   I HAVE MORE QUESTIONS FOR YOU.

12:16PM    9             I REALIZE I TOOK A LOT OF TIME.       IT'S IMPORTANT FOR ME TO

12:16PM   10        KNOW AND THESE LAWYERS TO KNOW THIS INFORMATION THAT WE TALKED

12:16PM   11        ABOUT, SPECIFICALLY INFORMATION THAT YOU HAVE HAD ABOUT THE

12:16PM   12        ISSUES IN THIS CASE AND WHAT TO DO WITH THEM.

12:16PM   13             LET'S -- CAN WE HAVE -- I'D LIKE TO GET STARTED --

12:16PM   14             IF WE CAN -- MS. KRATZMANN, DO YOU THINK IT WOULD BE

12:16PM   15        POSSIBLE TO HAVE OUR JURORS UP HERE BY 1:40?         IS THAT POSSIBLE?

12:16PM   16                    THE CLERK:    YES, YOUR HONOR.      IF THEY COULD COLLECT

12:16PM   17        AND RETURN FROM LUNCH NO LATER THAN 1:15.

12:16PM   18                    THE COURT:    SURE.    SO WE HOPE WE CAN SEAT EVERYONE

12:16PM   19        AND START BY A QUARTER TO THE HOUR.       SO LET'S TRY, AND LET'S

12:16PM   20        SHOOT FOR THAT, FOLKS.

12:16PM   21             AND LET ME TELL YOU, DURING YOUR BREAK YOU'RE NOT TO

12:17PM   22        DISCUSS THE CASE WITH ANYONE.       YOU'RE NOT TO READ, LISTEN TO,

12:17PM   23        OBSERVE ANY NEWS STORIES, RADIO PROGRAMS ABOUT THIS CASE.

12:17PM   24        YOU'RE NOT TO DISCUSS IT AMONGST YOURSELVES IN ANY WAY AT ALL.

12:17PM   25        AND THAT WILL REMAIN IN PLACE UNTIL YOU'RE RELEASED OR



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12:17PM    1        OTHERWISE EXCUSED.

12:17PM    2               ANYONE HAVE ANY QUESTION ABOUT THAT?

12:17PM    3               I SEE NO HANDS.

12:17PM    4                    PROSPECTIVE JUROR:     DO WE COME TO THE DOOR?

12:17PM    5                    THE COURT:    YOU'LL COLLECT YOURSELVES DOWNSTAIRS ON

12:17PM    6        THE SECOND FLOOR IN THE JURY ASSEMBLY ROOM IF YOU WOULD,

12:17PM    7        PLEASE.

12:17PM    8                    PROSPECTIVE JUROR:     TIME?

12:17PM    9                    THE CLERK:    IF YOU COULD RETURN TO THE JURY ROOM NO

12:17PM   10        LATER THAN 1:20, AND THEN YOU WILL GET WORD TO COME UP.        DO NOT

12:17PM   11        COME UP DIRECTLY HERE.      HOPEFULLY -- IT TAKES TIME TO GET

12:17PM   12        THROUGH THE ELEVATORS, AND WE CAN SEAT YOU BY 1:40.

12:17PM   13                    THE COURT:    THANK YOU, FOLKS.   HAVE A GOOD LUNCH.

12:17PM   14               COUNSEL, IF YOU COULD REMAIN, PLEASE.

12:17PM   15               (PROSPECTIVE JURY PANEL OUT AT 12:17 P.M.)

12:19PM   16                    THE COURT:    PLEASE BE SEATED.   I'M SORRY.    THANK

12:19PM   17        YOU.

12:19PM   18               THE RECORD SHOULD REFLECT THAT OUR JURY -- OUR PROSPECTIVE

12:19PM   19        PANEL HAS LEFT THE ROOM.     ALL COUNSEL ARE PRESENT.      MS. HOLMES

12:19PM   20        IS PRESENT.

12:19PM   21               I WANTED TO DISCUSS SOME OF THE JURORS HERE AND GO OVER

12:19PM   22        WHAT YOUR THOUGHTS ARE.

12:19PM   23               JUROR NUMBER 32, MR. NGO, AND JUROR NUMBER 102,

12:19PM   24        MR. GOLDBERG, COME TO MIND FIRST.

12:19PM   25                    MR. SCHENK:    YOUR HONOR, MR. NGO IS 172.



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12:19PM    1                    THE COURT:    YOU'RE RIGHT.    THANK YOU.   IT'S 172.

12:20PM    2             ANY COMMENTS ABOUT THIS JUROR?        HE INDICATED HE DROPS OFF

12:20PM    3        HIS KIDS AND WIFE DAILY.     HE TAKES HIS WIFE I THINK AT

12:20PM    4        8:00 A.M. AND HIS CHILDREN AT NOON.

12:20PM    5                    MR. SCHENK:    NO OBJECTION.

12:20PM    6                    MR. DOWNEY:    AND NO OBJECTION AS TO THIS JUROR.

12:20PM    7             AND AS TO MR. GOLDBERG, LET US TALK AT LUNCH AND I CAN LET

12:20PM    8        YOUR HONOR KNOW BEFORE THE JURY RETURNS.

12:20PM    9                    THE COURT:    OKAY.

12:20PM   10                    THE CLERK:    OKAY.    I'M SORRY, YOUR HONOR.   CAN I GET

12:20PM   11        CLARIFICATION OF THE JUROR THAT WAS JUST EXCUSED?

12:20PM   12                    THE COURT:    172, MR. NGO, AND HE'S EXCUSED FOR

12:20PM   13        HARDSHIP.

12:20PM   14             AND THEN 102 IS MR. GOLDBERG.

12:20PM   15                    MR. SCHENK:    WE BELIEVE HE SHOULD BE EXCUSED FOR

12:20PM   16        CAUSE.

12:20PM   17                    MR. DOWNEY:    YOUR HONOR, LET US TALK.     HE DOES SEEM

12:20PM   18        TO HAVE A DIFFICULT SITUATION, SO WE'LL --

12:20PM   19                    THE COURT:    IT DOES TO ME, TOO.    I'M INCLINED TO DO

12:20PM   20        THAT.

12:20PM   21             I DON'T WANT TO DISCOURAGE YOUR CONVERSATION, BUT HE

12:20PM   22        TRAVELS FOR HIS FATHER.

12:21PM   23             HE TOLD US ABOUT READING SOME ARTICLES AND KNOWING A

12:21PM   24        WITNESS, THAT TYPE OF THING.

12:21PM   25             BUT I'M INCLINED TO EXCUSE HIM FOR CAUSE JUST BASED ON THE



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12:21PM    1        HEALTH ISSUE OF HIS FATHER.

12:21PM    2                   MR. DOWNEY:    I UNDERSTAND, YOUR HONOR.    IF YOU DO

12:21PM    3        SO, THAT'S FINE.

12:21PM    4                   THE COURT:    THANK YOU.    LET'S EXCUSE JUROR NUMBER

12:21PM    5        102, MR. GOLDBERG, FOR HARDSHIP.

12:21PM    6             LET ME DRAW YOUR ATTENTION TO JUROR 116.      THAT'S

12:21PM    7        MS. NELSON.

12:21PM    8             MY QUESTION ABOUT MS. NELSON WAS HER COMMENTS ABOUT HER

12:21PM    9        HUSBAND BEING A SCIENTIST AND IN THE FIELD AND HER COMMENTS

12:22PM   10        ABOUT THAT.

12:22PM   11             WE KNOW SHE'S AN ATTORNEY.       SHE DEALS IN DOMESTIC VIOLENCE

12:22PM   12        ISSUES.   BUT WHAT I'M MORE INTERESTED IN AND CONCERNED ABOUT IS

12:22PM   13        HER CONTACT WITH HER HUSBAND.

12:22PM   14             MR. SCHENK?

12:22PM   15                   MR. SCHENK:    YOUR HONOR, I WROTE DOWN THAT SHE SAID

12:22PM   16        THAT HER HUSBAND'S OPINIONS ON THE SCIENCE WOULD WEIGH ON HER,

12:22PM   17        AND I THINK THAT EXCUSING HER FOR CAUSE WOULD BE APPROPRIATE.

12:22PM   18                   MR. DOWNEY:    WE AGREE, YOUR HONOR.

12:22PM   19                   THE COURT:    THANK YOU.    WE'LL EXCUSE JUROR NUMBER

12:22PM   20        116 FOR CAUSE.   THE COURT FINDS THAT SHE WAS VERY CANDID ABOUT

12:22PM   21        THE INFLUENCE THAT HER HUSBAND'S OPINIONS WOULD HAVE ON HER.

12:22PM   22             JUROR NUMBER 13 -- EXCUSE ME -- 122, MS. PARODI, I THINK

12:22PM   23        SHE EXPRESSED CHILDCARE ISSUES.       I WROTE IN MY NOTES FINANCIAL.

12:23PM   24             MR. SCHENK?

12:23PM   25                   MR. SCHENK:    I HAVE THE SAME THING IN MY NOTES ALSO,



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12:23PM    1        COVID AND CHILDCARE CONCERNS, AND THEN AGAIN CHILDCARE CONCERNS

12:23PM    2        BECAUSE SHE WAS THE PRIMARY CAREGIVER.

12:23PM    3             NO OBJECTION TO HARDSHIP.

12:23PM    4                   MR. DOWNEY:    SHE APPEARED TO HAVE NO SUBSTITUTE TO

12:23PM    5        TAKE CARE OF THE CHILDREN, SO WE AGREE THAT'S A HARDSHIP.

12:23PM    6             I THINK SHE ALSO INDICATED THAT SHE HAD A TRIP.

12:23PM    7                   THE COURT:    THAT'S RIGHT.    THAT'S RIGHT.   MORE

12:23PM    8        IMPORTANTLY, SHE HAS A PRECOCIOUS 16-YEAR-OLD SON THAT REQUIRES

12:23PM    9        SOME ATTENTION, SO WE'LL EXCUSE MS. PARODI FOR HARDSHIP.

12:23PM   10             THAT BRINGS ME TO 160, MS. VANDEKAMP.      SHE SAW THE

12:23PM   11        DOCUMENTARY.   SHE SHARED WITH US HER VIEWS ON THAT.

12:23PM   12             BUT MORE IMPORTANTLY, SHE'S TRAVELLING TO CHICAGO, AND SHE

12:23PM   13        TOLD US THAT HER PRESENCE IS REQUIRED THERE FROM SEPTEMBER 20TH

12:24PM   14        TO THE 28TH I THINK SHE TOLD US.

12:24PM   15                   MR. SCHENK:    NO OBJECTION TO HARDSHIP.

12:24PM   16                   MR. DOWNEY:    NO OBJECTION.

12:24PM   17                   THE COURT:    ALL RIGHT.   THANK YOU.   WE'LL EXCUSE

12:24PM   18        JUROR NUMBER 160, MS. VANDEKAMP.

12:24PM   19             MS. COMILANG, JUROR NUMBER 124, DID WE EXCUSE HER?

12:24PM   20                   THE CLERK:    NOT YET, YOUR HONOR.

12:24PM   21                   THE COURT:    SHE HAS CHILDCARE ISSUES THAT SHE TOLD

12:24PM   22        US ABOUT FROM PIEDMONT HIGH SCHOOL, I THINK.

12:24PM   23             MR. SCHENK?

12:25PM   24                   MR. SCHENK:    NO OBJECTION TO HARDSHIP, YOUR HONOR.

12:25PM   25                   MR. DOWNEY:    NO OBJECTION.



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12:25PM    1                   THE COURT:    ALL RIGHT.   I'LL EXCUSE MS. COMILANG.

12:25PM    2             I WANT TO ASK YOUR THOUGHTS ABOUT REMAINING JURORS.

12:25PM    3             AND 159, CHAN.     MS. CHAN TALKED ABOUT GOING DOWN THE

12:25PM    4        RABBIT HOLE, I THINK SHE PHRASED IT, OF INTERNET SEARCHES.

12:25PM    5             I CANDIDLY CUT HER OFF BEFORE SHE BEGAN I THINK

12:25PM    6        ELABORATING ON SOME OF THE THINGS THAT SHE HAD SEEN.

12:25PM    7             I'M HAPPY TO RECEIVE YOUR THOUGHTS ABOUT HER NOW IF YOU

12:25PM    8        HAVE ANY, WHETHER OR NOT THIS MIGHT BE SOMEONE THAT WE CAN CALL

12:25PM    9        UP IN ADVANCE OF THE OTHER JURORS AND HAVE A CONVERSATION WITH.

12:25PM   10                   MR. DOWNEY:    YOUR HONOR, I DIDN'T REQUEST THAT, BUT

12:25PM   11        I THINK IT WOULD BE A GOOD IDEA.      I ACTUALLY THOUGHT HER

12:25PM   12        STATEMENTS WERE SUFFICIENT AS TO WHERE WE WERE TO DISMISS HER

12:25PM   13        ON THE GROUNDS OF BIAS, BUT IF THE GOVERNMENT DOESN'T OPPOSE WE

12:26PM   14        MAY NOT NEED TO HAVE HER BACK.

12:26PM   15                   THE COURT:    WELL, BASED ON MY OBSERVATIONS AND ALSO

12:26PM   16        ON THE QUESTIONNAIRE THAT SHE FILED.

12:26PM   17             MR. SCHENK?

12:26PM   18                   MR. SCHENK:    WE WOULD AGREE TO DISMISS HER NOW FOR

12:26PM   19        BIAS.   FOR QUESTION 39 ON THE QUESTIONNAIRE, SHE PUT YES, AND I

12:26PM   20        THINK HER STATEMENT IN COURT CONFIRMED HER ANSWERS IN THE

12:26PM   21        QUESTIONNAIRE.

12:26PM   22                   THE COURT:    THAT'S WHAT I WAS FOCUSSED ON,

12:26PM   23        MR. SCHENK.

12:26PM   24             WE'LL EXCUSE JUROR 159 FOR CAUSE.

12:26PM   25             JUROR 164 IS MS. QUINTANILLA.     I MADE A NOTE TO MYSELF



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12:26PM    1        WITH A QUESTION MARK FOR PRIVATE.        I DON'T KNOW THAT IT'S

12:26PM    2        NECESSARY, THOUGH.

12:26PM    3             SHE SEEMED TO -- SHE TOLD US THAT SHE COULD FOLLOW THE

12:26PM    4        DIRECTIONS AND BE FAIR AND OBJECTIVE.

12:26PM    5                     MR. DOWNEY:    YOUR HONOR, MY QUESTION ABOUT THIS

12:26PM    6        WITNESS WAS ACTUALLY SOMETHING IN HER QUESTIONNAIRE, WHICH THIS

12:26PM    7        JUROR, SHE WAS NOT ASKED ABOUT AND DIDN'T SEEM TO BE AN ISSUE,

12:26PM    8        BUT SHE HAD CITED A HARDSHIP SITUATION IN THE QUESTIONNAIRE AS

12:26PM    9        TO A POTENTIAL LOSS OF INCOME.

12:27PM   10             I GATHER EITHER THAT'S BEEN RESOLVED OR SHE'S WAITING TO

12:27PM   11        SHARE THAT WITH US, BUT I THINK THERE'S A HARDSHIP ISSUE WITH

12:27PM   12        RESPECT TO HER.

12:27PM   13             I DON'T THINK, WITH REGARD TO THE BIAS INQUIRY, FRANKLY,

12:27PM   14        THAT IT WAS A SUFFICIENT BASIS FOR DISMISSAL.

12:27PM   15                     MR. SCHENK:    AGREED.   NO BASIS TO DISMISS HER YET.

12:27PM   16                     THE COURT:    OKAY.    THANK YOU.

12:27PM   17             JUROR 211, MS. DOMINGUEZ.        WAS IT MS. DOMINGUEZ WHO TOLD

12:27PM   18        US ABOUT HER VACATION SITUATION?

12:28PM   19                     MR. SCHENK:    YES.

12:28PM   20                     MR. DOWNEY:    YES, SHE'S LEAVING TOMORROW.

12:28PM   21                     THE COURT:    ALL RIGHT.   THANK YOU.   SHE'LL WELCOME

12:28PM   22        THAT NEWS.    SO WE'LL EXCUSE MS. DOMINGUEZ FOR HARDSHIP.

12:28PM   23             220 IS MR. WAXMAN, AND I DID -- OWING TO THE HOUR, I DID

12:28PM   24        SOMEWHAT STOP OUR CONVERSATION.

12:28PM   25                     MR. SCHENK:    THE GOVERNMENT AGREES TO EXCUSE HIM FOR



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12:28PM    1        CAUSE FOR BIAS.

12:28PM    2                   MR. DOWNEY:    AGREED, YOUR HONOR.

12:28PM    3                   THE COURT:    THANK YOU.    220, MR. WAXMAN, WILL BE

12:28PM    4        EXCUSED.

12:28PM    5             THAT BRINGS ME TO MR. CHATHAM WHO HAS THESE TRAVEL PLANS.

12:29PM    6        ANY COMMENT ABOUT MR. CHATHAM?

12:29PM    7                   MR. SCHENK:    I BELIEVE THE TRAVEL WAS OCTOBER 3RD

12:29PM    8        THROUGH THE 12TH, AND THERE WAS ALSO SOME OTHER TRAVEL.       WE

12:29PM    9        AGREE TO EXCUSE HIM FOR HARDSHIP.

12:29PM   10                   MR. DOWNEY:    NO OBJECTION TO THAT.

12:29PM   11                   THE COURT:    ALL RIGHT.    THANK YOU.   WE'LL EXCUSE

12:29PM   12        JUROR -- MR. CHATHAM.     HE'S JUROR NUMBER -- NO, I DON'T HAVE

12:29PM   13        HIS NUMBER.

12:29PM   14                   THE CLERK:    HE'S 62, YOUR HONOR, SEATED IN A.

12:29PM   15                   THE COURT:    YES.     HE'S EXCUSED.

12:29PM   16             THE ONLY JUROR NUMBER I HAVE LEFT IS 169, MR. FORSBERG.

12:30PM   17             ANY COMMENT ON MR. FORSBERG?

12:30PM   18                   MR. DOWNEY:    YOUR HONOR, MR. FORSBERG INDICATED THAT

12:30PM   19        HE WOULD TRY TO THE BEST OF HIS ABILITY, BUT THAT HE HAS DOUBT

12:30PM   20        ABOUT SEPARATING OUT HIS PRIOR KNOWLEDGE AND FORMING HIS

12:30PM   21        JUDGMENT IN THE CASE.

12:30PM   22             I DON'T THINK THAT'S A STATEMENT OF SUFFICIENT

12:30PM   23        IMPARTIALITY TO QUALIFY AS A JUROR, SO I THINK HE SHOULD BE

12:30PM   24        DISMISSED FOR BIAS.

12:30PM   25                   MR. SCHENK:    YOUR HONOR, HE ALSO WROTE THAT HE HOPES



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12:30PM    1        NOT FOR QUESTION 39.       HE DIDN'T WRITE JUST NO.   HE WROTE, HOPES

12:30PM    2        NOT.

12:30PM    3               SO I AGREE WITH COUNSEL THAT HIS STATEMENT WASN'T CERTAIN

12:30PM    4        ENOUGH.

12:30PM    5                     THE COURT:    THANK YOU.   I APPRECIATE THAT.   I NOTED

12:30PM    6        THAT AS WELL, AND WE'LL EXCUSE MR. FORSBERG, JUROR NUMBER 169,

12:30PM    7        FOR CAUSE.

12:30PM    8               I SAID THAT WAS THE LAST ONE.

12:31PM    9               I HAD FOR SOME REASON CIRCLED JUROR NUMBER 112, MR. DENT.

12:31PM   10                     MR. SCHENK:    YOUR HONOR, WE WOULD NOT OBJECT TO

12:31PM   11        DISMISSING MR. DENT ALSO FOR BIAS.       HE SAID HE DID NOT KNOW IF

12:31PM   12        HE COULD HONESTLY SAY THAT HE COULD BE UNBIASSED.

12:31PM   13                     MR. DOWNEY:    I BELIEVE THIS WAS THE RETIRED NURSE,

12:31PM   14        AND SHE DID MAKE THAT ADMISSION.

12:31PM   15                     THE COURT:    MS. DENT.

12:31PM   16                     MR. SCHENK:    MS. DENT.

12:31PM   17                     THE COURT:    THANK YOU.   AND SHE WAS VERY CANDID WITH

12:31PM   18        US ABOUT THAT AND I APPRECIATE HER CANDOR.

12:31PM   19               THOSE ARE ALL OF THE JURORS THAT I --

12:31PM   20                     THE CLERK:    SO 112 WILL BE?

12:31PM   21                     THE COURT:    SHE'S EXCUSED FOR CAUSE.   THANK YOU.

12:31PM   22               ANYTHING ELSE BEFORE WE TAKE OUR LUNCH BREAK NOW?

12:31PM   23                     MR. DOWNEY:    NO.

12:31PM   24               IF YOUR HONOR PREFERS AT SOME POINT BEFORE THE BREAK, WE

12:31PM   25        CAN LET YOUR HONOR KNOW IF THERE ARE ANY CAUSE CHALLENGES THAT



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12:32PM    1        WE SEE FROM WHAT WE'VE HEARD.

12:32PM    2             BUT IF YOUR HONOR WOULD JUST PREFER TO DO THAT AT THE END,

12:32PM    3        THAT'S FINE WITH US, TOO.

12:32PM    4                     THE COURT:    OKAY.    WELL, LET'S DO THAT.   I'D LIKE

12:32PM    5        TO -- AS YOU CAN SEE, I'D LIKE TO GET -- I'D LIKE TO HAVE YOU

12:32PM    6        HAVE A CHANCE TO SPEAK WITH THE PANEL AS WELL, AND THEN

12:32PM    7        HOPEFULLY WE CAN -- AS I SAID YESTERDAY, I THINK WE MAY HAVE,

12:32PM    8        WE MAY HAVE A COLLECTIVE NUMBER SUFFICIENT SUCH THAT YOU CAN

12:32PM    9        BEGIN ANY PEREMPTORY CHALLENGES, STRIKES THAT YOU HAVE, AND WE

12:32PM   10        CAN START THAT PROCESS TODAY.

12:32PM   11             I HOPE WE CAN ACCOMPLISH THAT.

12:32PM   12             IF WE DO, THEN THE NEXT QUESTION -- IF WE DO SELECT A JURY

12:32PM   13        AND ALTERNATES TODAY -- AND I DON'T MEAN TO GET AHEAD OF

12:32PM   14        MYSELF -- SHOULD WE INVITE THOSE FOLKS IN, IF POSSIBLE,

12:32PM   15        TOMORROW TO SWEAR THEM IN?         SHOULD WE WAIT UNTIL NEXT WEEK

12:32PM   16        AFTER THE HOLIDAY TO SWEAR THEM IN?

12:32PM   17             AND THAT'S THE NEXT QUESTION THAT WE'LL ADVANCE, AND I

12:32PM   18        JUST WANT YOU TO THINK ABOUT THAT.

12:32PM   19             OKAY.    ALL RIGHT.     HAVE A GOOD LUNCH.

12:32PM   20                     MR. SCHENK:    THANK YOU.

12:32PM   21                     MR. LEACH:    THANK YOU, YOUR HONOR.

12:33PM   22                     THE COURT:    WE'LL SEE YOU BACK SOON.    THANK YOU.

12:33PM   23             (LUNCH RECESS TAKEN AT 12:33 P.M.)

          24

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01:42PM    1                                 AFTERNOON SESSION

01:42PM    2             (PROSPECTIVE JURY PANEL OUT AT 1:42 P.M.)

01:42PM    3                   THE COURT:    THANK YOU.   WE'RE BACK ON THE RECORD.

01:42PM    4        ALL PARTIES PREVIOUSLY PRESENT ARE PRESENT ONCE AGAIN.

01:42PM    5             OUR JURORS ARE NOT PRESENT.      I WANTED TO TALK ABOUT -- AND

01:42PM    6        I APOLOGIZE I FORGOT TO RAISE TWO JURORS.

01:42PM    7             NUMBER 161, MS. JACOBSON, SHE EXPRESSED AT THE BREAK SOME

01:42PM    8        COVID CONCERNS, I'LL CALL THEM; AND JUROR NUMBER 147, MR. TONG,

01:42PM    9        WHO TALKED TO US ABOUT HIS WORK SCHEDULE.

01:42PM   10             ANYTHING ABOUT -- LET'S START WITH MS. JACOBSON.

01:42PM   11             MR. SCHENK?

01:42PM   12                   MR. SCHENK:    NO OBJECTION TO DISMISSING

01:42PM   13        MS. JACOBSON.

01:42PM   14                   MR. DOWNEY:    NO OBJECTION.

01:42PM   15                   THE COURT:    THANK YOU.   WE'LL EXCUSE JUROR 161,

01:42PM   16        MS. JACOBSON, FOR HARDSHIP.

01:43PM   17             AND THEN MR. TONG, 147?

01:43PM   18                   MR. SCHENK:    YOUR HONOR, I THINK HE'S A HARDER CALL.

01:43PM   19        ON THE QUESTIONNAIRE HE WROTE THAT HE WASN'T SURE.       FOR

01:43PM   20        QUESTION 39 HE EXPRESSED SOME BIAS.

01:43PM   21             IN COURT HE DESCRIBED A SUBCONSCIOUS BIAS, I THINK HE

01:43PM   22        CALLED IT, AND A CONCERN WHETHER HE COULD PUT THAT ASIDE, AND

01:43PM   23        THEN EXPRESSED -- SO I'M NOT SURE THAT HE NEEDS TO BE EXCUSED

01:43PM   24        FOR CAUSE AT THIS POINT.

01:43PM   25             HE ALSO TALKED ABOUT AN IMPORTANT PROJECT AT WORK.        I



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01:43PM    1        THINK HE WORKS AT APPLE IF MY NOTES ARE CORRECT ON THAT.       APPLE

01:43PM    2        TAKES ADVANTAGE OF THE COURT, LIKE EVERY OTHER COMPANY HERE,

01:43PM    3        AND I'M RETICENT TO EXCUSE A JUROR BECAUSE OF WORK DEMANDS WHEN

01:43PM    4        WE KNOW THE WORK WILL PAY FOR THEIR TIME AS JURY SERVICE.

01:43PM    5              I DON'T KNOW THAT HIS WORK DEMANDS ARE ENOUGH OF AN EXCUSE

01:43PM    6        FOR HIM TO NOT APPEAR FOR SERVICE AT THIS TIME.

01:43PM    7                   THE COURT:    THANK YOU.

01:44PM    8                   MR. DOWNEY:    YOUR HONOR, I THINK AS TO THE HARDSHIP

01:44PM    9        INQUIRY, I THINK THE CONCERN HE RAISED WAS HIS ABILITY TO FOCUS

01:44PM   10        HERE AS A RESULT OF THE WORK DEMANDS.     I DON'T THINK HE WAS

01:44PM   11        RAISING AN INCOME ISSUE.    I THINK HE INDICATED HE WOULD BE

01:44PM   12        UNABLE TO FOCUS AND CONCENTRATE ON THE EVIDENCE THAT WAS COMING

01:44PM   13        IN.

01:44PM   14              WITH REGARD TO BIAS, I'M NOT SURE HE HAD A SUFFICIENT

01:44PM   15        REHABILITATION TO SIT ON THE JURY.     HE BEGAN TO SAY HE WAS

01:44PM   16        CONCERNED ABOUT BIAS IN RESPONSE TO QUESTION 39.      HE AGAIN

01:44PM   17        STATED TODAY THE PROBABILITY OF BIAS.     I DON'T THINK HE

01:44PM   18        DEFINITIVELY SAID HE COULD PUT BIAS ASIDE.

01:44PM   19              SO I THINK THIS JUROR SHOULD BE EXCUSED FOR BOTH REASONS,

01:44PM   20        BUT IF THERE'S A DISPUTE ABOUT HARDSHIP, I THINK HE CERTAINLY

01:44PM   21        SHOULD BE DISMISSED ON CAUSE GROUNDS.

01:44PM   22                   THE COURT:    THANK YOU.   I WAS CONCERNED ABOUT HIS --

01:44PM   23        AND MR. SCHENK, MAYBE YOU CAN HELP ME -- HIS LAST COMMENT WAS

01:45PM   24        THE FOCUSSED ONE ABOUT WORK, I'M NOT SURE I COULD FOCUS, THAT

01:45PM   25        TYPE OF THING.   THAT'S WHY I CALLED HIM TO OUR ATTENTION.



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01:45PM    1                     MR. SCHENK:    YES.    I ALSO HAVE HIM IN MY NOTES THAT

01:45PM    2        HE DESCRIBED THIS PROJECT AS BEING IMPORTANT TO HIS CAREER.

01:45PM    3             I RESPECT THAT.       I APPRECIATE THAT HE'S GOING TO BE

01:45PM    4        THINKING ABOUT HIS WORK DEMANDS WHEN HE'S IN COURT.        IT'S NOT A

01:45PM    5        SHORT TRIAL, SO IT'S REASONABLE TO THINK THAT THERE'S GOING TO

01:45PM    6        BE SOME MEASURE OF A TRADEOFF FOR HIS ACCOMPLISHMENTS AT WORK

01:45PM    7        DURING THIS PERIOD OF TIME.

01:45PM    8             THE GOVERNMENT DEFERS TO THE COURT.        I THINK THE RECORD IS

01:45PM    9        THIN, BUT SUFFICIENT.

01:45PM   10                     THE COURT:    THANK YOU.

01:45PM   11             FIRST OF ALL, LET ME ACKNOWLEDGE YOUR COMMENTS ABOUT APPLE

01:45PM   12        IS A HEAVY COURT USER.       THEY'RE IN OUR COURTS WITH GREAT

01:45PM   13        FREQUENCY.    WE RESPECT THE FACT THAT THEY DO PAY, UNLIKE MANY

01:45PM   14        OTHER LARGE COMPANIES WHO ARE FREQUENT COURT USERS THAT DO NOT

01:45PM   15        PAY THEIR EMPLOYEES FOR JURY SERVICE.        I BELIVE APPLE IS ONE

01:45PM   16        THAT DOES, AND WE RECOGNIZE THAT.

01:46PM   17             MY CONCERN WAS HIS LACK OF FOCUS AND WHETHER OR NOT HIS

01:46PM   18        LOYALTIES WOULD BE TORN FROM HIS CAREER TO HIS OBLIGATIONS AS A

01:46PM   19        JUROR.

01:46PM   20             I'M GOING TO -- THANK YOU FOR YOUR HELP ON THIS, BOTH

01:46PM   21        SIDES.

01:46PM   22             I'M GOING TO EXCUSE JUROR NUMBER 147, MR. TONG, FOR CAUSE.

01:46PM   23             I THINK THAT'S ALL I NEED TO DO.

01:46PM   24             WE CAN CALL UP OUR JURORS NOW.

01:46PM   25             ANYTHING ELSE BEFORE WE DO THAT?



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01:46PM    1                    MR. DOWNEY:    YOUR HONOR, ONLY THAT THERE WERE FIVE

01:46PM    2        OTHER JURORS WHO, IN THEIR QUESTIONNAIRES, IDENTIFIED HARDSHIP

01:46PM    3        ISSUES OR EXPLICITLY ASKED TO BE EXCUSED IN RESPONSE TO

01:46PM    4        QUESTION 1.   I DON'T KNOW IF YOUR HONOR WANTS TO INQUIRE.         I

01:46PM    5        THINK I LIKELY WILL IF YOUR HONOR DOESN'T.

01:46PM    6                    THE COURT:    WHAT NUMBERS ARE YOU REFERRING TO?

01:46PM    7                    MR. DOWNEY:    I HAVE THAT AS 117, 121, 142, 143, AND

01:46PM    8        145.    AND THERE'S A VARIETY OF ISSUES WITHIN THOSE.

01:47PM    9                    THE COURT:    MR. SCHENK, GO AHEAD AND FINISH YOUR

01:47PM   10        CONVERSATION IF YOU'D LIKE.

01:47PM   11               (DISCUSSION OFF THE RECORD.)

01:47PM   12                    MR. SCHENK:    I THINK ALSO MAYBE 127 IF MY NOTES ARE

01:47PM   13        CORRECT.

01:47PM   14                    MR. DOWNEY:    I THINK THAT'S RIGHT, YOUR HONOR, NOW

01:47PM   15        THAT I ACTUALLY LOOK AT MY NOTES.     I THINK HE ASKED TO BE

01:47PM   16        EXCUSED ON THE BASIS OF INCOME, LOSS OF INCOME.

01:47PM   17                    MR. SCHENK:    I DON'T HAVE AN OPINION ON WHETHER

01:47PM   18        MR. DOWNEY DOES IT OR THE COURT DOES IT, OR IF THE COURT,

01:47PM   19        INSTEAD OF INDIVIDUALLY ASKING, AS ONE OF ITS QUESTIONS ASKED

01:47PM   20        IF THERE ARE JURORS WHO HAVE OTHER CONCERNS ABOUT THE

01:47PM   21        IMPLICATION THAT JURY SERVICE WOULD HAVE ON THEIR LIFE, NOW IS

01:47PM   22        THE TIME TO RAISE THAT.      I THINK THAT ALSO WOULD BE SUFFICIENT.

01:47PM   23                    THE COURT:    I SEE -- THANK YOU.   I SEE 127 WAS

01:47PM   24        ACTUALLY SOMEBODY WHO WE DISCUSSED YESTERDAY, OR AT LEAST I

01:47PM   25        THINK HE WAS FORWARDED BY THE COURT.     HE'S A GENTLEMAN WHO I



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01:47PM    1        THINK HE'S 63 YEARS YOUNG AND DRIVES A DELIVERY TRUCK IF I'M

01:48PM    2        NOT MISTAKEN.    HE EXPRESSED SOME CONCERNS ABOUT FINANCES IN THE

01:48PM    3        QUESTIONNAIRE, AND THAT'S WHY I FORWARDED HIM FOR OUR

01:48PM    4        ATTENTION.

01:48PM    5               I AM GOING TO STRIKE HIM FOR HARDSHIP NOW, 127.        127.

01:48PM    6        IT'S MR. BREKKE.

01:48PM    7                     THE CLERK:    HE IS IN SEAT N, YOUR HONOR.

01:48PM    8                     THE COURT:    I'M SORRY?

01:48PM    9                     THE CLERK:    HE'S IN SEAT N.

01:48PM   10                     THE COURT:    YES.     SO HE NEED NOT COME UP.

01:48PM   11               142 I NOTED AS A FULL-TIME STUDENT, KINESIOLOGY, I THINK.

01:49PM   12                     MR. SCHENK:    YOUR HONOR, THIS INDIVIDUAL ALSO WORKS

01:49PM   13        AT SAFEWAY, AND SAFEWAY IS A VICTIM IN THE CASE AND WE WERE

01:49PM   14        GOING TO RAISE IT FOR THAT REASON AS WELL.

01:49PM   15                     THE COURT:    RIGHT.

01:49PM   16               MR. DOWNEY?

01:49PM   17                     MR. DOWNEY:    WE AGREE, YOUR HONOR.

01:49PM   18                     THE COURT:    ALL RIGHT.    THANK YOU.

01:49PM   19               WE'LL EXCUSE JUROR NUMBER 142, 142.       IS THAT SEAT U, I

01:49PM   20        BELIEVE?

01:49PM   21                     THE CLERK:    YES, YOUR HONOR, SEAT U.

01:49PM   22                     THE COURT:    JUROR NUMBER 143 EXPRESSED, IN ANSWER TO

01:49PM   23        QUESTION 1, THERE WAS NO SUBSTITUTE FOR HER.          I BELIEVE SHE'S A

01:49PM   24        TEACHER, PART-TIME TEACHER.         SHE SAYS THERE'S NO SUBSTITUTE FOR

01:49PM   25        HER.



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01:49PM    1             SHE INDICATES THAT SHE DOESN'T KNOW ANYTHING ABOUT THE

01:50PM    2        CASE AS MY NOTES REFLECT, BUT SHE HAS A HEALTH CONDITION ALSO

01:50PM    3        THAT SHE SUGGESTS MIGHT REQUIRE SOME ATTENTION.

01:50PM    4             I THINK IN ANSWER TO QUESTION 1, SHE DID TALK ABOUT THERE

01:50PM    5        BEING NO SUBSTITUTE FOR HER.

01:50PM    6                    MR. SCHENK:    IT WOULD BE THE GOVERNMENT'S PREFERENCE

01:50PM    7        TO WAIT FOR THE RECORD TO BE MORE FULLY DEVELOPED ON THAT ONE.

01:50PM    8                    THE COURT:    SURE.    OKAY.   LET'S DO THAT.

01:50PM    9             145 IS AN INTENSIVE CARE NURSE, I BELIEVE, AT VALLEY

01:50PM   10        MEDICAL CENTER.

01:50PM   11                    MR. DOWNEY:    THAT'S RIGHT, YOUR HONOR.

01:50PM   12                    THE COURT:    AND EXPRESSES POTENTIAL HARDSHIP TO THAT

01:50PM   13        HOSPITAL.   I KNOW THAT THAT IS THE COUNTY HOSPITAL, AND I KNOW

01:50PM   14        THE RATES -- EXCUSE ME -- THE RATE OF ENTRY INTO THE HOSPITAL,

01:51PM   15        HOSPITALIZATIONS ARE QUITE HIGH IN THIS COUNTY NOW.

01:51PM   16             I'D BE INCLINED TO STRIKE HER SO SHE CAN CONTINUE, OR HE

01:51PM   17        CAN CONTINUE TO DO THE WORK HE DOES.

01:51PM   18                    MR. SCHENK:    NO OBJECTION.

01:51PM   19                    MR. DOWNEY:    NO OBJECTION.

01:51PM   20                    THE COURT:    145 IS EXCUSED FOR HARDSHIP.

01:51PM   21             121 IS -- I THINK THAT'S MR. LEPE, AND HE INFORMS THAT HE

01:51PM   22        HAS TO PICK UP HIS KIDS AT 2:30.

01:51PM   23             I EXPECT WE'RE GOING TO GO BEYOND 2:30 TODAY, DESPITE OUR

01:51PM   24        BEST EFFORTS, BUT THAT MIGHT CREATE A PROBLEM HERE.         I WAS

01:51PM   25        GOING TO QUESTION WHETHER OR NOT, IF WE FINISH OUR COURT DAYS



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01:51PM    1        AT 2:00 O'CLOCK, WHETHER THAT AFFORDED HIM SOME RELIEF.

01:51PM    2             BUT YOU MIGHT HAVE HIS QUESTIONNAIRE AT YOUR FINGERTIPS.

01:51PM    3        I CAN'T RECALL IF HE SAID HE HAD ALTERNATIVE PLANS FOR HIS

01:51PM    4        CHILDREN.

01:52PM    5                     MR. DOWNEY:    I DON'T THINK HE TALKS ABOUT THE

01:52PM    6        AVAILABILITY OF AN ALTERNATIVE PLAN, YOUR HONOR.        SO I CAN'T

01:52PM    7        SAY THAT HE MAKES CLEAR THAT THERE WON'T BE SOME SUBSTITUTION.

01:52PM    8                     THE COURT:    ANY THOUGHTS, MR. SCHENK?

01:52PM    9                     MR. SCHENK:    HE SAYS THAT HIS WIFE IS OFF OF WORK AT

01:52PM   10        5:00.

01:52PM   11                     THE COURT:    RIGHT.

01:52PM   12                     MR. SCHENK:    GIVEN THE HOUR, I HAVE SOME CONCERNS

01:52PM   13        ABOUT HIM MAKING IT TODAY AND, THEREFORE, I WOULD CONSENT TO

01:52PM   14        DISMISSAL.

01:52PM   15                     THE COURT:    ALL RIGHT.   THANK YOU.

01:53PM   16             LET'S STRIKE MR. LEPE, EXCUSE HIM I SHOULD SAY, 121,

01:53PM   17        SEAT K, FOR HARDSHIP.

01:53PM   18             117 IS TRUONG.       I JUST REVIEWED THE QUESTIONNAIRE.   I

01:53PM   19        THINK IT SOUNDS LIKE THERE'S A SINGLE SOURCE OF INCOME AND

01:53PM   20        THERE'S A FINANCIAL HARDSHIP THERE.

01:53PM   21                     MR. DOWNEY:    THAT'S RIGHT, YOUR HONOR.

01:53PM   22                     MR. SCHENK:    I'M DOING THIS FROM MEMORY.   I THINK HE

01:53PM   23        WORKS FOR VMWARE.    I DON'T THINK HE KNEW WHETHER HIS WORK PAID

01:53PM   24        FOR JURY SERVICE.    MAYBE HE HAS THE ANSWER NOW.

01:53PM   25                     THE COURT:    IN RESPONSE TO QUESTION 1, HE SAYS, I AM



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01:53PM    1        ONLY INCOME IN FAMILY.     I CAN'T COMMIT TO 13 WEEKS.    IT CAN

01:53PM    2        COST MY JOB.

01:54PM    3             WE COULD BRING HIM UP AND MAKE FURTHER INQUIRIES IF THAT

01:54PM    4        WOULD BE HELPFUL.

01:54PM    5                   MR. SCHENK:    QUESTION 16, HE SAYS HE'S EMPLOYED BY

01:54PM    6        VMWARE, BUT I DON'T THINK HE -- HE CHECKED HE DID NOT KNOW IF

01:54PM    7        HIS EMPLOYER WOULD CONTINUE TO PAY HIS SALARY.

01:54PM    8             THE GOVERNMENT WOULD DEFER TO THE COURT.       WE WOULD NOT

01:54PM    9        OBJECT TO DISMISSING HIM, BUT WE THINK THERE MIGHT BE A

01:54PM   10        SOLUTION THAT THE JUROR MIGHT ALREADY HAVE INFORMATION ABOUT.

01:54PM   11                   THE COURT:    MR. DOWNEY?

01:54PM   12                   MR. DOWNEY:    I THINK THE QUESTIONNAIRE INDICATES

01:54PM   13        PROBABLY AS MUCH AS WE'RE GOING TO KNOW.      I THINK HE IS

01:54PM   14        ADMITTEDLY UNCERTAIN ABOUT INCOME, BUT I THINK HE'S CONCERNED

01:54PM   15        ABOUT CONTINUED EMPLOYMENT IF HE'S UNAVAILABLE FOR THAT PERIOD,

01:55PM   16        SO I'D BE INCLINED TO DISMISS HIM.

01:55PM   17                   THE COURT:    ALL RIGHT.    THANK YOU.

01:55PM   18             HE DOES INDICATE THAT HE DOES HAVE CONCERNS ABOUT THE

01:55PM   19        LENGTH OF THE TRIAL.     HE ANSWERED THAT IN QUESTION 1, THE FIRST

01:55PM   20        QUESTION WHICH ASKS THAT.

01:55PM   21             I'LL EXCUSE HIM FOR HARDSHIP.      THAT'S JUROR NUMBER 117.

01:55PM   22        HE'S IN SEAT I.

01:55PM   23             I THINK WE CAN BRING THE PANEL UP NOW, COUNSEL?       SHOULD WE

01:55PM   24        CALL UP OUR PANEL NOW, MR. SCHENK?

01:55PM   25                   MR. SCHENK:    YES.    SORRY, YOUR HONOR.



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01:55PM    1                     MR. DOWNEY:    YES, YOUR HONOR.

01:55PM    2                     THE COURT:    ALL RIGHT.   WE'LL DO THAT NOW.   WE'LL

01:56PM    3        BRING UP OUR PANEL NOW TO BEGIN THE ADDITIONAL QUESTIONING.

01:56PM    4             LET ME TURN TO EITHER PARTY AT BOTH TABLES, IF YOU NEED A

01:56PM    5        BREAK AT ANY TIME, YOU SHOULD LET ME KNOW.

01:56PM    6             AS I SAID IN MY EARLIER COMMENTS, IF ANYONE NEEDS AN

01:56PM    7        UNSCHEDULED BREAK, JUST LET ME KNOW, AND I'M HAPPY TO

01:56PM    8        ACCOMMODATE THAT.    SO JUST LET ME KNOW, PLEASE.

01:56PM    9             WE'LL CALL UP OUR PANEL NOW.       THANK YOU.

02:01PM   10             (RECESS FROM 1:56 P.M. UNTIL 2:04 P.M.)

02:04PM   11             (PROSPECTIVE JURY PANEL IN AT 2:04 P.M.)

02:04PM   12                     THE COURT:    ALL RIGHT.   THANK YOU.   WE'RE BACK ON

02:04PM   13        THE RECORD.

02:05PM   14             ALL PREVIOUS PARTIES ARE PRESENT ONCE AGAIN AND OUR

02:05PM   15        PROSPECTIVE PANEL.

02:05PM   16             LADIES AND GENTLEMEN, I'D LIKE TO CONTINUE WITH MY

02:05PM   17        QUESTIONS.

02:05PM   18             NOW, AS I MENTIONED TO YOU EARLIER, YOU KNOW THE LENGTH OF

02:05PM   19        THIS TRIAL, THE PROSPECTIVE LENGTH OF THIS TRIAL.        IT'S LIKELY

02:05PM   20        THAT THERE WILL BE CONTINUED MEDIA COVERAGE OF THE TRIAL.

02:05PM   21             JURORS WILL BE INSTRUCTED, AS I'VE MENTIONED PREVIOUSLY,

02:05PM   22        NOT TO READ, LISTEN TO MEDIA COVERAGE ABOUT THE CASE, AND THIS

02:05PM   23        IS IMPORTANT AS A JUROR'S DECISION ON THE CASE, AS I'VE TOLD

02:05PM   24        YOU, MUST BE FORMED ONLY BY THE EVIDENCE ADMITTED AND RECEIVED

02:05PM   25        IN THE COURTROOM AND NOT ON ANY INFORMATION RECEIVED OUTSIDE OF



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02:05PM    1        THE COURTHOUSE.

02:05PM    2             A JUROR WHO IS EXPOSED TO ANY OUTSIDE INFORMATION MUST

02:06PM    3        REPORT THE EXPOSURE TO THE COURT.        THIS MEANS TO ME THROUGH MY

02:06PM    4        STAFF, MY COURTROOM DEPUTY.

02:06PM    5             NOW, AS WE DISCUSSED THIS MORNING, THIS MAY BE DIFFICULT

02:06PM    6        AND CHALLENGING, BUT LET ME ASK, IS THERE ANYONE WHO FEELS THAT

02:06PM    7        THEY CANNOT, THEY CANNOT FOLLOW THIS INSTRUCTION?

02:06PM    8             I SEE NO HANDS.

02:06PM    9             IS THERE ANYTHING ABOUT THE FACT THAT THE CHARGES, THE

02:06PM   10        CHARGE RELATES TO ALLEGATIONS OF WIRE FRAUD AND CONSPIRACY TO

02:06PM   11        COMMIT WIRE FRAUD THAT WILL AFFECT A JUROR'S ABILITY TO BE FAIR

02:06PM   12        AND IMPARTIAL?

02:06PM   13             THIS JUST RELATES TO THE NATURE OF THE CHARGES.       IS THERE

02:06PM   14        ANYTHING JUST BECAUSE OF THE NATURE OF THE CHARGES THAT A JUROR

02:06PM   15        FEELS THAT THEY COULD NOT BE FAIR?

02:06PM   16             I SEE NO HANDS.

02:06PM   17             OH, I'M SORRY.     I DO SEE A HAND.    LET'S CALL ON -- IS THAT

02:06PM   18        MR. DELAPAZ; IS THAT RIGHT?

02:07PM   19                   PROSPECTIVE JUROR:     YES.

02:07PM   20                   THE COURT:    YOU'RE JUROR NUMBER 156.

02:07PM   21             YES, SIR.

02:07PM   22                   PROSPECTIVE JUROR:     WHEN YOU SAY "FRAUD," IT'S

02:07PM   23        PRETTY CLOSE TO MY MOTHER-IN-LAW BECAUSE SHE WENT TO PRISON FOR

02:07PM   24        FRAUD AND EMBEZZLEMENT, AND I DON'T THINK I CAN BE FAIR

02:07PM   25        CONCERNING WHAT WE WENT THROUGH WITH MY WIFE.



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02:07PM    1                     THE COURT:    HOW LONG AGO WAS THAT SITUATION, SIR?

02:07PM    2                     PROSPECTIVE JUROR:     PROBABLY ABOUT 10 OR 11 OR

02:07PM    3        12 YEARS AGO.

02:07PM    4                     THE COURT:    I SEE.

02:07PM    5             AND YOU WERE INVOLVED IN THAT PROCESS, SIR, THAT COURT

02:07PM    6        PROCESS?

02:07PM    7                     PROSPECTIVE JUROR:     NO.   I WENT THROUGH IT WITH MY

02:07PM    8        WIFE.

02:07PM    9                     THE COURT:    I SEE.

02:07PM   10                     PROSPECTIVE JUROR:     I'VE SEEN WHAT SHE WENT THROUGH

02:07PM   11        AND ALL OF THE THINGS THAT HAPPENED WHILE SHE WAS INSIDE THERE.

02:08PM   12                     THE COURT:    INSIDE THE COURT PROCESS YOU MEAN?

02:08PM   13                     PROSPECTIVE JUROR:     NO.   BOTH COURT AND PRISON.

02:08PM   14                     THE COURT:    OKAY.    I SEE.

02:08PM   15             SIR, YOU ALSO INDICATED ON NUMBER 1, IN ANSWER TO QUESTION

02:08PM   16        NUMBER 1 THAT YOU HAD A QUESTION ABOUT FINANCIAL ISSUES.

02:08PM   17                     PROSPECTIVE JUROR:     YES, IT'S A HARDSHIP.     I DON'T

02:08PM   18        GET PAID FOR BEING ON JURY DUTY.

02:08PM   19                     THE COURT:    I SEE.   ALL RIGHT.   THANK YOU.

02:08PM   20             MR. SCHENK, ANY QUESTIONS?

02:08PM   21                     MR. SCHENK:    NOTHING FURTHER, YOUR HONOR.

02:08PM   22                     MR. DOWNEY:    NOTHING FURTHER.

02:08PM   23                     THE COURT:    ALL RIGHT.     THANK YOU FOR BRINGING THIS

02:08PM   24        TO MY ATTENTION, MR. DELAPAZ.        I'LL EXCUSE YOU FOR HARDSHIP.

02:08PM   25        THANK YOU.



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02:08PM    1                     PROSPECTIVE JUROR:      OKAY.

02:08PM    2                     THE COURT:    ANYONE ELSE IN REGARDS TO THE NATURE OF

02:08PM    3        THE CHARGES IS WHAT THIS QUESTION CALLED FOR?

02:08PM    4             ALL RIGHT.    THANK YOU.

02:09PM    5             HAVE YOU OR ANYONE CLOSE TO YOU EVER BEEN ACCUSED OF WIRE

02:09PM    6        FRAUD OR ALLEGATIONS REGARDING FRAUDULENT CONDUCT?          ANYONE HAVE

02:09PM    7        ANY EXPERIENCE IN THAT?

02:09PM    8             AGAIN, IF ANYONE WISHES TO SPEAK PRIVATELY, PLEASE LET ME

02:09PM    9        KNOW, AND WE'RE HAPPY TO DO THAT.

02:09PM   10             I SEE NO HANDS.

02:09PM   11             HAVE YOU BEEN OR HAVE YOU EVER FELT THAT YOU OR A CLOSE

02:09PM   12        FRIEND OR RELATIVE WAS A VICTIM OF INTIMATE PARTNER VIOLENCE OR

02:09PM   13        ABUSE OR WHAT IS KNOWN AS DOMESTIC OR RELATIONSHIP VIOLENCE?

02:09PM   14             ANYONE HAVE ANY EXPERIENCE WITH A PERSON OR RELATIVE OR

02:09PM   15        FRIEND?   IF ANYONE NEEDS TO DO THAT, WE CAN DO THAT PRIVATELY.

02:09PM   16             LET'S -- WHERE'S THE MICROPHONE?          IT'S IN THE GALLERY.     SO

02:09PM   17        WHY DON'T WE KEEP IT THERE.

02:09PM   18             IF YOU COULD PASS THE WIPES AS WELL, PLEASE, MR. BUI.

02:09PM   19        THANK YOU.

02:10PM   20             YES.    JUROR NUMBER?

02:10PM   21                     PROSPECTIVE JUROR:      154.

02:10PM   22                     THE COURT:    154.     THANK YOU, MS. KEHN.

02:10PM   23             WHAT WOULD YOU LIKE ME TO KNOW?

02:10PM   24                     PROSPECTIVE JUROR:      YES.    YES, I'VE BEEN A VICTIM.

02:10PM   25                     THE COURT:    OKAY.



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02:10PM    1                     PROSPECTIVE JUROR:     YES.

02:10PM    2                     THE COURT:    AND HOW LONG AGO WAS THAT MS. KEHN?

02:10PM    3                     PROSPECTIVE JUROR:     LET'S SEE.   WE GOT DIVORCED IN

02:10PM    4        2011, AND I WAS MARRIED FOR 28 YEARS.

02:10PM    5                     THE COURT:    ALL RIGHT.     THANK YOU.

02:10PM    6             DID YOU HAVE OCCASION TO REPORT THE ABUSE, THE SITUATION

02:10PM    7        TO AUTHORITIES?

02:10PM    8                     PROSPECTIVE JUROR:     NO.    IT WASN'T PHYSICAL.   IT WAS

02:10PM    9        MENTAL AND EMOTIONAL.

02:10PM   10                     THE COURT:    I SEE.   ALL RIGHT.   OKAY.

02:10PM   11             AND DID YOU RECEIVE -- MAY I ASK -- AND IF YOU WANT TO

02:10PM   12        SPEAK PRIVATELY, PLEASE LET ME KNOW.

02:10PM   13             DID YOU RECEIVE ANY COUNSELLING OR THERAPY OR ANYTHING

02:10PM   14        LIKE THAT AS A RESULT?

02:10PM   15                     PROSPECTIVE JUROR:     YES.    ONCE I GOT -- ONCE HE WAS

02:11PM   16        GONE.

02:11PM   17                     THE COURT:    I'M SORRY?

02:11PM   18                     PROSPECTIVE JUROR:     ONCE HE LEFT.

02:11PM   19                     THE COURT:    I SEE.   OKAY.   THANK YOU.

02:11PM   20             IS THERE ANYTHING ABOUT THAT EXPERIENCE THAT REMAINS WITH

02:11PM   21        YOU TODAY?

02:11PM   22                     PROSPECTIVE JUROR:     YEAH.   ALL OF IT.

02:11PM   23                     THE COURT:    TELL ME, CAN YOU JUST TELL ME WHAT WAS

02:11PM   24        THE DURATION OF THAT?       WAS IT THE ENTIRETY OF YOUR RELATIONSHIP

02:11PM   25        OR WAS IT A SEGMENT OF IT?



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02:11PM    1                   PROSPECTIVE JUROR:     HE WAS VERY CONTROLLING AND PUT

02:11PM    2        ME DOWN A LOT AND CONTROLLED LIKE MY TIME AND EVERYTHING A LOT.

02:11PM    3                   THE COURT:    WAS THIS DURING THE ENTIRETY OF YOUR

02:11PM    4        RELATIONSHIP WITH HIM?

02:11PM    5                   PROSPECTIVE JUROR:     MOSTLY, YEAH.

02:11PM    6                   THE COURT:    AND THAT WAS HOW LONG?        I'M SORRY.

02:11PM    7                   PROSPECTIVE JUROR:     I WAS MARRIED FOR 28 YEARS, BUT

02:11PM    8        I WOULD SAY LIKE THE LAST 12 WERE LIKE THE WORST.

02:11PM    9                   THE COURT:    AND YOU DIVORCED OR SEPARATED WHEN?

02:12PM   10                   PROSPECTIVE JUROR:     2011.    HE MOVED OUT IN 2011, BUT

02:12PM   11        IT WASN'T FINAL UNTIL '13.

02:12PM   12                   THE COURT:    I SEE.   ALL RIGHT.    THANK YOU.    THANK

02:12PM   13        YOU, MS. KEHN.

02:12PM   14             ANY QUESTIONS, MR. SCHENK?

02:12PM   15                   MR. SCHENK:    NO, YOUR HONOR.

02:12PM   16                   MR. DOWNEY:    NO, YOUR HONOR.

02:12PM   17                   THE COURT:    THANK YOU.

02:12PM   18             AND THERE WAS SOMEONE ELSE?

02:12PM   19             YES, LET'S PASS THAT FORWARD.        THANK YOU.

02:12PM   20             IS THAT MR. MURPHY?

02:12PM   21                   PROSPECTIVE JUROR:     YES, 130.

02:12PM   22                   THE COURT:    THANK YOU, MR. MURPHY.

02:12PM   23                   PROSPECTIVE JUROR:     WHEN I WAS YOUNG THERE WERE A

02:12PM   24        FEW INCIDENTS I GUESS OF PHYSICAL FIGHTING BETWEEN MY PARENTS,

02:12PM   25        AND I ACTUALLY DON'T HAVE A DISTINCT MEMORY OF WITNESSING



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02:12PM    1        THOSE, BUT I KNEW THAT THEY TOOK PLACE AND AT LEAST ONE OF THEM

02:12PM    2        WHEN I WAS IN THE HOME.

02:12PM    3                   THE COURT:    I SEE.   OKAY.   ALL RIGHT.   THANK YOU.

02:12PM    4             DO YOU KNOW WHETHER -- I'M SORRY, AGAIN, IF ANYONE --

02:12PM    5                   PROSPECTIVE JUROR:     GO AHEAD.

02:12PM    6                   THE COURT:    WERE LEGAL AUTHORITIES EVER INVOLVED IN

02:12PM    7        ANY OF THOSE SITUATIONS?

02:13PM    8                   PROSPECTIVE JUROR:     I REMEMBER THE POLICE COMING TO

02:13PM    9        THE HOUSE ONCE, BUT NOTHING OTHER THAN THAT.

02:13PM   10                   THE COURT:    OKAY.

02:13PM   11                   PROSPECTIVE JUROR:     AND IT RESOLVED WELL BEFORE THEY

02:13PM   12        ARRIVED.

02:13PM   13                   THE COURT:    I SEE.   OKAY.   I'M SORRY.

02:13PM   14             HOW LONG AGO WAS THIS APPROXIMATELY?

02:13PM   15                   PROSPECTIVE JUROR:     MANY YEARS AGO.   SO 53 MINUS 6.

02:13PM   16                   THE COURT:    ALL RIGHT.   THANK YOU.    I THINK THAT

02:13PM   17        TIME STAMPS IT FOR US.

02:13PM   18             HAVE YOU RECEIVED ANY COUNSELLING, THERAPY OR ANYTHING

02:13PM   19        LIKE THAT FOR THAT, SIR?

02:13PM   20                   PROSPECTIVE JUROR:     NOT FOR THAT BUT IN GENERAL, BUT

02:13PM   21        NOT SPECIFIC TO THAT INSTANCE.

02:13PM   22                   THE COURT:    THANK YOU FOR SHARING THAT.    I

02:13PM   23        APPRECIATE THAT.

02:13PM   24             IS THERE ANYONE ELSE?

02:13PM   25                   PROSPECTIVE JUROR:     YES.



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02:13PM    1                     THE COURT:    IS THAT JUROR NUMBER 134, LARUE?

02:13PM    2                     PROSPECTIVE JUROR:     YES.

02:13PM    3                     THE COURT:    134?

02:13PM    4                     PROSPECTIVE JUROR:     YES, 134.

02:13PM    5                     THE COURT:    YES.

02:13PM    6                     PROSPECTIVE JUROR:     MY SISTER WAS SEVERELY BEATEN BY

02:13PM    7        HER HUSBAND, AND WHEN I TRIED TO HELP HER HE ATTACKED ME.          AND

02:13PM    8        THAT WAS ABOUT 25 YEARS AGO.

02:13PM    9                     THE COURT:    OKAY.    WAS THAT HERE IN CALIFORNIA,

02:14PM   10        MS. LARUE?

02:14PM   11                     PROSPECTIVE JUROR:     YES.

02:14PM   12                     THE COURT:    AND WERE THE AUTHORITIES CALLED?

02:14PM   13                     PROSPECTIVE JUROR:     YES.   I CALLED WHEN HE ATTACKED

02:14PM   14        ME, AND I WASN'T GOING TO LET IT HAPPEN.

02:14PM   15                     THE COURT:    ALL RIGHT.   AND WERE YOU REQUIRED TO GO

02:14PM   16        TO COURT FOR ANY PURPOSE?

02:14PM   17                     PROSPECTIVE JUROR:     YES.

02:14PM   18                     THE COURT:    AND DID YOU TESTIFY?

02:14PM   19                     PROSPECTIVE JUROR:     YES.

02:14PM   20                     THE COURT:    I SEE.   WAS THERE A TRIAL?

02:14PM   21                     PROSPECTIVE JUROR:     IT WAS MORE SO SHE COULD GET A

02:14PM   22        RESTRAINING ORDER, GET CUSTODY OF HER CHILD, AND SO HE WOULD

02:14PM   23        STAY COMPLETELY AWAY.

02:14PM   24                     THE COURT:    IT SOUNDS LIKE THAT WAS IN FAMILY COURT

02:14PM   25        REGARDING DISSOLUTION PROCEEDINGS?



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02:14PM    1                   PROSPECTIVE JUROR:     YES.     YES.

02:14PM    2                   THE COURT:    I SEE.   WAS A RESTRAINING ORDER ISSUED?

02:14PM    3                   PROSPECTIVE JUROR:     YES.

02:14PM    4                   THE COURT:    OKAY.    I SEE.

02:14PM    5             AND HAVE YOU, HAVE YOU SEEN THAT INDIVIDUAL, THAT IS, THE

02:14PM    6        HUSBAND IN --

02:14PM    7                   PROSPECTIVE JUROR:     OH, HE'S NO LONGER HOME.     HE IS

02:14PM    8        NOWHERE AROUND.

02:14PM    9                   THE COURT:    I'M SORRY.     IF YOU COULD --

02:14PM   10                   PROSPECTIVE JUROR:     I'M SORRY.      HE'S NOWHERE AROUND.

02:14PM   11                   THE COURT:    ALL RIGHT.     THANK YOU.

02:14PM   12             DID YOU RECEIVE ANY COUNSELLING OR THERAPY?

02:14PM   13                   PROSPECTIVE JUROR:     NO.    TO ME IT WAS DONE AND OVER

02:14PM   14        WITH.

02:14PM   15                   THE COURT:    OKAY.    HOW ABOUT YOUR SISTER?

02:14PM   16                   PROSPECTIVE JUROR:     YES.     YES.

02:15PM   17                   THE COURT:    SHE DID RECEIVE COUNSELLING AND THERAPY?

02:15PM   18                   PROSPECTIVE JUROR:     YES.

02:15PM   19                   THE COURT:    ALL RIGHT.     THANK YOU VERY MUCH.   THANK

02:15PM   20        YOU FOR SHARING THAT.

02:15PM   21             ANYONE ELSE IN RESPONSE TO THIS QUESTION?

02:15PM   22             IF WE COULD PASS IT UP TO MS. MASON-BURCHELL.

02:15PM   23                   PROSPECTIVE JUROR:     YES.     SO I WENT THROUGH IT BACK

02:15PM   24        ABOUT 35 YEARS AGO, 30 YEARS AGO.        I WITNESSED MY MOTHER BEING

02:15PM   25        ABUSED BY MY STEPFATHER.



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02:15PM    1                     THE COURT:    OKAY.

02:15PM    2                     PROSPECTIVE JUROR:      AND THE AUTHORITIES WERE CALLED.

02:15PM    3                     THE COURT:    I SEE.    WERE YOU INVOLVED AT ALL IN

02:15PM    4        THOSE -- ANY PROCEEDINGS?

02:15PM    5                     PROSPECTIVE JUROR:      NOT AT ALL.   I WAS INVITED WHEN

02:15PM    6        IT HAPPENED.

02:15PM    7                     THE COURT:    OKAY.    AND DO YOU KNOW IF THERE WERE ANY

02:15PM    8        LEGAL PROCEEDINGS THAT RESULTED FROM THAT?

02:15PM    9                     PROSPECTIVE JUROR:      THE ONLY THING I KNOW IS THE

02:15PM   10        COPS WERE CALLED.

02:15PM   11                     THE COURT:    AND DO YOU KNOW IF ANY THERAPY WAS

02:15PM   12        INVOLVED FOR ANYONE?

02:15PM   13                     PROSPECTIVE JUROR:      I KNOW I WENT THROUGH IT WHEN I

02:16PM   14        WAS YOUNGER.

02:16PM   15                     THE COURT:    OKAY.    HOW LONG DID YOU SEE A THERAPIST?

02:16PM   16                     PROSPECTIVE JUROR:      IT WAS JUST BRIEFLY TO TALK

02:16PM   17        ABOUT THE SITUATION I WENT THROUGH, AND I GOT AWAY FROM IT

02:16PM   18        QUICKLY SO IT REALLY DIDN'T IMPACT ME.         IT WAS JUST SOMETHING

02:16PM   19        THAT I OBSERVED.

02:16PM   20                     THE COURT:    SURE.    OKAY.   THANK YOU VERY MUCH.

02:16PM   21        THANK YOU.

02:16PM   22             IS THERE ANYONE ELSE?         OH, YES, MS. LOCKWOOD, NUMBER 99.

02:16PM   23                     PROSPECTIVE JUROR:      BACK IN 2012 I HAD TO LEAVE AN

02:16PM   24        ABUSIVE PARTNER THAT I LIVED WITH AND AFTER THEY STOLE MY

02:16PM   25        IDENTITY AND HAD ALSO OTHER THINGS THAT WERE BOTH PHYSICALLY,



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02:16PM    1        SEXUALLY, EMOTIONALLY ABUSIVE IN THE HOME AND OUTSIDE OF THE

02:16PM    2        HOME.    SO, YEAH.

02:16PM    3                    THE COURT:    OKAY.    AND WERE THERE ANY LEGAL

02:16PM    4        PROCEEDINGS AS A RESULT OF THAT CONDUCT?

02:17PM    5                    PROSPECTIVE JUROR:     JUST ABOUT THE IDENTITY BEING

02:17PM    6        STOLEN BECAUSE A LOT OF MONEY WAS INVOLVED AND IT HAD TO DO

02:17PM    7        WITH HIS PAST EMPLOYMENT.

02:17PM    8                    THE COURT:    I SEE.

02:17PM    9               WERE YOU CALLED UPON TO OFFER TESTIMONY IN A PROCEEDING AT

02:17PM   10        ALL?

02:17PM   11                    PROSPECTIVE JUROR:     I WAS NOT.

02:17PM   12                    THE COURT:    OR DID YOU WRITE A DECLARATION OR

02:17PM   13        ANYTHING LIKE THAT?

02:17PM   14                    PROSPECTIVE JUROR:     I DID WRITE A DECLARATION.

02:17PM   15                    THE COURT:    OKAY.    WAS THAT FOR LAW ENFORCEMENT?

02:17PM   16                    PROSPECTIVE JUROR:     YES.    I HAD DONE A STATEMENT AS

02:17PM   17        WELL AS A DECLARATION.

02:17PM   18                    THE COURT:    I SEE.

02:17PM   19                    PROSPECTIVE JUROR:     YEAH.

02:17PM   20                    THE COURT:    AND, MS. LOCKWOOD, DID YOU RECEIVE ANY

02:17PM   21        THERAPY OR COUNSELLING FOR ANY OF THOSE?

02:17PM   22                    PROSPECTIVE JUROR:     I DID.

02:17PM   23                    THE COURT:    I SEE.   AND HOW LONG WAS THAT?

02:17PM   24                    PROSPECTIVE JUROR:     I SEEKED IT OUT A FEW MONTHS

02:17PM   25        AFTER THAT AND THEN FOLLOWED UP ABOUT A YEAR AFTER THAT.



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02:17PM    1                     THE COURT:    OKAY.    ALL RIGHT.   THANK YOU VERY MUCH.

02:17PM    2        THANK YOU.

02:17PM    3             I SAW A HAND BACK IN THE GALLERY, SO LET'S PASS THIS BACK.

02:18PM    4             WE'LL SEND IT BACK.      AND WE'LL START WITH MR. BROWN BACK

02:18PM    5        IN THE CORNER, JUROR NUMBER 171.

02:18PM    6                     PROSPECTIVE JUROR:      YES, YOUR HONOR.

02:18PM    7             SO I GREW UP IN AN ABUSIVE HOUSEHOLD AS WELL AS A CHILD

02:18PM    8        WITNESSING MY MOM AND MY STEPFATHER FIGHTING AND JUST HAVING

02:18PM    9        ALTERCATIONS, AND THAT'S PROBABLY BEEN ABOUT 45 YEARS AGO.

02:18PM   10                     THE COURT:    ALL RIGHT, SIR.     WAS LAW ENFORCEMENT

02:18PM   11        INVOLVED IN ANY OF THOSE SITUATIONS, SIR?

02:18PM   12                     PROSPECTIVE JUROR:      NO.

02:18PM   13                     THE COURT:    AND DID YOU, DID YOU OR HAVE YOU

02:18PM   14        RECEIVED ANY COUNSELLING, THERAPY, OR TALKED TO ANYONE ABOUT

02:18PM   15        THOSE CIRCUMSTANCES?

02:18PM   16                     PROSPECTIVE JUROR:      NO.

02:18PM   17                     THE COURT:    OKAY.    ALL RIGHT.   THANK YOU, SIR.

02:18PM   18                     PROSPECTIVE JUROR:      HI.    IN '83 I MARRIED AN

02:19PM   19        ALCOHOLIC.

02:19PM   20                     THE COURT:    AND WHAT JUROR NUMBER ARE YOU?

02:19PM   21                     PROSPECTIVE JUROR:      174.

02:19PM   22                     THE COURT:    174.     THANK YOU, MS. RIGGINS.

02:19PM   23                     PROSPECTIVE JUROR:      I HAD THE COPS CALLED ON HIM A

02:19PM   24        FEW TIMES AND HAD HIM HAULED AWAY TO JAIL.          AFTER WE SPLIT HE

02:19PM   25        CONTINUED TO HARASS ME UNTIL HE DIED AND THEN I DIDN'T HAVE TO



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02:19PM    1        WORRY ABOUT IT ANYMORE.

02:19PM    2                      THE COURT:    OKAY.    I THINK I READ ABOUT THIS.   YOU

02:19PM    3        TOLD US ABOUT THIS IN YOUR QUESTIONNAIRE.          THANK YOU.

02:19PM    4               DID YOU RECEIVE ANY COUNSELLING, THERAPY FOR THIS?

02:19PM    5                      PROSPECTIVE JUROR:     NO.

02:19PM    6                      THE COURT:    DID YOU GO TO COURT FOR ANY LEGAL

02:19PM    7        PROCEEDINGS?

02:19PM    8                      PROSPECTIVE JUROR:     NO, I COULDN'T AFFORD A DIVORCE.

02:19PM    9        I WAS A SINGLE MOTHER AFTER THAT AND SO JUST STAYING AWAY FROM

02:19PM   10        HIM.

02:19PM   11                      THE COURT:    ALL RIGHT.     THANK YOU.   THANK YOU SO

02:19PM   12        MUCH.

02:19PM   13                      PROSPECTIVE JUROR:     UH-HUH.

02:19PM   14                      THE COURT:    WAS THERE ANOTHER HAND?

02:19PM   15               YES.   IS THAT MS. QUINTANILLA?

02:19PM   16                      PROSPECTIVE JUROR:     YES.

02:19PM   17                      THE COURT:    YES.

02:19PM   18                      PROSPECTIVE JUROR:     A FEW MONTHS AGO WE HAD A

02:19PM   19        SITUATION IN OUR FAMILY WHERE MY BOY WAS FRIENDED BY SOMEBODY

02:20PM   20        ONLINE.

02:20PM   21                      THE COURT:    I THINK YOU MENTIONED THIS IN YOUR

02:20PM   22        QUESTIONNAIRE.

02:20PM   23                      PROSPECTIVE JUROR:     YES.

02:20PM   24                      THE COURT:    YES, I SAW THAT.

02:20PM   25                      PROSPECTIVE JUROR:     SO THIS GIRL OR LADY FRIENDED



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02:20PM    1        HIM, AND HE TOOK SOME COMPROMISING PICTURES, AND SHE THREATENED

02:20PM    2        TO SEND THE PICTURES TO HIS FRIENDS, AND WE DIDN'T KNOW THIS.

02:20PM    3              HE WAS REALLY -- HE SEEMED TO BE DEVASTATED, BUT WE

02:20PM    4        DIDN'T KNOW IF IT WAS SCHOOL RELATED OR SOMETHING.       AND WHEN HE

02:20PM    5        TOLD ME ABOUT IT HE HAD -- SHE HAD HIM SEND SOME MONEY.

02:20PM    6                   THE COURT:    YES.

02:20PM    7                   PROSPECTIVE JUROR:      SO THIS WAS SO HARD FOR HIM IN

02:21PM    8        THE FAMILY, AND I WAS SO AFRAID FOR HIM THE WAY HE WAS.       AND I

02:21PM    9        TOLD HIM WAS TO CUT EVERYTHING, AND HE DELETED HIS SAVINGS.

02:21PM   10              AND I SAID, WELL, WHAT DO WE DO?      WE COULDN'T GO TO THE

02:21PM   11        POLICE BECAUSE HE DIDN'T TAKE SNAPSHOTS, HE DIDN'T HAVE ANY

02:21PM   12        PROOF.   HE ONLY HAD LIKE THE WIRE OF THE MONEY, BUT THIS

02:21PM   13        FRIGHTENS ME BECAUSE IT COULD AFFECT HIM AND WHAT WE ADVISING

02:21PM   14        HIM WAS TO CUT ALL TIES.

02:21PM   15                   THE COURT:    YES.

02:21PM   16                   PROSPECTIVE JUROR:      AND WE WOULD JUST HAVE TO DEAL

02:21PM   17        WITH WHATEVER.

02:22PM   18             SO THIS PERSON IS STILL HURTING OUR FAMILY BECAUSE WE

02:22PM   19        DON'T KNOW WHAT THEY WILL DO.

02:22PM   20             SO AS A MOTHER IT IS VERY HARD BECAUSE I FEEL HOPELESS OF

02:22PM   21        WHAT CAN BE DONE.    AND THEN WE TRY TO SEE WHAT PROTECTION WE

02:22PM   22        HAVE, AND IT SEEMS LIKE IT'S VERY LITTLE BECAUSE THE AMOUNT OF

02:22PM   23        MONEY MIGHT BE LITTLE, BUT HOW IT IS AFFECTING THE FAMILY IS A

02:22PM   24        LOT, AND IT'S VERY SCARY.       AND I DID TALK TO SOMEBODY ABOUT IT

02:22PM   25        BECAUSE IT'S VERY SCARY.



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02:22PM    1                   THE COURT:    YES, I THINK I UNDERSTAND.    THANK YOU

02:22PM    2        FOR SHARING THAT.    I APPRECIATE YOUR COMMENTS.    THANK YOU.

02:22PM    3             ANYONE ELSE?    ANY HANDS?

02:22PM    4             I SEE NO HANDS.

02:23PM    5             DO ANY OF YOU HAVE THOUGHTS ABOUT THE WORK OF

02:23PM    6        PROFESSIONALS WHO ARE INVOLVED IN CASES OF ABUSE OR VIOLENCE,

02:23PM    7        THAT IS, PROFESSIONAL EVALUATIONS, REPORTS, THOSE TYPES OF

02:23PM    8        THINGS?   DO ANY OF YOU HAVE ANY EXPERIENCE WITH THAT?      ANY

02:23PM    9        THOUGHTS ABOUT THOSE?

02:23PM   10             I SEE NO HANDS.

02:23PM   11             HAVE ANY OF YOU KNOWN ANYONE WHO YOU THOUGHT WAS FALSELY

02:23PM   12        OR UNFAIRLY ACCUSED OF DOMESTIC VIOLENCE OR PARTNER ABUSE

02:23PM   13        ALLEGATIONS?   ANYONE HAVE ANY OF THOSE EXPERIENCES?

02:23PM   14             I SEE NO HANDS.

02:23PM   15             HAVE YOU OR ANYONE CLOSE TO YOU EVER BEEN ASSOCIATED WITH

02:23PM   16        OR BEEN A CONTRIBUTOR TO ANY DOMESTIC VIOLENCE, VICTIM SUPPORT

02:23PM   17        GROUPS OR WOMEN'S SHELTER OR ORGANIZATIONS THAT ARE INVOLVED IN

02:23PM   18        ABUSE TYPE ISSUES?

02:23PM   19             I SEE NO HANDS.

02:24PM   20             HAVE YOU OR ANYONE CLOSE TO YOU EVER BEEN EMPLOYED BY A

02:24PM   21        LAW ENFORCEMENT AGENCY WHICH INCLUDES A DISTRICT ATTORNEY'S

02:24PM   22        OFFICE, UNITED STATES ATTORNEY'S OFFICE, FBI, I.R.S., OR IN THE

02:24PM   23        CRIMINAL JUSTICE SYSTEM, DEFENSE LAWYER, PROBATION OFFICER,

02:24PM   24        INVESTIGATOR, ANYONE HAVE ANY CONTACT WITH ANY OF THOSE

02:24PM   25        EMPLOYMENTS?



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02:24PM    1             YES, I SEE A HAND.      YOU HAVE IT.

02:24PM    2             YES.   AND THIS IS MR. PERALTA?

02:24PM    3                    PROSPECTIVE JUROR:     YES.

02:24PM    4             I HAVE A FRIEND WHO WORKS IN A WASHINGTON STATE DISTRICT

02:24PM    5        COURT AS A PARALEGAL SO.

02:24PM    6                    THE COURT:    OKAY.    ALL RIGHT.

02:24PM    7                    PROSPECTIVE JUROR:     AND SHE TELLING ME, BECAUSE I

02:24PM    8        ASK A LOT OF QUESTIONS REGARDING MY SITUATION WITH MY WIFE

02:25PM    9        BEFORE, AND SHE'S GIVING ME ADVICES WITH REGARDS TO THOSE.

02:25PM   10                    THE COURT:    I SEE.

02:25PM   11             HOW LONG AGO HAS THAT BEEN, SIR?

02:25PM   12                    PROSPECTIVE JUROR:     ABOUT FIVE YEARS AGO.      BUT MY

02:25PM   13        FRIEND IS STILL WORKING AT DISTRICT COURT IN WASHINGTON STATE.

02:25PM   14                    THE COURT:    I SEE.   THANK YOU.

02:25PM   15             LET'S PASS THAT OVER, PLEASE.        IS THAT MR. HALL?

02:25PM   16                    PROSPECTIVE JUROR:     WAS THE QUESTION ABOUT US HAVING

02:25PM   17        EMPLOYMENT OR US KNOWING SOMEONE EMPLOYED?

02:25PM   18                    THE COURT:    BOTH HAVE YOU BEEN EMPLOYED OR KNOW

02:25PM   19        SOMEONE WHO IS?

02:25PM   20                    PROSPECTIVE JUROR:     MY UNCLE WAS A DISTRICT ATTORNEY

02:25PM   21        IN SANTA CLARA COUNTY CONSUMER FRAUD DEPARTMENT FOR MANY, MANY

02:25PM   22        YEARS UNTIL HE RETIRED.

02:25PM   23                    THE COURT:    I THINK I SAW THAT.    WHO WAS THAT

02:25PM   24        PERSON?

02:25PM   25                    PROSPECTIVE JUROR:     ALBERT BENDER.



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02:25PM    1                   THE COURT:    YES.     AND HE RETIRED SOME TIME AGO I

02:25PM    2        THINK.

02:25PM    3                   PROSPECTIVE JUROR:      YEAH, HE DID.

02:25PM    4                   THE COURT:    OKAY.    ALL RIGHT.

02:25PM    5             DID YOU EVER TALK TO HIM ABOUT HIS WORK?

02:26PM    6                   PROSPECTIVE JUROR:      NOT IN ANY GREAT DETAIL.   HE

02:26PM    7        WROTE A BOOK, YOU KNOW, VERY HIGH LEVEL, NOT DETAILED, ABOUT

02:26PM    8        JUST EXPERIENCE AS A D.A. AND AN ATTORNEY BUT IT WAS -- YOU

02:26PM    9        KNOW, NOTHING HUGE DETAILS, PERSONAL STUFF SO.

02:26PM   10                   THE COURT:    THANK YOU.    I SEE SOME OTHER HANDS UP.

02:26PM   11             IS THAT --

02:26PM   12                   PROSPECTIVE JUROR:      155.

02:26PM   13                   THE COURT:    -- MS. MARTINEZ?

02:26PM   14                   PROSPECTIVE JUROR:      YES.

02:26PM   15                   THE COURT:    YES.

02:26PM   16                   PROSPECTIVE JUROR:      MY SISTER WORKED FOR THE SALINAS

02:26PM   17        POLICE DEPARTMENT.    SHE DID REPORTING FOR THE POLICE

02:26PM   18        DEPARTMENT.

02:26PM   19                   THE COURT:    DO YOU KNOW IN WHAT CAPACITY?

02:26PM   20                   PROSPECTIVE JUROR:      SHE DID THE PAPERWORK FOR THE

02:26PM   21        DIFFERENT INCIDENTS THAT HAPPENED IN THE CITY OF SALINAS --

02:26PM   22                   THE COURT:    I SEE.

02:26PM   23                   PROSPECTIVE JUROR:      -- REGARDING THE POLICE

02:26PM   24        DEPARTMENT.

02:26PM   25                   THE COURT:    I SEE.    THANK YOU.



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02:26PM    1             DOES SHE TALK TO YOU ABOUT HER WORK?

02:26PM    2                   PROSPECTIVE JUROR:     NO.   SHE SINCE HAS PASSED ON.

02:27PM    3                   THE COURT:    I SEE.   ALL RIGHT.   THANK YOU.

02:27PM    4             LET'S MOVE IT UP TO -- IS THAT MR. TAUSWORTHE?

02:27PM    5                   PROSPECTIVE JUROR:     YES, 141.

02:27PM    6                   THE COURT:    YES.

02:27PM    7                   PROSPECTIVE JUROR:     I HAVE ONE FRIEND OF THE FAMILY.

02:27PM    8        SHE RUNS A CHARITY ORGANIZATION THAT DONATES CLOTHES TO

02:27PM    9        CHILDREN AND YOUNG PEOPLE WHO HAVE BEEN SEXUALLY ASSAULTED.

02:27PM   10                   THE COURT:    OKAY.

02:27PM   11                   PROSPECTIVE JUROR:     ANOTHER FRIEND OF THE FAMILY,

02:27PM   12        SHE RUNS A SINGLE WOMEN, ESCAPED WOMEN, BATTERED WOMEN,

02:27PM   13        ET CETERA, SUPPORT GROUP OVER IN DETROIT.

02:27PM   14             I'D FORGOTTEN TO MENTION EARLIER, I DIDN'T REMEMBER UNTIL

02:27PM   15        YOU BROUGHT IT UP, I KNOW PEOPLE WHO WORK IN THIS.       SHE WAS

02:27PM   16        ALSO SOMEBODY WHO I KNEW WHO EXPERIENCED ABUSE LIKE THAT.          SHE

02:27PM   17        HAD BEEN IN A RELATIONSHIP WITH A MAN FOR A LONG TIME AND UNTIL

02:27PM   18        SHE MANAGED TO ESCAPE BASICALLY IN THE MIDDLE OF THE NIGHT

02:28PM   19        WORKING WITH ANOTHER GROUP TO DO THAT AND RAN OVER TO DETROIT.

02:28PM   20                   THE COURT:    I SEE.

02:28PM   21                   PROSPECTIVE JUROR:     THAT WOULD HAVE BEEN -- I WAS IN

02:28PM   22        FIFTH GRADE SO THAT WOULD HAVE BEEN 15 -- NO, FOURTH GRADE, 15,

02:28PM   23        16 YEARS AGO.

02:28PM   24                   THE COURT:    OKAY.    ALL RIGHT.   THANK YOU, SIR.

02:28PM   25             MR. MURPHY?



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02:28PM    1                   PROSPECTIVE JUROR:     130.

02:28PM    2             I GUESS I WOULD CHARACTERIZE BEING PROFESSIONALLY

02:28PM    3        ACQUAINTED WITH THE SHERIFF OF THE COUNTY, THE DISTRICT

02:28PM    4        ATTORNEY OF THE COUNTY AND STAFF IN THOSE ORGANIZATIONS THROUGH

02:28PM    5        THE WORK THAT I'VE DONE AT THE COUNTY THROUGHOUT THE YEARS.

02:28PM    6                   THE COURT:    AND THAT WOULD INCLUDE COUNTY COUNSEL

02:28PM    7        AND THE PUBLIC DEFENDER'S OFFICE?

02:28PM    8                   PROSPECTIVE JUROR:     YEAH.   YOU DIDN'T MENTION COUNTY

02:28PM    9        COUNSEL IN YOUR LIST, BUT I WAS EMPLOYED BY COUNTY COUNSEL FOR

02:28PM   10        TWO AND A HALF YEARS FROM 2017 TO 2019 AND DURING MY TIME AS A

02:28PM   11        MEMBER OF THE MANAGEMENT AUDIT DIVISION TO THE BOARD OF

02:28PM   12        SUPERVISORS I CONDUCTED A MANAGEMENT AUDIT OF THE SHERIFF'S

02:29PM   13        DEPARTMENT.

02:29PM   14                   THE COURT:    OKAY.    AND HOW LONG AGO WAS THAT?

02:29PM   15                   PROSPECTIVE JUROR:     WHEW.   BETWEEN 2001 AND 2006,

02:29PM   16        AND I THINK THAT ENGAGEMENT WAS PROBABLY 2003, 2004.

02:29PM   17                   THE COURT:    ALL RIGHT.   THANK YOU.

02:29PM   18                   PROSPECTIVE JUROR:     YEAH.

02:29PM   19                   THE COURT:    AND WAS THAT YOUR JOB TITLE WITH THE

02:29PM   20        COUNTY COUNSEL?

02:29PM   21                   PROSPECTIVE JUROR:     MY JOB TITLE WITH THE COUNTY

02:29PM   22        COUNSEL, AND I'M NOT AN ATTORNEY --

02:29PM   23                   THE COURT:    RIGHT.

02:29PM   24                   PROSPECTIVE JUROR:     -- WAS WHISTLEBLOWER PROGRAM

02:29PM   25        MANAGER.



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02:29PM    1                   THE COURT:    OKAY.    AND YOU DID INTERNAL

02:29PM    2        INVESTIGATIONS THROUGH THE COUNTY COUNSEL'S OFFICE?

02:29PM    3                   PROSPECTIVE JUROR:     YES.    I WAS MORE A PROGRAM

02:29PM    4        MANAGER BUILDING THE PROGRAM.      I DID SOME INVESTIGATIVE WORK,

02:29PM    5        BUT IT WAS GENERALLY REFERRING COMPLAINTS TO THE APPROPRIATE

02:29PM    6        PARTS TO THE COUNTY, AND THERE WERE PROGRAM STAFF UNDERNEATH ME

02:29PM    7        THAT CONDUCTED MOST OF THE INVESTIGATIONS.

02:29PM    8                   THE COURT:    I SEE.

02:29PM    9             WERE THE INVESTIGATIONS -- OR EXCUSE ME.       WERE YOUR

02:29PM   10        REFERRALS EVER REFERRED TO THE ATTORNEY GENERAL'S OFFICE FOR

02:29PM   11        THE STATE OF CALIFORNIA OR ANY FEDERAL AGENCY TO YOUR

02:30PM   12        RECOLLECTION?

02:30PM   13                   PROSPECTIVE JUROR:     NO.

02:30PM   14                   THE COURT:    ALL RIGHT.

02:30PM   15                   PROSPECTIVE JUROR:     AND IF YOU WANTED TO TALK ABOUT

02:30PM   16        IT FURTHER I WOULD ASK TO TALK TO YOU ABOUT IT IN PRIVATE

02:30PM   17        BECAUSE THOSE MATTERS ARE CONFIDENTIAL.

02:30PM   18                   THE COURT:    NO, I DON'T WANT TO -- I DON'T NEED TO

02:30PM   19        KNOW THE SPECIFICS OF THE INVESTIGATIONS.

02:30PM   20                   PROSPECTIVE JUROR:     OKAY.

02:30PM   21                   THE COURT:    YOUR JOB TITLE AND DUTIES WAS

02:30PM   22        APPROPRIATE.    THANK YOU.

02:30PM   23             ANYONE ELSE IN RESPONSE TO THIS QUESTION?

02:30PM   24             I SEE NO HANDS.

02:30PM   25             WOULD ANY OF YOU GIVE GREATER OR LESSER CREDENCE TO A LAW



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02:30PM    1        ENFORCEMENT OFFICER WHO IS AN AGENT, GOVERNMENT REPRESENTATIVE

02:30PM    2        SIMPLY BECAUSE THAT PERSON IS A LAW ENFORCEMENT OFFICER, AGENT,

02:30PM    3        OR REPRESENTATIVE?

02:30PM    4             THIS QUESTION ASKS YOU HOW WOULD YOU WEIGH A LAW

02:30PM    5        ENFORCEMENT OFFICER, AGENT, OR INVESTIGATOR TESTIMONY AS A

02:30PM    6        WITNESS?    WOULD YOU GIVE IT MORE WEIGHT, LESS WEIGHT JUST

02:30PM    7        BECAUSE OF THEIR EMPLOYMENT?       ANYONE FEEL THAT THEY WOULD DO

02:31PM    8        THAT?

02:31PM    9             YES.   LET'S PASS THAT.

02:31PM   10                    PROSPECTIVE JUROR:      154.

02:31PM   11                    THE COURT:    OKAY.    YES.

02:31PM   12                    PROSPECTIVE JUROR:      MORE.

02:31PM   13                    THE COURT:    MS. KEHN, YOU SAID MORE?

02:31PM   14                    PROSPECTIVE JUROR:      YES, MORE.

02:31PM   15                    THE COURT:    AND WHY IS THAT?

02:31PM   16                    PROSPECTIVE JUROR:      BECAUSE I TRUST THEM IN GENERAL.

02:31PM   17                    THE COURT:    I DON'T THINK I TOLD YOU THIS, BUT

02:31PM   18        YOU'RE JUDGES OF THE FACTS.        YOU GET TO DECIDE WHAT HAPPENED,

02:31PM   19        WHAT DIDN'T HAPPEN, AND IN THE COURSE OF DOING YOUR JOB, YOU

02:31PM   20        WEIGH THE CREDIBILITY OF TESTIMONY, WITNESSES, EXHIBITS, YOU

02:31PM   21        GET TO DECIDE THE CREDIBILITY OF THOSE THINGS.

02:31PM   22             I ASK THIS QUESTION BECAUSE I WANT TO KNOW, AND THE

02:31PM   23        LAWYERS WANT TO KNOW, WHETHER OR NOT IF LAW ENFORCEMENT

02:31PM   24        TESTIFIES IN THE CASE, AN AGENT OR SOMEBODY -- I HAVE REASON TO

02:32PM   25        BELIEVE THAT THERE AREN'T GOING TO BE LOCAL POLICE OFFICERS WHO



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02:32PM    1        TESTIFY, BEAT COPS IF YOU WILL, AND OFFICERS WHO DRIVE BLACK

02:32PM    2        AND WHITE POLICE CARS IF YOU KNOW WHAT I MEAN.

02:32PM    3             THERE MAY BE AGENTS OR REPRESENTATIVES FROM OTHER

02:32PM    4        INVESTIGATIVE DIVISIONS, THEY MAY TESTIFY ABOUT AND GIVE

02:32PM    5        EVIDENCE ABOUT THEIR INVESTIGATIONS.

02:32PM    6             AND THIS QUESTION IS DESIGNED TO DETERMINE WHETHER OR NOT

02:32PM    7        JUST BECAUSE OF THE TITLE THAT THEY HAVE SOMEONE MIGHT WEIGH

02:32PM    8        THEIR TESTIMONY HIGHER OR GIVE IT GREATER CREDENCE NOT REALLY

02:32PM    9        LISTENING TO WHAT IT IS, BUT JUST BECAUSE OF THEIR JOB TITLE.

02:32PM   10        THAT'S WHAT THE QUESTION IS.

02:32PM   11             I THINK WHAT YOU SAID, MA'AM, IS THAT YOU'RE INCLINED TO

02:32PM   12        DO THAT.   YOU WOULD GIVE IT MORE WEIGHT?

02:32PM   13                   PROSPECTIVE JUROR:     I JUST THINK I WOULD, ESPECIALLY

02:32PM   14        IF THEY'RE WEARING A UNIFORM, LIKE IF IT WAS A POLICE OFFICER

02:32PM   15        IN A UNIFORM.   I DON'T KNOW IF IT'S LIKE ATTORNEYS AND STUFF

02:33PM   16        LIKE THAT --

02:33PM   17             (LAUGHTER.)

02:33PM   18                   PROSPECTIVE JUROR:     SORRY, GUYS.

02:33PM   19                   THE COURT:    OKAY.    ALL RIGHT.   WELL, THANK YOU.    WE

02:33PM   20        ASK YOU TO BE CANDID, AND WE APPRECIATE YOUR COMMENTS.

02:33PM   21             I DON'T THINK THAT -- THIS WAS TOUCHED ON YESTERDAY.          I

02:33PM   22        DON'T BELIEVE THAT THERE'S GOING TO BE WITNESSES WHO WILL

02:33PM   23        TESTIFY IN THE TRADITIONAL POLICE UNIFORMS.        I DON'T THINK THAT

02:33PM   24        TYPE OF LAW ENFORCEMENT IS INVOLVED IN THIS CASE.

02:33PM   25             IS THAT ACCURATE, MR. SCHENK?



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02:33PM    1                     MR. SCHENK:    YES, THAT IS CORRECT.

02:33PM    2                     PROSPECTIVE JUROR:     OKAY.

02:33PM    3                     THE COURT:    BUT YOU MIGHT HEAR REPRESENTATIVES FROM

02:33PM    4        DIFFERENT GOVERNMENTAL AGENCIES WHO MIGHT TESTIFY IN AN

02:33PM    5        INVESTIGATIVE FASHION, OR A REGULATORY AGENCY WHO WILL TALK

02:33PM    6        ABOUT THE RESULT OF THEIR INVESTIGATION.

02:33PM    7             YOU'RE SHAKING YOUR HEAD LEFT AND RIGHT.

02:33PM    8                     PROSPECTIVE JUROR:     NO.   LIKE YOU SAID ONE OF THESE

02:33PM    9        GUYS ARE FBI.    NEY.     SORRY, BUT NEY.

02:33PM   10                     THE COURT:    OKAY.    ALL RIGHT.

02:34PM   11                     PROSPECTIVE JUROR:     IT'S MORE LIKE POLICE OFFICER

02:34PM   12        UNIFORM, SHERIFF UNIFORM GUYS.

02:34PM   13                     THE COURT:    OKAY.

02:34PM   14                     PROSPECTIVE JUROR:     I JUST HAVE A TENDENCY TO -- AND

02:34PM   15        IT'S JUST LEFT OVER FROM STUFF IN MY CHILDHOOD AND STUFF.

02:34PM   16                     THE COURT:    THANK YOU.

02:34PM   17                     PROSPECTIVE JUROR:     SO, YEAH.

02:34PM   18                     THE COURT:    NO.    THAT'S THE ANSWER.   THANK YOU.

02:34PM   19        THANK YOU.

02:34PM   20             ANYONE ELSE?

02:34PM   21             YES, LET'S COME BACK TO -- OH, I'M SORRY.          IS THERE ANYONE

02:34PM   22        BACK --

02:34PM   23                     PROSPECTIVE JUROR:     WHERE AM I GOING?    BACKWARDS?

02:34PM   24                     THE COURT:    YES.

02:34PM   25                     PROSPECTIVE JUROR:     THERE YOU GO.



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02:34PM    1                     THE COURT:    IS THIS MR. BUI?

02:34PM    2                     PROSPECTIVE JUROR:     HI.   I'M 157.

02:34PM    3                     THE COURT:    MR. BUI, YES.

02:34PM    4                     PROSPECTIVE JUROR:     YEAH.   SO I THINK I WOULD BE A

02:34PM    5        LITTLE MORE INCLINED TO BELIEVE A PERSON OR OFFICERS, YOU KNOW,

02:34PM    6        THAT IS INVOLVED IN THE CASE AND GIVING EVIDENCE.

02:34PM    7               YOU KNOW, IF THEY WERE TO TESTIFY AND I'M LISTENING TO,

02:34PM    8        YOU KNOW, THEIR TESTIMONY, I WOULD BE MORE INCLINED TO BELIEVE

02:35PM    9        THAT THEY HAVE, YOU KNOW, MORE EXPERIENCE AND MORE WEIGHT TO

02:35PM   10        WHAT IS GOING ON.    THAT'S KIND OF WHERE I'M LEANING TO A LITTLE

02:35PM   11        BIT.

02:35PM   12                     THE COURT:    OKAY.    ALL RIGHT.    THANK YOU.

02:35PM   13               LET'S PASS THE MICROPHONE TO MS. LOCKWOOD, PLEASE.

02:35PM   14               (PAUSE IN PROCEEDINGS.)

02:35PM   15                     THE COURT:    MS. LOCKWOOD.

02:35PM   16                     PROSPECTIVE JUROR:     I WOULD ALMOST GIVE THEM LESS

02:35PM   17        WEIGHT BECAUSE OF MY PAST EXPERIENCES.           YOU KNOW, POLICE

02:36PM   18        OFFICERS, AGENTS, EVERYBODY IS STILL HUMAN AT THE END OF THE

02:36PM   19        DAY, AND MAYBE IT'S JUST MY LUCK OF THE DRAW, BUT I HAVE NOT

02:36PM   20        ALWAYS ENDED UP ON THE GREAT SIDE OF LAW ENFORCEMENT AND SO

02:36PM   21        THAT HAS -- I WILL ADMIT THAT HAS COLORED HOW I VIEW THEIR

02:36PM   22        TESTIMONY.

02:36PM   23                     THE COURT:    OKAY.    ALL RIGHT.

02:36PM   24                     PROSPECTIVE JUROR:     YOU KNOW, JUST BECAUSE OF A

02:36PM   25        POSITION OF POWER, I FEEL THAT IT HOLDS MORE RESPONSIBILITY TO



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02:36PM    1        BE MORE HONEST, HAVE MORE INTEGRITY, AND THAT'S NOT WHAT I HAVE

02:36PM    2        PERSONALLY EXPERIENCED FROM LAW ENFORCEMENT.

02:36PM    3                     THE COURT:    I SEE.   OKAY.

02:36PM    4               SO DO YOU THINK YOU WOULD -- IF YOU HEARD TESTIMONY FROM,

02:36PM    5        AND YOU HEARD ME AND MR. SCHENK TALK, THERE WON'T BE POLICE

02:36PM    6        OFFICERS WITH BADGES AND UNIFORMS, BEAT COPS, THEY'RE NOT IN

02:36PM    7        THIS CASE.

02:36PM    8               THEY MIGHT BE PEOPLE FROM AGENCIES WHO ARE IN THE

02:36PM    9        CAPACITY, THEIR JOB TITLE MIGHT BE AN INVESTIGATOR, AN

02:36PM   10        INSPECTOR, SOMETHING LIKE THAT, BUT THEY'RE NOT OUT GIVING

02:37PM   11        SPEEDING TICKETS AND ARRESTING PEOPLE ON THE STREET, THAT TYPE

02:37PM   12        OF THING.

02:37PM   13               DOES THAT MAKE A DISTINCTION FOR YOU THAT IS MORE --

02:37PM   14                     PROSPECTIVE JUROR:     NOT REALLY BECAUSE IT'S STILL A

02:37PM   15        POSITION OF POWER THAT THEY HAVE OVER JUST THE AVERAGE PERSON

02:37PM   16        OUT THERE.

02:37PM   17                     THE COURT:    I SEE.   I SEE.   OKAY.   ALL RIGHT.   THANK

02:37PM   18        YOU.    THANK YOU FOR THAT.

02:37PM   19               ANYONE ELSE IN RESPONSE TO THIS QUESTION?

02:37PM   20               I SEE NO HANDS.

02:37PM   21               DO ANY OF YOU HAVE ANY OPINIONS ABOUT THE UNITED STATES

02:37PM   22        GOVERNMENT OR THE STATE OF CALIFORNIA, OR ANY FEDERAL OR STATE

02:37PM   23        LAW ENFORCEMENT AGENT OR AGENCY THAT MAY AFFECT YOUR ABILITY TO

02:37PM   24        BE FAIR AND IMPARTIAL IN THIS CASE AS A JUROR?

02:37PM   25               I SEE NO HANDS.



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02:37PM    1             IS ANYONE OF THE OPINION THAT THE CRIMINAL JUSTICE SYSTEM

02:37PM    2        IS FUNDAMENTALLY UNFAIR IN SOME WAY SUCH THAT YOUR ABILITY TO

02:37PM    3        BE FAIR AND IMPARTIAL MIGHT BE IMPAIRED?      ANYONE JUST FEEL THAT

02:37PM    4        ABOUT THE CRIMINAL JUSTICE SYSTEM?

02:37PM    5             I SEE NO HANDS.

02:37PM    6             A DEFENDANT IN A CRIMINAL CASE IS PRESUMED TO BE INNOCENT.

02:38PM    7        THIS PRESUMPTION REQUIRES THE GOVERNMENT TO PROVE EACH ELEMENT

02:38PM    8        OF THE CRIME BEYOND A REASONABLE DOUBT.      PROOF BEYOND A

02:38PM    9        REASONABLE DOUBT IS PROOF THAT LEAVES YOU FIRMLY CONVINCED THAT

02:38PM   10        THE DEFENDANT IS GUILTY.

02:38PM   11             IT IS NOT REQUIRED THAT THE GOVERNMENT PROVE GUILT BEYOND

02:38PM   12        ALL POSSIBLE DOUBT.    A REASONABLE DOUBT IS A DOUBT THAT IS

02:38PM   13        BASED ON REASON AND COMMON SENSE AND IS NOT BASED PURELY ON

02:38PM   14        SPECULATION.

02:38PM   15             IT MAY ARISE FROM A CAREFUL AND IMPARTIAL CONSIDERATION OF

02:38PM   16        ALL OF THE EVIDENCE OR FROM LACK OF EVIDENCE.

02:38PM   17             IF AFTER A CAREFUL AND IMPARTIAL CONSIDERATION OF ALL OF

02:38PM   18        THE EVIDENCE YOU ARE NOT CONVINCED BEYOND A REASONABLE DOUBT

02:38PM   19        THAT THE DEFENDANT IS GUILTY, IT IS YOUR DUTY TO FIND THE

02:38PM   20        DEFENDANT NOT GUILTY.

02:38PM   21             ON THE OTHER HAND, IF AFTER A CAREFUL AND IMPARTIAL

02:38PM   22        CONSIDERATION OF ALL OF THE EVIDENCE YOU ARE CONVINCED BEYOND A

02:39PM   23        REASONABLE DOUBT THAT THE DEFENDANT IS GUILTY, IT IS YOUR DUTY

02:39PM   24        TO FIND THE DEFENDANT GUILTY.

02:39PM   25             DOES ANYONE HAVE ANY QUARREL WITH THIS STATEMENT, THIS



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02:39PM    1        PRESUMPTION OF INNOCENCE?

02:39PM    2             IS THERE ANYONE WHO CANNOT ABIDE BY, ABIDE BY THIS

02:39PM    3        INSTRUCTION AS TO THE PRESUMPTION OF INNOCENCE?

02:39PM    4             I SEE NO HANDS.

02:39PM    5             IS THERE ANYONE WHO BELIEVES THAT BECAUSE MS. HOLMES IS

02:39PM    6        PRESENT IN COURT ACCUSED OF THESE CHARGES SHE MUST BE GUILTY?

02:39PM    7             ANYONE FEEL THAT?

02:39PM    8             I SEE NO HANDS.

02:39PM    9             YOU UNDERSTAND THEN THAT AFTER HEARING ALL OF THE

02:39PM   10        EVIDENCE, IF YOU DETERMINE THAT THE GOVERNMENT HAS NOT MET

02:39PM   11        THEIR BURDEN OF PROVING THE CASE BEYOND A REASONABLE DOUBT, IT

02:39PM   12        WOULD BE YOUR DUTY TO FIND THE DEFENDANT NOT GUILTY?       YOU ALL

02:39PM   13        UNDERSTAND THAT?    ANYONE WHO DOESN'T?

02:39PM   14             I SEE NO HANDS ON THAT.

02:39PM   15             IF THAT WERE TO BE THE CASE, DO YOU THINK YOU COULD DO

02:39PM   16        THAT AND STILL FACE YOUR FRIENDS, FAMILY, AND MAKE THAT

02:40PM   17        DECISION WITHOUT FEAR OF CRITICISM FROM ANY OF THOSE

02:40PM   18        INDIVIDUALS OR MEDIA?

02:40PM   19             I SEE NO HANDS.

02:40PM   20             YOU HAVE SEEN A VIDEO THAT DISCUSSED THE TOPIC OF

02:40PM   21        UNCONSCIOUS BIAS, AND WE SHOW THIS TO YOU AS AN AID TO CONSIDER

02:40PM   22        YOUR JURY SERVICE AND THE TASK AHEAD OF YOU.       IT'S MEANT AS AN

02:40PM   23        EDUCATIONAL TOOL TO INFORM REGARDING RESEARCH AND STUDIES ON

02:40PM   24        THE ISSUES OF BIAS AND UNCONSCIOUS BIAS.

02:40PM   25             I HOPE YOU FOUND THAT VIDEO INFORMATIVE AND HELPFUL.



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02:40PM    1             IN OUR NATION AND STATE WE HAVE CITIZENS, RESIDENTS, AND

02:40PM    2        NON-CITIZENS FROM MANY DIFFERENT RACES, ETHNIC AND CULTURAL

02:40PM    3        BACKGROUNDS.

02:40PM    4             IN THE JURISDICTION OF THIS COURT WE ENJOY A RICH

02:40PM    5        DIVERSITY OF INDIVIDUALS AND CULTURES.      UNDER THE LAW ALL

02:40PM    6        PEOPLE WHO APPEAR IN COURT REGARDLESS OF RACE, RELIGION, ETHNIC

02:40PM    7        HERITAGE, GENDER, AGE OR SEXUAL ORIENTATION ARE ENTITLED TO DUE

02:41PM    8        PROCESS OF LAW, AND WE GUARANTEE EACH PERSON THE RIGHT TO A

02:41PM    9        FAIR AND IMPARTIAL TRIAL.

02:41PM   10             WE ARE TO JUDGE EACH INDIVIDUAL AS WE WOULD WANT TO BE

02:41PM   11        JUDGED, THAT IS, FAIRLY AND IMPARTIALLY.

02:41PM   12             NOW, IT MAY APPEAR IN THE COURSE OF THIS TRIAL THAT MORE

02:41PM   13        THAN ONE PARTY, OR ATTORNEY, OR WITNESSES COME FROM A NATIONAL

02:41PM   14        OR RACIAL OR RELIGIOUS GROUP OR MAY HAVE A DIFFERENT LIFESTYLE

02:41PM   15        THAN YOUR OWN.

02:41PM   16             WOULD THIS IN ANY WAY AFFECT YOUR JUDGMENT OR THE WEIGHT

02:41PM   17        AND CREDIBILITY THAT YOU WOULD GIVE TO ANY EVIDENCE IN THIS

02:41PM   18        CASE?   ANYONE WHO FEELS THAT THAT WOULD AFFECT THEIR JUDGMENT

02:41PM   19        ON THIS ISSUE?

02:41PM   20             I SEE NO HANDS.

02:41PM   21             TO REACH A VERDICT THE JURY MUST BE UNANIMOUS.       DO YOU ALL

02:41PM   22        ACCEPT THE REQUIREMENT THAT A JURY MUST BE UNANIMOUS?

02:41PM   23             ANYONE WHO PARTS COMPANY WITH THAT?

02:41PM   24             I SEE NO HANDS.

02:41PM   25             DOES ANYONE FEEL THAT BECAUSE OF A PHILOSOPHICAL, MORAL OR



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02:41PM    1        OTHER RELIGIOUS REASONS THEY CANNOT SIT AS A JUROR IN A

02:42PM    2        CRIMINAL CASE?   ANYONE HAVE THOSE FEELINGS?

02:42PM    3             I SEE NO HANDS.

02:42PM    4             AS A JUROR, AS I TOLD YOU, YOU'RE ASKED TO DETERMINE THE

02:42PM    5        FACTS AND WHETHER THE DEFENDANT DID, IN FACT, COMMIT THE ACTS

02:42PM    6        THAT CONSTITUTE THE OFFENSES CHARGED.     THAT'S YOUR TASK.

02:42PM    7             AS A JUROR, YOU ARE NOT TO CONSIDER NOR SPECULATE ON THE

02:42PM    8        QUESTION OF PUNISHMENT.     THAT QUESTION IS SOLELY IN THE

02:42PM    9        PROVINCE OF THE COURT.

02:42PM   10             IS THERE ANYONE WHO PARTS COMPANY WITH THAT?

02:42PM   11             I SEE NO HANDS.

02:42PM   12             IN OUR COURTS AN ACCUSED HAS THE RIGHT TO REMAIN SILENT

02:42PM   13        AND NOT TESTIFY.    A DEFENDANT MAY CHOOSE TO RELY ON THE STATE

02:42PM   14        OF THE EVIDENCE AT THE CONCLUSION OF THE GOVERNMENT'S CASE AND

02:42PM   15        PRESENT NO AFFIRMATIVE EVIDENCE.

02:42PM   16             DO YOU ALL ACCEPT THE DEFENDANT'S RIGHT UNDER THE

02:42PM   17        CONSTITUTION TO REMAIN SILENT AND THUS NOT TESTIFY IN THE CASE?

02:43PM   18        IS THERE ANYONE WHO PARTS COMPANY WITH THAT?

02:43PM   19             I SEE NO HANDS.

02:43PM   20             IF MS. HOLMES RELIES ON HER RIGHT NOT TO TESTIFY, WILL

02:43PM   21        ANYONE HOLD THAT AGAINST HER?

02:43PM   22             I SEE A HAND.    IS THAT MR. BUI?

02:43PM   23             YES, SIR, WE'LL GET THE MICROPHONE TO YOU.      157.

02:43PM   24                   PROSPECTIVE JUROR:     TEST.

02:43PM   25                   THE COURT:    YES, MR. BUI?



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02:43PM    1                     PROSPECTIVE JUROR:     HI.   YEAH, YOU KNOW, I THINK I

02:43PM    2        WOULD LIKE TO HEAR HER TESTIMONY AND HER SIDE OF, YOU KNOW,

02:43PM    3        WHAT SHE'S GOING THROUGH AND THE SIDE OF HER STORY AND

02:43PM    4        EXPERIENCE.

02:43PM    5             I UNDERSTAND THAT SHE'S NOT FORCED OR REQUIRED TO, BUT I

02:44PM    6        THINK FOR ME IT WOULD PROBABLY HELP ME, YOU KNOW, KIND OF

02:44PM    7        UNDERSTANDING WHAT IS HAPPENING IN THIS TRIAL.

02:44PM    8                     THE COURT:    OKAY.    ALL RIGHT.   I APPRECIATE THAT.

02:44PM    9             BUT EARLIER I TALKED TO YOU ABOUT THE PRESUMPTION OF

02:44PM   10        INNOCENCE.    YOU REMEMBER THAT?

02:44PM   11                     PROSPECTIVE JUROR:     SORT OF.

02:44PM   12                     THE COURT:    OKAY.

02:44PM   13             (LAUGHTER.)

02:44PM   14                     THE COURT:    WELL, WHAT IT MEANS, SIR, IS THAT WHEN

02:44PM   15        SOMEONE IS CHARGED WITH AN OFFENSE THEY ARE PRESUMED -- THE

02:44PM   16        PRESUMPTION IS THAT THEY ARE NOT GUILTY.         THIS PRESUMPTION THEN

02:44PM   17        REQUIRES THE GOVERNMENT TO PROVE THEIR GUILT BEYOND A

02:44PM   18        REASONABLE DOUBT.    I JUST CAN READ TO YOU THE INSTRUCTION, THE

02:44PM   19        REASONABLE DOUBT INSTRUCTION.

02:44PM   20             SO SOMEONE IN OUR COUNTRY WHO IS ACCUSED OF AN OFFENSE

02:44PM   21        DOES NOT HAVE TO PROVE THAT THEY'RE NOT GUILTY.         THAT'S WHAT

02:44PM   22        THAT CONCEPT MEANS.

02:45PM   23             DO YOU UNDERSTAND THAT?

02:45PM   24                     PROSPECTIVE JUROR:     YEAH.   AND LIKE I SAID, I AGREE,

02:45PM   25        YOU KNOW, SHE IS PRESUMED TO BE NOT GUILTY, BUT I WOULD LIKE TO



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02:45PM    1        HEAR HER SIDE OF THE STORY AND TESTIMONY LIKE REGARDLESS.

02:45PM    2                   THE COURT:    SURE.    I APPRECIATE THAT.

02:45PM    3              BUT THE WAY, THE WAY OUR LAW IS, IS THAT A DEFENDANT WHO

02:45PM    4        IS ACCUSED, BECAUSE THE GOVERNMENT HAS THE BURDEN OF PROOF, A

02:45PM    5        DEFENDANT COULD AT THE END OF A CASE NOT PUT ANY EVIDENCE ON

02:45PM    6        AND MAKE THE ARGUMENT THAT THE GOVERNMENT HAS NOT PROVED THEIR

02:45PM    7        CASE.   SOMEONE COULD DO THAT.     AND THEN THE JURY WILL HAVE TO

02:45PM    8        DECIDE, WELL, DID THEY PROVE THE CASE OR NOT?       THAT'S THE

02:45PM    9        ULTIMATE ISSUE.

02:45PM   10              DOES THAT HELP YOU WITH THAT CONCEPT?

02:45PM   11                   PROSPECTIVE JUROR:     YEAH, I UNDERSTAND.   I WAS JUST

02:45PM   12        REALLY SHARING A THOUGHT/OPINION I GUESS.

02:46PM   13                   THE COURT:    YEAH -- NO.   I'M NOT BEING CRITICAL OF

02:46PM   14        YOUR OPINION, SIR.    I'M JUST TRYING TO CLEAR UP THE PROCEDURE

02:46PM   15        THAT SOMEONE DOESN'T HAVE TO PUT EVIDENCE ON IF THEY DON'T WANT

02:46PM   16        TO.   IT'S ENTIRELY THEIR CHOICE.

02:46PM   17              I THINK I CAN APPRECIATE FROM A HUMAN STANDPOINT, GEE, I'D

02:46PM   18        LIKE TO HEAR, I'D LIKE TO HEAR WHAT THE OTHER SIDE IS, BUT I

02:46PM   19        SUPPOSE WHAT THAT SAYS IS THAT SOMEONE COULD HAVE CONFIDENCE IN

02:46PM   20        THEIR OWN CASE AND PERHAPS IN A CASE THAT THE GOVERNMENT HAS

02:46PM   21        NOT PROVED THEIR CASE AND SO WE DON'T HAVE TO PUT ANYTHING ON.

02:46PM   22              DO YOU SEE HOW THAT MIGHT WORK?

02:46PM   23              I AM SORRY?

02:46PM   24                   PROSPECTIVE JUROR:     YEAH.

02:46PM   25                   THE COURT:    DOES THAT HELP YOU IN ANY WAY?



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02:46PM    1             YESTERDAY WE HAD A CONVERSATION WITH SOMEONE ABOUT THIS

02:46PM    2        AND I THINK IT CAME TO AN OPPORTUNITY TO PUT A DEFENSE ON OR AN

02:46PM    3        OBLIGATION TO PUT A DEFENSE ON.       TWO DIFFERENT THINGS.

02:46PM    4             IN OUR CRIMINAL JUSTICE SYSTEM EVERYBODY HAS THE

02:47PM    5        OPPORTUNITY TO PUT A CASE ON; HOWEVER, THEY HAVE NO OBLIGATION

02:47PM    6        TO DO SO.

02:47PM    7             DOES THAT HELP YOU A LITTLE BIT WITH THAT CONCEPT?

02:47PM    8                    PROSPECTIVE JUROR:     YEAH, UNDERSTOOD.

02:47PM    9                    THE COURT:    OKAY.    ANY OTHER QUESTION OR ANYTHING

02:47PM   10        ELSE YOU WOULD LIKE ME TO KNOW ABOUT THAT QUESTION?

02:47PM   11                    PROSPECTIVE JUROR:     NO.

02:47PM   12                    THE COURT:    OKAY.    LET'S SEE.   I THINK I ASKED YOU

02:47PM   13        WHETHER YOU KNEW ANYONE WHO WAS A LAWYER OR A CRIMINAL DEFENSE

02:47PM   14        OR PROSECUTION OR DEFENSE, AND I THINK I GOT A RESPONSE.

02:47PM   15             ANYONE ELSE WANT TO RESPOND TO THAT QUESTION?

02:47PM   16             I SEE NO HANDS.

02:48PM   17             HAVE YOU OR ANYONE CLOSE TO YOU EVER BEEN INVOLVED WITH OR

02:48PM   18        APPEARED AS A DEFENDANT OR A VICTIM OR A WITNESS IN ANY

02:48PM   19        INVESTIGATION BY A GOVERNMENT AGENCY, WHICH INCLUDES POLICE

02:48PM   20        DEPARTMENTS, SHERIFF OFFICES, ANY FEDERAL INVESTIGATION OR

02:48PM   21        ANYTHING ELSE, PROSECUTION THAT YOU'VE BEEN INVOLVED WITH?

02:48PM   22             AND IF ANYONE WANTS TO SPEAK PRIVATELY ABOUT THAT, WE CAN,

02:48PM   23        OF COURSE, DO THAT.

02:48PM   24             MR. MURPHY, I SAW YOUR HAND UP.       DO YOU NEED THE

02:48PM   25        MICROPHONE?



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02:48PM    1                   PROSPECTIVE JUROR:     DO I NEED THIS?

02:48PM    2                   THE COURT:    YOU KNOW, THE MOST IMPORTANT PERSON FOR

02:48PM    3        HEARING IN THE COURTROOM, SIR, IS OUR COURT REPORTER.       SO LET'S

02:48PM    4        GET THAT MICROPHONE FOR HER.

02:48PM    5                   PROSPECTIVE JUROR:     IS IT ON?

02:48PM    6                   THE COURT:    NOT YET.

02:48PM    7                   PROSPECTIVE JUROR:     I WAS CALLED AS A WITNESS IN A

02:48PM    8        CASE BY THE DISTRICT ATTORNEY AND I -- I'M SORRY, I DON'T

02:48PM    9        REMEMBER THE EXACT YEAR.    I WANT TO SAY 2014.     IT WAS A CASE

02:49PM   10        AGAINST A PHYSICIAN FOR -- I DON'T KNOW WHAT THE WORD WOULD

02:49PM   11        BE -- I GUESS FRAUD FOR RECEIVING RESEARCH FUNDS.

02:49PM   12             AND ANOTHER POSITION THAT I HELD IN THE COUNTY WAS THE

02:49PM   13        RESEARCH ADMINISTRATOR AT THE VALLEY MEDICAL CENTER, AND I WAS

02:49PM   14        NOT, I GUESS, A PARTY TO THE CASE, AND I WAS JUST BROUGHT IN TO

02:49PM   15        EXPLAIN THE RESEARCH ADMINISTRATION PROCESS.

02:49PM   16                   THE COURT:    OKAY.    WAS THAT IN STATE COURT, SIR?

02:49PM   17        WERE THOSE CASES --

02:49PM   18                   PROSPECTIVE JUROR:     I THINK IT WAS COUNTY COURT.

02:49PM   19                   THE COURT:    RIGHT, SUPERIOR COURT.

02:49PM   20                   PROSPECTIVE JUROR:     SUPERIOR COURT.

02:49PM   21                   THE COURT:    WAS IT ON HEDDING STREET OR FIRST

02:49PM   22        STREET?

02:49PM   23                   PROSPECTIVE JUROR:     HEDDING.

02:49PM   24                   THE COURT:    THAT'S THE CRIMINAL COURT?

02:49PM   25                   PROSPECTIVE JUROR:     YEAH.



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02:49PM    1                   THE COURT:    SO IT WAS A CRIMINAL PROSECUTION?

02:49PM    2                   PROSPECTIVE JUROR:      YEAH.

02:49PM    3                   THE COURT:    AND WERE YOU SWORN AND TOOK THE STAND

02:49PM    4        AND TESTIFIED?

02:49PM    5                   PROSPECTIVE JUROR:      YES.

02:49PM    6                   THE COURT:    A LAWYER ASKED YOU QUESTIONS?

02:49PM    7                   PROSPECTIVE JUROR:      YES.

02:49PM    8                   THE COURT:    A LAWYER FROM COUNTY COUNSEL OR D.A.?

02:49PM    9                   PROSPECTIVE JUROR:      DISTRICT ATTORNEY.

02:49PM   10                   THE COURT:    AND THEN YOU WERE ASKED QUESTIONS BY A

02:49PM   11        DEFENSE COUNSEL?

02:49PM   12                   PROSPECTIVE JUROR:      I DON'T THINK I WAS.   I DON'T

02:49PM   13        REMEMBER SPECIFICALLY.

02:49PM   14                   THE COURT:    IT SOUNDS LIKE IT WASN'T MEMORABLE.

02:50PM   15             (LAUGHTER.)

02:50PM   16                   PROSPECTIVE JUROR:      WELL, I THINK I DID A GOOD JOB.

02:50PM   17        I WAS ACCURATE.

02:50PM   18                   THE COURT:    OKAY.    ALL RIGHT.

02:50PM   19             AND HOW LONG WERE YOU -- HOW LONG DID YOU TESTIFY?

02:50PM   20                   PROSPECTIVE JUROR:      MAYBE TEN MINUTES.

02:50PM   21                   THE COURT:    I SEE.    OKAY.

02:50PM   22             AND WAS THAT JUST THIS ONE TIME OR WERE THERE --

02:50PM   23                   PROSPECTIVE JUROR:      JUST THE ONE TIME.

02:50PM   24                   THE COURT:    GOTCHA.   THANK YOU.

02:50PM   25             LET ME GO BACK BEHIND YOU TO YOUR LEFT, MR. MURPHY.



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02:50PM    1             JUROR NUMBER 143.

02:50PM    2                     PROSPECTIVE JUROR:     YES.

02:50PM    3                     THE COURT:    YES, MS. ELSHENITI, YES.

02:50PM    4                     PROSPECTIVE JUROR:     YES.   I WANT TO MAKE SURE IS IT

02:50PM    5        ONLY IN THE U.S. COURT OR IT MIGHT BE OUT OF THE UNITED STATES

02:50PM    6        BECAUSE I HAVE A CASE FOR MY BROTHER WHO WAS DETAINED IN EGYPT

02:50PM    7        AND HE STILL -- HIS CASE IS UNDER INVESTIGATION FOR TWO YEARS.

02:50PM    8        NOW HE'S IN PRISON.       THIS IS LIKE A BIG THING FOR ME.

02:51PM    9                     THE COURT:    YES, OF COURSE.

02:51PM   10                     PROSPECTIVE JUROR:     IT'S A POLITICAL THING BECAUSE

02:51PM   11        HE'S ACCUSED OF SCHEMING THROUGH THE GOVERNMENT OR SOMETHING

02:51PM   12        LIKE THAT.

02:51PM   13                     THE COURT:    WERE YOU INVOLVED IN THAT CASE OR ARE

02:51PM   14        YOU INVOLVED IN THAT CASE?

02:51PM   15                     PROSPECTIVE JUROR:     I'M NOT INVOLVED.

02:51PM   16                     THE COURT:    ALL RIGHT.   THANK YOU FOR SHARING THAT.

02:51PM   17             LET'S GO BACK IF WE CAN PASS IT UPFRONT, PLEASE, TO

02:51PM   18        MS. MASON-BURCHELL.

02:51PM   19                     PROSPECTIVE JUROR:     YES.   WITH MY JOB PROBABLY ABOUT

02:51PM   20        TEN YEARS AGO I WAS SUED THROUGH MY JOB WITH WAL-MART AS THE

02:51PM   21        STORE MANAGER FOR WRONGFUL TERMINATION.

02:51PM   22             AND SHE FELT THAT IT WAS DEFAMATION OF CHARACTER, AND SO

02:51PM   23        SHE TOOK ME AND THE TERMINATING MANAGER TO COURT.        AND IT WAS

02:51PM   24        PROBABLY LIKE A TEN MINUTE PART, AND THAT'S THE ONLY OTHER

02:51PM   25        THING I HAD TO DEAL WITH.



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02:51PM    1                     THE COURT:    WAS THAT HERE IN OUR SUPERIOR COURT?

02:52PM    2                     PROSPECTIVE JUROR:     IT ACTUALLY WAS SACRAMENTO

02:52PM    3        COUNTY.

02:52PM    4                     THE COURT:    OH, OKAY.    HOW LONG AGO WAS THAT?   I'M

02:52PM    5        SORRY?

02:52PM    6                     PROSPECTIVE JUROR:     IT'S PROBABLY 10 OR 12 YEARS.

02:52PM    7                     THE COURT:    ALL RIGHT.     THANK YOU.

02:52PM    8             ANYONE ELSE?

02:52PM    9             I SEE NO HANDS.

02:52PM   10             LET ME ASK THOSE OF YOU WHO ANSWERED THAT QUESTION,

02:52PM   11        MS. MASON-BURCHELL, AND MS. ELSHENITI, AND MR. MURPHY, IS THERE

02:52PM   12        ANYTHING ABOUT THOSE EXPERIENCES THAT YOU THINK WILL AFFECT

02:52PM   13        YOUR ABILITY TO BE FAIR AND IMPARTIAL IN THIS CASE?

02:52PM   14             MR. MURPHY, YOU'RE SHAKING YOUR HEAD SIDE TO SIDE NO I

02:52PM   15        TAKE THAT?    NO?

02:52PM   16                     PROSPECTIVE JUROR:     NO.

02:52PM   17                     THE COURT:    OKAY.    THANK YOU VERY MUCH.   THANK YOU.

02:52PM   18             HAVE YOU OR ANYONE CLOSE TO YOU EVER BEEN INVOLVED IN ANY

02:52PM   19        LITIGATION -- THIS IS FOR THE PANEL -- ANY LITIGATION OR CLAIMS

02:52PM   20        AGAINST THE UNITED STATES GOVERNMENT, THE STATE OF CALIFORNIA,

02:52PM   21        OR ANY OTHER STATE OR MUNICIPAL GOVERNMENTAL AGENCY?

02:53PM   22             ANYONE BEEN IN LITIGATION WITH THE GOVERNMENT, STATE,

02:53PM   23        FEDERAL, AND MUNICIPAL?

02:53PM   24             I SEE NO HANDS.

02:53PM   25             CAN ANY OF YOU THINK OF ANY OTHER REASON WHY YOU MIGHT NOT



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02:53PM    1        BE ABLE TO TRY THIS CASE FAIRLY AND IMPARTIALLY BOTH TO THE

02:53PM    2        GOVERNMENT OR THE DEFENSE OR WHY YOU SHOULD NOT BE ON THIS

02:53PM    3        JURY?

02:53PM    4             ANYTHING ELSE A PARTY WISHES TO RAISE?

02:53PM    5             I SEE NO HANDS.

02:53PM    6             OH, I DO SEE A HAND.

02:53PM    7             YES, LET'S PASS IT BACK, PLEASE.

02:53PM    8             IS THAT MR. PERALTA?    166.

02:53PM    9             YOU HAVE A RESPONSE TO THIS, SIR?

02:53PM   10                   PROSPECTIVE JUROR:     CORRECT.

02:53PM   11                   THE COURT:    IS THIS MR. LEE?

02:53PM   12                   PROSPECTIVE JUROR:     IT'S ONLY I HAVE A FEW WEDDINGS

02:53PM   13        TO ATTEND, AND I'M A GROOMSMAN, AND THOSE ARE OUT OF THE STATE

02:53PM   14        AS WELL.

02:53PM   15                   THE COURT:    AND WHEN ARE THOSE?

02:54PM   16                   PROSPECTIVE JUROR:     ONE I BELIEVE IN PARTICULAR

02:54PM   17        WOULD BE DECEMBER 3RD.     I NEED TO BE THERE ON A FRIDAY, AND THE

02:54PM   18        WEDDING HAPPENS ON SATURDAY.      IT'S IN HAWAII.

02:54PM   19                   THE COURT:    IT'S IN HAWAII.     OKAY.

02:54PM   20                   PROSPECTIVE JUROR:     AND THEN THERE ARE TWO OTHER

02:54PM   21        WEDDINGS THAT I'M SCHEDULED TO ATTEND ON THE COURT DATES.

02:54PM   22                   THE COURT:    AND WHEN ARE THOSE?

02:54PM   23                   PROSPECTIVE JUROR:     ONE WOULD BE DECEMBER -- IT'S A

02:54PM   24        TUESDAY.   I CAN PULL UP THE CALENDAR REAL QUICK?     I BELIEVE

02:54PM   25        IT'S THE 21ST WOULD BE ONE THAT IS ON TUESDAY, AND THEN THE ONE



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02:54PM    1        THAT I'M A GROOMSMAN FOR WOULD BE ON -- IT'S ON DECEMBER 4TH,

02:54PM    2        BUT I NEED TO BE IN HAWAII ON THE 3RD.

02:54PM    3                   THE COURT:    SO IT'S THOSE TWO WEDDINGS?

02:54PM    4                   PROSPECTIVE JUROR:     CORRECT.

02:54PM    5                   THE COURT:    THANK YOU, SIR.

02:54PM    6             LET'S PASS IT BACK NOW TO MR. PERALTA, PLEASE.

02:55PM    7                   PROSPECTIVE JUROR:     TWO WEEKS AGO I WAS -- I HAVE MY

02:55PM    8        MRI ON MY HEAD BECAUSE OF THE PERSISTENT HEADACHE.       I WENT TO

02:55PM    9        MY NEUROLOGIST, AND HE PRESCRIBED ME A MEDICATION FOR

02:55PM   10        ANTIDEPRESSANT, SOMETHING LIKE THAT, AND FOR PAIN WHICH IS VERY

02:55PM   11        UNCOMFORTABLE FOR ME WHEN I'M DOING MY WORK IN -- MY DAY WORK.

02:55PM   12             SO AS A SUPERVISOR OF THE POST OFFICE, IT'S HARD FOR ME TO

02:55PM   13        CONCENTRATE BECAUSE OF THE PERSISTENT HEADACHE THAT I'M HAVING

02:55PM   14        RIGHT NOW SO.

02:55PM   15                   THE COURT:    DO YOU HAVE THAT HEADACHE NOW, SIR,

02:56PM   16        DURING THESE PROCEEDINGS?

02:56PM   17                   PROSPECTIVE JUROR:     YEAH.    THIS MORNING I HAVE IT.

02:56PM   18                   THE COURT:    I SEE.   AND YOU TOOK YOUR MEDICATION?

02:56PM   19                   PROSPECTIVE JUROR:     YES, I HAVE IT IN MY CAR.    I

02:56PM   20        JUST TAKE IT A WHILE AGO.

02:56PM   21                   THE COURT:    I SEE.   ALL RIGHT.   AND THAT HELPS YOU

02:56PM   22        IN THIS?

02:56PM   23                   PROSPECTIVE JUROR:     IT IS.

02:56PM   24                   THE COURT:    ALL RIGHT.   IS THAT SOMETHING THAT WOULD

02:56PM   25        BE A CONTINUING CONDITION?



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02:56PM    1                    PROSPECTIVE JUROR:     I HAVE NO IDEA, YOUR HONOR,

02:56PM    2        BECAUSE I STILL HAVE ANOTHER APPOINTMENT ON SEPTEMBER 20TH.

02:56PM    3                    THE COURT:    I SEE.   ALL RIGHT, SIR.    AND WHEN YOU

02:56PM    4        GET THESE HEADACHES, YOU TOLD US ABOUT THIS IN THE

02:56PM    5        QUESTIONNAIRE AND YOU HAVE SOME HEADACHES AND IT CAUSES YOU

02:56PM    6        SOME DISCOMFORT?

02:56PM    7                    PROSPECTIVE JUROR:     CORRECT.

02:56PM    8                    THE COURT:    AN INABILITY TO FOCUS?

02:56PM    9                    PROSPECTIVE JUROR:     YES, YOUR HONOR.

02:56PM   10                    THE COURT:    ALL RIGHT.   ANYTHING ELSE?

02:56PM   11                    PROSPECTIVE JUROR:     AND BESIDES THAT I'M THE ONLY

02:56PM   12        ONE LEFT IN MY OFFICE.

02:56PM   13                    THE COURT:    YES, YOU'RE MISSING OVERTIME.

02:56PM   14                    PROSPECTIVE JUROR:     YES, WE'RE HIDING THOSE.

02:56PM   15                    THE COURT:    ALL RIGHT.   THANK YOU.    ANY QUESTIONS,

02:56PM   16        MR. SCHENK?

02:56PM   17                    MR. SCHENK:    NO, YOUR HONOR.

02:56PM   18                    MR. DOWNEY:    NOTHING, YOUR HONOR.

02:56PM   19                    THE COURT:    ALL RIGHT.   THANK YOU, MR. PERALTA.

02:56PM   20        THANK YOU VERY MUCH.

02:57PM   21             ALL RIGHT.    ANYTHING?   ANY OTHER RESPONSES TO THIS

02:57PM   22        QUESTION?

02:57PM   23                    PROSPECTIVE JUROR:     CAN YOU REPEAT THE QUESTION

02:57PM   24        AGAIN?

02:57PM   25                    THE COURT:    CAN YOU THINK OF ANY OTHER REASON WHY



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02:57PM    1        YOU MIGHT NOT BE ABLE TO TRY THIS CASE FAIRLY AND IMPARTIALLY

02:57PM    2        BOTH TO THE GOVERNMENT AND THE DEFENSE OR WHY YOU SHOULD NOT BE

02:57PM    3        ON THIS JURY?

02:57PM    4                    PROSPECTIVE JUROR:     YEAH.   SO --

02:57PM    5                    THE COURT:    THIS IS MR. BUI, I BELIEVE, YOU'RE JUROR

02:57PM    6        NUMBER --

02:57PM    7                    PROSPECTIVE JUROR:     -- 157.

02:57PM    8                    THE COURT:    THANK YOU.

02:57PM    9                    PROSPECTIVE JUROR:     AND SO THERE ARE MULTIPLE

02:57PM   10        REASONS WHY I WOULDN'T BE AVAILABLE FOR THIS JURY.       ONE IS I AM

02:57PM   11        CONTRACTED --

02:57PM   12                    THE COURT:    I THINK YOU TOLD US IN ANSWER TO

02:57PM   13        QUESTION NUMBER 1, SIR, THAT YOU JUST PURCHASED A NEW HOME; IS

02:57PM   14        THAT RIGHT?

02:57PM   15                    PROSPECTIVE JUROR:     YEAH, NOT PURCHASED, BUT WE JUST

02:57PM   16        STARTED RENTING A NEW HOME.

02:57PM   17                    THE COURT:    AND I THINK YOU TOLD US THAT YOUR WORK

02:57PM   18        IS IMPORTANT BECAUSE IF YOU DON'T WORK, YOU WOULD LOSE YOUR

02:58PM   19        HOUSE I THINK; IS THAT RIGHT?

02:58PM   20                    PROSPECTIVE JUROR:     YEAH.   AND SO IT'S JUST ME AND

02:58PM   21        MY GIRLFRIEND LIVING THERE, AND I'M TRYING TO GET CONVERTED TO

02:58PM   22        WORKING AS A PERMANENT WORKER AT THIS COMPANY, WHICH WILL BE

02:58PM   23        REVIEWED NEXT MONTH.

02:58PM   24                    THE COURT:    ALL RIGHT.   THANK YOU, SIR.

02:58PM   25             I'VE READ YOUR QUESTIONNAIRE, AND I'VE READ YOUR RESPONSE.



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02:58PM    1        I HAD AN AFFIRMATIVE RESPONSE TO ONE OF THE QUESTIONS AS TO

02:58PM    2        SELECTIONS IN THIS CASE.

02:58PM    3             ANY FURTHER QUESTIONS, MR. SCHENK?

02:58PM    4                   MR. SCHENK:    NO, YOUR HONOR.

02:58PM    5                   MR. DOWNEY:    NOTHING, YOUR HONOR.

02:58PM    6                   THE COURT:    ALL RIGHT.    THANK YOU.

02:58PM    7             ANYONE HAVE ANY FURTHER RESPONSE TO THIS QUESTION?

02:58PM    8             LET'S PASS IT OVER TO JUROR NUMBER 143.

02:58PM    9                   PROSPECTIVE JUROR:      IS IT ON?   162.

02:58PM   10                   THE COURT:    162.     I'M SORRY, MS. GLIK.

02:59PM   11                   PROSPECTIVE JUROR:      I'M A LITTLE BIT CONCERNED ABOUT

02:59PM   12        MY ENGLISH.

02:59PM   13                   MADAM COURT REPORTER:      SPEAK UP.

02:59PM   14                   PROSPECTIVE JUROR:      SO AS I SAID, I'M JUST A LITTLE

02:59PM   15        WORRIED ABOUT MY ENGLISH.       I THINK IT'S GOOD.    I'M NOT SURE

02:59PM   16        IT'S GOOD ENOUGH FOR THIS TRIAL.

02:59PM   17                   THE COURT:    OKAY.    ALL RIGHT.

02:59PM   18             HAVE YOU UNDERSTOOD?

02:59PM   19                   PROSPECTIVE JUROR:      I HAVE UNDERSTOOD EVERYTHING.

02:59PM   20                   THE COURT:    OKAY.

02:59PM   21                   PROSPECTIVE JUROR:      BUT I'M NOT SURE DURING THE

02:59PM   22        TRIAL I WILL UNDERSTAND.

02:59PM   23                   THE COURT:    WELL, I KNOW THAT THESE LAWYERS, ONE OF

02:59PM   24        THEIR JOBS IS TO MAKE THEIR CASES AND MAKE THEIR QUESTIONS

02:59PM   25        ACCESSIBLE AND TO MAKE IT UNDERSTANDABLE FOR THE JURY.        THAT'S



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02:59PM    1        SOMETHING THAT ALL LAWYERS DO.

02:59PM    2                   PROSPECTIVE JUROR:     OKAY.

02:59PM    3                   THE COURT:    SO I'M SURE THESE LAWYERS ARE GOING TO

02:59PM    4        DO THEIR BEST TO ACCOMPLISH THAT AS WELL.

02:59PM    5             SO THANK YOU FOR POINTING THAT OUT.        THANK YOU.

02:59PM    6                   PROSPECTIVE JUROR:     THANK YOU.

02:59PM    7                   THE COURT:    YOU'RE WELCOME.

03:00PM    8                   PROSPECTIVE JUROR:     NUMBER 155.

03:00PM    9                   THE COURT:    YES, MS. MARTINEZ.

03:00PM   10                   PROSPECTIVE JUROR:     YES.    BEFORE I CAME WE HAD SOME

03:00PM   11        STAFFING ISSUES AT WORK, AND AS OF LAST WEEK WE'VE LOST TWO

03:00PM   12        OTHER TEACHERS THAT HAVE RESIGNED, AND THEY'VE BEEN TEXTING ME

03:00PM   13        THROUGHOUT THIS PROCEEDING THAT IF I'M GOING TO BE PICKED FOR

03:00PM   14        JURY DUTY BECAUSE I'M THE ONLY OTHER TEACHER FOR THIS CLASSROOM

03:00PM   15        AND BECAUSE OF COVID RESTRICTIONS, WE CAN'T HAVE OTHER TEACHERS

03:00PM   16        STEP INTO MY CLASSROOM.

03:00PM   17             SO I'M JUST CONCERNED THAT IT'S 13 WEEKS BECAUSE THEY MAY

03:00PM   18        HAVE TO HIRE SOMEONE FOR THE DAYS THAT I MIGHT BE OFF, AND THAT

03:00PM   19        IS AN ISSUE BECAUSE WE HAVE STAFFING PROBLEMS.       PEOPLE DON'T

03:00PM   20        WANT TO COME AND WORK WITH SMALL CHILDREN BECAUSE THEY'RE

03:00PM   21        EITHER AFRAID OR THEY DON'T LIKE THE HOURS.        AND I'M JUST

03:01PM   22        CONCERNED THAT BEING SUCH A LONG TRIAL THAT IT WILL IMPACT MY

03:01PM   23        CLASSROOM AND MY ABILITY TO WORK WITH THE CHILDREN IF I'M HERE

03:01PM   24        THE WHOLE TIME.

03:01PM   25                   THE COURT:    SURE.    ALL RIGHT.   THANK YOU.    THANK YOU



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03:01PM    1        FOR THAT.

03:01PM    2             ANY QUESTIONS MR. SCHENK?

03:01PM    3                    MR. SCHENK:    NO.

03:01PM    4                    THE COURT:    MR. DOWNEY, ANY QUESTIONS?

03:01PM    5                    MR. DOWNEY:    NO.

03:01PM    6                    THE COURT:    ALL RIGHT.     THANK YOU.

03:01PM    7                    PROSPECTIVE JUROR:     SO I HAVE A SIMILAR CONCERN.

03:01PM    8                    THE COURT:    OKAY.    I'M SORRY.   THIS IS JUROR

03:01PM    9        NUMBER 143.

03:01PM   10                    PROSPECTIVE JUROR:     143, CORRECT.

03:01PM   11                    THE COURT:    YES.

03:01PM   12                    PROSPECTIVE JUROR:     SO I HAVE A SIMILAR CONCERN.    I

03:01PM   13        WORK AS A TEACHER IN A PRIVATE NONPROFIT SCHOOL, SO WE ARE

03:01PM   14        SHORT IN STAFF AND IN BUDGET.

03:01PM   15             I'M A TEACHER FOR MIDDLE SCHOOL STUDENTS, SO THEY DON'T

03:01PM   16        HAVE ANOTHER TEACHER FOR THE REST OF THE YEAR.

03:01PM   17             SO TODAY I WAS OFF SO I JUST GIVE THEM THINGS FOR THE

03:02PM   18        STUDENTS TO WORK INDEPENDENTLY, BUT I REALLY DON'T KNOW WHAT

03:02PM   19        THEY'RE GOING TO DO THE REST OF THE SEMESTER.

03:02PM   20                    THE COURT:    THANK YOU.

03:02PM   21                    PROSPECTIVE JUROR:     THANK YOU.

03:02PM   22                    THE COURT:    YOU'RE WELCOME.

03:02PM   23             LET'S PASS THIS FORWARD TO MS. GONZALEZ, 108.

03:02PM   24                    PROSPECTIVE JUROR:     HI.   I'M ALSO A TEACHER.

03:02PM   25        SIMILAR PROBLEMS TO THE LAST TWO BUT ALSO I'M THE ONLY ONE IN



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03:02PM    1        MY HOUSEHOLD THAT IS WORKING RIGHT NOW.         MY HUSBAND LOST HIS

03:02PM    2        JOB DUE TO COVID.

03:02PM    3             SO, YEAH, BEING AWAY FOR 13 WEEKS FROM MY STUDENTS WOULD

03:02PM    4        REALLY -- I HAVE A HARD TIME EVEN TALKING ABOUT IT, BUT ALSO

03:02PM    5        NOT BEING ABLE TO BRING IN A PAYCHECK IS REALLY CONCERNING.

03:02PM    6                   THE COURT:    OKAY.    AND ARE YOU A FULL-TIME TEACHER

03:02PM    7        THROUGH THE DAY BEGINNING AT 8:00 OR 9:00 A.M.?

03:03PM    8                   PROSPECTIVE JUROR:      YES.

03:03PM    9                   THE COURT:    ALL RIGHT.    I SEE.    THANK YOU.

03:03PM   10             ANYONE ELSE?

03:03PM   11             I SEE NO HANDS.

03:03PM   12             ALL RIGHT.   ANY QUESTIONS, MR. SCHENK?

03:03PM   13                   MR. SCHENK:    NO.     THANK YOU.

03:03PM   14                   THE COURT:    ANY QUESTIONS?

03:03PM   15                   MR. DOWNEY:    NO.

03:03PM   16                   THE COURT:    ALL RIGHT.    THANK YOU.

03:03PM   17             THANK YOU, LADIES AND GENTLEMEN.

03:03PM   18             I'M NOW GOING TO YIELD THE FLOOR TO COUNSEL TO HAVE THEM

03:03PM   19        ASK SOME QUESTIONS.     WE'RE GOING TO TAKE A BREAK AT 3:30 AT THE

03:03PM   20        BOTTOM OF THE HOUR, AND WE'LL TAKE UP ANY OTHER MATTERS THAT WE

03:03PM   21        NEED TO AT THAT TIME.

03:03PM   22             BUT I'D LIKE TO AT THIS TIME ALLOW FOR COUNSEL TO AT LEAST

03:03PM   23        BEGIN THEIR QUESTIONING IF THEY HAVE ANY.

03:03PM   24             OH, GOSH.    THANK YOU, MS. KRATZMANN.

03:03PM   25             MR. SCHENK, DO YOU HAVE QUESTIONS?



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03:03PM    1                     MR. SCHENK:    I DO.   THANK YOU, YOUR HONOR.

03:03PM    2             GOOD AFTERNOON.       MY NAME IS JEFF SCHENK.   I MET YOU THIS

03:04PM    3        MORNING.

03:04PM    4             I'M ONE OF THE PROSECUTORS REPRESENTING THE UNITED STATES

03:04PM    5        IN THIS CASE.

03:04PM    6             I JUST HAVE A COUPLE OF FOLLOW-UP QUESTIONS, A COUPLE OF

03:04PM    7        GENERAL QUESTIONS, AND THEN ONE SPECIFIC INDIVIDUAL QUESTION.

03:04PM    8             I'D LIKE TO START BY TALKING ABOUT THE KINDS OF WITNESSES

03:04PM    9        THAT MAY APPEAR IN THIS CASE.       THE JUDGE ASKED SOME QUESTIONS

03:04PM   10        ABOUT YOUR VIEW ON LAW ENFORCEMENT, AND IF LAW ENFORCEMENT

03:04PM   11        WITNESSES TOOK THE STAND, HOW YOU WOULD FEEL ABOUT THEIR

03:04PM   12        TESTIMONY.

03:04PM   13             YOU ALSO SAW IN THE QUESTIONNAIRE WOULD YOU GIVE THEIR

03:04PM   14        TESTIMONY MORE WEIGHT OR LESS WEIGHT.

03:04PM   15             LET'S REPLACE LAW ENFORCEMENT WITH MEDICAL PROFESSIONALS,

03:04PM   16        WITH DOCTORS.    I'M CURIOUS IF INDIVIDUALS HAVE EXPERIENCES IN

03:04PM   17        THEIR LIFE THAT THEY'LL BRING INTO THE COURTROOM WITH THEM.

03:04PM   18        LET'S SAY IN THE PAST YOU FOUGHT A BILL, YOU DISAGREED WITH A

03:04PM   19        BILL, YOU WERE FRUSTRATED WITH MEDICAL CARE THAT YOU RECEIVED.

03:04PM   20              DO YOU HAVE ANY LIFE EXPERIENCES THAT ARE GOING TO CAUSE

03:04PM   21        YOU TO EVALUATE THE TESTIMONY OF MEDICAL DOCTORS DIFFERENTLY IN

03:04PM   22        THIS CASE, EITHER GIVING THEM MORE WEIGHT OR LESS WEIGHT?

03:04PM   23             ANY HANDS?

03:05PM   24                     PROSPECTIVE JUROR:     SO I'M JUROR NUMBER 131,

03:05PM   25        KELLY KOCH.



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                                           ER-4119
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03:05PM    1               SO MY HUSBAND HAS RECEIVED DIFFERENT KINDS OF LEGAL

03:05PM    2        TREATMENT FROM DIFFERENT DOCTORS AND SURGERIES AND SUCH.          AND

03:05PM    3        HE'S GOT PASSED AROUND FROM DIFFERENT DOCTORS AND DIDN'T GET

03:05PM    4        ALL OF THE CARE THAT HE NEEDED, SO I DON'T KNOW THAT I WOULD

03:05PM    5        WEIGH IN IMPARTIALLY TO THEIR TESTIMONY BECAUSE TO ME IT SEEMS

03:05PM    6        LIKE A LOT OF DOCTORS, THEY'RE OUT FOR MONEY.        SO I DON'T KNOW

03:05PM    7        THAT I WOULD BE IMPARTIAL.

03:05PM    8                    MR. SCHENK:    SO THE EXPERIENCES THAT YOU'VE HAD WITH

03:05PM    9        YOUR HUSBAND, YOU THINK YOU WOULD BRING INTO THE COURTROOM WITH

03:05PM   10        YOU.    AND IF A DOCTOR WAS ON THE STAND EXPLAINING SOMETHING TO

03:05PM   11        YOU, YOU MIGHT EVALUATE THEIR TESTIMONY DIFFERENTLY OR GIVE IT

03:05PM   12        LESS WEIGHT BECAUSE OF THESE PRIOR EXPERIENCES; IS THAT FAIR?

03:05PM   13                    PROSPECTIVE JUROR:      YES, YES.   YES, I DO.

03:06PM   14                    MR. SCHENK:    OKAY.    THANK YOU FOR SHARING THAT.

03:06PM   15               ANY OTHER HANDS?

03:06PM   16               DO YOU MIND PASSING THE MICROPHONE JUST BACK.         THANK YOU.

03:06PM   17                    THE COURT:    IS THAT 154, MS. KEHN?

03:06PM   18                    PROSPECTIVE JUROR:      154.   I'VE HAD ALL GOOD

03:06PM   19        EXPERIENCES WITH DOCTORS.

03:06PM   20                    THE COURT:    CAN YOU SPEAK INTO THE MICROPHONE?       CAN

03:06PM   21        YOU USE THE MICROPHONE, PLEASE.

03:06PM   22                    PROSPECTIVE JUROR:      HELLO.

03:06PM   23                    THE COURT:    YES.     THANK YOU.

03:06PM   24                    PROSPECTIVE JUROR:      YES, I HAVE NOT QUITE THE SAME

03:06PM   25        AS I WOULD WITH POLICE, BUT I -- THEY'VE BEEN TO SCHOOL FOR A



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                                             ER-4120
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03:06PM    1        LONG TIME SO I HAVE A TENDENCY IF THEY'RE EXPLAINING SOMETHING,

03:06PM    2        I'M GOING TO BELIEVE THAT THEY KNOW WHAT THEY'RE TALKING ABOUT.

03:06PM    3                   MR. SCHENK:    THERE WILL BE SOME INSTANCES WHEN THE

03:06PM    4        JUDGE MIGHT TELL YOU THAT BECAUSE OF THEIR EXPERIENCE YOU CAN

03:06PM    5        ACCEPT THEIR TESTIMONY AS WHAT IS CALLED EXPERT TESTIMONY.

03:06PM    6                   PROSPECTIVE JUROR:    OKAY.

03:06PM    7                   MR. SCHENK:    BUT THERE ARE OTHER INSTANCES WHEN THEY

03:06PM    8        MIGHT JUST BE A WITNESS, WHERE THEY OBSERVED SOMETHING, A

03:07PM    9        PERCIPIENT WITNESS, I SAW SOMETHING, I HEARD SOMETHING, AND I'M

03:07PM   10        THERE TO TELL YOU ABOUT THAT.

03:07PM   11             SO IT IS NOT SO MUCH ABOUT THEIR MEDICAL TRAINING THAT

03:07PM   12        THEY'RE SPEAKING TO YOU ABOUT.     IN THAT SITUATION, WOULD YOU

03:07PM   13        STILL GIVE THEIR TESTIMONY EVEN MORE WEIGHT JUST BECAUSE OF

03:07PM   14        THEIR EDUCATIONAL BACKGROUND?

03:07PM   15                   PROSPECTIVE JUROR:    I DON'T KNOW BECAUSE I ONLY TALK

03:07PM   16        TO DOCTORS IF I -- I ONLY TALK TO DOCTORS IF I NEED ONE.       SO I

03:07PM   17        DON'T KNOW.   I CAN'T -- I DON'T -- I TRY NOT TO.      HOW ABOUT

03:07PM   18        THAT?

03:07PM   19                   MR. SCHENK:    DO YOU HAVE A CONCERN ABOUT YOUR

03:07PM   20        ABILITY TO JUDGE IT FAIRLY?     IS THAT SAFE TO SAY?

03:07PM   21                   PROSPECTIVE JUROR:    IF YOU TELL ME, IF YOU TELL ME

03:07PM   22        THIS PERSON IS A DOCTOR, HE'S BEEN A CARDIOLOGIST FOR TEN

03:07PM   23        YEARS, OR HOWEVER MANY YEARS, AND YOU'RE GOING TO ASK HIM

03:07PM   24        QUESTIONS, I'M PROBABLY GOING TO BELIEVE THAT HE KNOWS WHAT

03:07PM   25        HE'S TALKING ABOUT.



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03:07PM    1                   MR. SCHENK:    OKAY.   THANK YOU VERY MUCH FOR SHARING

03:07PM    2        THAT.

03:07PM    3             WERE THERE OTHER HANDS?

03:08PM    4                   THE COURT:    THIS IS MR. BUI, 157.

03:08PM    5                   PROSPECTIVE JUROR:     HI.    YEAH, IT'S KIND OF SIMILAR

03:08PM    6        TO WHAT SHE WAS SAYING AND MY PREVIOUS ANSWER WAS, YOU KNOW,

03:08PM    7        GIVEN THEIR CREDIBILITY AND THEIR BACKGROUND I WOULD WANT TO

03:08PM    8        STAY UNBIASSED, BUT THEN ALSO I WOULD LIKE TRUST THEM AND THEIR

03:08PM    9        PROFESSION THAT THEIR TESTIMONY HELD SOME SORT OF WEIGHT AS

03:08PM   10        WELL.

03:08PM   11                   MR. SCHENK:    DO YOU THINK THAT YOU WOULD GIVE THEM

03:08PM   12        THIS ADDITIONAL WEIGHT JUST BECAUSE OF THE PROFESSION INSTEAD

03:08PM   13        OF EVALUATING THE TESTIMONY AND THE STATEMENTS THAT THEY MAKE

03:08PM   14        HERE IN COURT?

03:08PM   15                   PROSPECTIVE JUROR:     YEAH.   I WOULD, I WOULD DO MY

03:08PM   16        BEST, BUT I FEEL LIKE PARTIALLY I WOULD INCLUDE THEIR

03:08PM   17        PROFESSION IN THIS WHOLE THING.

03:09PM   18                   MR. SCHENK:    OKAY.   AND WHILE I'M SPEAKING WITH YOU,

03:09PM   19        IF I COULD FOLLOW UP.     YOU EXPRESSED A VIEW THAT YOU WOULD LIKE

03:09PM   20        TO HEAR MS. HOLMES'S SIDE OF THE STORY I THINK YOU SAID; IS

03:09PM   21        THAT RIGHT?

03:09PM   22                   PROSPECTIVE JUROR:     YES.

03:09PM   23                   MR. SCHENK:    WOULD YOU HOLD IT AGAINST HER IF SHE

03:09PM   24        DIDN'T PROVIDE HER SIDE OF THE STORY, IF SHE DIDN'T TESTIFY?

03:09PM   25                   PROSPECTIVE JUROR:     NOT NECESSARILY.   I JUST, YOU



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03:09PM    1        KNOW, I THINK TO ME IT'S IMPORTANT TO HEAR LIKE HER VOICE AND,

03:09PM    2        YOU KNOW, MAYBE LIKE WHO SHE IS AND WHAT IS HAPPENING THROUGH

03:09PM    3        HER.    I UNDERSTAND THAT, YOU KNOW, BEING IN THE COURTHOUSE IS

03:09PM    4        NOT NECESSARILY ABOUT THAT, BUT I THINK, YOU KNOW, HEARING

03:09PM    5        ANYTHING FROM, YOU KNOW, THE SOURCE IS KIND OF A BIG DEAL IN A

03:09PM    6        SENSE.

03:09PM    7                    MR. SCHENK:    UNDERSTOOD.

03:09PM    8               THANK YOU FOR SHARING.

03:10PM    9               ANY OTHER HANDS TO THE MEDICAL DOCTOR'S QUESTION?

03:10PM   10               THE JUDGE ALSO ASKED YOU SOME QUESTIONS ABOUT PRIOR

03:10PM   11        EXPERIENCE WITH DOMESTIC VIOLENCE OR IPV.

03:10PM   12               I'M WONDERING INSTEAD OF GOING THROUGH EACH INDIVIDUAL

03:10PM   13        AGAIN, I'M WONDERING WHETHER YOUR EXPERIENCES WOULD AFFECT YOUR

03:10PM   14        ABILITY TO JUDGE EVIDENCE IN THIS CASE, IF YOU HEARD EVIDENCE

03:10PM   15        IN THIS CASE ABOUT THAT HAPPENING, WOULD THAT AFFECT YOUR

03:10PM   16        ABILITY TO BE FAIR AND IMPARTIAL IN THIS CASE?

03:10PM   17               ALSO, DO YOU HAVE A CONCERN THAT THIS MIGHT NOT BE THE

03:10PM   18        RIGHT TRIAL FOR YOU BECAUSE HEARING THE TESTIMONY MIGHT TRIGGER

03:10PM   19        FEELINGS ASSOCIATED WITH THE PRIOR EXPERIENCE IN YOUR PERSONAL

03:10PM   20        LIFE?

03:10PM   21               I SEE ONE HAND.

03:10PM   22                    PROSPECTIVE JUROR:     YEAH, 154.   FOR SURE.   IF YOU

03:10PM   23        START TALKING ABOUT --

03:10PM   24                    THE COURT:    LET'S GET YOU THE MICROPHONE, MS. KEHN.

03:10PM   25                    PROSPECTIVE JUROR:     154.   YEAH, IF YOU START TALKING



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03:10PM    1        ABOUT SOMEBODY ACTING LIKE HIM, YEAH, OF COURSE I'M GOING TO

03:11PM    2        RIGHT AWAY THINK ABOUT THAT.

03:11PM    3                   MR. SCHENK:    SURE.

03:11PM    4                   PROSPECTIVE JUROR:     SO I DON'T KNOW HOW I COULD NOT.

03:11PM    5                   MR. SCHENK:    SO IF THERE WAS TESTIMONY THAT MADE YOU

03:11PM    6        THINK OF YOUR EXPERIENCE WITH YOUR FORMER HUSBAND, THIS MIGHT

03:11PM    7        NOT BE THE RIGHT TRIAL FOR YOU IT SOUNDS LIKE.

03:11PM    8                   PROSPECTIVE JUROR:     YEAH, IF YOU STARTED TALKING

03:11PM    9        ABOUT SOMEBODY WHO WAS VERY CONTROLLING OR VERY MEAN, YEAH, I

03:11PM   10        DEFINITELY WOULD THINK ABOUT IT RIGHT AWAY.        OF COURSE IT'S

03:11PM   11        RIGHT THERE.

03:11PM   12                   MR. SCHENK:    THANK YOU.   I APPRECIATE THAT.

03:11PM   13                   THE COURT:    THIS IS 134, MS. LARUE.

03:11PM   14                   PROSPECTIVE JUROR:     I HAVE A PROBLEM WITH ANYBODY

03:11PM   15        WITH DOMESTIC VIOLENCE.     MY SISTER, HE ALMOST KILLED HER.       SO

03:11PM   16        IT'S HARD FOR ME TO SEE SOMEBODY WHO BULLIES OR BEATS AND

03:12PM   17        SMALLER OR WEAKER PERSON.    I CAN'T COMPREHEND IT, AND I CAN'T

03:12PM   18        BELIEVE THAT SOMEONE WOULD DO THAT TO SOMEBODY ELSE.

03:12PM   19                   MR. SCHENK:    SO THAT SEEMS A REASONABLE POSITION TO

03:12PM   20        ME, AND I UNDERSTAND WHY YOU WOULD THINK THAT.

03:12PM   21             DO YOU THINK IF YOU HEARD TESTIMONY ABOUT IT THAT YOU

03:12PM   22        WOULDN'T --

03:12PM   23                   PROSPECTIVE JUROR:     I CAN'T HONESTLY SAY YES OR NO

03:12PM   24        BECAUSE I DON'T KNOW.     I JUST KNOW THAT IT'S STRONG FOR ME.

03:12PM   25        I'M SORRY, I KNOW IT'S STRONG FOR ME THAT ANYBODY ABUSING OR A



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03:12PM    1        WEAKER PERSON, PERIOD, MEN OR WOMEN, IT DOESN'T MATTER TO ME, A

03:12PM    2        WEAKER PERSON, I CAN'T ABIDE BY IT -- I HAVE A HARD TIME WITH

03:12PM    3        IT SO.

03:12PM    4             I DON'T KNOW IF I HONESTLY COULD BE IMPARTIAL.         I CAN'T

03:12PM    5        SAY YES OR NO BECAUSE I DON'T KNOW.      I'VE NEVER BEEN HERE IN

03:12PM    6        THIS SITUATION.

03:12PM    7                     MR. SCHENK:   SURE.   THANK YOU FOR SHARING.

03:12PM    8             ANY OTHER HANDS?

03:12PM    9             THANK YOU.    AND, MS. LOCKWOOD, IF I COULD FOLLOW UP

03:12PM   10        BRIEFLY WITH YOU.    THANK YOU FOR EXPRESSING YOUR VIEWS ON LAW

03:13PM   11        ENFORCEMENT.

03:13PM   12             THE ONLY QUESTION I HAVE IS MY SIDE GOING TO START BEHIND?

03:13PM   13        WE'RE GOING TO HAVE SOME NOT UNIFORMED LAW ENFORCEMENT BUT SORT

03:13PM   14        OF REGULATORS, AND MORE PEOPLE IN SUITS, BUT AS YOU SAID,

03:13PM   15        SHOULD BRING INTEGRITY TO THE JOB AND CERTAINLY BRING A MEASURE

03:13PM   16        OF AUTHORITY BEHIND THEIR PROFESSION.

03:13PM   17             I'M JUST WONDERING IF WE'RE GOING TO START A LITTLE BIT

03:13PM   18        FURTHER BEHIND BECAUSE OF YOUR VIEWS?

03:13PM   19                     PROSPECTIVE JUROR:    I DON'T BELIEVE SO.   IT'S BEEN

03:13PM   20        YEARS AGO SINCE I'VE BEEN ON THAT SIDE OF THE LAW AND I PUT

03:13PM   21        MYSELF IN THAT POSITION.     I DON'T HOLD IT PERSONALLY AGAINST

03:13PM   22        PEOPLE.   I'M JUST MORE MINDFUL OF THE ABUSE OF POWER NOW THAT

03:13PM   23        I'M OLDER.

03:13PM   24             SO I DON'T BELIEVE THAT YOU GUYS ARE STARTING IN A

03:13PM   25        NEGATIVE PLACE IN MY POSITION.      I'M JUST MORE HYPERAWARE OF IT



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03:13PM    1        NOW.

03:13PM    2                    MR. SCHENK:    RIGHT.   AND HOW ABOUT THE WITNESSES?

03:14PM    3        IF SOMEONE IS TESTIFYING AND THEY HAPPEN TO WORK FOR THE

03:14PM    4        GOVERNMENT AND THEIR JOB HAPPENS TO BE A REGULATOR, ARE THEY

03:14PM    5        STARTING A LITTLE BIT FURTHER BEHIND?

03:14PM    6               EVERYBODY HAS VIEWS BUT SOME PEOPLE COME INTO COURT, AND I

03:14PM    7        DON'T WANT TO SAY THEY CHECK THEIR VIEWS AT THE DOOR, BUT ARE

03:14PM    8        ABLE TO HEAR AND EVALUATE TESTIMONY FAIRLY.

03:14PM    9               IS THE WITNESS GOING TO START BEHIND OR WILL YOU ALSO

03:14PM   10        LISTEN TO THEIR TESTIMONY FAIRLY?

03:14PM   11                    PROSPECTIVE JUROR:      I BELIEVE EVERYBODY HAS A SHOT

03:14PM   12        TO BE HEARD, AND I'LL GIVE EVERYBODY THAT SHOT.

03:14PM   13               I'VE BEEN IN A POSITION WHERE I NEEDED MY PEERS TO HEAR

03:14PM   14        ME, SO I'M HAPPY TO DO THE SAME FOR OTHERS.

03:14PM   15                    MR. SCHENK:    RIGHT.   THANK YOU VERY MUCH.   I

03:14PM   16        APPRECIATE IT.

03:14PM   17               THANK YOU, YOUR HONOR.

03:14PM   18               NO FURTHER QUESTIONS.

03:14PM   19                    THE COURT:    MR. DOWNEY.

03:14PM   20                    MR. DOWNEY:    GOOD AFTERNOON, LADIES AND GENTLEMEN.

03:14PM   21        I HAVE A FEW QUESTIONS FOR THE PANEL AND THEN A FEW QUESTIONS

03:14PM   22        FOR A COUPLE OF YOU INDIVIDUALLY.

03:14PM   23               FIRST, I WANT TO ASK ABOUT THE MEDIA ISSUES THAT YOU WERE

03:15PM   24        TALKING ABOUT THIS MORNING WITH JUDGE DAVILA.

03:15PM   25               DURING THE COURSE OF THE TRIAL, AS JUDGE DAVILA SAID, YOU



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03:15PM    1        WILL BE INSTRUCTED NOT TO VIEW MEDIA THAT IS EITHER ABOUT THIS

03:15PM    2        TRIAL OR ABOUT THE EVENTS THAT THIS TRIAL CONCERNS.

03:15PM    3             WOULD ANYONE WHO FEELS LIKE THEY MIGHT NOT BE ABLE TO

03:15PM    4        COMPLY WITH THAT INSTRUCTION RAISE THEIR HAND?      IS THERE ANYONE

03:15PM    5        WHO FEELS LIKE THAT WILL BE HARD?

03:15PM    6             YES, MA'AM.    WHAT IS YOUR JUROR NUMBER?

03:15PM    7                   THE COURT:    THIS IS MS. QUINTANILLA.

03:15PM    8             JUST A SECOND, MS. QUINTANILLA.     WE'RE GOING TO GET THE

03:15PM    9        MICROPHONE TO YOU SO YOU CAN BE HEARD.

03:16PM   10                   PROSPECTIVE JUROR:     I JUST HAVE A QUESTION FOR YOU

03:16PM   11        GUYS.   I LIVE WITH MY HUSBAND AND TWO KIDS, AND THEY'RE ADULT

03:16PM   12        KIDS.   AND LIKE THE EXAMPLE I GAVE THIS MORNING IS WHERE I'M

03:16PM   13        COOKING DINNER AND THEY HAVE THE NEWS ON AND IT CAME ON.

03:16PM   14             MY CONCERN IS THAT I DON'T LIVE BY MYSELF AND I CANNOT

03:16PM   15        TURN THE T.V. OFF FOR THE WHOLE DAY, AND I CAN ALSO NOT

03:16PM   16        RESTRICT THEM TO HAVE A LIFE WHILE THE TRIAL GOES ON.       SO I

03:16PM   17        WILL HAVE TO BE HONEST, AND I WILL HAVE TO SAY THAT I WILL

03:16PM   18        CONTINUE TO LET THEM LIVE THEIR LIVES.

03:16PM   19             AND IF I AM CHOSEN, I WILL BE GOOD AND LIKE TRY NOT TO GET

03:16PM   20        ANY INFORMATION, BUT I LIVE WITH THREE OTHER INDIVIDUALS.          AND

03:16PM   21        IF THEY TURN ON THE T.V., I CAN WALK OUT OF THE ROOM, BUT THE

03:16PM   22        PAPER WILL BE THERE.     AND I JUST WANT TO PUT IT OUT THERE.

03:17PM   23                   MR. DOWNEY:    WELL, I CAN UNDERSTAND.

03:17PM   24             DO YOU THINK YOU'LL BE ABLE TO DO, WHEN THE CASE GOES ON,

03:17PM   25        DO YOU THINK YOU'LL BE ABLE TO DO WHAT YOU DID YESTERDAY AND



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03:17PM    1        THIS MORNING AND JUST WALK AWAY OR NOT LISTEN TO THE STORY?

03:17PM    2                     PROSPECTIVE JUROR:   YES, BUT IT WILL BE THERE.       THE

03:17PM    3        NEWSPAPER WILL BE THERE SUNDAY MORNINGS, AND I MIGHT TURN

03:17PM    4        AROUND, AND IT MIGHT BE THERE.     AND SO I JUST WANT TO HAVE A

03:17PM    5        DISCLAIMER THAT THE LIGHT WILL GO ON IN MY HOUSEHOLD LIKE

03:17PM    6        NORMAL, AND I WILL DO MY BEST IF CHOSEN TO NOT TO LOOK, NOT TO

03:17PM    7        READ, TO WALK AWAY, BUT IT WILL BE THERE.

03:17PM    8                     MR. DOWNEY:   THANK YOU, MA'AM, FOR BEING HONEST.

03:17PM    9             IS THERE ANYONE ELSE WHO FEELS LIKE THEY'LL HAVE

03:17PM   10        DIFFICULTY STAYING AWAY FROM MEDIA COVERAGE IN THE CASE?

03:17PM   11             MR. BUI.

03:17PM   12                     PROSPECTIVE JUROR:   HELLO.   SORRY.   I FEEL LIKE I

03:17PM   13        KEEP GETTING THE MIKE NOW.

03:18PM   14             (LAUGHTER.)

03:18PM   15                     PROSPECTIVE JUROR:   SO A LOT OF MY JUST DAY TO DAY

03:18PM   16        IS JUST OBSERVING INFORMATION FROM THE SOCIAL MEDIA AND SHARING

03:18PM   17        MY THOUGHTS, MY OPINIONS.

03:18PM   18             MOVING FORWARD, I WOULD DO MY BEST TO AVOID ANY

03:18PM   19        INFORMATION OF THIS CASE, BUT I WOULDN'T BE ABLE TO SAY, LIKE,

03:18PM   20        IT WON'T POP UP AND I MIGHT BE A LITTLE TEMPTED TO KNOW WHAT IS

03:18PM   21        HAPPENING.

03:18PM   22             AND ALSO, IF SOMEONE WERE TO COME UP TO ME AND TALK ABOUT

03:18PM   23        IT OR ANYTHING, I'D HAVE TO WALK AWAY FROM THE SITUATION.          IT

03:18PM   24        MAY BE WEIRD, I DON'T KNOW.

03:18PM   25             BUT THAT'S SOME OF THE THOUGHTS THAT ARE KIND OF GOING



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03:18PM    1        THROUGH MY HEAD WHEN THINKING ABOUT CONSUMING MEDIA.

03:18PM    2                     MR. DOWNEY:    IS THERE ANYONE ELSE WHO ALSO FEELS

03:18PM    3        LIKE IT MIGHT BE DIFFICULT FOR THEM TO AVOID MEDIA ABOUT THE

03:18PM    4        CASE?

03:18PM    5             I WANT TO ASK YOU A COUPLE OF QUESTIONS ABOUT THE

03:19PM    6        PRESUMPTION OF INNOCENCE.

03:19PM    7             JUDGE DAVILA GAVE YOU AN INSTRUCTION TODAY AND TALKED TO

03:19PM    8        YOU AT SOME LENGTH ABOUT THE PRESUMPTION OF INNOCENCE, AND

03:19PM    9        THAT'S AN IMPORTANT PRINCIPLE FOR ALL OF THE PARTIES REALLY,

03:19PM   10        FOR THE GOVERNMENT AND FOR THE DEFENSE, AND CERTAINLY FOR THE

03:19PM   11        COURT.

03:19PM   12             BUT I KNOW SOMETIMES DESPITE THE FACT THAT THAT'S AN

03:19PM   13        IMPORTANT PRINCIPLE IN OUR SYSTEM, PEOPLE CAN SOMETIMES FELL

03:19PM   14        LIKE THEY'LL HAVE DIFFICULTY ADHERING TO THAT INSTRUCTION.

03:19PM   15             WOULD THE PEOPLE WHO FEEL LIKE THEY MIGHT HAVE SOME

03:19PM   16        DIFFICULTY MAINTAINING A PRESUMPTION OF INNOCENCE PLEASE RAISE

03:19PM   17        YOUR HAND?

03:19PM   18             DOES EVERYONE FEEL LIKE, IN CONNECTION WITH THIS CASE,

03:19PM   19        THAT YOU CAN GRANT THAT PRESUMPTION TO MS. HOLMES?

03:19PM   20                     THE COURT:    MR. DOWNEY, THE RECORD SHOULD REFLECT AS

03:20PM   21        TO YOUR FIRST QUESTION THERE WERE NO HANDS.

03:20PM   22                     MR. DOWNEY:    THANK YOU, YOUR HONOR.

03:20PM   23             I BELIEVE THAT'S THE SAME CASE WITH RESPECT TO THE SECOND

03:20PM   24        QUESTION, THERE WERE NO HANDS.

03:20PM   25             I WANT TO ASK YOU ALSO, A FEW OF YOU INDIVIDUALLY, ABOUT



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03:20PM    1        REPORTS TO LAW ENFORCEMENT THAT YOU MAY HAVE GIVEN IN THE PAST.

03:20PM    2              MR. MURPHY, JUROR 130, YOU REFERENCED ON YOUR

03:20PM    3        QUESTIONNAIRE A MATTER THAT YOU PREFERRED TO DISCUSS WITH THE

03:20PM    4        COURT IN PRIVATE, AND I DON'T WANT TO ASK YOU ABOUT THAT.

03:20PM    5             IS THAT THE MATTER THAT WE ALREADY DISCUSSED OR WAS THERE

03:20PM    6        ANOTHER MATTER THAT YOU THOUGHT WAS AN INCIDENT OF YOU

03:20PM    7        REPORTING SOMETHING EITHER AS A WHISTLEBLOWER OR IN CONNECTION

03:20PM    8        WITH WRONGDOING BY SOMEONE ELSE?

03:20PM    9                     PROSPECTIVE JUROR:    IT WAS THE MATTER WE ALREADY

03:20PM   10        DISCUSSED.

03:20PM   11             I'M SORRY.    IT WAS THE MATTER WE ALREADY DISCUSSED RELATED

03:21PM   12        TO MY ROLE AS THE WHISTLEBLOWER PROGRAM MANAGER.

03:21PM   13                     MR. DOWNEY:   OKAY.   THANK YOU, MR. MURPHY.

03:21PM   14             LAST QUESTION FOR THE PANEL IS THIS:      IT CAN BE THE CASE,

03:21PM   15        I THINK, PARTICULARLY WITH SO MUCH EXPOSURE TO MEDIA THROUGH

03:21PM   16        OUR IPHONES, THROUGH CONVERSATIONS WITH OTHERS WHO HAVE BEEN

03:21PM   17        EXPOSED TO MEDIA TO THINK THAT WHAT THE MEDIA SAYS AND WHAT THE

03:21PM   18        MEDIA REPORTS IS ACCURATE.

03:21PM   19             AS YOU KNOW, THERE'S BEEN A LOT OF MEDIA IN THIS CASE.

03:21PM   20        YOU'VE GATHERED THAT FROM FILLING OUT THE QUESTIONNAIRES.          MANY

03:21PM   21        OF YOU HAVE IN SOME SMALL SENSE HAVE BEEN EXPOSED TO.

03:21PM   22             IS THERE ANYONE WHO FEELS THAT BECAUSE THERE'S BEEN

03:21PM   23        SUBSTANTIAL MEDIA COVERAGE OF MS. HOLMES AND SOME OF THE ISSUES

03:21PM   24        THAT WILL BE INVOLVED IN THE TRIAL, THAT THAT MIGHT INDICATE

03:21PM   25        THAT SHE IS GUILTY OF SOME OFFENSE?



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03:22PM    1             I SEE NO HANDS IN RESPONSE TO THAT QUESTION.

03:22PM    2             THANK YOU FOR YOUR OPEN MINDEDNESS.       THANK YOU FOR YOUR

03:22PM    3        PATIENCE TODAY.   THANK YOU FOR COMING DOWN TO FILL OUT THE

03:22PM    4        QUESTIONNAIRE IN THE MIDST OF A PANDEMIC.

03:22PM    5             THANK YOU, YOUR HONOR.

03:22PM    6                    THE COURT:    THANK YOU.

03:22PM    7             ANY FURTHER QUESTIONS, MR. SCHENK?

03:22PM    8                    MR. SCHENK:    NO, YOUR HONOR.

03:22PM    9                    THE COURT:    LET ME ASK BEFORE WE BREAK, DOES THE

03:22PM   10        GOVERNMENT PASS FOR CAUSE?

03:22PM   11                    MR. SCHENK:    YES, YOUR HONOR.

03:22PM   12                    THE COURT:    MR. DOWNEY?

03:22PM   13                    MR. DOWNEY:    THERE ARE A COUPLE OF SITUATIONS WE

03:22PM   14        WANT TO DISCUSS, YOUR HONOR.

03:22PM   15                    THE COURT:    THANK YOU.    LET'S TAKE OUR BREAK NOW,

03:22PM   16        LADIES AND GENTLEMEN.      LET'S TAKE A 30 MINUTE BREAK, PLEASE,

03:22PM   17        30 MINUTES.   WE HOPE WE CAN GET YOU BACK UP HERE BY THE TOP OF

03:22PM   18        THE HOUR.

03:22PM   19             AGAIN, THE ADMONITION NOT TO DISCUSS ANYTHING WITH ANYONE

03:22PM   20        AND NOT TO READ ANYTHING ABOUT THIS CASE TO DO WITH IT REMAINS

03:22PM   21        IN PLACE.   THANK YOU.

03:22PM   22             WE'LL SEE YOU IN 30 MINUTES.       YOU SHOULD GO DOWNSTAIRS.

03:22PM   23        COLLECT YOURSELVES IN THE JURY ASSEMBLY ROOM.

03:23PM   24             MR. MURPHY, WE WILL GET THAT FROM YOU.        THANK YOU.

03:23PM   25             (PROSPECTIVE JURY PANEL OUT AT 3:23 P.M.)



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03:23PM    1                    THE COURT:    ALL RIGHT.    THANK YOU.

03:23PM    2             THE RECORD SHOULD REFLECT OUR PROSPECTIVE JURY PANEL HAS

03:23PM    3        LEFT THE COURTROOM.      ALL OTHER PARTIES REMAIN.    PLEASE BE

03:23PM    4        SEATED.    THANK YOU.

03:23PM    5             MR. DOWNEY, I'D LIKE TO HAVE A DISCUSSION ABOUT SOME OF

03:23PM    6        THE JURORS HERE, AND IF YOU, IF YOU OR ANY OF YOUR PARTY NEED

03:23PM    7        TO TAKE A BREAK AND YOU WANT TO INDICATE ON THE RECORD THAT YOU

03:23PM    8        CAN PROCEED, FOR EXAMPLE, WITHOUT YOUR COLLEAGUES'S PRESENCE,

03:24PM    9        I'M HAPPY TO RECEIVE THAT.

03:24PM   10                    MR. DOWNEY:    CERTAINLY, YOUR HONOR.

03:24PM   11             I THINK AS TO MS. HOLMES THIS IS EFFECTIVELY A SIDE-BAR

03:24PM   12        AND WE HAVE THAT SITUATION COVERED, SO PERHAPS WE COULD

03:24PM   13        PROCEED.

03:24PM   14                    THE COURT:    WITH HER BEING PRESENT?

03:24PM   15                    MR. DOWNEY:    NO.     SHE COULD BE DISMISSED, AND THEN

03:24PM   16        WE CAN PROCEED.

03:24PM   17                    THE COURT:    THAT'S WHAT I WAS ASKING.    THANK YOU.

03:24PM   18             ALL RIGHT.   IF YOU AGREE WITH THAT, THAT SHE CAN BE

03:24PM   19        DISMISSED FOR THE PURPOSES OF THIS CONVERSATION, WE'LL

03:24PM   20        CERTAINLY PERMIT THAT, OR ANYONE ELSE OF YOUR TEAM WHO WANTS TO

03:24PM   21        LEAVE THE COURTROOM, YOU CAN CERTAINLY DO THAT NOW IF YOU WOULD

03:24PM   22        LIKE.

03:24PM   23             FIRST I'D LIKE TO READ THESE COLLECTIVELY.

03:25PM   24             155 IS MS. MARTINEZ, SHE'S A TEACHER.        SHE SUGGESTED

03:25PM   25        STAFFING ISSUES THAT WOULD COMPROMISE HER EMPLOYMENT.



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03:25PM    1             143 IS A TEACHER AT A NONPROFIT, AND SHE ALSO EXPRESSED

03:25PM    2        SIMILAR CONCERNS.

03:25PM    3             108, GONZALEZ, ALSO EXPRESSED CONCERNS.        SHE'S A TEACHER.

03:25PM    4             166 IS MR. PERALTA.     HE TALKED TO US ABOUT HIS MEDICAL

03:25PM    5        CONDITION AND FINANCES.

03:25PM    6             THEN 157, MR. BUI, WHO TALKS TO US ABOUT FINANCES AND HIS

03:25PM    7        CONCERNS.

03:25PM    8             ANY THOUGHTS ABOUT THESE RESPECTIVE JURORS?

03:25PM    9                    MR. SCHENK:    NO OBJECTION TO DISMISSING THIS GROUP.

03:25PM   10                    MR. DOWNEY:    NO OBJECTION, YOUR HONOR.

03:25PM   11                    THE COURT:    ALL RIGHT.   THANK YOU.

03:26PM   12             SO THE COURT WILL, AS TO 155, MS. MARTINEZ, WE WILL EXCUSE

03:26PM   13        HER FOR HARDSHIP, AND SAME AS TO 143, AND SAME AS TO JUROR 108,

03:26PM   14        AND SAME AS TO 157, AND THE SAME AS TO JUROR 166.       THEY ARE

03:26PM   15        EXCUSED FOR HARDSHIP AND FINANCIAL REASONS.

03:26PM   16             MR. DOWNEY, WHAT DOES THAT DO TO THE POOL OF FOLKS THAT

03:26PM   17        YOU'D LIKE TO SPEAK ABOUT?

03:26PM   18                    MR. DOWNEY:    YOUR HONOR, WITH REGARD TO JUROR

03:26PM   19        NUMBER 154, I THINK HER ADMITTED PREFERENCE FOR TESTIMONY OF

03:27PM   20        CERTAIN LAW ENFORCEMENT OFFICERS COUPLED WITH THE TESTIMONY OF

03:27PM   21        DOCTORS INDICATED A BIAS THAT COULD POTENTIALLY BE MEANINGFUL

03:27PM   22        IN CONNECTION WITH THE CASE.

03:27PM   23             SHE ALSO INDICATED WHEN SHE FILLED OUT HER QUESTIONNAIRE A

03:27PM   24        FAIR DEGREE OF BIAS TOWARDS THE GOVERNMENT GENERALLY IN

03:27PM   25        CRIMINAL CASES.   FOR EXAMPLE, SHE WROTE IN HER QUESTIONNAIRE



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03:27PM    1        "USUALLY THE ACCUSED IS GUILTY," AND IN RESPONSE TO

03:27PM    2        QUESTION 57.

03:27PM    3             AND IN RESPONSE TO QUESTION 58 WHEN ASKED IF SHE BELIEVED

03:27PM    4        A DEFENDANT HAD AN OBLIGATION TO PROVE THEIR INNOCENCE SHE

03:27PM    5        WROTE, "IF THEY'RE NOT GUILTY, WHY ARE THEY ACCUSED?         WHAT DID

03:28PM    6        THEY DO TO MAKE THEM SEEM GUILTY?"

03:28PM    7             I THINK, YOUR HONOR, THERE'S A BIAS ISSUE GENERALLY

03:28PM    8        AGAINST CRIMINAL DEFENDANTS THERE, AND WE WOULD ASK FOR HER

03:28PM    9        DISMISSAL.

03:28PM   10                     MR. SCHENK:    NO OBJECTION.

03:28PM   11                     THE COURT:    ALL RIGHT.   THANK YOU.

03:28PM   12             NOTWITHSTANDING THE FACT THAT WHEN THE COURT ASKED THE

03:28PM   13        QUESTION OF WHETHER THERE WAS ANYONE WHO PARTED COMPANY WITH

03:28PM   14        THE PRESUMPTION OF INNOCENCE, FIFTH AMENDMENT PRIVILEGE NOT TO

03:28PM   15        TESTIFY, SHE DID NOT RAISE HER HAND TO THOSE QUESTIONS.        BUT I

03:28PM   16        HAVE REFERENCED HER QUESTIONNAIRE, HER RESPONSE TO QUESTIONS BY

03:28PM   17        MR. SCHENK IN REGARDS TO MEDICAL INDIVIDUALS AND OTHERS WHO

03:28PM   18        MIGHT TESTIFY ABOUT OTHER ISSUES.

03:28PM   19             I WILL STRIKE HER FOR CAUSE.       IT'S APPROPRIATE.

03:28PM   20             ANYONE ELSE?    MR. DOWNEY?

03:28PM   21                     MR. DOWNEY:    I BEG YOUR PARDON, YOUR HONOR.    LET ME

03:28PM   22        JUST GET ORIENTED AS TO MY CHART.

03:30PM   23             (PAUSE IN PROCEEDINGS.)

03:30PM   24                     MR. DOWNEY:    YOUR HONOR, I WOULDN'T WANT TO -- NEED

03:30PM   25        AN ADJOURNMENT IN CONNECTION WITH THE TRIAL IN CONNECTION WITH



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03:30PM    1        JUROR NUMBER 133 OF CONFLICT WITH CERTAIN TRIAL DATES.

03:30PM    2             (PAUSE IN PROCEEDINGS.)

03:30PM    3                   THE COURT:    HIS -- HE HAS WEDDINGS TO ATTEND, AND I

03:30PM    4        THINK A WEDDING WAS THE 21ST OF DECEMBER AND THE ONE IN HAWAII

03:30PM    5        REQUIRES HIM TO LEAVE ON A -- ON THE 3RD.      THE WEDDING IS ON

03:30PM    6        THE 4TH.

03:30PM    7             WE NEGLECTED TO ASK HIM IF HE WOULD BE RETURNING SHORTLY

03:30PM    8        AFTER THE WEDDING.    I'M NOT GOING TO EXCUSE HIM NOW.

03:31PM    9             LET ME SAY, I HAVE CONFIDENCE -- I TOLD THE JURORS THAT IT

03:31PM   10        MAY GO INTO DECEMBER.     AS YOU KNOW, OUR SCHEDULE I THINK NOW IS

03:31PM   11        INTO LATE NOVEMBER.     I HAVE CONFIDENCE THAT COUNSEL ARE GOING

03:31PM   12        TO, WITH THE ASSISTANCE OF THE COURT, EFFICIENTLY PRODUCE THE

03:31PM   13        EVIDENCE IN THE CASE SUCH THAT THAT WON'T BE AN ISSUE.

03:31PM   14             SO THANK YOU FOR RAISING THAT THOUGH.

03:31PM   15                   MR. SCHENK:    YOUR HONOR, JUROR 134 IN RESPONSE TO A

03:31PM   16        QUESTION THAT I ASKED ABOUT THE ABILITY TO HEAR EVIDENCE DURING

03:31PM   17        TRIAL ABOUT DOMESTIC VIOLENCE OR IPV SAID SOMETHING I THINK

03:31PM   18        THAT WAS SIMILAR TO A JUROR WE JUST EXCUSED.

03:31PM   19             AND YOU TAKE THE WORST NOTES WHEN YOU'RE ASKING THE

03:31PM   20        QUESTION, SO I'M HONESTLY NOT POSITIVE -- I CAN'T QUOTE WHAT

03:31PM   21        SHE SAID, BUT MY RECOLLECTION IS THAT IT'S SOMETHING LIKE IT'S

03:31PM   22        VERY DIFFICULT FOR ME TO HEAR WHEN A WEAKER INDIVIDUAL OR

03:31PM   23        SOMEONE ELSE IS BEING PUT IN A VULNERABLE POSITION.

03:32PM   24             IT AT LEAST STRIKES ME AS AN INDIVIDUAL WORTH A DISCUSSION

03:32PM   25        ABOUT, WHETHER HER COMMENTS WERE SIMILAR ENOUGH TO MS. KEHN, I



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03:32PM    1        THINK.

03:32PM    2                    THE COURT:    MS. LARUE AND MS. KEHN, YES.

03:32PM    3               MR. DOWNEY?

03:32PM    4                    MR. DOWNEY:    YOUR HONOR, I WOULDN'T BE INCLINED TO

03:32PM    5        DISMISS HER ON A CAUSE BASIS.

03:32PM    6               I UNDERSTAND THE STATEMENTS THAT SHE MADE, AND I

03:32PM    7        UNDERSTAND THAT WHAT SHE SAID ABOUT THE TESTIMONY, BUT I DON'T

03:32PM    8        THINK THAT'S JUSTIFICATION FOR AN EXCUSAL.

03:32PM    9               I UNDERSTAND THAT DIFFERENT JURORS WILL HAVE DIFFERENT

03:32PM   10        REACTIONS TO DIFFERENT KINDS.

03:32PM   11                    THE COURT:    WELL, SHE SAID SHE HAS STRONG OPINIONS

03:32PM   12        ABOUT THE WEAKER PERSON AND THEN SHE QUALIFIED THAT OR EXPANDED

03:32PM   13        THAT BY SAYING IT DOESN'T MATTER IF IT'S A MAN OR A WOMAN I

03:32PM   14        THINK IS WHAT SHE SAID.

03:32PM   15                    MR. DOWNEY:    THAT'S RIGHT.

03:32PM   16                    THE COURT:    AND I WROTE DOWN THAT SHE SAID, "I CAN'T

03:33PM   17        ABIDE BY IT."

03:33PM   18                    MR. DOWNEY:    RIGHT.

03:33PM   19                    THE COURT:    IS THAT WHAT YOU'RE REFERRING TO,

03:33PM   20        MR. SCHENK?

03:33PM   21                    MR. SCHENK:    YES, YOUR HONOR.

03:33PM   22                    THE COURT:    AND IT SOUNDS TO ME -- OF COURSE, WE

03:33PM   23        DON'T KNOW WHETHER OR NOT THERE WILL BE ANY TESTIMONY THAT

03:33PM   24        AFFECTS THIS OPINION IN THE CASE.      SHE EXPRESSED THIS OPINION

03:33PM   25        NOW.



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03:33PM    1               I DON'T THINK IT RISES TO A CAUSE CHALLENGE AT THIS POINT.

03:33PM    2                    MR. DOWNEY:    I AGREE, YOUR HONOR.

03:33PM    3                    THE COURT:    SO THANK YOU.

03:33PM    4               ANYTHING ELSE, MR. DOWNEY?

03:33PM    5                    MR. DOWNEY:    NO, YOUR HONOR.    I THINK I'VE EXHAUSTED

03:33PM    6        IT.

03:33PM    7                    THE COURT:    OKAY.

03:33PM    8                    MR. SCHENK:    BRIEFLY, ONE THING.     I WANT TO CONTINUE

03:33PM    9        TO MAKE A RECORD ON THIS ISSUE, YOUR HONOR.

03:33PM   10               WE CAME BACK FROM LUNCH TODAY, AND THE DEFENSE RAISED FIVE

03:33PM   11        POTENTIAL HARDSHIPS FOR THE COURT:        117, 121, 142, 143, AND

03:34PM   12        145.    I BELIEVE ALL OF THOSE WERE NON-WHITE JURORS.

03:34PM   13               I THEN STOOD UP AND NOTED FOR THE COURT THAT I THOUGHT

03:34PM   14        MR. BREKKE, WHO IS JUROR 127, ALSO CHECKED YES TO QUESTION

03:34PM   15        NUMBER 1 THAT HE HAD A HARDSHIP.

03:34PM   16               I WOULD ALSO NOTE FOR THE COURT THAT JUROR 130,

03:34PM   17        MR. MURPHY, DID NOT CHECK YES FOR QUESTION NUMBER 1, HE CHECKED

03:34PM   18        NO, BUT THEN HE WROTE A LENGTHY DESCRIPTION IN THERE ON A BASIS

03:34PM   19        FOR A HARDSHIP.

03:34PM   20               I WANT TO CONTINUE TO DEVELOP THE RECORD ON THIS CASE IN

03:34PM   21        CASE IT BECOMES AN ISSUE AS WE MOVE TO THE PEREMPTORY

03:34PM   22        CHALLENGES, YOUR HONOR.

03:34PM   23                    THE COURT:    THANK YOU.   YOU'RE NOT MAKING ANY MOTION

03:34PM   24        AT THIS POINT TIMING WISE?

03:34PM   25                    MR. SCHENK:    I AM NOT.



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03:34PM    1                   THE COURT:    ALL RIGHT.    ANY COMMENT ON THAT?

03:34PM    2                   MR. DOWNEY:    YOUR HONOR, WE HAVE CONSENTED TO THE

03:34PM    3        DISMISSAL OF EVERY JUROR OF ANY RACE WHO HAS A REASONABLE

03:34PM    4        HARDSHIP REQUEST.

03:34PM    5             WE'VE PROPOSED IT OVER THE GOVERNMENT'S OPPOSITION, AS THE

03:34PM    6        COURT KNOWS, PRIOR TO THEM BEING FORCED TO COME DOWN HERE FOR

03:35PM    7        JURY SERVICE IN MANY INSTANCES.       SO I, I JUST WANT TO

03:35PM    8        DISASSOCIATE MYSELF IN STRONG TERMS FROM MR. SCHENK'S COMMENTS.

03:35PM    9                   THE COURT:    ALL RIGHT.    THANK YOU.

03:35PM   10             AND THERE WERE SOME OF THESE THAT WERE RAISED.       I KNOW YOU

03:35PM   11        SAID "FORCED TO COME DOWN."       THERE WERE SOME OF THESE THAT WERE

03:35PM   12        RAISED THAT WE NEEDED SOME ADDITIONAL INFORMATION ON.

03:35PM   13                   MR. DOWNEY:    YOUR HONOR, I AGREE WITH THOSE.     I

03:35PM   14        THINK OTHERS WE EXCUSED ON THE BASIS THAT WAS ARTICULATED IN

03:35PM   15        THE QUESTIONNAIRE WITHOUT MUCH ADDITIONAL INQUIRY, BUT I THINK

03:35PM   16        THE RECORD IS QUITE CLEAR OUR RAISING HARDSHIP REQUESTS WITHOUT

03:35PM   17        BEING TACTICAL, WHEREAS THE GOVERNMENT HAS WAITED TO SEE THE

03:35PM   18        JURORS FIRST.

03:35PM   19                   THE COURT:    ALL RIGHT.    THANK YOU.

03:35PM   20             WELL, LET'S TAKE A BREAK.      MY SENSE IS THAT -- DO YOU

03:35PM   21        OTHERWISE PASS FOR CAUSE THEN, SIR?

03:35PM   22                   MR. DOWNEY:    I DO, YOUR HONOR.    YES.

03:35PM   23                   THE COURT:    ALL RIGHT.    THANK YOU.

03:35PM   24             ANY FURTHER CHALLENGES FROM THE DEFENSE?

03:36PM   25                   MR. DOWNEY:    NO, YOUR HONOR.



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03:36PM    1                    THE COURT:    FOR CAUSE CHALLENGES?

03:36PM    2                    MR. DOWNEY:    NO FOR CAUSE CHALLENGES.

03:36PM    3                    THE COURT:    ALL RIGHT.

03:36PM    4                    MR. SCHENK:    NO, YOUR HONOR.

03:36PM    5                    THE COURT:    IT SEEMS LIKE WHEN WE CAN CALL THE JURY

03:36PM    6        BACK, IT SOUNDS LIKE IT'S THE TIMING NOW IS TO BEGIN JURY

03:36PM    7        SELECTION PROPER, THAT IS, TO HAVE THE SIDES ENGAGE IN

03:36PM    8        EXERCISES, ANY PEREMPTORY CHALLENGES THAT YOU MIGHT HAVE.

03:36PM    9             YOU'VE BEEN PROVIDED A LIST, A RUNNING LIST I'LL CALL IT.

03:36PM   10                    THE CLERK:    I'LL UPDATE IT.

03:36PM   11                    THE COURT:    YOU'VE BEEN PROVIDED A LIST THAT HAS AT

03:36PM   12        LEAST CURRENTLY THE ROSTER, IF YOU WILL, OF JURORS.       WE WILL

03:36PM   13        NEED TO ADD THIS COMPLEMENT, TODAY'S COMPLEMENT TO THAT PANEL.

03:36PM   14             MY SENSE IS, MY MATH IS, WHICH IS NOT A STRONG SUIT OF

03:36PM   15        MINE, BUT MY MATH SUGGESTS THAT WE WILL HAVE SUFFICIENT NUMBER

03:36PM   16        OF JURORS IN THIS LIST TO SELECT A JURY FOR THE CASE.

03:37PM   17             WOULD YOU AGREE WITH THAT, MR. SCHENK?

03:37PM   18                    MR. SCHENK:    YES, WE DO.

03:37PM   19                    MR. DOWNEY:    I DO, YOUR HONOR.

03:37PM   20                    THE COURT:    OKAY.    THANK YOU.

03:37PM   21             SO COMBINING, USING YESTERDAY'S PANEL WITH TODAY'S PANEL,

03:37PM   22        THAT WILL BE THE UNIVERSE, THE COMBINATION OF THE ROSTER, IF

03:37PM   23        YOU WILL.

03:37PM   24             I'M CURIOUS IF WE SHOULD, IF THIS COURT SHOULD EXCUSE THIS

03:37PM   25        JURY TODAY OR RELEASE THEM, NOT EXCUSE THEM BUT RELEASE THEM



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03:37PM    1        TODAY, IT SEEMS LIKE WE CAN CONDUCT THE SELECTION PROCESS

03:37PM    2        WITHOUT THEM BEING PRESENT BECAUSE WE'RE DRAWING FROM

03:37PM    3        YESTERDAY'S PANEL AS WELL WHO OBVIOUSLY ARE NOT HERE.

03:37PM    4             IF I INFORM OR IF I WERE TO RELEASE THE JURY TODAY OR

03:37PM    5        EXCUSE THEM FOR TODAY WITH THE PROVISO THAT THEY WILL BE

03:37PM    6        CONTACTED SHOULD THEY BE SELECTED OR IF THEY NEED TO RETURN FOR

03:37PM    7        ANY PURPOSE, WE CAN DO THAT AS WELL.

03:37PM    8             WHAT ARE YOUR THOUGHTS ON THAT, MR. SCHENK?

03:38PM    9                     MR. SCHENK:    I THINK THAT MAKES SENSE.   NO

03:38PM   10        OBJECTION.

03:38PM   11                     MR. DOWNEY:    THAT'S FINE, YOUR HONOR.

03:38PM   12                     THE COURT:    AND THIS WILL ALLOW US TO ALSO SELECT

03:38PM   13        THE ALTERNATES THAT WILL NEED TO BE SELECTED AS WELL.        I THINK

03:38PM   14        OUR POOL SUFFICES FOR THAT AS WELL.

03:38PM   15                     MR. DOWNEY:    MY MATH SUGGESTS THAT, BUT I DON'T HAVE

03:38PM   16        MATH AS A STRONG SUIT, EITHER.

03:38PM   17                     THE COURT:    SO LET'S DO THAT THEN.

03:38PM   18             I'LL ASK MS. KRATZMANN TO NOTIFY THE JURY COMMISSIONER

03:38PM   19        DOWNSTAIRS THAT THE -- THAT WE HAVE -- THE COURT HAS EXCUSED

03:38PM   20        THOSE JURORS, THOSE FIVE JURORS THAT WE MENTIONED AND THAT THE

03:38PM   21        BALANCE OF THE PANEL ARE PERMITTED TO LEAVE THE COURT.       THEY'RE

03:38PM   22        NOT, THEY'RE NOT EXCUSED FROM JURY SERVICE, BUT THEY SHOULD,

03:38PM   23        THEY SHOULD JUST WAIT TO HEAR FROM THE COURT SHOULD THEY BE

03:38PM   24        CALLED BACK.

03:38PM   25                     THE CLERK:    YOUR HONOR, CAN I JUST GET



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03:38PM    1        CLARIFICATION?

03:38PM    2             I BELIEVE WE HAD THE FIVE JURORS EXCUSED, BUT JUROR 154,

03:38PM    3        THAT WOULD BE SIX TO BE EXCUSED; IS THAT CORRECT?

03:39PM    4                    THE COURT:    MS. KRATZMANN, I SAID MATH WAS NOT MY

03:39PM    5        STRONG SUIT AND YOU WANTED TO PROVE THAT PUBLICLY, DIDN'T YOU?

03:39PM    6             (LAUGHTER.)

03:39PM    7                    THE COURT:    THAT'S WHAT GOOD CLERKS ARE FOR, THEY

03:39PM    8        KEEP US ON OUR TOES.

03:39PM    9             SO IT LOOKS LIKE IT'S SIX.        I THINK YOUR MATH IS CORRECT.

03:39PM   10        SO THANK YOU FOR THAT, MS. KRATZMANN.

03:39PM   11                    THE CLERK:    THANK YOU.

03:39PM   12                    THE COURT:    SO WHAT WE'LL DO IS INDICATE TO OUR JURY

03:39PM   13        COMMISSIONER DOWNSTAIRS THAT THOSE JURORS WHO HAVE BEEN EXCUSED

03:39PM   14        ARE EXCUSED.

03:39PM   15             THE BALANCE SHOULD WAIT TO HEAR FROM THE COURT.       THE

03:39PM   16        ADMONITION REMAINS IN PLACE AS TO THEM.

03:39PM   17             LET'S SEE WHERE WE GO.        MY SENSE IS THAT WE'RE NOT GOING

03:39PM   18        TO BE ABLE TO -- IF WE SELECT A JURY TODAY, WHICH I'M CONFIDENT

03:39PM   19        WE WILL, WE'RE NOT GOING TO BRING THEM BACK TODAY FOR SWEARING

03:40PM   20        PURPOSES.

03:40PM   21             WHAT ARE YOUR THOUGHTS -- I MENTIONED THIS AT THE BREAK.

03:40PM   22        WHAT ARE YOUR THOUGHTS ABOUT WHEN WE SHOULD SWEAR IN THE PANEL

03:40PM   23        THEN.

03:40PM   24             MR. SCHENK?

03:40PM   25                    MR. SCHENK:    YES, YOUR HONOR.



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03:40PM    1             WE DISCUSSED THIS A WEEK OR TWO AGO, AND THE GOVERNMENT

03:40PM    2        SUGGESTED THAT WE WAIT TO SWEAR THEM IN UNTIL THE WEDNESDAY OF

03:40PM    3        OPENING.

03:40PM    4             THE COURT EXPRESSED A VIEW OR AT LEAST A THOUGHT THAT

03:40PM    5        THERE IS SOMETHING TO BE SAID FOR THE COURT TELLING THE JURY

03:40PM    6        YOU'RE NOW THE JURY, I'M SWEARING YOU IN, DON'T EXPOSE YOURSELF

03:40PM    7        TO ANY MEDIA, DON'T READ ANYTHING.

03:40PM    8             I THINK WHAT WE'VE SEEN OVER THE LAST TWO DAYS IS JURORS

03:40PM    9        HAVE A LOT OF FIDELITY TO THE INSTRUCTION PROVIDED IN THE

03:40PM   10        QUESTIONNAIRE.   THE JURORS TOOK THAT SERIOUSLY.     I THINK WE

03:40PM   11        SHOULD HAVE SOME MEASURE OF COMFORT THAT THE JURORS WILL NOT BE

03:40PM   12        EXPOSED TO ADDITIONAL MEDIA.

03:40PM   13             THE COURT CAN CERTAINLY ASK ON WEDNESDAY MORNING IF ANYONE

03:41PM   14        HAS BEEN EXPOSED TO IT, BUT I DON'T THINK IT'S NECESSARY TO

03:41PM   15        CALL IN THE 17, OR WHATEVER THE NUMBER WOULD BE FOR TOMORROW,

03:41PM   16        THE JURY PLUS THE ALTERNATES, JUST FOR THE PURPOSE OF SWEARING

03:41PM   17        THEM IN.

03:41PM   18             I DON'T NEED TO SAY A LOT ABOUT THE DISRUPTION TO

03:41PM   19        SOMEONE'S DAY OR THEIR LIFE TO COME INTO COURT JUST FOR THAT

03:41PM   20        SHORT PERIOD OF TIME.     I THINK THAT'S ALSO WORTH NOTING, BUT

03:41PM   21        CERTAINLY IF THERE WAS A SIGNIFICANT NEED TO DO IT, THAT

03:41PM   22        WOULDN'T BE AN OBSTACLE.

03:41PM   23                   THE COURT:    OKAY.    THANK YOU.

03:41PM   24                   MR. DOWNEY:    YOUR HONOR, I THINK WE'RE DISRUPTING

03:41PM   25        THESE PEOPLE WHO WILL BE SELECTED, THEIR LIVES A LOT, AND I



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03:41PM    1        RECOGNIZE THAT.

03:41PM    2             IT WOULD BE MY PREFERENCE TO GET A JURY SWORN AS SOON AS

03:41PM    3        IT'S SEATED, BUT I LEAVE IT TO YOUR HONOR TO MAKE THE

03:41PM    4        DETERMINATION.

03:41PM    5                   THE COURT:    ALL RIGHT.   THANK YOU.

03:41PM    6             YOU KNOW, I DON'T KNOW WHAT YOUR COMMENTS ARE OR IF YOU

03:41PM    7        HAVE ANY REGARDING, MR. DOWNEY, REGARDING THE JURY'S RESPONSES

03:41PM    8        TO THE QUESTION ABOUT MEDIA ACCESS.

03:42PM    9             I HAVE TO CONFESS, I'VE BEEN IMPRESSED WITH THEM ALSO.

03:42PM   10        THEY'VE TOLD US THAT THEY HAVE TURNED AWAY, THEY HAVEN'T

03:42PM   11        WATCHED THINGS.

03:42PM   12             MS. QUINTANILLA WAS VERY CANDID ABOUT HER HOUSEHOLD.          SHE

03:42PM   13        IS NOT GOING TO CHANGE THINGS, BUT SHE WILL LEAVE THE ROOM.

03:42PM   14             OTHER JURORS HAVE SAID, NO, I READ THIS.      I THINK ONE

03:42PM   15        JUROR TOLD US I SAW IT ON MY PHONE AND DIDN'T PUSH THE BUTTON,

03:42PM   16        DIDN'T CLICK.

03:42PM   17             I HAVE REMINDED THEM AT EACH BREAK WHAT THEY'RE NOT TO DO,

03:42PM   18        KIND OF A MODIFIED INSTRUCTION OF A PRELIMINARY AND FINAL

03:42PM   19        INSTRUCTION THAT THEY WOULD RECEIVE.

03:42PM   20             AND I, I -- MY SENSE IS THAT THEIR ANSWERS TO MY

03:42PM   21        QUESTIONS, MY OBSERVATIONS HAVE BEEN THAT, AND I SHARE

03:42PM   22        MR. SCHENK'S OBSERVATION, THEY'VE BEEN SINCERE IN THEIR

03:42PM   23        RESPONSES AND UNDERSTANDING THEIR RESPONSIBILITIES AND I

03:42PM   24        APPRECIATE THAT.    THAT'S BEEN -- MY SENSE IS THAT -- LET'S BE

03:42PM   25        CLEAR, THEY KNOW THE MEDIA IS INTERESTED IN THIS CASE, AND



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03:43PM    1        THEY'VE -- WHEN THEY'VE COME IN THE COURTROOM, IT MAY BE -- I

03:43PM    2        DON'T KNOW WHAT THE FRONT DOOR LOOKS LIKE IN THE MORNING, BUT

03:43PM    3        MY SENSE IS THAT THEY'VE QUEUED UP WITH MEDIA AND OTHER

03:43PM    4        INTERESTED PEOPLE.    SO I THINK THEY UNDERSTAND THE IMPORTANCE

03:43PM    5        OF THAT.

03:43PM    6             I DON'T WANT TO DISRUPT.       I DON'T THINK IT'S NECESSARY TO

03:43PM    7        HAIL THEM IN TOMORROW TO BE SWORN IN AND INFORMED.

03:43PM    8             WE WILL INFORM THOSE JURORS WHO ARE SELECTED TODAY TO

03:43PM    9        RETURN WEDNESDAY NEXT, I BELIEVE IT IS THE 8TH, AT LEAST

03:43PM   10        POTENTIALLY AT 9:00 A.M. AT THIS TIME.

03:43PM   11             THAT STARTING TIME MAY ADJUST.       IT DEPENDS, AS I TOLD YOU

03:43PM   12        EARLY ON, THE GEOGRAPHY OF THE RESIDENTS OF OUR JURORS.       I

03:43PM   13        WOULD LIKE TO SEE IF WE COULD START EARLIER TO CAPTURE AS MUCH

03:43PM   14        COURT TIME AS WE CAN.       LET'S SEE WHERE THAT GOES.   BUT LET'S

03:44PM   15        NOT GET AHEAD OF OURSELVES.

03:44PM   16             LET'S TAKE A BREAK.      HOW MUCH TIME WOULD YOU LIKE TO

03:44PM   17        COLLECT YOUR THOUGHTS?

03:44PM   18             I SUPPOSE I WAS TALKING TO MY COURTROOM DEPUTY WHEN I SAID

03:44PM   19        THAT.   LET'S GO TO THE TOP OF THE HOUR, AND WE'LL SEE WHEN WE

03:44PM   20        COME BACK.

03:44PM   21                     THE CLERK:    COURT IS IN RECESS.

03:44PM   22             (RECESS FROM 3:44 P.M. UNTIL 4:19 P.M.)

04:19PM   23                     THE COURT:    THANK YOU.   WE'RE BACK ON THE RECORD.

04:19PM   24        ALL PARTIES PREVIOUSLY PRESENT ARE PRESENT ONCE AGAIN.       OUR

04:19PM   25        PROSPECTIVE PANEL IS NOT PRESENT.



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04:19PM    1             I BELIEVE DURING THE BREAK MS. KRATZMANN HAD AN

04:19PM    2        OPPORTUNITY TO SHARE WITH COUNSEL THE ACCUMULATED, I'LL CALL

04:19PM    3        IT, ROSTER OF POTENTIAL JURORS HERE.

04:19PM    4             LET ME ASK BOTH SIDES WHETHER YOU'VE HAD AN OCCASION TO

04:19PM    5        REVIEW THAT ROSTER AND WHETHER YOU AGREE WITH IT?

04:19PM    6                    MR. SCHENK:    WE HAVE REVIEWED IT, AND IT IS

04:20PM    7        ACCURATE.

04:20PM    8                    MR. DOWNEY:    THE SAME WITH DEFENSE, WE HAVE HAD AN

04:20PM    9        OPPORTUNITY TO GO THROUGH IT AND IT IS ACCURATE.

04:20PM   10                    THE COURT:    THANK YOU.    THANK YOU VERY MUCH.

04:20PM   11             AS I INDICATED AT OUR BREAK, THIS THEN DOES COMPRISE THE

04:20PM   12        UNIVERSE OF JURORS THAT I BELIEVE WOULD ALLOW FOR A JURY TO BE

04:20PM   13        SELECTED IN THIS CASE.

04:20PM   14             I NOTE THE HOUR.      IT'S ABOUT 25 PAST 4:00 O'CLOCK.    WHAT I

04:20PM   15        THINK I WILL DO IS I THINK -- I'VE THOUGHT ABOUT THIS, AND MY

04:20PM   16        SENSE IS THAT IT WILL BE BETTER TO BEGIN THIS JURY SELECTION

04:20PM   17        PROCESS TOMORROW MORNING.

04:20PM   18             WHAT I'D LIKE TO DO, FIRST OF ALL, IS I WILL EXCUSE GROUP

04:20PM   19        NUMBER 3, WHICH WAS THE OTHER GROUP THAT WE WERE GOING TO HAVE

04:20PM   20        TOMORROW IN LIGHT OF THE JURY SERVICE.       IN LIGHT OF THE ROSTER,

04:20PM   21        I DON'T BELIEVE THAT THEY'RE NECESSARY, MATHEMATICALLY

04:20PM   22        NECESSARY, SO I WOULD LIKE TO EXCUSE THEM.

04:20PM   23             ANY COMMENT FROM THE GOVERNMENT, MR. SCHENK, ON THAT?

04:21PM   24                    MR. SCHENK:    NO, YOUR HONOR.

04:21PM   25                    MR. DOWNEY:    WE CONCUR.



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04:21PM    1                   THE COURT:    SO, MADAM CLERK, IF YOU COULD CONTACT

04:21PM    2        THE JURY COMMISSIONER AND INDICATE GROUP 3 WILL NOT BE NEEDED

04:21PM    3        AND THEY'RE EXCUSED FROM FURTHER SERVICE.

04:21PM    4                   THE CLERK:    YES, YOUR HONOR.

04:21PM    5                   THE COURT:    I'LL ALSO ASK YOU, MADAM CLERK, TO

04:21PM    6        NOTIFY THE JURY COMMISSIONER THAT THE 41 PROSPECTIVE JURORS

04:21PM    7        THAT APPEAR IN OUR ROSTER LIST SHOULD BE SUMMONED TOMORROW

04:21PM    8        MORNING.   I'D LIKE THEM TO RETURN TOMORROW MORNING AND LET'S

04:21PM    9        HAVE THEM COME IN AT 9:30.

04:21PM   10             IS THAT POSSIBLE?

04:21PM   11                   THE CLERK:    COME IN OR BE HERE?

04:21PM   12                   THE COURT:    COME IN THE COURTHOUSE AND BE IN THE

04:21PM   13        JURY ASSEMBLY ROOM BY 9:30.

04:21PM   14             I'D LIKE US TO BEGIN THE WORK AT -- IS 9:00 O'CLOCK A GOOD

04:21PM   15        TIME TO DO THAT?    SHOULD WE START EARLIER?

04:21PM   16                   MR. SCHENK:    9:00 O'CLOCK IS FINE.    THANK YOU.

04:21PM   17                   MR. DOWNEY:    WHATEVER YOUR HONOR PREFERS.    9:00

04:22PM   18        O'CLOCK IS FINE.    EARLIER IS FINE.

04:22PM   19                   THE COURT:    LET'S START AT 9:00 O'CLOCK TOMORROW

04:22PM   20        MORNING THEN, AND THAT WILL BE FOR COUNSEL TO ENGAGE ANY

04:22PM   21        PEREMPTORY CHALLENGES THAT YOU MIGHT HAVE AS TO THE FINAL JURY.

04:22PM   22             YOU KNOW THAT PROCESS, WE'VE GIVEN YOU A SHEET, AND I

04:22PM   23        THINK WE'VE GIVEN YOU THE SHEET, AND YOU'LL PASS THAT BACK AND

04:22PM   24        FORTH FROM YOU.

04:22PM   25             AGAIN, IT'S REQUIRED -- BECAUSE THE PROSPECTIVE JURORS



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04:22PM    1        WON'T BE SITTING IN THE BOX, IT REQUIRES YOU TO DO THAT

04:22PM    2        VIRTUALLY WITH THE NOTES AND WITH THE ROSTER THAT WE HAVE.

04:22PM    3        I'LL REMIND YOU AGAIN OF THIS TOMORROW.

04:22PM    4             THE FIRST STRIKES, IF ANY, WILL BE FROM THE FIRST 12 ON

04:22PM    5        THE LIST.    THAT 12 WILL CONTINUE, YOU'LL ROTATE UP AND FILL

04:22PM    6        VIRTUALLY, IF YOU WILL, ANY STRIKES THAT ARE COMPRISED IN THAT.

04:22PM    7             WHICH IS TO SAY THAT YOUR STRIKE, YOUR FIRST STRIKES CAN'T

04:22PM    8        BE JUROR NUMBER 26, JUROR NUMBER 32.        YOU'D HAVE TO STAY IN

04:23PM    9        THAT CONFINE OF 12 AND KEEP THAT ROTATING.

04:23PM   10             ONCE WE DO HAVE AGREEMENT ON THE 12 JURORS, WE WILL THEN

04:23PM   11        MOVE TO THE SELECTION OF ALTERNATE JURORS, AND THAT -- THOSE

04:23PM   12        SELECTIONS WILL COME FROM THE BALANCE OF JURORS WHO ARE

04:23PM   13        REMAINING.    AND THE NEXT FIVE FOLLOWING THAT WILL BE THE

04:23PM   14        DEFAULT, IF YOU WILL, ALTERNATE JURORS, AND THAT WILL COMPRISE

04:23PM   15        THE UNIVERSE OF WHERE YOU'LL BEGIN YOUR SELECTIONS IF THAT

04:23PM   16        MAKES SENSE TO YOU.

04:23PM   17             I HOPE IT DOES.       OKAY.    ANYTHING FURTHER BEFORE WE RETIRE

04:23PM   18        FOR THE EVENING?

04:23PM   19                     MR. SCHENK:    NO.

04:23PM   20                     MR. DOWNEY:    NO, YOUR HONOR.

04:23PM   21                     THE COURT:    ALL RIGHT.    THANK YOU FOR YOUR PATIENCE

04:23PM   22        TODAY.   WE'LL SEE YOU TOMORROW MORNING.

04:23PM   23                     THE CLERK:    COURT IS ADJOURNED FOR THE DAY.

04:23PM   24             (COURT CONCLUDED AT 4:23 P.M.)

          25



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 1

 2

 3                              CERTIFICATE OF REPORTERS

 4

 5

 6

 7               WE, THE UNDERSIGNED OFFICIAL COURT REPORTERS OF THE

 8         UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF

 9         CALIFORNIA, 280 SOUTH FIRST STREET, SAN JOSE, CALIFORNIA, DO

10         HEREBY CERTIFY:

11               THAT THE FOREGOING TRANSCRIPT, CERTIFICATE INCLUSIVE, IS

12         A CORRECT TRANSCRIPT FROM THE RECORD OF PROCEEDINGS IN THE

13         ABOVE-ENTITLED MATTER.

14

15
                                     ______________________________
16                                   IRENE RODRIGUEZ, CSR, CRR
                                     CERTIFICATE NUMBER 8076
17

18
                                     _______________________________
19                                   LEE-ANNE SHORTRIDGE, CSR, CRR
                                     CERTIFICATE NUMBER 9595
20

21                                   DATED:   SEPTEMBER 1, 2021

22

23

24

25



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 1

 2                        UNITED STATES DISTRICT COURT

 3                       NORTHERN DISTRICT OF CALIFORNIA

 4                              SAN JOSE DIVISION

 5
        UNITED STATES OF AMERICA,           )    CR-18-00258-EJD
 6                                          )
                          PLAINTIFF,        )    SAN JOSE, CALIFORNIA
 7                                          )
                   VS.                      )    VOLUME 3
 8                                          )
        ELIZABETH A. HOLMES,                )    SEPTEMBER 2, 2021
 9                                          )
                          DEFENDANT.        )    PAGES 466 - 491
10                                          )

11
                        TRANSCRIPT OF TRIAL PROCEEDINGS
12                   BEFORE THE HONORABLE EDWARD J. DAVILA
                          UNITED STATES DISTRICT JUDGE
13
       A P P E A R A N C E S:
14
       FOR THE PLAINTIFF:       UNITED STATES ATTORNEY'S OFFICE
15                              BY: JOHN C. BOSTIC
                                     JEFFREY B. SCHENK
16                              150 ALMADEN BOULEVARD, SUITE 900
                                SAN JOSE, CALIFORNIA 95113
17
                                BY:  ROBERT S. LEACH
18                                   KELLY VOLKAR
                                1301 CLAY STREET, SUITE 340S
19                              OAKLAND, CALIFORNIA 94612

20           (APPEARANCES CONTINUED ON THE NEXT PAGE.)

21
       OFFICIAL COURT REPORTER:
22                             IRENE L. RODRIGUEZ, CSR, RMR, CRR
                               CERTIFICATE NUMBER 8074
23

24           PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                   TRANSCRIPT PRODUCED WITH COMPUTER
25



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 1
       A P P E A R A N C E S: (CONT'D)
 2

 3     FOR DEFENDANT HOLMES:    WILLIAMS & CONNOLLY LLP
                                BY: KEVIN M. DOWNEY
 4                                   LANCE A. WADE
                                     KATHERINE TREFZ
 5                              725 TWELFTH STREET, N.W.
                                WASHINGTON, D.C. 20005
 6
                                LAW OFFICE OF JOHN D. CLINE
 7                              BY: JOHN D. CLINE
                                ONE EMBARCADERO CENTER, SUITE 500
 8                              SAN FRANCISCO, CALIFORNIA 94111

 9
       ALSO PRESENT:            FEDERAL BUREAU OF INVESTIGATION
10                              BY: ADELAIDA HERNANDEZ

11                              OFFICE OF THE U.S. ATTORNEY
                                BY: LAKISHA HOLLIMAN, PARALEGAL
12                                   MADDI WACHS, PARALEGAL

13

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           1        SAN JOSE, CALIFORNIA                            SEPTEMBER 2, 2021

           2                                P R O C E E D I N G S

09:01AM    3              (COURT CONVENED AT 9:01 A.M.)

09:01AM    4             (JURY OUT AT 9:01 A.M.)

09:01AM    5                   THE COURT:    LET'S GO ON THE RECORD IN OUR MATTER.       I

09:01AM    6        SEE ALL COUNSEL PRESENT.

09:01AM    7             LET'S CAPTURE THE APPEARANCES, PLEASE.

09:01AM    8                   MR. SCHENK:    GOOD MORNING, YOUR HONOR.

09:02AM    9             JEFF SCHENK ON BEHALF UNITED STATES.       WITH ME AT COUNSEL

09:02AM   10        TABLE ARE KELLY VOLKAR, JOHN BOSTIC, ROBERT LEACH, AND SPECIAL

09:02AM   11        AGENT ADDY HERNANDEZ FROM THE FBI.

09:02AM   12                   THE COURT:    THANK YOU.    GOOD MORNING.

09:02AM   13             AND FOR THE DEFENSE?

09:02AM   14                   MR. DOWNEY:    GOOD MORNING, YOUR HONOR.

09:02AM   15             KEVIN DOWNEY FOR MS. HOLMES.      WITH ME ARE MY COLLEAGUES

09:02AM   16        LANCE WADE AND KATHERINE TREFZ.       OUR COCOUNSEL, JOHN CLINE, IS

09:02AM   17        WITH US HERE AS WELL.     AND MS. HOLMES IS PRESENT HERE IN COURT.

09:02AM   18                   THE COURT:    THANK YOU VERY MUCH.

09:02AM   19             (DISCUSSION WITH THE COURT AND CLERK OFF THE RECORD.)

09:02AM   20                   THE COURT:    THANK YOU, COUNSEL, FOR COMING IN THIS

09:02AM   21        MORNING.

09:02AM   22             WHAT I THOUGHT WE WOULD DO IS HAVE A CONVERSATION BEFORE

09:02AM   23        THE JURY -- OUR JURY HAS BEEN SUMMONED FOR 9:30.       WE'LL BRING

09:03AM   24        THEM IN, AND THEN WE CAN BEGIN YOUR JURY SELECTION EXERCISE OF

09:03AM   25        ANY PREEMPTS SHOULD YOU HAVE ANY.



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09:03AM    1             THERE ARE A COUPLE OF THINGS I WANTED TO TALK ABOUT.

09:03AM    2             THERE IS SOMETHING THAT WAS JUST LEARNED RECENTLY -- A

09:03AM    3        COUPLE OF THINGS THAT WERE LEARNED RECENTLY.

09:03AM    4             BUT, MR. SCHENK, WHAT ARE THE THINGS YOU WOULD LIKE TO

09:03AM    5        BRING TO THE COURT'S ATTENTION?

09:03AM    6                    MR. SCHENK:    YES.    THANK YOU, YOUR HONOR.

09:03AM    7             THERE ARE TWO JURORS THAT HAVE COME TO THE GOVERNMENT'S

09:03AM    8        ATTENTION THAT MAY NOT BE GREAT JURORS FOR THIS TRIAL.        I

09:03AM    9        RAISED IT WITH THE DEFENSE, AND I THINK WE AGREE THAT BOTH

09:03AM   10        SHOULD BE EXCUSED.    AND I CAN GO THROUGH EACH ONE FOR

09:03AM   11        YOUR HONOR INDIVIDUALLY IF THAT'S THE WAY THAT YOUR HONOR WOULD

09:03AM   12        LIKE TO PROCEED.

09:03AM   13                    THE COURT:    WHY DON'T WE DO THAT, PLEASE.

09:03AM   14                    MR. SCHENK:    JUROR 113 PROVIDED AN ANSWER ON HIS

09:03AM   15        QUESTIONNAIRE TO I THINK IT WAS QUESTION NUMBER 50.         THAT

09:03AM   16        ANSWER SUGGESTED THAT HE OR SOMEONE HE KNEW MAY HAVE BEEN

09:03AM   17        ARRESTED.

09:03AM   18             THE COURT ASKED A COUPLE OF QUESTIONS DURING ITS COURT

09:04AM   19        CONDUCTED VOIR DIRE YESTERDAY.       ONE QUESTION ON PAGE 396 OF THE

09:04AM   20        TRANSCRIPT AND ANOTHER ON PAGE 2 -- I'M SORRY, 424 OF THE

09:04AM   21        TRANSCRIPT THAT I THINK WOULD HAVE ELICITED FURTHER INFORMATION

09:04AM   22        REGARDING THIS PRIOR.

09:04AM   23             THE JUROR REMAINED SILENT DURING THAT QUESTIONING, AND

09:04AM   24        THAT CAUSES SOME CONCERN OBVIOUSLY ON THE GOVERNMENT'S PART,

09:04AM   25        AND I DON'T WANT TO SPEAK FOR THE DEFENSE BUT I THINK ON THE



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09:04AM    1        DEFENSE'S PART AS WELL.

09:04AM    2             WHILE THE COURT CERTAINLY COULD BRING THE JUROR UP AND ASK

09:04AM    3        FURTHER QUESTIONS, I THINK WE HAVE SUFFICIENT INFORMATION THAT

09:04AM    4        BOTH SIDES FEEL COMFORTABLE EXCUSING THE JUROR AT THIS POINT,

09:04AM    5        BUT OBVIOUSLY WE WOULD DEFER TO THE COURT ON HOW THE COURT

09:04AM    6        WOULD LIKE TO HANDLE THAT ONE.

09:04AM    7                     THE COURT:    THANK YOU.

09:04AM    8                     MR. DOWNEY:    YOUR HONOR, WE BELIEVE THE JUROR CAN BE

09:04AM    9        DISMISSED AT THIS POINT.      IT MAY BE THAT THE JUROR IS ACTUALLY

09:04AM   10        INELIGIBLE TO SERVE, BUT I DON'T THINK WE NEED TO GO THAT FAR.

09:04AM   11                I THINK THERE WERE ACTUALLY A SERIES OF QUESTIONS THAT

09:04AM   12        SHOULD HAVE ELICITED INFORMATION THAT WOULD HAVE BEEN

09:05AM   13        RESPONSIVE THAT WOULD HAVE BEEN RELEVANT, AND THOSE QUESTIONS

09:05AM   14        WEREN'T ANSWERED, AND THE INFORMATION WAS NOT BROUGHT FORWARD.

09:05AM   15        SO IT WOULD BE OUR VIEW THAT THE JUROR CAN BE DISMISSED NOW.

09:05AM   16                     THE COURT:    ALL RIGHT.   THANK YOU.   THANK YOU FOR

09:05AM   17        THIS.

09:05AM   18             THIS WAS BROUGHT TO MY ATTENTION YESTERDAY AFTER WE HAD

09:05AM   19        LEFT.    MS. KRATZMANN SHARED WITH ME SOME INFORMATION RECEIVED.

09:05AM   20        I HAD BEEN THINKING ABOUT WHETHER OR NOT WE SHOULD SUMMON THIS

09:05AM   21        JURY UP AND I SHOULD HAVE A CONVERSATION WITH HIM.

09:05AM   22             IT APPEARS THAT AT LEAST FROM THE INFORMATION THAT I HAVE,

09:05AM   23        WHEN THE QUESTION WAS POSED, AS YOU ALL KNOW, WE ASKED THE

09:05AM   24        QUESTIONS, AND I'D WAIT FOR THE RAISE OF HANDS IN RESPONSE TO

09:05AM   25        THOSE QUESTIONS.    AND IN REGARDS TO QUESTION 50, HE DIDN'T



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09:05AM    1        RAISE HIS HAND.

09:05AM    2             AND THEN WE SUBSEQUENTLY LEARNED THAT THERE WAS

09:05AM    3        INFORMATION TO THAT ANSWER THAT HE SHOULD HAVE RAISED HIS HAND

09:05AM    4        AND THEN DISCUSSED IT.

09:05AM    5             THE COURT ALSO SAID, AS IT DID AT THE OUTSET AS TO ANY

09:06AM    6        QUESTION THAT THE COURT POSES OR THE LAWYERS POSE THAT WE CAN

09:06AM    7        SPEAK PRIVATELY ABOUT THAT, AND I THINK I WAS EMPHATIC ABOUT

09:06AM    8        THAT TO ALLOW PROSPECTIVE JURORS THE OPPORTUNITY TO HAVE A

09:06AM    9        PRIVATE CONVERSATION SHOULD THEY WISH FOR WHATEVER REASON.

09:06AM   10             AND THIS, THIS PARTICULAR JUROR WHO WAS SEATED CLOSE TO

09:06AM   11        THE BENCH, NOT IN THE AUDIENCE, FAILED TO RAISE HIS HAND IN

09:06AM   12        RESPONSE TO THAT QUESTION.

09:06AM   13             THAT WAS VERY DISAPPOINTING TO ME.      I LEARNED NOW.   I

09:06AM   14        DON'T KNOW IF THAT WAS AN ACTUAL EVASION.      WAS IT THE FACT THAT

09:06AM   15        THIS JUROR DID NOT HEAR THE COURT?

09:06AM   16             I'VE REVIEWED THE TRANSCRIPT LAST NIGHT TO SEE WHETHER OR

09:06AM   17        NOT I HAD ACTUALLY ASKED THAT QUESTION, AND I WAS CONFIRMED

09:06AM   18        THAT I DID ASK THE QUESTION, AND IT'S THE QUESTION THAT I

09:06AM   19        TYPICALLY ASK OF EVERY TRIAL.

09:06AM   20             SO I'M DISAPPOINTED.    THAT'S AN UNDERSTATEMENT.     I DON'T

09:07AM   21        KNOW IF THIS PARTICULAR JUROR WAS BEING EVASIVE OR LACKED THE

09:07AM   22        VERACITY INTENTIONALLY WITH THE COURT.

09:07AM   23             NOW, I COULD CALL THIS JUROR UP AND WE COULD HAVE A

09:07AM   24        CONVERSATION WITH THE JUROR ABOUT THE RESPONSE.      THE

09:07AM   25        INFORMATION I RECEIVED IS, AS YOU POINT OUT, OR I THINK



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09:07AM    1        MR. DOWNEY POINTS OUT, MAYBE HE WOULD BE INITIALLY INELIGIBLE

09:07AM    2        FOR JURY SERVICE BASED ON THE INFORMATION THAT WE HAVE.       WE

09:07AM    3        COULD RECEIVE CLARIFICATION OF THAT.

09:07AM    4             I'M NOT SURE THAT WOULD HELP US.       I DON'T THINK IT SERVES

09:07AM    5        ANY PURPOSE.   I DON'T PERSONALLY RELISH THE FACT OF DRESSING

09:07AM    6        SOMEBODY DOWN FOR BEING LESS THAN CANDID WITH THE COURT.        I

09:07AM    7        DON'T THINK IN LIGHT OF WHERE WE ARE NOW, I DON'T THINK IT

09:07AM    8        SERVES ANY PURPOSE TO DO THAT.

09:07AM    9             I HAVE GREAT DISAPPOINTMENT.     IN FACT, IF HE WOULD COME UP

09:07AM   10        I WAS THINKING THIS MORNING WOULD I HAVE TO THEN HAVE TO TALK

09:08AM   11        TO HIM ABOUT HIS FIFTH AMENDMENT RIGHT?       HE WAS UNDER OATH, AND

09:08AM   12        HE DIDN'T RESPOND.    THE QUESTION IS A FAILURE TO RESPOND IN

09:08AM   13        AFFIRMATIVE DISAVOWMENT.

09:08AM   14             SO RATHER THAN GET INTO ALL OF THIS, I APPRECIATE YOUR

09:08AM   15        MEET AND CONFER ABOUT THIS, AND I AGREE THE APPROPRIATE THING

09:08AM   16        TO DO, JUST BASED ON THE CONDUCT HERE, THIS JUROR IS NOT FIT

09:08AM   17        FOR SERVICE, AND I'M GOING TO STRIKE HIM, JUROR NUMBER 113 IS

09:08AM   18        STRICKEN, AND HE CAN BE, HE CAN BE DISMISSED.

09:08AM   19                   THE CLERK:    YES, YOUR HONOR.

09:08AM   20                   MR. SCHENK:    THANK YOU, YOUR HONOR.

09:08AM   21             WE ALSO HAVE INFORMATION ABOUT JUROR NUMBER 130.       THE

09:08AM   22        SPOUSE OF SOMEONE ON THE PROSECUTION TEAM WORKS FOR THE COUNTY

09:08AM   23        COUNSEL'S OFFICE.

09:08AM   24             WE DISCOVERED LAST NIGHT THAT THIS SPOUSE HAS WORKED WITH

09:08AM   25        JUROR NUMBER 130 IN THE PAST.     THE SPOUSE HAS A DIFFERENT LAST



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09:08AM    1        NAME, SO WE HAVE NO REASON TO THINK THAT WHEN MR. MURPHY

09:08AM    2        ANSWERED THE COURT'S QUESTION ABOUT WHETHER MR. MURPHY KNEW

09:08AM    3        ANYBODY ON EITHER SIDE THAT HE WAS EVASIVE.        AGAIN, A DIFFERENT

09:09AM    4        LAST NAME, SO I DON'T THINK HE WOULD HAVE HAD A REASON TO MAKE

09:09AM    5        A CONNECTION.

09:09AM    6             BUT WE RAISED THAT KNOWLEDGE, THAT RELATIONSHIP WITH THE

09:09AM    7        DEFENSE THIS MORNING AND WE AGREE, I THINK BOTH SIDES AGREE

09:09AM    8        THAT BECAUSE OF THE EXISTENCE OF THAT RELATIONSHIP WE ALSO

09:09AM    9        COULD EXCUSE JUROR 130.

09:09AM   10                    MR. DOWNEY:    LET ME SAY FIRST, I TAKE MR. BOSTIC AT

09:09AM   11        HIS WORD.   I THINK HE LEARNED THIS LAST NIGHT.      WE WOULD BE

09:09AM   12        UNCOMFORTABLE WITH THE SITUATION BECAUSE, AGAIN, DISCOVERY

09:09AM   13        DURING THE COURSE OF THE TRIAL COULD PRESENT COMPLICATIONS.        SO

09:09AM   14        WE MOVE FOR DISMISSAL OF THE JUROR FOR CAUSE ON THE BASIS THAT

09:09AM   15        I BELIEVE BOTH TEAMS HAVE JUST DISCOVERED.

09:09AM   16                    THE COURT:    ALL RIGHT.   ANY OBJECTION TO THAT?

09:09AM   17                    MR. SCHENK:    NO OBJECTION.   THANK YOU.

09:09AM   18                    THE COURT:    ALL RIGHT.   AND I'M SORRY, THE JUROR WAS

09:09AM   19        MR. MALO --

09:09AM   20                    MR. SCHENK:    MURPHY.

09:09AM   21                    THE COURT:    MURPHY, PARDON ME.   THANK YOU.

09:09AM   22             THEN WE WILL STRIKE MR. MURPHY.       I DON'T HAVE HIS JURY

09:09AM   23        NUMBER.

09:09AM   24                    MR. SCHENK:    IT'S 130.

09:10AM   25                    THE COURT:    THANK YOU.   HE'LL BE STRICKEN FOR CAUSE.



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09:10AM    1               WITH THOSE TWO STRIKES, I THINK WE ARE AT THE MINIMUM

09:10AM    2        NEEDED.    ASSUMING EVERYONE EXERCISES EVERY PEREMPTORY CHALLENGE

09:10AM    3        THEY HAVE, WE DO HAVE A COMPLEMENT SUFFICIENT TO SELECT 12

09:10AM    4        MEMBERS OF A JURY AND 5 ALTERNATES.

09:10AM    5               SO WE WILL -- WITH THOSE TWO STRIKES, WE HAVE ASKED OUR

09:10AM    6        JURY TO COME AT 9:30, I THINK, TO COLLECT THEMSELVES.        WE'LL

09:10AM    7        EXCUSE THOSE TWO JURORS WHO WE JUST HAVE HAD CONVERSATIONS

09:10AM    8        ABOUT.

09:10AM    9               BUT I -- IS THERE ANYTHING ELSE BEFORE I ASK WHETHER

09:10AM   10        YOU'RE READY TO BEGIN YOUR SELECTION?

09:10AM   11                    MR. SCHENK:    NOTHING FROM THE GOVERNMENT.    THANK

09:10AM   12        YOU.

09:10AM   13                    MR. DOWNEY:    NOTHING FROM MS. HOLMES.

09:10AM   14                    THE COURT:    SHOULD WE ENGAGE THE SELECTION THEN NOW?

09:10AM   15        YOU HAVE THE SHEET.

09:10AM   16                    THE CLERK:    I NEED TO UPDATE THE SHEET, YOUR HONOR,

09:10AM   17        WITH THE CHANGES.    IF I COULD HAVE A FEW MINUTES.

09:10AM   18                    THE COURT:    SURE.    SHOULD WE TAKE A RECESS WHILE

09:10AM   19        WE --

09:10AM   20                    THE CLERK:    YES.     IT SHOULD BE ABOUT FIVE MINUTES.

09:10AM   21                    THE COURT:    WHY DON'T WE DO THAT.     WE'LL COME BACK

09:11AM   22        OUT IN FIVE MINUTES, AND WE'LL START THE SELECTION PROCESS.

09:11AM   23                    MR. DOWNEY:    THANK YOU.

09:11AM   24                    MR. LEACH:    THANK YOU.

09:11AM   25               (RECESS FROM 9:11 A.M. UNTIL 9:22 A.M.)



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09:22AM    1                    THE COURT:    THANK YOU.    WE'RE BACK ON THE RECORD.

09:22AM    2        ALL PARTIES PREVIOUSLY PRESENT ARE PRESENT ONCE AGAIN, AND

09:22AM    3        WE'RE OUTSIDE OF THE PRESENCE OF THE PROSPECTIVE JUROR PANEL.

09:22AM    4        THEY'RE DOWNSTAIRS.

09:23AM    5               I THINK MS. KRATZMANN HAS PROVIDED YOU WITH THE UPDATED

09:23AM    6        SELECTION LIST?

09:23AM    7                    MR. SCHENK:    YES, SHE HAS.   THANK YOU.

09:23AM    8                    THE COURT:    ALL RIGHT.    THANK YOU.

09:23AM    9               JUST A COUPLE OF THINGS.    YOU WILL EXCHANGE THE LIST AS

09:23AM   10        YOU ENGAGE ANY STRIKES THAT YOU HAVE.        A PASS IS NOT A STRIKE.

09:23AM   11        TWO PASSES IN SUCCESSION MEANS WE HAVE A JURY, AND WHEN YOU

09:23AM   12        HAVE COMPLETED YOUR PROCESS OR THERE ARE TWO PASSES IN

09:23AM   13        SUCCESSION, YOU SHOULD LET MS. KRATZMANN KNOW, AND SHE'LL TAKE

09:23AM   14        THE FORM FROM YOU.

09:23AM   15               IF YOU HAVE ANY QUESTIONS ABOUT THAT, PLEASE LET

09:23AM   16        MS. KRATZMANN KNOW.

09:23AM   17               ANYTHING FURTHER BEFORE WE BEGIN THE PROCESS?

09:23AM   18                    MR. SCHENK:    NO, YOUR HONOR.

09:23AM   19                    MR. DOWNEY:    NO, YOUR HONOR.

09:23AM   20                    THE COURT:    YOU CAN START YOUR SELECTION.    THANK

09:23AM   21        YOU.

09:23AM   22                    THE CLERK:    YOUR MICROPHONES ARE OFF, COUNSEL.

09:23AM   23        MICROPHONES ARE OFF.

09:23AM   24                    MR. WADE:    THANK YOU.

09:23AM   25                    MR. SCHENK:    THANK YOU.



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09:24AM    1             (COUNSEL ARE MAKING THEIR SELECTIONS.)

09:34AM    2                   THE COURT:    COUNSEL, MS. KRATZMANN HAS INFORMED ME

09:34AM    3        AND PROVIDED ME WITH THE JURY SELECTION LIST THAT THE PARTIES

09:34AM    4        HAVE REACHED AGREEMENT AS TO THE 12 JURORS WHO WILL SIT IN THIS

09:34AM    5        CASE.

09:34AM    6             IS THAT CORRECT, MR. SCHENK?

09:34AM    7                   MR. SCHENK:    NO, YOUR HONOR.

09:34AM    8                   THE COURT:    MR. DOWNEY?

09:34AM    9                   MR. DOWNEY:    YES.

09:35AM   10                   THE COURT:    ALL RIGHT.    I WILL RETURN THIS SHEET TO

09:35AM   11        YOU NOW, AND MS. KRATZMANN WILL DELIVER IT TO YOU AND YOU WILL

09:35AM   12        BEGIN SELECTING THE FIVE ALTERNATES WHO WILL ENGAGE THIS

09:35AM   13        PROCESS.

09:35AM   14                   MR. SCHENK:    YES.

09:35AM   15                   THE COURT:    AND THEN MY PLAN IS THAT WE WILL SUMMON

09:35AM   16        THOSE 17 TO THE COURTROOM.       WE WILL THEN SWEAR THE 12, AND THEN

09:35AM   17        WE'LL SWEAR THE 5 ALTERNATES, AND WE'LL PROCEED.      I'M NOT GOING

09:35AM   18        TO PRELIMINARILY INSTRUCT TODAY.       I DO, OF COURSE, HAVE AN

09:35AM   19        ADMONITION THAT I WISH TO READ TO ALL OF THE JURORS AT THAT

09:35AM   20        TIME.

09:35AM   21             ALL RIGHT.   THANK YOU.      I'LL HAND THIS BACK, AND YOU CAN

09:35AM   22        BEGIN YOUR SELECTION PROCESS FOR ALTERNATES.

09:35AM   23             (HANDING.)

09:35AM   24             (COUNSEL ARE MAKING THEIR SELECTIONS.)

09:46AM   25                   THE CLERK:    COUNSEL?



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09:46AM    1                   MR. DOWNEY:    I THINK THEY NEED ANOTHER MINUTE.

09:46AM    2                   THE COURT:    OKAY.

09:46AM    3              (COUNSEL ARE MAKING THEIR SELECTIONS.)

09:51AM    4                   THE COURT:    COUNSEL, IT APPEARS THAT YOU HAVE

09:51AM    5        REACHED AGREEMENT ON THE ALTERNATES AS WELL?

09:52AM    6                   MR. SCHENK:    YES, YOUR HONOR.

09:52AM    7                   MR. DOWNEY:    YES, YOUR HONOR.

09:52AM    8                   THE COURT:    ALL RIGHT.   THANK YOU.

09:52AM    9              WHAT I'D LIKE TO DO NEXT IS I'M GOING TO SUMMON THE ENTIRE

09:52AM   10        PANEL UP, AND THOSE FOLKS WHO ARE SEATED ON THE LEFT SIDE OF

09:52AM   11        THE COURTROOM, I'M GOING TO ASK YOU TO PLEASE MOVE OVER SO THE

09:52AM   12        JURY CAN TAKE THOSE SEATS.

09:52AM   13              I'M CALLING THE ENTIRE PANEL UP.    WHEN THEY COME UP, I'LL

09:52AM   14        ASK MS. KRATZMANN TO CALL OUT THE NUMBERS OF THOSE JURORS WHO

09:52AM   15        HAVE BEEN SELECTED TO SIT AS JURORS IN THE TRIAL.       WE WILL THEN

09:52AM   16        SWEAR THOSE JURORS.

09:52AM   17              I'LL THEN ASK MS. KRATZMANN TO CALL OUT THE NUMBERS OF

09:52AM   18        JURORS WHO HAVE BEEN CALLED TO SIT AS ALTERNATES.       THEY WILL

09:52AM   19        TAKE THAT FIRST ROW IN THE GALLERY FOR NOW, AND WE'LL SWEAR THE

09:52AM   20        ALTERNATES.

09:52AM   21              I THEN WANT TO THANK THE BALANCE OF THE JURORS WHO CAME

09:52AM   22        UP.   THAT'S WHY I'M CALLING THE PANEL UP.     I DO WANT TO THANK

09:52AM   23        THEM.   I DON'T WANT THEM TO LEAVE WITHOUT THE OPPORTUNITY TO

09:52AM   24        EXTEND THE COURT'S GRATITUDE AS WELL AS COUNSEL'S GRATITUDE TO

09:53AM   25        THEM AS WELL.



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09:53AM    1             SO WE WILL DO THAT.     I WILL DISMISS THOSE JURORS WHO WERE

09:53AM    2        NOT SELECTED, AND THEN I'LL HAVE SOME BRIEF COMMENTS TO THE

09:53AM    3        JURY ABOUT OUR PROCESS.

09:53AM    4             I WILL READ THEM AN ADMONITION.

09:53AM    5             AND THEN MS. KRATZMANN IS GOING TO MEET WITH THEM TO GO

09:53AM    6        OVER CERTAIN PROTOCOLS THAT WE WILL HAVE.      SHE MIGHT HAVE THEIR

09:53AM    7        JUROR BADGES AND THOSE TYPES OF THINGS.

09:53AM    8             THEN WE'LL BREAK, AND WE'LL RECONVENE AFTER THE HOLIDAYS.

09:53AM    9        I BELIEVE IT'S NEXT WEDNESDAY WHEN WE'RE SCHEDULED TO MEET AT

09:53AM   10        9:00 A.M.   I THINK THAT'S RIGHT.

09:53AM   11             ANY DISTURBANCE IN THAT SCHEDULE FOR NOW?

09:53AM   12                    MR. SCHENK:    NO, YOUR HONOR.

09:53AM   13                    THE COURT:    ALL RIGHT.   THANK YOU.

09:53AM   14                    THE CLERK:    I NEED A FEW MINUTES.

09:53AM   15                    THE COURT:    YOU NEED A MINUTE?

09:53AM   16                    THE CLERK:    MORE THAN A FEW MINUTES.

09:53AM   17             (LAUGHTER.)

09:53AM   18                    THE CLERK:    IF I CAN?

09:53AM   19                    THE COURT:    OF COURSE.   OF COURSE.

09:54AM   20             (PAUSE IN PROCEEDINGS.)

09:54AM   21                    THE COURT:    COUNSEL, JUST TO REFRESH YOUR

09:54AM   22        RECOLLECTION, WE'LL SEAT A IN THE BOX AND N, AND THEN THE FIRST

09:54AM   23        ROW BEHIND YOU, BEHIND THE PROSECUTION THERE WILL BE USED FOR

09:54AM   24        FIVE SEATS.   IT MAY BE THE ALTERNATES WILL SIT THERE INITIALLY.

09:54AM   25             WE'RE GOING TO KEEP THE ROW BEHIND THE ALTERNATES OR



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09:54AM    1        BEHIND THAT JURY CLEAR FOR THE TRIAL SO NO ONE IS SITTING

09:54AM    2        IMMEDIATELY BEHIND THEM.      THAT ROW WILL BE KEPT BLANK OPEN.

09:54AM    3             WHAT I INTEND TO DO DURING THE TRIAL IS ROTATE OUR JURORS

09:55AM    4        AS WELL SO THOSE SITTING IN THOSE SEATS AND OUTSIDE OF THE BOX

09:55AM    5        AS WELL GENERALLY WILL HAVE AN OPPORTUNITY TO MOVE INTO THE

09:55AM    6        WELL AND EXPERIENCE THE TRIAL THAT WAY.       THAT'S MY INTENT.    I

09:55AM    7        HOPE THAT CAN WORK OUT.       I THINK WE CAN WORK THE LOGISTICS OF

09:55AM    8        THAT OUT.

09:55AM    9             ANY QUESTIONS ABOUT THAT?

09:55AM   10                     MR. SCHENK:    NO.

09:55AM   11                     MR. DOWNEY:    NO, YOUR HONOR.

09:59AM   12             (PAUSE IN PROCEEDINGS.)

10:01AM   13                     THE CLERK:    YOUR HONOR, IF I MAY CALL UP THE JURY?

10:01AM   14                     THE COURT:    YES.

10:03AM   15             (PAUSE IN PROCEEDINGS.)

10:03AM   16                     THE COURT:    GOOD MORNING.   PLEASE COME IN AND HAVE A

10:03AM   17        SEAT IN THE GALLERY.       YES, THANK YOU, SIR.

10:06AM   18             (SELECTED JURORS AND ALTERNATES BEING SEATED.)

10:07AM   19             (JURY IN AT 10:07 A.M.)

10:07AM   20                     THE COURT:    ALL RIGHT.   THANK YOU, LADIES AND

10:07AM   21        GENTLEMEN.    WE'RE ON THE RECORD.

10:07AM   22             ALL COUNSEL ARE PRESENT, AND MS. HOLMES IS PRESENT.        OUR

10:07AM   23        PROSPECTIVE PANEL HAS BEEN CALLED UP.

10:07AM   24             LADIES AND GENTLEMEN, PROSPECTIVE JURORS, I WANTED TO SEAT

10:07AM   25        YOU ALL IN THAT AREA.



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10:07AM    1             WE'RE GOING TO NOW -- I'M GOING TO ASK MS. KRATZMANN TO

10:08AM    2        CALL OUT THE JUROR NUMBERS AND NAMES OF THOSE, FIRST OF ALL,

10:08AM    3        WHO HAVE BEEN SELECTED TO SIT AS JURORS IN THIS CASE.

10:08AM    4             PLEASE LISTEN CLOSELY FOR YOUR NAME AND NUMBER TO BE

10:08AM    5        CALLED.   MS. KRATZMANN WILL CALL IT OUT.     WOULD YOU PLEASE,

10:08AM    6        WHEN YOUR NAME IS CALLED, WOULD YOU PLEASE COME FORWARD.

10:08AM    7             AND WE'RE GOING TO BE SITTING IN SEAT A; IS THAT CORRECT,

10:08AM    8        MS. KRATZMANN?

10:08AM    9                   THE CLERK:    YES, YOUR HONOR.

10:08AM   10                   THE COURT:    RIGHT.   AND THEN WE'RE GOING ACCORDINGLY

10:08AM   11        DOWN.

10:08AM   12             LADIES AND GENTLEMEN, THE LAWYERS HAVE MET, AND THEY HAVE

10:08AM   13        MADE THEIR DECISIONS AS TO THE JURY IN THIS CASE.       WE WILL

10:08AM   14        FIRST CALL OUT THOSE MEMBERS WHO HAVE BEEN SELECTED TO HEAR THE

10:08AM   15        CASE AS 12 JURORS.

10:08AM   16             I WILL THEN ASK MS. KRATZMANN TO ADMINISTER THE OATH TO

10:08AM   17        THOSE 12 JURORS.

10:08AM   18             I'LL THEN ASK MS. KRATZMANN TO CALL OUT THE NAMES OF THOSE

10:08AM   19        FIVE INDIVIDUALS WHO HAVE BEEN SELECTED TO SIT AS ALTERNATES IN

10:08AM   20        THIS TRIAL.   WE'LL HAVE THE ALTERNATES PROBABLY TAKE THE FRONT

10:09AM   21        ROW, IF POSSIBLE, AND THEN MS. KRATZMANN WILL SWEAR IN THE

10:09AM   22        ALTERNATES.

10:09AM   23             I'LL THEN HAVE SOME FURTHER COMMENTS AND GIVE YOU ADVICE

10:09AM   24        AS TO WHAT WE'RE GOING TO DO NEXT, THAT IS, THE SEATED JURORS.

10:09AM   25             MS. KRATZMANN, IF YOU COULD PLEASE CALL OUT THE NAMES OF



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10:09AM    1        THOSE 12 INDIVIDUALS WHO HAVE BEEN SELECTED TO SIT AS JURORS IN

10:09AM    2        THIS CASE.

10:09AM    3                     THE CLERK:    YES, YOUR HONOR.

10:09AM    4             MR. HANG, H-A-N-G.         IF YOU'LL TAKE SEAT A, PLEASE.

10:09AM    5             MR. ESPINOSA, SEAT B.

10:10AM    6             MR. BETTS.       IF YOU'LL TAKE SEAT C, PLEASE.

10:10AM    7             MS. NGUYEN.      THAT'S MINH, M-I-N-H, MS. MINH NGUYEN.

10:10AM    8                     JUROR:    WHICH ONE?

10:10AM    9                     THE CLERK:    YOU, M-I-N-H.    IF YOU'LL TAKE SEAT D,

10:10AM   10        PLEASE.

10:10AM   11             MS. HERNANDEZ.       SEAT E IN THE FIRST ROW.

10:11AM   12             MR. KAATZ, K-A-A-T-Z.

10:11AM   13                     JUROR:    KAATZ?

10:11AM   14                     THE CLERK:    KAATZ.

10:11AM   15                     JUROR:    OH, BOY.

10:11AM   16                     THE CLERK:    IF YOU'LL TAKE SEAT F, PLEASE.

10:11AM   17             MS. HERNANDEZ-PEREZ.         IF YOU'LL TAKE THE NEXT SEAT IN

10:11AM   18        ORDER, THAT'S G.

10:11AM   19             MS. STEFANEK.

10:12AM   20             MR. ROBBINS.

10:12AM   21                     THE COURT:    MR. ROBBINS WILL TAKE SEAT?

10:12AM   22                     THE CLERK:    SEAT I, PLEASE.    YES.    THANK YOU.

10:12AM   23             MR. GUERRERO.      YOU'RE IN SEAT J.

10:12AM   24             MR. KEW, K-E-W.       SIR, YOU WILL TAKE SEAT L WHICH IS RIGHT

10:12AM   25        IN FRONT OF THE BAR AREA.



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10:12AM    1               MS. GALANTE, YOU'LL TAKE SEAT M.

10:13AM    2                    THE COURT:     ALL RIGHT.   THANK YOU.

10:13AM    3               LADIES AND GENTLEMEN, THE 12 OF YOU HAVE BEEN SELECTED TO

10:13AM    4        SIT AS JURORS IN THIS CASE.

10:13AM    5               I'M NOW GOING TO ASK YOU TO PLEASE STAND AND RAISE YOUR

10:13AM    6        RIGHT HANDS.   MS. KRATZMANN IS GOING TO ADMINISTER THE OATH TO

10:13AM    7        YOU.

10:13AM    8               (SELECTED JURORS WERE GIVEN THE OATH.)

10:13AM    9                    JURORS:     YES.

10:13AM   10                    THE COURT:     THANK YOU VERY MUCH.       PLEASE BE SEATED.

10:13AM   11               I'M NOW GOING TO ASK MS. KRATZMANN TO CALL OUT THOSE FIVE

10:13AM   12        NAMES OF INDIVIDUALS WHO HAVE BEEN SELECTED TO SERVE AS

10:13AM   13        ALTERNATE JURORS.

10:13AM   14               I'D LIKE YOU TO SIT IN THE FRONT ROW.      ARE THERE THREE

10:14AM   15        PEOPLE IN THAT FRONT ROW NOW?       COULD I ASK YOU PLEASE TO MOVE,

10:14AM   16        PLEASE.    THANK YOU.    I'M SORRY FOR THE INCONVENIENCE.

10:14AM   17               MS. KRATZMANN, IF YOU WOULD CALL THOSE NAMES, PLEASE.

10:14AM   18                    THE CLERK:     ALTERNATE 1, MR. BEDNAR.      IF YOU'LL TAKE

10:14AM   19        SEAT N, PLEASE.

10:14AM   20               ALTERNATE 2, MS. MUNOZ, MS. GOMEZ-MUNOZ.         IF YOU'LL PLEASE

10:15AM   21        TAKE SEAT O.

10:15AM   22               ALTERNATE 3, MS. SALTING.

10:15AM   23               ALTERNATE 4, MS. MASON-BURCHELL.

10:15AM   24               ALTERNATE 5, MR. LEE.     IF YOU'LL TAKE SEAT R, PLEASE.

10:15AM   25                    THE COURT:     THANK YOU.   AND IF OUR ALTERNATES COULD



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10:15AM    1        PLEASE STAND AND RAISE YOUR RIGHT HAND, WE HAVE A SPECIAL OATH

10:15AM    2        FOR YOU AS WELL.

10:16AM    3             (ALTERNATE JURORS WERE GIVEN THE OATH.)

10:16AM    4                   JURORS:     YES.

10:16AM    5                   THE COURT:     THANK YOU VERY MUCH.       PLEASE BE SEATED.

10:16AM    6             THE RECORD SHOULD REFLECT THAT WE HAVE SELECTED OUR 12

10:16AM    7        JURORS WHO WILL HEAR THE CASE AS WELL AS 5 ALTERNATES.          THEY

10:16AM    8        HAVE ALL BEEN SWORN.

10:16AM    9             LADIES AND GENTLEMEN, BEHIND YOU -- I WANT TO SPEAK TO

10:16AM   10        THOSE BEHIND YOU, PROSPECTIVE JURORS WHO ARE SITTING BEHIND OUR

10:16AM   11        ALTERNATES.   I WANT TO TAKE A MOMENT TO FIRST OF ALL RECOGNIZE

10:16AM   12        DISAPPOINTMENT IN YOUR FACES.

10:16AM   13             (LAUGHTER.)

10:16AM   14                   THE COURT:     I'M SERIOUS ABOUT THAT.      I'M SERIOUS

10:16AM   15        ABOUT THAT.   YOU CAME HERE AND YOU SAT FOR TWO DAYS TO SERVE

10:16AM   16        YOUR COMMUNITY FOR JURY SERVICE, AND I DO ANTICIPATE AND RATHER

10:17AM   17        EXPECT THAT THERE IS DISAPPOINTMENT THAT YOU COULD NOT CONTINUE

10:17AM   18        YOUR JURY SERVICE AT LEAST IN THIS CASE.

10:17AM   19             SO LET ME TELL YOU THAT WE HAVE A VERY EFFECTIVE JURY

10:17AM   20        COMMISSIONER, AND I EXPECT IT MAY COME TO PASS IN THE NEAR

10:17AM   21        FUTURE I'LL BE ABLE TO SEE YOU AGAIN AND PERHAPS MAYBE YOU'LL

10:17AM   22        BE PART OF A JURY IN A JURY TRIAL IN THIS BUILDING.

10:17AM   23             BUT I DO WANT TO THANK YOU.      I'M GOING TO RELEASE YOU IN

10:17AM   24        JUST A MOMENT.   I COULDN'T DO THAT THOUGH WITHOUT OFFERING ON

10:17AM   25        BEHALF OF ALL OF THE JUDGES OF THE NORTHERN DISTRICT OF



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10:17AM    1        CALIFORNIA OUR THANKS FOR YOUR SERVICE.

10:17AM    2             I SAY THAT ALSO AND I HAVE AUTHORITY TO EXPRESS GRATITUDE

10:17AM    3        FROM THESE LAWYERS HERE AS WELL, BOTH TABLES, THEY ALSO EXTEND

10:17AM    4        THEIR GRATITUDE TO YOU FOR COMING FORWARD, SERVING, ANSWERING

10:17AM    5        THE QUESTIONS THAT WE HAVE, AND SITTING FOR CONSIDERATION ON

10:17AM    6        THIS TRIAL.

10:17AM    7             I'M REALLY GRATEFUL THAT YOU WOULD DO THAT.

10:17AM    8             MY REGRET IS THAT PERHAPS I DIDN'T GET TO MEET YOU MORE AS

10:17AM    9        A SITTING JUROR AND TO WORK WITH YOU, BUT AS I SAID, I'M SURE

10:18AM   10        THERE ARE MANY OPPORTUNITIES IN THE FUTURE THAT WILL PRESENT

10:18AM   11        FOR THAT.

10:18AM   12             IT'S SO IMPORTANT NOW FOR YOU TO COME FORWARD AND SERVE

10:18AM   13        YOUR COMMUNITY AS I INDICATED IN MY OPENING REMARKS.

10:18AM   14             SO I HOPE YOU TAKE SOME PRIDE IN YOUR SERVICE HERE.        I

10:18AM   15        HOPE YOU ENJOYED YOUR BRIEF TIME HERE AND THAT YOU WALK AWAY

10:18AM   16        WITH AN EDUCATIONAL EXPERIENCE AND ALSO YOU'LL TAKE SOME PRIDE

10:18AM   17        IN YOUR JUSTICE SYSTEM AND YOUR COURTS.

10:18AM   18             SO THANK YOU VERY MUCH.       THOSE OF YOU WHO WERE NOT

10:18AM   19        SELECTED, YOU MAY LEAVE IF YOU WISH.      YOU MAY REMAIN.    IT'S A

10:18AM   20        PUBLIC COURTROOM AND IT BELONGS TO YOU, BUT THANK YOU VERY

10:18AM   21        MUCH.

10:18AM   22                    THE CLERK:    THEY CAN JUST GO HOME.

10:18AM   23                    THE COURT:    AND YOU CAN JUST GO.     YOU DON'T NEED TO

10:18AM   24        CHECK IN DOWNSTAIRS.      THANK YOU.

10:19AM   25             (PROSPECTIVE JURORS OUT AT 10:19 A.M.)



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10:19AM    1                    THE COURT:    ALL RIGHT.   THANK YOU.

10:19AM    2             THE RECORD SHOULD REFLECT THAT THE BALANCE OF THE

10:19AM    3        PROSPECTIVE JURORS LEFT THE COURTROOM.      ALL OF OUR JURORS AND

10:19AM    4        ALTERNATES REMAIN.

10:19AM    5             LADIES AND GENTLEMEN, I WANT TO TAKE A COUPLE OF MINUTES

10:19AM    6        TO EXPLAIN TO YOU WHAT IS GOING TO HAPPEN NEXT AND HOW THINGS

10:19AM    7        ARE GOING TO PROCEED.

10:19AM    8             WE'RE GOING TO TAKE A BREAK IN JUST A MOMENT, AND I'LL ASK

10:19AM    9        YOU TO COME BACK WEDNESDAY NEXT, NEXT WEDNESDAY TO START OUR

10:19AM   10        TRIAL.    WHAT YOU WILL START WITH WILL BE PRELIMINARY

10:19AM   11        INSTRUCTIONS THAT I WILL GIVE TO YOU.      I WILL READ TO YOU

10:19AM   12        PRELIMINARY INSTRUCTIONS THAT WILL GUIDE YOU AS THE TRIAL

10:19AM   13        STARTS.

10:19AM   14             AFTER THAT I'LL ASK THE PARTIES IF THEY HAVE ANY OPENING

10:19AM   15        STATEMENTS THAT THEY WISH TO MAKE.      IF THEY DO, WE'LL START

10:19AM   16        WITH THE GOVERNMENT'S OPENING STATEMENT AND FOLLOWING THAT THE

10:19AM   17        DEFENSE, IF THEY CHOOSE TO GIVE AN OPENING STATEMENT AT THAT

10:19AM   18        TIME.

10:19AM   19             AFTER THOSE OPENING STATEMENTS, WE WILL THEN BEGIN

10:19AM   20        EVIDENCE, AND THAT MEANS, AS YOU RECALL, THE GOVERNMENT WILL

10:20AM   21        CALL WITNESSES OR INTRODUCE EXHIBITS IN THE TRIAL PROCESS AND

10:20AM   22        THE EVIDENTIARY PROCESS OF THE TRIAL WILL THEN BEGIN.

10:20AM   23             WE'LL MEET, AS I INDICATED, ON THOSE DATES.      AGAIN, THOSE

10:20AM   24        SCHEDULES MAY CHANGE.      I MAY ASK YOU DURING THE COURSE OF THE

10:20AM   25        TRIAL WHETHER YOUR SCHEDULES MIGHT PERMIT US MEETING EARLIER



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10:20AM    1        THAN 9:00 O'CLOCK, 8:30, SOMETHING LIKE THAT, DEPENDING ON

10:20AM    2        GEOGRAPHY AND TRAVEL AND COMMUTES.     WE'LL LOOK INTO THAT.

10:20AM    3             SOMETIMES PEOPLE WHO LIVE OVER THE HILL I'LL CALL IT,

10:20AM    4        SANTA CRUZ COUNTY, SOMETIMES THEY TELL ME IT'S EASIER TO GET

10:20AM    5        HERE IN THE MORNING AND LEAVE EARLIER IN THE MORNING AND WE CAN

10:20AM    6        INCORPORATE THAT INTO OUR SCHEDULE IF NEEDED AND APPROPRIATE.

10:20AM    7             IT MAY BE THAT ON SOME DAYS I'LL ASK IN ADVANCE, I'LL GIVE

10:20AM    8        YOU NOTICE, THAT WE MAY GO A LITTLE LATER JUST BECAUSE OF

10:20AM    9        WITNESS SCHEDULES, EVIDENCE SCHEDULES.      THAT SOMETIMES COMES UP

10:21AM   10        AS WELL.   THAT CREATES SOME ISSUES.

10:21AM   11             BUT I'LL GIVE YOU AS MUCH OF ADVANCE NOTICE AS I CAN FOR

10:21AM   12        YOUR PLANNING.

10:21AM   13             IF YOU HAVE ANY CONFLICTS THAT COME UP, YOU SHOULD LET

10:21AM   14        MS. KRATZMANN KNOW IN ADVANCE.     WHEN WE FINISH HERE TODAY, THAT

10:21AM   15        IS, WHEN I STEP DOWN AND WE FINISH THESE PROCEEDINGS,

10:21AM   16        MS. KRATZMANN WILL STAY WITH YOU, AND SHE WILL GIVE YOU SOME

10:21AM   17        INFORMATION.    SHE'LL PROVIDE YOU CONTACT INFORMATION.     SHE'LL

10:21AM   18        GIVE YOU INFORMATION ON HOW YOU CAN COME IN AND ACCESS THE

10:21AM   19        COURT AND JURY BADGES, WHICH WILL ENHANCE AND EASE YOUR ACCESS

10:21AM   20        TO THE COURT.    SO SHE'LL DO ALL OF THAT WITH YOU WHEN WE'RE

10:21AM   21        GONE.   SO SHE'LL ENGAGE THAT.

10:21AM   22             WE WERE GOING TO TAKE YOU NEXT DOOR TO SHOW YOU THE ROOM

10:21AM   23        THAT WE'LL USE FOR YOUR DELIBERATIONS AND MEETINGS, AND I'M

10:21AM   24        INFORMED THAT OUR I.T. STAFF MAY BE WORKING IN THERE.       SO THAT

10:21AM   25        MAY NOT BE AVAILABLE.    IF IT BECOMES AVAILABLE, MS. KRATZMANN



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10:21AM    1        WILL TAKE YOU NEXT DOOR TO SHOW YOU THAT AS WELL AND GIVE YOU

10:22AM    2        THAT INFORMATION AS WELL.

10:22AM    3             LET ME TELL YOU ONE THING THAT I'M THINKING OF DOING, AND

10:22AM    4        I HOPE I CAN ENGAGE THIS THROUGHOUT THE TRIAL.      IT'S A LONG

10:22AM    5        TRIAL.   I MAY TRY TO SEE IF WE CAN ROTATE YOUR SEATING, THAT

10:22AM    6        IS, WE MIGHT GO A WEEK AT A TIME AND HAVE FOLKS ROTATE OUT FROM

10:22AM    7        THE BOX HERE AND ROTATE OUT TO THE BENCH SO OUR FRIENDS IN THE

10:22AM    8        FRONT ROW THERE, THE ALTERNATE JURORS, CAN ALSO COME IN AND SIT

10:22AM    9        BACK IN THE BOXES IF POSSIBLE.     THAT MAY ALLOW FOR BETTER

10:22AM   10        COMFORT PERHAPS AND A FEELING OF GREATER PARTICIPATION.

10:22AM   11             I KNOW IT'S DIFFICULT TO BE SEATED THE ENTIRETY OF THE

10:22AM   12        TIME OUT BEHIND THAT RAIL.

10:22AM   13             I AM ALSO GOING TO ORDER THAT THE SEAT, THAT IS, THE PEW

10:22AM   14        THAT IS BEHIND WHERE OUR ALTERNATES ARE SEATED NOW, THAT IS

10:22AM   15        GOING TO REMAIN VACANT AND OPEN THROUGHOUT THE TRIAL.       I'M NOT

10:22AM   16        GOING TO HAVE ANYONE SIT BEHIND THE JURORS WHO ARE SEATED IN

10:23AM   17        THAT FRONT ROW.   AND WE'LL MARK THAT AS INDICATED.

10:23AM   18             SO NO ONE WILL BE SITTING BEHIND THE JURORS WHO ARE SEATED

10:23AM   19        THERE.

10:23AM   20             MS. KRATZMANN WILL TELL YOU ABOUT -- SHE'LL PROVIDE TO YOU

10:23AM   21        AND GIVE YOU INFORMATION ABOUT NOTE PADS.

10:23AM   22             THE LAWYERS HAVE INDICATED TO ME THAT THEY'RE GOING TO

10:23AM   23        PREPARE AND I'VE ASKED THEM TO PREPARE TRIAL BINDERS.       AND EACH

10:23AM   24        JUROR WILL HAVE A BINDER.    THE BINDERS WILL HAVE AND I EXPECT

10:23AM   25        WE'LL BE ABLE TO PROVIDE PHOTOGRAPHS OF EVERY WITNESS WHO



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10:23AM    1        TESTIFIES IN THIS CASE FOR YOU TO PUT IN THAT BINDER.       YOU KNOW

10:23AM    2        IT'S GOING TO BE A LONG TRIAL, AND I'VE ASKED THE LAWYERS TO

10:23AM    3        PROVIDE THOSE PHOTOGRAPHS SUCH THAT YOUR MEMORY AT THE TIME

10:23AM    4        WHEN YOU DELIBERATE THE CASE, THOSE PHOTOGRAPHS MIGHT BE OF

10:23AM    5        SOME ASSISTANCE TO YOU AS YOU REVIEW THE EVIDENCE, THE

10:23AM    6        TESTIMONY, AND THE EXHIBITS.        THAT WILL BE PROVIDED FOR YOU AS

10:23AM    7        WELL, AND YOU'LL BE ABLE TO LEAVE THOSE BINDERS HERE IN COURT

10:24AM    8        IN THE DELIBERATION ROOM EACH DAY.       SO WE DO WANT TO PROVIDE

10:24AM    9        THAT FOR YOU AS WELL.

10:24AM   10               LET ME ASK COUNSEL, ANY OTHER QUESTIONS?      COMMENTS?

10:24AM   11                     MR. SCHENK:    NO, YOUR HONOR.   THANK YOU.

10:24AM   12                     MR. DOWNEY:    NOTHING, YOUR HONOR.

10:24AM   13                     THE COURT:    ALL RIGHT.   THANK YOU.

10:24AM   14               SO, LADIES AND GENTLEMEN, WITH THAT WE WILL BREAK FOR THE

10:24AM   15        DAY.    HOWEVER, I DO WANT TO READ YOU AN ADMONITION.

10:24AM   16               YOU'RE ABOUT TO TAKE OUR FIRST BREAK AS A SWORN JURY IN

10:24AM   17        THE TRIAL.    REMEMBER, UNTIL THE TRIAL IS OVER, DO NOT DISCUSS

10:24AM   18        THIS CASE WITH ANYONE, INCLUDING YOUR FELLOW JURORS, MEMBERS OF

10:24AM   19        YOUR FAMILY, PEOPLE INVOLVED IN THE TRIAL, OR ANYONE ELSE, AND

10:24AM   20        DO NOT ALLOW OTHERS TO DISCUSS THE CASE WITH YOU.

10:24AM   21               THIS RESTRICTION INCLUDES DISCUSSING THE CASE IN PERSON,

10:24AM   22        IN WRITING, BY PHONE, TABLET, COMPUTER, OR ANY OTHER MEANS VIA

10:25AM   23        EMAIL, TEXT MESSAGING, OR ANY INTERNET CHAT ROOM, BLOG,

10:25AM   24        WEBSITE, OR APPLICATION, INCLUDING BUT NOT LIMITED TO FACEBOOK,

10:25AM   25        YOUTUBE, TWITTER, INSTAGRAM, LINKEDIN, SNAPCHAT, TIKTOK OR ANY



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10:25AM    1        OTHER FORMS OF SOCIAL MEDIA.

10:25AM    2             IF ANYONE TRIES TO COMMUNICATE WITH YOU ABOUT THE CASE,

10:25AM    3        PLEASE LET ME KNOW ABOUT IT IMMEDIATELY.      DO NOT READ, WATCH,

10:25AM    4        OR LISTEN TO ANY NEWS REPORTS OR OTHER ACCOUNTS ABOUT THE TRIAL

10:25AM    5        OR ANYONE ASSOCIATED WITH IT, INCLUDING ANY ONLINE INFORMATION.

10:25AM    6             DO NOT DO ANY RESEARCH SUCH AS CONSULTING DICTIONARIES,

10:25AM    7        SEARCHING THE INTERNET OR USING OTHER REFERENCE MATERIALS, AND

10:25AM    8        DO NOT MAKE ANY INVESTIGATION ABOUT THE CASE ON YOUR OWN.

10:25AM    9             FINALLY, KEEP AN OPEN MIND UNTIL ALL OF THE EVIDENCE HAS

10:26AM   10        BEEN PRESENTED AND YOU HAVE HEARD THE ARGUMENTS OF COUNSEL, MY

10:26AM   11        INSTRUCTIONS ON THE LAW, AND THE VIEWS OF YOUR FELLOW JURORS.

10:26AM   12             NOW, LADIES AND GENTLEMEN, AS I'VE TOLD YOU BEFORE, THIS

10:26AM   13        CASE MUST BE DECIDED SOLELY AND EXCLUSIVELY ON THE EVIDENCE

10:26AM   14        WHICH WILL BE RECEIVED HERE IN COURT AND ALSO IN ACCORDANCE

10:26AM   15        WITH MY INSTRUCTIONS TO YOU AT THE CONCLUSION OF THE CASE.

10:26AM   16             I'VE TOLD YOU BEFORE, A DAY AGO, THAT ALL PARTIES HERE

10:26AM   17        HAVE A CONSTITUTIONAL RIGHT TO A FAIR TRIAL, THE GOVERNMENT AND

10:26AM   18        MS. HOLMES.   IT'S YOUR OBLIGATION TO FOLLOW THIS ADMONITION AS

10:26AM   19        I'VE READ IT TO YOU.

10:26AM   20             WE'VE TALKED ABOUT THE DIFFICULTIES THAT MAY COME IN

10:26AM   21        STAYING AWAY FROM MEDIA.    I HAVE MADE SUGGESTIONS ABOUT TURNING

10:26AM   22        OFF YOUR NOTIFICATIONS AND THOSE TYPES OF THINGS.       I'M SURE YOU

10:27AM   23        WILL BE CREATIVE IN YOUR ENDEAVOR TO KEEP FREE FROM ANY OUTSIDE

10:27AM   24        INFORMATION AS WELL.    THAT'S VERY IMPORTANT THAT YOU DO THAT.

10:27AM   25             ONE OTHER THING THAT I WILL DO WHEN WE RECONVENE EACH DAY,



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10:27AM    1        I AM GOING TO ASK EACH OF YOU, AND IT MIGHT BE COLLECTIVELY,

10:27AM    2        BUT I'M GOING TO PUT THE QUESTION TO YOU WHETHER OR NOT DURING

10:27AM    3        OUR BREAK YOU HAVE, YOU HAVE BEEN EXPOSED TO ANY MEDIA, YOU'VE

10:27AM    4        SEEN MEDIA, YOU'VE HEARD MEDIA, OR ANYTHING THAT YOU MIGHT HAVE

10:27AM    5        EXPOSURE TO, AND I'M GOING TO ASK YOU TO PLEASE REPORT THAT TO

10:27AM    6        THE COURT SO THE COURT AND THE PARTIES CAN HEAR OF ANY INCIDENT

10:27AM    7        AND WE CAN DISCUSS IT.

10:27AM    8             SO I'LL BE ASKING YOU THAT QUESTION EACH DAY.         SO I GIVE

10:27AM    9        YOU THAT IN ADVANCE.      PLEASE BEAR THAT IN MIND AS YOU CONDUCT

10:27AM   10        YOURSELVES.

10:27AM   11             I'M NOW GOING TO -- I THINK WE CAN RECESS WITH OUR JURY.

10:27AM   12             ANYTHING ELSE FROM THE GOVERNMENT?

10:27AM   13                    MR. SCHENK:    NO.     THANK YOU.

10:27AM   14                    MR. DOWNEY:    NO, YOUR HONOR.

10:27AM   15                    THE COURT:    ALL RIGHT.    YOU HAVE BADGES?

10:28AM   16                    THE CLERK:    I DO.    I NEED NEW ONES, THOUGH.

10:28AM   17                    THE COURT:    OKAY.    ALL RIGHT.   THANK YOU VERY MUCH,

10:28AM   18        LADIES AND GENTLEMEN.      IT'S A PLEASURE MEETING YOU.     I LOOK

10:28AM   19        FORWARD TO WORKING WITH YOU AS DO THESE LAWYERS IN THIS TRIAL.

10:28AM   20             PLEASE REMEMBER THE ADMONITION.        THIS ADMONITION IS ALWAYS

10:28AM   21        IN PLACE.   IT IS NOT JUST IN THE COURTROOM, IT'S WITH YOUR

10:28AM   22        PERSONAL LIVES, AT HOME, THE THINGS THAT YOU DO WHEN YOU'RE

10:28AM   23        OUTSIDE OF COURT, THIS WILL STAY WITH YOU.

10:28AM   24             IF YOU NEED TO DISCUSS ANYTHING ABOUT THE TRIAL OR ANY

10:28AM   25        ISSUE, YOU'LL PLEASE CONTACT MS. KRATZMANN AND SHE CAN TAKE



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10:28AM    1        CARE OF THAT.

10:28AM    2             ALL RIGHT.    THANK YOU VERY MUCH.    WE'LL BE IN RECESS.

10:28AM    3        THANK YOU.

10:28AM    4                     THE CLERK:    COURT IS IN RECESS.   COURT IS ADJOURNED.

10:28AM    5             (COURT ADJOURNED AT 10:28 A.M.)

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 1

 2

 3                               CERTIFICATE OF REPORTER

 4

 5

 6

 7               I, THE UNDERSIGNED OFFICIAL COURT REPORTER OF THE UNITED

 8         STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA,

 9         280 SOUTH FIRST STREET, SAN JOSE, CALIFORNIA, DO HEREBY

10         CERTIFY:

11               THAT THE FOREGOING TRANSCRIPT, CERTIFICATE INCLUSIVE, IS

12         A CORRECT TRANSCRIPT FROM THE RECORD OF PROCEEDINGS IN THE

13         ABOVE-ENTITLED MATTER.

14

15
                                     ______________________________
16                                   IRENE RODRIGUEZ, CSR, RMR, CRR
                                     CERTIFICATE NUMBER 8074
17

18
                                     DATED:   SEPTEMBER 2, 2021
19

20

21

22

23

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25



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                       CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the Clerk

of the Court for the United States Court of Appeals for the Ninth Circuit by

using the appellate CM/ECF system on April 17, 2023. I certify that all

participants in the case are registered CM/ECF users and that service will be

accomplished by the appellate CM/ECF system.


                                                  /s/ Amy Mason Saharia
                                                  AMY MASON SAHARIA
April 17, 2023
